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TECUMSEH-Infinity MR Fund
List of Receivables for Series-1/Intake A
                                                                                                                                                                            1.20
                                                                                                                                                          Receivables                              Funding
Intake     Claim      ClaimId Lawyer                         Provider                                       BillId   Date Paid   Check # Paid       Purch Price      Cost          GFB Amount       Type
S-1/A                  16221   N/ A                          Preva Advanced Surgicare - The Woodlands LLC   22470      6/9/2020   W52329102     $    2,249.88   $    2,699.86      $   12,783.41
S-1/A                  15291   Kumar Law Firm                Stat Diagnostics                               21942      6/9/2020          7548   $    1,200.00   $    1,440.00      $    9,000.00
S-1/A    Pending        9869   Orlando A Marra               Family Dental Solutions                        18555     5/14/2020          7502   $      140.40   $      168.48      $      350.00
S-1/A                  15399   George K. Farah               Stat Diagnostics                               22000      6/9/2020          7548   $      600.00   $      720.00      $    4,500.00
S-1/A    Pending       11803   Bobby Johnson                 Parkaire Consultants Inc                       19731     5/29/2020          7540   $      300.00   $      360.00      $      750.00
S-1/A    Pending        8964   My Lowe                       Atlanta Dermatology and Surgery                18711     5/14/2020          7498   $      120.00   $      144.00      $      300.00
S-1/A    Pending       12133   Peter Ross                    Peachtree Orthopaedic Clinic                   19965     5/29/2020          7525   $       72.45   $       86.94      $      161.00
S-1/A    Pending       12133   Peter Ross                    Peachtree Orthopaedic Surgery Center           20478     6/12/2020          7554   $    2,475.00   $    2,970.00      $    5,500.00
S-1/A                  15425   Mokaram Law Firm              Stat Diagnostics                               22013      6/9/2020          7548   $    1,800.00   $    2,160.00      $   12,100.00
S-1/A                  15437   Manuel Gonzales               Stat Diagnostics                               22021      6/9/2020          7548   $    1,200.00   $    1,440.00      $    9,000.00
S-1/A    Pending       15537   Bryan Blackwell               XL2XS LLC                                      22081     6/12/2020          7563   $    4,550.00   $    5,460.00      $   13,000.00
S-1/A                  15959   Richard Presutti              Preva Advanced Surgicare - The Woodlands LLC   22509      6/9/2020   W52329102     $    1,917.02   $    2,300.42      $   10,892.20
S-1/A                  16365   Bergquist Law Firm            Preva Advanced Surgicare - The Woodlands LLC   22555      6/9/2020   W52329102     $    2,249.88   $    2,699.86      $   12,783.41
S-1/A    Pending        9357   W. Wright Gammon Jr           (AHI) American Health Imaging                  18315     5/14/2020          7510   $      650.00   $      780.00      $    2,370.00
S-1/A    Pending        9357   W. Wright Gammon Jr           BENCHMARK PHYSICAL THERAPY                     18203     5/14/2020          7511   $      191.62   $      229.94      $      547.50
S-1/A    Pending        9357   W. Wright Gammon Jr           BENCHMARK PHYSICAL THERAPY                     18204     5/14/2020          7511   $      117.08   $      140.50      $      334.50
S-1/A    Pending        9357   W. Wright Gammon Jr           BENCHMARK PHYSICAL THERAPY                     18245     5/14/2020          7511   $      141.22   $      169.46      $      403.50
S-1/A    Pending        9357   W. Wright Gammon Jr           BENCHMARK PHYSICAL THERAPY                     18246     5/14/2020          7511   $      116.55   $      139.86      $      333.00
S-1/A    Pending        6458   Paul Kaufman                  (AHI) American Health Imaging                  18161     5/14/2020          7510   $    1,950.00   $    2,340.00      $    7,110.00
S-1/A    Pending        6458   Paul Kaufman                  Non-Surgical Orthopaedics PC                   18322     5/14/2020          7512   $      208.00   $      249.60      $      520.00
S-1/A    Pending        9431   Reginald A Greene             South Atlanta MUA Center                       18252     4/29/2020 Wire51964644    $    4,104.00   $    4,924.80      $   13,680.00
S-1/A    Pending        9431   Reginald A Greene             South Atlanta MUA Center                       18253     4/29/2020 Wire51964644    $      540.00   $      648.00      $    1,800.00
S-1/A                  15447   Kumar Law Firm                Stat Diagnostics                               22027      6/9/2020          7548   $      600.00   $      720.00      $    4,650.00
S-1/A                  15453   Hilda L. Sibrian              Stat Diagnostics                               22031      6/9/2020          7548   $      600.00   $      720.00      $    4,500.00
S-1/A                  15477   Hilda L. Sibrian              Stat Diagnostics                               22043      6/9/2020          7548   $    1,200.00   $    1,440.00      $    9,000.00
S-1/A    Pending       15643   Reginald A Greene             (AHI) American Health Imaging                  22134     6/12/2020          7552   $      650.00   $      780.00      $    2,370.00
S-1/A    Pending       14987   Reginald A Greene             Orthopaedic South Surgical Center              21783     6/11/2020    Visa038693   $      565.65   $      678.78      $    1,257.00
S-1/A                  15497   Cassandra Evans-Jones         Stat Diagnostics                               22054      6/9/2020          7548   $    1,200.00   $    1,440.00      $    9,000.00
S-1/A                  15501   Javier Marcos                 Stat Diagnostics                               22056      6/9/2020          7548   $    1,200.00   $    1,440.00      $    5,900.00
S-1/A                  15529   Jeremy D. Rosen               Stat Diagnostics                               22070      6/9/2020          7548   $    1,200.00   $    1,440.00      $    7,450.00
S-1/A    Tortfeasor     8699   Sean McEvoy                   Safeway Psychological Services                 18925     5/29/2020          7533   $      328.00   $      393.60      $      820.00
S-1/A    Tortfeasor     8699   Sean McEvoy                   Safeway Psychological Services                 20197     6/12/2020          7555   $      220.00   $      264.00      $      550.00
S-1/A    Pending        9519   Peter Ross                    Pain Consultants of Atlanta                    18327     5/14/2020          7504   $      117.43   $      140.92      $      309.03
S-1/A    Pending        5704   Timothy Gardner               Pain Management Specialists of Atlanta PC      18551     5/14/2020          7505   $       87.75   $      105.30      $      195.00
S-1/A    Pending        8593   Orlando A Marra               Family Dental Solutions                        22165     6/12/2020          7551   $      973.60   $    1,168.32      $    2,434.00
S-1/A    pending        3611   Jonathan Wade                 BENCHMARK PHYSICAL THERAPY                     18162     5/14/2020          7511   $      150.68   $      180.82      $      430.50
S-1/A    pending        3611   Jonathan Wade                 BENCHMARK PHYSICAL THERAPY                     18163     5/14/2020          7511   $      150.68   $      180.82      $      430.50
S-1/A    pending        3611   Jonathan Wade                 BENCHMARK PHYSICAL THERAPY                     19458     5/29/2020          7521   $      176.92   $      212.30      $      505.50
S-1/A    pending        3611   Jonathan Wade                 BENCHMARK PHYSICAL THERAPY                     19459     5/29/2020          7521   $      155.40   $      186.48      $      444.00
S-1/A    pending        3611   Jonathan Wade                 BENCHMARK PHYSICAL THERAPY                     19460     5/29/2020          7521   $      150.68   $      180.82      $      430.50
S-1/A    pending        3611   Jonathan Wade                 BENCHMARK PHYSICAL THERAPY                     19463     5/29/2020          7521   $      126.52   $      151.82      $      361.50
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TECUMSEH-Infinity MR Fund
List of Receivables for Series-1/Intake A
                                                                                                                                                                              1.20
                                                                                                                                                             Receivables                              Funding
Intake     Claim   ClaimId   Lawyer                            Provider                                       BillId   Date Paid    Check # Paid       Purch Price      Cost         GFB Amount        Type
S-1/A    pending      3611   Jonathan Wade                     DuraMed LLC                                    19674     5/29/2020          7528    $       492.00 $        590.40    $     1,230.00
S-1/A    pending      3611   Jonathan Wade                     Joint Active Systems                           19522     5/29/2020          7537    $       394.00 $        472.80    $       788.00
S-1/A    pending      3611   Jonathan Wade                     Perimeter Orthopaedics PC                      19406     5/29/2020          7532    $       216.38 $        259.66    $       540.95
S-1/A                16065   Corey S. Gomel                    Preva Advanced Surgicare - The Woodlands LLC   22511      6/9/2020    W52329102     $     2,839.02 $      3,406.82    $    16,130.82
S-1/A    Pending     11113   William F. (Freddie) Heitmann III Family Dental Solutions                        19296     5/29/2020          7529    $       140.00 $        168.00    $       350.00
S-1/A                15531   Juan C. Garcia                    Stat Diagnostics                               22071      6/9/2020          7548    $     1,200.00 $      1,440.00    $     7,450.00
S-1/A                11817   Sean McEvoy                       Parkaire Consultants Inc                       19737     5/29/2020          7540    $       300.00 $        360.00    $       750.00
S-1/A    Pending      8418   Kathryn Burmeister                Family Dental Solutions                        22441     6/12/2020          7551    $       480.00 $        576.00    $     1,200.00
S-1/A    Pending      8418   Kathryn Burmeister                Family Dental Solutions                        22442     6/12/2020          7551    $       280.80 $        336.96    $       702.00
S-1/A    Pending     10999   Ronald Chalker                    Non-Surgical Orthopaedics PC                   19232     5/29/2020          7523    $       552.00 $        662.40    $     1,380.00
S-1/A    Pending     10999   Ronald Chalker                    Non-Surgical Orthopaedics PC                   19233     5/29/2020          7523    $       284.00 $        340.80    $       710.00
S-1/A                15535   Adame & Garza                     Stat Diagnostics                               22073      6/9/2020          7548    $       600.00 $        720.00    $     4,500.00
S-1/A                15533   Alexander Houthuijzen             Stat Diagnostics                               22072      6/9/2020          7548    $     1,200.00 $      1,440.00    $     9,000.00
S-1/A    pending      2517   Dorian Murry                      Polaris Spine & Neurosurgery Center            19676     5/29/2020          7542    $       154.00 $        184.80    $       385.00
S-1/A                16219   Maathew R. Birdwell               Preva Advanced Surgicare - The Woodlands LLC   22469      6/9/2020    W52329102     $     1,446.98 $      1,736.38    $     8,221.45
S-1/A    Pending      6536   Nicholas Lasso                    XL2XS LLC                                      22115     6/12/2020          7563    $     4,830.00 $      5,796.00    $    13,800.00
S-1/A    Pending      9355   K Douglas Cook                    BENCHMARK PHYSICAL THERAPY                     18201     5/14/2020          7511    $       126.52 $        151.82    $       361.50
S-1/A    Pending      9355   K Douglas Cook                    BENCHMARK PHYSICAL THERAPY                     18202     5/14/2020          7511    $       196.35 $        235.62    $       561.00
S-1/A    Pending      9355   K Douglas Cook                    BENCHMARK PHYSICAL THERAPY                     18247     5/14/2020          7511    $       126.52 $        151.82    $       361.50
S-1/A    Pending      9355   K Douglas Cook                    BENCHMARK PHYSICAL THERAPY                     18541     5/14/2020          7511    $       126.52 $        151.82    $       361.50
S-1/A    Pending      9355   K Douglas Cook                    BENCHMARK PHYSICAL THERAPY                     18542     5/14/2020          7511    $       126.52 $        151.82    $       361.50
S-1/A    Pending      9355   K Douglas Cook                    BENCHMARK PHYSICAL THERAPY                     19302     5/29/2020          7521    $       150.68 $        180.82    $       430.50
S-1/A    Pending      9355   K Douglas Cook                    BENCHMARK PHYSICAL THERAPY                     19303     5/29/2020          7521    $       150.68 $        180.82    $       430.50
S-1/A    Pending      9355   K Douglas Cook                    BENCHMARK PHYSICAL THERAPY                     19402     5/29/2020          7521    $       150.68 $        180.82    $       430.50
S-1/A    Pending      9355   K Douglas Cook                    BENCHMARK PHYSICAL THERAPY                     22142     6/12/2020          7558    $       150.68 $        180.82    $       430.50
S-1/A                15541   George K. Farah                   Stat Diagnostics                               22075      6/9/2020          7548    $       600.00 $        720.00    $     4,500.00
S-1/A                15543   Adame & Garza                     Stat Diagnostics                               22076      6/9/2020          7548    $       600.00 $        720.00    $     3,100.00
S-1/A    Pending      8701   Matthew Broun                     MD Pain Care PC                                18251     5/14/2020          7497    $        70.00 $         84.00    $       200.00
S-1/A    Pending      8701   Matthew Broun                     MD Pain Care PC                                18705     5/29/2020          7539    $        70.00 $         84.00    $       200.00
S-1/A    Pending     12275   Caroline Owings                   Peachtree Orthopaedic Clinic                   22122     6/15/2020          7567    $       787.50 $        945.00    $     1,750.00
S-1/A    Pending     12275   Caroline Owings                   Peachtree Orthopaedic Surgery Center           20062     6/12/2020          7554    $       900.00 $      1,080.00    $     2,000.00
S-1/A    Pending      8970   Jeffrey Solomon                   Perimeter Orthopaedics PC                      18293     5/14/2020          7506    $       306.42 $        367.70    $       766.05
S-1/A    pending      5640   Caroline Owings                   (AHI) American Health Imaging                  18316     5/14/2020          7510    $       945.20 $      1,134.24    $     2,363.00
S-1/A    pending      5640   Caroline Owings                   (AHI) American Health Imaging                  18317     5/14/2020          7510    $       345.20 $        414.24    $       863.00
S-1/A    pending      5640   Caroline Owings                   Peachtree Orthopaedic Clinic                   18544     5/14/2020          7515    $       216.00 $        259.20    $       480.00
S-1/A    pending      5640   Caroline Owings                   Peachtree Orthopaedic Clinic                   18712     5/29/2020          7525    $       656.86 $        788.23    $     1,313.72
S-1/A    pending      5640   Caroline Owings                   Peachtree Orthopaedic Clinic                   18713     5/29/2020          7525    $       216.00 $        259.20    $       480.00
S-1/A    Pending      9875   Charles E (Ted) Lake Jr.          (AHI) American Health Imaging                  18559     5/14/2020          7510    $     1,300.00 $      1,560.00    $     4,595.00
S-1/A    Pending      9347   Natanya Brooks                    Peachtree Orthopaedic Clinic                   18295     5/14/2020          7515    $       142.20 $        170.64    $       316.00
S-1/A    Pending      9347   Natanya Brooks                    Peachtree Orthopaedic Clinic                   18296     5/14/2020          7515    $       103.50 $        124.20    $       230.00
S-1/A    Pending      9347   Natanya Brooks                    Peachtree Orthopaedic Clinic                   18325     5/14/2020          7515    $       142.20 $        170.64    $       316.00
S-1/A    Pending      9347   Natanya Brooks                    Peachtree Orthopaedic Clinic                   18326     5/14/2020          7515    $        45.00 $         54.00    $        90.00
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TECUMSEH-Infinity MR Fund
List of Receivables for Series-1/Intake A
                                                                                                                                                                        1.20
                                                                                                                                                       Receivables                              Funding
Intake     Claim   ClaimId   Lawyer                      Provider                                       BillId   Date Paid    Check # Paid       Purch Price      Cost         GFB Amount        Type
S-1/A    Pending      9347   Natanya Brooks              Peachtree Orthopaedic Clinic                   18621     5/14/2020          7515    $       179.10 $        214.92    $       398.00
S-1/A    Pending      9347   Natanya Brooks              Peachtree Orthopaedic Clinic                   19312     5/29/2020          7525    $     1,900.00 $      2,280.00    $     3,800.00
S-1/A    Pending      9347   Natanya Brooks              Peachtree Orthopaedic Clinic                   19910     5/29/2020          7525    $     8,055.90 $      9,667.08    $    17,902.00
S-1/A    Pending      9347   Natanya Brooks              Peachtree Orthopaedic Clinic                   19911     5/29/2020          7525    $     3,580.40 $      4,296.48    $    17,902.00
S-1/A    Pending      9347   Natanya Brooks              Peachtree Orthopaedic Surgery Center           19913     5/29/2020          7531    $    14,841.00 $ 17,809.20        $    32,980.00
S-1/A    Pending      8657   Reginald A Greene           Non-Surgical Orthopaedics PC                   20010     5/29/2020          7523    $     2,220.00 $      2,664.00    $     5,550.00
S-1/A                15553   Salazar & Velazquez P.C.    Stat Diagnostics                               22082      6/9/2020          7548    $     1,200.00 $      1,440.00    $     9,000.00
S-1/A                15555   Sarah Y Nhi Huynh           Stat Diagnostics                               22083      6/9/2020          7548    $     1,200.00 $      1,440.00    $     9,000.00
S-1/A                16313   The NMW Law Firm            Preva Advanced Surgicare - The Woodlands LLC   22522      6/9/2020    W52329102     $     1,239.03 $      1,486.84    $     7,039.96
S-1/A                16313   The NMW Law Firm            Preva Advanced Surgicare - The Woodlands LLC   22523      6/9/2020    W52329102     $       177.55 $        213.06    $     1,008.81
S-1/A                16313   The NMW Law Firm            Preva Advanced Surgicare - The Woodlands LLC   22524      6/9/2020    W52329102     $     2,321.95 $      2,786.34    $    13,192.90
S-1/A                16313   The NMW Law Firm            Preva Advanced Surgicare - The Woodlands LLC   22525      6/9/2020    W52329102     $       123.20 $        147.84    $       700.00
S-1/A    Pending      8962   My Lowe                     Atlanta Dermatology and Surgery                18159     5/14/2020          7498    $       120.00 $        144.00    $       300.00
S-1/A    Pending      5718   Alyssa Martins              Carrollton Orthopaedic Clinic                  18306     5/14/2020          7499    $        50.00 $         60.00    $       125.00
S-1/A    Pending      5718   Alyssa Martins              Carrollton Orthopaedic Clinic                  18318     5/14/2020          7499    $       404.00 $        484.80    $     1,010.00
S-1/A    Pending     11123   Kathryn Burmeister          BENCHMARK PHYSICAL THERAPY                     19304     5/29/2020          7521    $       196.35 $        235.62    $       561.00
S-1/A    Pending     11123   Kathryn Burmeister          BENCHMARK PHYSICAL THERAPY                     19305     5/29/2020          7521    $       196.35 $        235.62    $       561.00
S-1/A    Pending     11123   Kathryn Burmeister          BENCHMARK PHYSICAL THERAPY                     19306     5/29/2020          7521    $        97.65 $        117.18    $       279.00
S-1/A    Pending     11123   Kathryn Burmeister          BENCHMARK PHYSICAL THERAPY                     19403     5/29/2020          7521    $        97.65 $        117.18    $       279.00
S-1/A    Pending     11123   Kathryn Burmeister          BENCHMARK PHYSICAL THERAPY                     19404     5/29/2020          7521    $        73.50 $         88.20    $       210.00
S-1/A    Pending     11123   Kathryn Burmeister          BENCHMARK PHYSICAL THERAPY                     19906     5/29/2020          7521    $       126.52 $        151.82    $       361.50
S-1/A    Pending     11123   Kathryn Burmeister          BENCHMARK PHYSICAL THERAPY                     19907     5/29/2020          7521    $       126.52 $        151.82    $       361.50
S-1/A    Pending     11123   Kathryn Burmeister          BENCHMARK PHYSICAL THERAPY                     20325     6/12/2020          7558    $       126.52 $        151.82    $       361.50
S-1/A    Pending     11123   Kathryn Burmeister          BENCHMARK PHYSICAL THERAPY                     20327     6/12/2020          7558    $       126.52 $        151.82    $       361.50
S-1/A    Pending     11123   Kathryn Burmeister          BENCHMARK PHYSICAL THERAPY                     22145     6/12/2020          7558    $       131.25 $        157.50    $       375.00
S-1/A                15569   Salazar & Velazquez P.C.    Stat Diagnostics                               22090      6/9/2020          7548    $     1,200.00 $      1,440.00    $     9,000.00
S-1/A    Pending      8655   Tiffany Adams               Pain Consultants of Atlanta                    18323     5/14/2020          7504    $       116.68 $        140.02    $       307.04
S-1/A    Pending      8655   Tiffany Adams               Pain Consultants of Atlanta                    18533     5/14/2020          7504    $       397.10 $        476.52    $     1,045.00
S-1/A    Pending      8655   Tiffany Adams               Pain Consultants of Atlanta                    21886     6/12/2020          7561    $       116.66 $        139.99    $       307.00
S-1/A    Pending      8428   Charles E (Ted) Lake Jr.    Pain Consultants of Atlanta                    18309     5/14/2020          7504    $        78.66 $         94.39    $       207.00
S-1/A    Pending      8905   Timothy Revero              Anesthesiology Consultants                     20502     6/12/2020          7557    $       792.55 $        951.06    $     2,093.00
S-1/A                15577   Hector L. Sandoval          Stat Diagnostics                               22094      6/9/2020          7548    $     1,200.00 $      1,440.00    $     7,450.00
S-1/A                10157   Johnny Phillips             Non-Surgical Orthopaedics PC                   18758     5/14/2020          7512    $       284.00 $        340.80    $       710.00
S-1/A                10157   Johnny Phillips             Non-Surgical Orthopaedics PC                   19908     5/29/2020          7523    $     1,012.00 $      1,214.40    $     2,530.00
S-1/A                10157   Johnny Phillips             Non-Surgical Orthopaedics PC                   20076     6/12/2020          7560    $       208.00 $        249.60    $       520.00
S-1/A                10157   Johnny Phillips             The Center for Spine Procedures                19909     5/29/2020          7543    $     1,570.00 $      1,884.00    $     3,925.00
S-1/A                15603   Kumar Law Firm              Stat Diagnostics                               22108      6/9/2020          7548    $     1,200.00 $      1,440.00    $     7,450.00
S-1/A                15617   Cassandra Evans-Jones       Stat Diagnostics                               22116      6/9/2020          7548    $       600.00 $        720.00    $     4,500.00
S-1/A                16319   W. Brett Cain               Preva Advanced Surgicare - The Woodlands LLC   22528      6/9/2020    W52329102     $     2,249.88 $      2,699.86    $    12,783.41
S-1/A    Pending      8439   William Winters             GA Pain Management Center LLC                  19924     5/29/2020          7536    $     6,525.00 $      7,830.00    $    14,500.00
S-1/A    Pending      8439   William Winters             Pain Management Specialists of Atlanta PC      19925     5/29/2020          7524    $     1,485.00 $      1,782.00    $     3,300.00
S-1/A                15619   Cassandra Evans-Jones       Stat Diagnostics                               22117      6/9/2020          7548    $     2,400.00 $      2,880.00    $    14,900.00
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TECUMSEH-Infinity MR Fund
List of Receivables for Series-1/Intake A
                                                                                                                                                                        1.20
                                                                                                                                                       Receivables                              Funding
Intake     Claim   ClaimId   Lawyer                      Provider                                       BillId   Date Paid    Check # Paid       Purch Price      Cost         GFB Amount        Type
S-1/A    Pending      6506   Reginald A Greene           Athens Orthopedic Clinic                       19230     5/29/2020          7534    $       122.40 $        146.88    $       306.00
S-1/A    Pending      6506   Reginald A Greene           Athens Orthopedic Clinic                       19231     5/29/2020          7534    $        19.60 $         23.52    $        49.00
S-1/A    Pending     16447   Bo Burke                    Pain Care LLC                                  22599                                $       400.00 $        480.00    $     1,000.01
S-1/A                15625   Mokaram Law Firm            Stat Diagnostics                               22123      6/9/2020         7548     $     1,200.00 $      1,440.00    $     9,000.00
S-1/A                16323   Maathew R. Birdwell         Preva Advanced Surgicare - The Woodlands LLC   22530      6/9/2020   W52329102      $     2,249.88 $      2,699.86    $    12,783.41
S-1/A    Pending      6411   Matthew Broun               Non-Surgical Orthopaedics PC                   18165     5/14/2020         7512     $       440.00 $        528.00    $     1,100.00
S-1/A    Pending      6411   Matthew Broun               Non-Surgical Orthopaedics PC                   18320     5/14/2020         7512     $     1,012.00 $      1,214.40    $     2,530.00
S-1/A    Pending      6411   Matthew Broun               Non-Surgical Orthopaedics PC                   18321     5/14/2020         7512     $       208.00 $        249.60    $       520.00
S-1/A    Pending      6411   Matthew Broun               Non-Surgical Orthopaedics PC                   21889     6/12/2020         7560     $       208.00 $        249.60    $       520.00
S-1/A    Pending      6411   Matthew Broun               The Center for Spine Procedures                18319     5/14/2020         7516     $     1,512.00 $      1,814.40    $     3,780.00
S-1/A    Pending      8715   Ali Salimi                  Polaris Spine & Neurosurgery Center            21890     6/12/2020         7562     $       154.00 $        184.80    $       385.00
S-1/A    Pending     11793   David Bence                 South Atlanta MUA Center                       19724     5/22/2020 Wire52192106     $     2,107.70 $      2,529.24    $     6,022.00
S-1/A    Pending     11793   David Bence                 South Atlanta MUA Center                       19725     5/22/2020 Wire52192106     $     5,412.00 $      6,494.40    $    18,320.00
S-1/A                16327   Bergquist Law Firm          Preva Advanced Surgicare - The Woodlands LLC   22532      6/9/2020   W52329102      $     5,631.97 $      6,758.36    $     7,039.96
S-1/A                15627   Marcell Owens               Stat Diagnostics                               22124      6/9/2020         7548     $     1,200.00 $      1,440.00    $     9,000.00
S-1/A    Pending     14839   Charles E (Ted) Lake Jr.    (AHI) American Health Imaging                  21749     6/12/2020         7552     $       650.00 $        780.00    $     2,370.00
S-1/A    Pending     15645   Charles E (Ted) Lake Jr.    (AHI) American Health Imaging                  22135     6/12/2020         7552     $       650.00 $        780.00    $     2,225.00
S-1/A    Pending     15645   Charles E (Ted) Lake Jr.    (AHI) American Health Imaging                  22136     6/12/2020         7552     $       650.00 $        780.00    $     2,370.00
S-1/A                15629   Cassandra Evans-Jones       Stat Diagnostics                               22125      6/9/2020         7548     $     1,200.00 $      1,440.00    $     9,000.00
S-1/A                15631   Kumar Law Firm              Stat Diagnostics                               22126      6/9/2020         7548     $     1,800.00 $      2,160.00    $    11,950.00
S-1/A                15635   David R. Sanders            Stat Diagnostics                               22128      6/9/2020         7548     $       600.00 $        720.00    $     4,500.00
S-1/A                15637   Adame & Garza               Stat Diagnostics                               22131      6/9/2020         7548     $     1,200.00 $      1,440.00    $     7,450.00
S-1/A                15639   Mokaram Law Firm            Stat Diagnostics                               22132      6/9/2020         7548     $       600.00 $        720.00    $     2,950.00
S-1/A                16333   N/ A                        Preva Advanced Surgicare - The Woodlands LLC   22535      6/9/2020   W52329102      $     2,249.88 $      2,699.86    $    12,783.41
S-1/A                15641   Adame & Garza               Stat Diagnostics                               22133      6/9/2020         7548     $       600.00 $        720.00    $     2,950.00
S-1/A                16363   Bergquist Law Firm          Preva Advanced Surgicare - The Woodlands LLC   22553      6/9/2020   W52329102      $     2,424.93 $      2,909.92    $    13,778.00
S-1/A                16363   Bergquist Law Firm          Preva Advanced Surgicare - The Woodlands LLC   22554      6/9/2020   W52329102      $     3,262.06 $      3,914.47    $    18,534.40
S-1/A    Pending     11005   Sean McEvoy                 Daniel D. Eisenman Ph.D. LLC                   19237     5/29/2020         7527     $       240.00 $        288.00    $       600.00
S-1/A                15651   Salazar & Velazquez P.C.    Stat Diagnostics                               22149      6/9/2020         7548     $     1,800.00 $      2,160.00    $    11,950.00
S-1/A                15653   Anthony G. Buzbee           Stat Diagnostics                               22150      6/9/2020         7548     $     1,200.00 $      1,440.00    $     9,000.00
S-1/A    Pending      9337   Ronald Chalker              Atlas Orthopaedics;Duncan Wells MD             19365     5/29/2020         7526     $     1,766.85 $      2,120.22    $     6,295.92
S-1/A    Pending      7505   Edward Kim                  Peachtree Orthopaedic Clinic                   19525     5/29/2020         7525     $       160.20 $        192.24    $       356.00
S-1/A    Pending      7505   Edward Kim                  Peachtree Orthopaedic Clinic                   19526     5/29/2020         7525     $       179.10 $        214.92    $       398.00
S-1/A    Pending      7505   Edward Kim                  Peachtree Orthopaedic Clinic                   22129     6/15/2020         7567     $     2,266.65 $      2,719.98    $     5,037.00
S-1/A    Pending      7505   Edward Kim                  Peachtree Orthopaedic Surgery Center           22130     6/12/2020         7554     $     2,655.45 $      3,186.54    $     5,901.00
S-1/A                15655   Adame & Garza               Stat Diagnostics                               22151      6/9/2020         7548     $     1,200.00 $      1,440.00    $     9,000.00
S-1/A                16335   Stewart J. Guss             Preva Advanced Surgicare - The Woodlands LLC   22536      6/9/2020   W52329102      $     1,917.02 $      2,300.42    $    10,892.20
S-1/A    Pending      8865   Michael Lonati              Parkaire Consultants Inc                       22169     6/12/2020         7553     $       240.00 $        288.00    $       600.00
S-1/A    Pending      8865   Michael Lonati              Parkaire Consultants Inc                       22176     6/12/2020         7553     $       240.00 $        288.00    $       600.00
S-1/A    Pending      8865   Michael Lonati              Parkaire Consultants Inc                       22177     6/12/2020         7553     $       240.00 $        288.00    $       600.00
S-1/A    Pending      8865   Michael Lonati              Parkaire Consultants Inc                       22178     6/12/2020         7553     $       240.00 $        288.00    $       600.00
S-1/A    Pending      9415   Katie Hingerty Barodin      Polaris Spine & Neurosurgery Center            18242     5/14/2020         7501     $       246.40 $        295.68    $       616.00
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TECUMSEH-Infinity MR Fund
List of Receivables for Series-1/Intake A
                                                                                                                                                                        1.20
                                                                                                                                                       Receivables                               Funding
Intake     Claim   ClaimId   Lawyer                      Provider                                       BillId   Date Paid    Check # Paid       Purch Price      Cost         GFB Amount         Type
S-1/A                15659   Hector Longoria             Stat Diagnostics                               22153      6/9/2020          7548    $     1,200.00 $      1,440.00    $     9,000.00
S-1/A    Pending     14161   Reginald A Greene           (AHI) American Health Imaging                  21303     6/12/2020          7552    $     1,300.00 $      1,560.00    $     4,595.00
S-1/A    Pending      8887   Ronald Chalker              Safeway Psychological Services                 18158     5/14/2020          7508    $       436.00 $        523.20    $     1,090.00
S-1/A    Pending      8887   Ronald Chalker              Safeway Psychological Services                 18546     5/14/2020          7508    $       218.00 $        261.60    $       545.00
S-1/A    Pending     11357   Shannon Rolen               Pain Care LLC                                  19452     5/29/2020          7530    $       400.00 $        480.00    $     1,000.01
S-1/A    Pending      9339   Orlando A Marra             (AHI) American Health Imaging                  18160     5/14/2020          7510    $     1,300.00 $      1,560.00    $     4,740.00
S-1/A    Pending      9339   Orlando A Marra             Pain Consultants of Atlanta                    18302     5/14/2020          7504    $       117.44 $        140.93    $       309.04
S-1/A                15661   Mokaram Law Firm            Stat Diagnostics                               22154      6/9/2020          7548    $     1,200.00 $      1,440.00    $     8,850.00
S-1/A                16229   David R. Feldman            Preva Advanced Surgicare - The Woodlands LLC   22474      6/9/2020    W52329102     $     1,917.02 $      2,300.42    $    10,892.20
S-1/A    Pending      6335   Craig Miller                ENT of Georgia LLC                             19405     5/29/2020          7535    $       117.31 $        140.77    $       293.28
S-1/A    Pending      6335   Craig Miller                ENT of Georgia LLC                             20058     6/12/2020          7559    $     2,302.68 $      2,763.22    $     5,756.70
S-1/A    Pending      6335   Craig Miller                Northside Hospital                             17581     3/26/2020          7426    $    10,519.71 $ 12,623.65        $    26,299.28
S-1/A    Pending      6335   Craig Miller                Northside Hospital                             23316     3/26/2020                  $    (1,623.71) $ (1,948.45)      $    (4,059.28)
S-1/A    Pending      7835   Teresa Ross                 Peachtree Orthopaedic Clinic                   19523     5/29/2020          7525    $       148.50 $        178.20    $       330.00
S-1/A                15667   Adame & Garza               Stat Diagnostics                               22157      6/9/2020          7548    $     1,800.00 $      2,160.00    $    11,950.00
S-1/A                15671   Salazar & Velazquez P.C.    Stat Diagnostics                               22159      6/9/2020          7548    $     1,200.00 $      1,440.00    $     9,000.00
S-1/A                15683   Ben Black                   Stat Diagnostics                               22166      6/9/2020          7548    $       600.00 $        720.00    $     4,500.00
S-1/A    Pending      4979   Casey Geiger                BENCHMARK PHYSICAL THERAPY                     19317     5/29/2020          7521    $       249.38 $        299.26    $       712.50
S-1/A    Pending      4979   Casey Geiger                BENCHMARK PHYSICAL THERAPY                     19318     5/29/2020          7521    $       154.88 $        185.86    $       442.50
S-1/A    Pending      4979   Casey Geiger                BENCHMARK PHYSICAL THERAPY                     19401     5/29/2020          7521    $       126.00 $        151.20    $       360.00
S-1/A    Pending      4979   Casey Geiger                BENCHMARK PHYSICAL THERAPY                     19914     5/29/2020          7521    $       147.00 $        176.40    $       420.00
S-1/A    Pending      4979   Casey Geiger                BENCHMARK PHYSICAL THERAPY                     19916     5/29/2020          7521    $       126.00 $        151.20    $       360.00
S-1/A    Pending      4979   Casey Geiger                BENCHMARK PHYSICAL THERAPY                     22140     6/12/2020          7558    $       147.00 $        176.40    $       420.00
S-1/A    Pending      4979   Casey Geiger                BENCHMARK PHYSICAL THERAPY                     22141     6/12/2020          7558    $       150.68 $        180.82    $       430.50
S-1/A    Pending      4979   Casey Geiger                Legacy Brain & Spine                           18291     5/14/2020          7503    $       220.00 $        264.00    $       550.00
S-1/A    Pending      4979   Casey Geiger                Legacy Brain & Spine                           18938     5/29/2020          7538    $       220.00 $        264.00    $       550.00
S-1/A    Pending      4979   Casey Geiger                Legacy Brain & Spine                           19071     5/29/2020          7538    $       310.00 $        372.00    $       775.00
S-1/A    Pending      6478   Russell Boston              Legacy Brain & Spine                           18294     5/29/2020          7538    $       103.60 $        124.32    $       259.00
S-1/A                15685   Kumar Law Firm              Stat Diagnostics                               22167      6/9/2020          7548    $     1,200.00 $      1,440.00    $     9,289.35
S-1/A                15687   Mokaram Law Firm            Stat Diagnostics                               22168      6/9/2020          7548    $     1,200.00 $      1,440.00    $     9,000.00
S-1/A    Pending      9885   Charles E (Ted) Lake Jr.    (AHI) American Health Imaging                  18564     5/14/2020          7510    $       650.00 $        780.00    $     2,225.00
S-1/A    Pending      5237   Jonathan Wade               BENCHMARK PHYSICAL THERAPY                     18243     5/14/2020          7511    $       150.15 $        180.18    $       429.00
S-1/A    Pending      5237   Jonathan Wade               BENCHMARK PHYSICAL THERAPY                     18244     5/14/2020          7511    $       126.00 $        151.20    $       360.00
S-1/A    Pending      5237   Jonathan Wade               BENCHMARK PHYSICAL THERAPY                     18540     5/14/2020          7511    $       126.00 $        151.20    $       360.00
S-1/A    Pending      5237   Jonathan Wade               BENCHMARK PHYSICAL THERAPY                     19331     5/29/2020          7521    $       126.00 $        151.20    $       360.00
S-1/A    Pending      5237   Jonathan Wade               BENCHMARK PHYSICAL THERAPY                     19332     5/29/2020          7521    $       126.00 $        151.20    $       360.00
S-1/A    Pending      5237   Jonathan Wade               BENCHMARK PHYSICAL THERAPY                     19333     5/29/2020          7521    $       126.00 $        151.20    $       360.00
S-1/A    Pending      5237   Jonathan Wade               BENCHMARK PHYSICAL THERAPY                     19399     5/29/2020          7521    $       150.15 $        180.18    $       429.00
S-1/A    Pending      5237   Jonathan Wade               BENCHMARK PHYSICAL THERAPY                     19400     5/29/2020          7521    $       126.00 $        151.20    $       360.00
S-1/A    Pending      5237   Jonathan Wade               BENCHMARK PHYSICAL THERAPY                     19919     5/29/2020          7521    $       126.00 $        151.20    $       360.00
S-1/A    Pending      5237   Jonathan Wade               BENCHMARK PHYSICAL THERAPY                     19922     5/29/2020          7521    $       150.68 $        180.82    $       430.50
S-1/A    Pending      5237   Jonathan Wade               BENCHMARK PHYSICAL THERAPY                     21901     6/12/2020          7558    $       126.52 $        151.82    $       361.50
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TECUMSEH-Infinity MR Fund
List of Receivables for Series-1/Intake A
                                                                                                                                                                         1.20
                                                                                                                                                        Receivables                              Funding
Intake     Claim   ClaimId   Lawyer                        Provider                                       BillId   Date Paid   Check # Paid       Purch Price      Cost         GFB Amount        Type
S-1/A    Pending      5237   Jonathan Wade                 Legacy Brain & Spine                           19072     5/29/2020         7538    $       103.60 $        124.32    $       259.00
S-1/A    Pending      9491   Bryce Durham                  Tobin Bone and Joint Surgery                   18292     5/14/2020         7509    $       152.50 $        183.00    $       305.00
S-1/A    Pending      9491   Bryce Durham                  Tobin Bone and Joint Surgery                   18566     5/14/2020         7509    $       156.00 $        187.20    $       312.00
S-1/A                15689   Adam J. Rosenfeld             Stat Diagnostics                               22170      6/9/2020         7548    $     1,800.00 $      2,160.00    $    11,950.00
S-1/A    Pending      9353   My Lowe                       Bethea CPS P.C.                                18200     5/14/2020         7496    $       540.00 $        648.00    $     1,350.00
S-1/A    Pending      6269   Michael Moran                 Resurgens Orthopaedics                         18164     5/14/2020         7507    $        73.85 $         88.62    $       164.12
S-1/A                10097   J. Franklin Burns             BENCHMARK PHYSICAL THERAPY                     19926     5/29/2020         7521    $       148.05 $        177.66    $       423.00
S-1/A                10097   J. Franklin Burns             BENCHMARK PHYSICAL THERAPY                     19927     5/29/2020         7521    $       131.78 $        158.14    $       376.50
S-1/A                10097   J. Franklin Burns             BENCHMARK PHYSICAL THERAPY                     20390     6/12/2020         7558    $       170.45 $        204.54    $       487.00
S-1/A                10097   J. Franklin Burns             BENCHMARK PHYSICAL THERAPY                     20392     6/12/2020         7558    $       145.78 $        174.94    $       416.50
S-1/A                10097   J. Franklin Burns             BENCHMARK PHYSICAL THERAPY                     22146     6/12/2020         7558    $       169.92 $        203.90    $       485.50
S-1/A                10097   J. Franklin Burns             BENCHMARK PHYSICAL THERAPY                     22147     6/12/2020         7558    $       141.05 $        169.26    $       403.00
S-1/A                10097   J. Franklin Burns             BENCHMARK PHYSICAL THERAPY                     22148     6/12/2020         7558    $       127.05 $        152.46    $       363.00
S-1/A                10097   J. Franklin Burns             Georgia Spine & Orthopedics                    18748     5/14/2020         7500    $       589.60 $        707.52    $     1,474.00
S-1/A                16355   The NMW Law Firm              Preva Advanced Surgicare - The Woodlands LLC   22546      6/9/2020   W52329102     $     1,904.58 $      2,285.50    $    10,821.52
S-1/A                16355   The NMW Law Firm              Preva Advanced Surgicare - The Woodlands LLC   22547      6/9/2020   W52329102     $       137.63 $        165.16    $       782.00
S-1/A                16355   The NMW Law Firm              Preva Advanced Surgicare - The Woodlands LLC   22548      6/9/2020   W52329102     $       123.20 $        147.84    $       700.00
S-1/A                16355   The NMW Law Firm              Preva Advanced Surgicare - The Woodlands LLC   22549      6/9/2020   W52329102     $     1,238.30 $      1,485.96    $     7,035.76
S-1/A                15691   Mokaram Law Firm              Stat Diagnostics                               22171      6/9/2020         7548    $     1,200.00 $      1,440.00    $     9,000.00
S-1/A                15693   Mokaram Law Firm              Stat Diagnostics                               22172      6/9/2020         7548    $     1,800.00 $      2,160.00    $    11,950.00
S-1/A    Pending     10455   Jennifer Dunlap               South Atlanta MUA Center                       18920     5/15/2020 Wire52118073    $     6,504.00 $      7,804.80    $    21,680.00
S-1/A    Pending      8697   Peter Ross                    Polaris Center For Outpatients                 19229     5/29/2020         7541    $     1,225.52 $      1,470.62    $     3,501.50
S-1/A    Pending      8697   Peter Ross                    Polaris Spine & Neurosurgery Center            18324     5/14/2020         7501    $       170.00 $        204.00    $       425.00
S-1/A    Pending      8697   Peter Ross                    Polaris Spine & Neurosurgery Center            18934     5/29/2020         7542    $       630.00 $        756.00    $     1,575.00
S-1/A    Pending      8697   Peter Ross                    Polaris Spine & Neurosurgery Center            19321     5/29/2020         7542    $       154.00 $        184.80    $       385.00
S-1/A    Pending      8697   Peter Ross                    Polaris Spine & Neurosurgery Center            19839     5/29/2020         7542    $       154.00 $        184.80    $       385.00
S-1/A    Pending      5668   Alyssa Martins                Carrollton Orthopaedic Clinic                  18313     5/14/2020         7499    $        50.00 $         60.00    $       125.00
S-1/A    Pending      8695   Jonathan Wade                 BENCHMARK PHYSICAL THERAPY                     20479     6/12/2020         7558    $       171.68 $        206.02    $       490.50
S-1/A    Pending      8695   Jonathan Wade                 BENCHMARK PHYSICAL THERAPY                     20480     6/12/2020         7558    $       101.85 $        122.22    $       291.00
S-1/A    Pending      8695   Jonathan Wade                 BENCHMARK PHYSICAL THERAPY                     22137     6/12/2020         7558    $       101.85 $        122.22    $       291.00
S-1/A    Pending      8695   Jonathan Wade                 BENCHMARK PHYSICAL THERAPY                     22138     6/12/2020         7558    $       101.85 $        122.22    $       291.00
S-1/A    Pending      8695   Jonathan Wade                 BENCHMARK PHYSICAL THERAPY                     22139     6/12/2020         7558    $       101.85 $        122.22    $       291.00
S-1/A                16357   Thomas F. Bickham Jr.         Preva Advanced Surgicare - The Woodlands LLC   22550      6/9/2020   W52329102     $     2,249.88 $      2,699.86    $    12,783.41
S-1/A    Pending      8703   Paul Mazur                    North Atlanta Surgical Associates              18199     5/14/2020         7513    $       123.06 $        147.67    $       293.00
S-1/A    Pending      8703   Paul Mazur                    North Atlanta Surgical Associates              19928     5/29/2020         7520    $       123.06 $        147.67    $       293.00
S-1/A                 9172   Matthew Aaron                 Stat Diagnostics                               22173      6/9/2020         7548    $       600.00 $        720.00    $     2,950.00
S-1/A                 9172   Matthew Aaron                 Stat Diagnostics                               22174      6/9/2020         7548    $     1,800.00 $      2,160.00    $    10,400.00
S-1/A                15695   Thomas N. Thurlow             Stat Diagnostics                               22175      6/9/2020         7548    $       600.00 $        720.00    $     5,200.00
S-1/A    Pending      9359   Jonathan Wade                 (AHI) American Health Imaging                  18205     5/14/2020         7510    $     1,300.00 $      1,560.00    $     4,595.00
S-1/A    Pending      5067   Natanya Brooks                Non-Surgical Orthopaedics PC                   20071     6/12/2020         7560    $       208.00 $        249.60    $       520.00
S-1/A    Pending      5067   Natanya Brooks                Non-Surgical Orthopaedics PC                   21887     6/12/2020         7560    $       620.00 $        744.00    $     1,550.00
S-1/A    Pending      6442   Benjamin Bengtson             Pain Management Specialists of Atlanta PC      21879     6/12/2020         7550    $       117.00 $        140.40    $       260.00
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TECUMSEH-Infinity MR Fund
List of Receivables for Series-1/Intake A
                                                                                                                                                                                             1.20
                                                                                                                                                                            Receivables                              Funding
Intake     Claim     ClaimId    Lawyer                              Provider                                             BillId   Date Paid      Check # Paid         Purch Price      Cost         GFB Amount        Type
S-1/A    Pending        6442    Benjamin Bengtson                   Pain Management Specialists of Atlanta PC            21888     6/12/2020            7550      $        87.75 $        105.30    $      195.00
S-1/A    Pending        7781    Keith Foster                        Peachtree Orthopaedic Clinic                         20055     6/15/2020            7567      $     3,733.20 $      4,479.84    $    8,296.00
S-1/A    Pending        7781    Keith Foster                        Peachtree Orthopaedic Clinic                         22119     6/15/2020            7567      $     2,056.50 $      2,467.80    $    4,570.00
S-1/A    Pending        7781    Keith Foster                        Peachtree Orthopaedic Clinic                         22121     6/15/2020            7567      $     1,480.05 $      1,776.06    $    3,289.00
S-1/A    Pending        7781    Keith Foster                        Peachtree Orthopaedic Surgery Center                 22120     6/12/2020            7554      $     4,095.00 $      4,914.00    $    9,100.00
S-1/A    Pending        7781    Keith Foster                        Peachtree Orthopaedic Surgery Center                 22941     6/15/2020            7566      $     2,490.75 $      2,988.90    $    5,535.00
S-1/A    Pending       12291    John Webb                           Pain Management Specialists of Atlanta PC            20079     6/12/2020            7550      $       157.50 $        189.00    $      350.00
                                                                                                                                                                  $ 245,388.08 $ 294,465.70         $   982,518.86

****     This List of Receivables supporting Series 1-Intake A in the amount of US$982,518.86 is in good order as Forget-the-Market has performed the following:

         a. Review of the invoice supporting each line item on List of Receivables confirming list accuracy including the invoice amount.

         b. Collected and reviewed (via Sharing Link) the lien for each line item on the List of Receivables. Any missing liens are noted on the List of Receivables with
         an explanation as to why.

         c. Confirmed that the value of purchased receivables respecting the listed invoices equals 333.66% of the purchased total of $294,465.70.


         William B Dalzell
         Director, Forget-the-Market Limited
         Sub-Advisor for Tecumseh-Infinity MR Fund
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TECUMSEH-Infinity MR Fund

List of Receivables for Series-1/Intake B

                                                                                                                     Receivable                                 Funding
Intake   ClaimId   Lawyer                   Provider                           BillId      Date Paid       Purchase Price            Cost    GFB Amount          Type
S-1/B              Marcus Spagnoletti       Stat Diagnostics                   23842      11/11/2020       $      600.00   $        720.00   $    2,950.00   MRI
S-1/B              Mokaram Law Firm         Stat Diagnostics                   21939       6/9/2020        $    1,200.00   $      1,440.00   $    7,450.00   MRI
S-1/B              Adame & Garza            Stat Diagnostics                   23843      11/11/2020       $    2,400.00   $      2,880.00   $   14,900.00   MRI
S-1/B              Julia Barbani            South Atlanta MUA Center           23856       7/1/2020        $    5,520.50   $      6,624.60   $   22,082.00   Injection
S-1/B              Bobby Johnson            Parkaire Consultants Inc           23605                       $      240.00   $        288.00   $      600.00   Psychotherapy
S-1/B              Bobby Johnson            Parkaire Consultants Inc           23606                       $      240.00   $        288.00   $      600.00   Psychotherapy
S-1/B              Bobby Johnson            Parkaire Consultants Inc           23607                       $      240.00   $        288.00   $      600.00   Psychotherapy
S-1/B              Bobby Johnson            Parkaire Consultants Inc           23608                       $      240.00   $        288.00   $      600.00   Psychotherapy
S-1/B              Bobby Johnson            Parkaire Consultants Inc           23609                       $      240.00   $        288.00   $      600.00   Psychotherapy
S-1/B              W. Clark Martin IV       Stat Diagnostics                   23855      11/11/2020       $    1,200.00   $      1,440.00   $    7,450.00   MRI
S-1/B              Christopher J. Leavitt   Stat Diagnostics                   23857      11/11/2020       $    1,800.00   $      2,160.00   $   15,275.00   MRI
S-1/B              Christopher J. Leavitt   Stat Diagnostics                   23858      11/11/2020                       $           -     $      289.35   XRAY          Got this for free so no cost for purchase price
S-1/B              Bo Burke                 Carrollton Orthopaedic Clinic      23041       6/29/2020       $      125.76   $        150.91   $      314.00   Consultation
S-1/B              Reginald A Greene        Athens Orthopedic Clinic           23044       6/29/2020       $      720.09   $        864.11   $    3,664.00   Injection
S-1/B              Jimmy M. Ardoin          Stat Diagnostics                   23859      11/11/2020       $    1,800.00   $      2,160.00   $   11,950.00   MRI
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic       23048       6/29/2020       $    1,093.05   $      1,311.66   $    2,429.00   Surgery
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic       23298       6/29/2020       $      432.55   $        519.06   $      917.00   XRAY
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic       23299       6/29/2020       $      180.45   $        216.54   $      401.00   XRAY
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic       23300       6/29/2020       $      210.00   $        252.00   $      420.00   Rx
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic       23916                       $      220.50   $        264.60   $      490.00   PT
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic       23917                       $      144.90   $        173.88   $      322.00   PT
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic       23918                       $      144.90   $        173.88   $      322.00   PT
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic       23919                       $      144.90   $        173.88   $      322.00   PT
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic       23920                       $      144.90   $        173.88   $      322.00   PT
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic       23921                       $      144.90   $        173.88   $      322.00   PT
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic       23922                       $      144.90   $        173.88   $      322.00   PT
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic       23923                       $      144.90   $        173.88   $      322.00   PT
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic       23924                       $      112.50   $        135.00   $      250.00   PT
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic       23925                       $      151.20   $        181.44   $      336.00   PT
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic       23926                       $      151.20   $        181.44   $      336.00   PT
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic       23927                       $      144.90   $        173.88   $      322.00   PT
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic       23928                       $       40.00   $         48.00   $       80.00   Supplies
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic       23929                       $    1,183.95   $      1,420.74   $    2,631.00   EMG
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic       23930                       $      360.50   $        432.60   $      794.00   Injection
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic       23931                       $      179.10   $        214.92   $      398.00   Consultation
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic       23932                       $      180.45   $        216.54   $      401.00   XRAY
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic       23933                       $    1,132.65   $      1,359.18   $    2,517.00   MRI
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic       23934                       $      681.05   $        817.26   $    1,493.00   Consultation
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic       23938                       $      108.00   $        129.60   $      240.00   Prep
S-1/B              W. Wright Gammon Jr      The Physicians Spine & Rehabilitation
                                                                               23128
                                                                                  Specialists
                                                                                           6/29/2020
                                                                                              of Georgia   $      505.20   $        606.24   $    1,263.00   Consultation
S-1/B              W. Wright Gammon Jr      The Physicians Spine & Rehabilitation
                                                                               23129
                                                                                  Specialists
                                                                                           6/29/2020
                                                                                              of Georgia   $      356.00   $        427.20   $      890.00   PT
S-1/B              W. Wright Gammon Jr      The Physicians Spine & Rehabilitation
                                                                               23144
                                                                                  Specialists
                                                                                           6/29/2020
                                                                                              of Georgia   $      421.20   $        505.44   $    1,053.00   Drug Test
S-1/B              Christopher J. Leavitt   Stat Diagnostics                   23862      11/11/2020       $      600.00   $        720.00   $    4,500.00   MRI
S-1/B              Kumar Law Firm           Stat Diagnostics                   23863      11/11/2020       $    1,200.00   $      1,440.00   $    7,450.00   MRI
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List of Receivables for Series-1/Intake B

                                                                                                                    Receivable                                      Funding
Intake   ClaimId   Lawyer                  Provider                          BillId        Date Paid      Purchase Price            Cost        GFB Amount            Type
S-1/B              K Douglas Cook          Pain Management Specialists of Atlanta
                                                                            23042PC        6/29/2020      $      180.00 $         216.00        $     400.00     Consultation
S-1/B              Javier Marcos           Stat Diagnostics                 23864         11/11/2020      $    1,200.00 $       1,440.00        $ 9,000.00       MRI
S-1/B              Peter A. Ruman          Stat Diagnostics                 23865         11/11/2020      $      600.00 $         720.00        $ 4,500.00       MRI
S-1/B              Peter A. Ruman          Stat Diagnostics                 23913         11/11/2020      $    1,200.00 $       1,440.00        $ 9,000.00       MRI
S-1/B              Sean McEvoy             Safeway Psychological Services 23053            6/29/2020      $      220.00 $         264.00        $     550.00     Psychotherapy
S-1/B              Sean McEvoy             Safeway Psychological Services 23419            6/29/2020      $      220.00 $         264.00        $     550.00     Psychotherapy
S-1/B              Fariba Bayani           (AHI) American Health Imaging    23135          6/29/2020      $      650.00 $         780.00        $ 2,370.00       MRI
S-1/B              Fariba Bayani           (AHI) American Health Imaging    23291          6/29/2020      $      650.00 $         780.00        $ 2,225.00       MRI
S-1/B              Samuel Johnson          Perimeter Orthopaedics PC        23055          6/29/2020      $      562.38 $         674.86        $ 1,405.95       Consultation
S-1/B              Timothy Gardner         Pain Management Specialists of Atlanta
                                                                            23052PC        6/29/2020      $       87.77 $         105.32        $     195.05     Consultation
S-1/B              Sean McEvoy             Parkaire Consultants Inc         23214          6/29/2020      $      240.00 $         288.00        $     600.00     Psychotherapy
S-1/B              Sean McEvoy             Parkaire Consultants Inc         23215          6/29/2020      $      240.00 $         288.00        $     600.00     Psychotherapy
S-1/B              Sean McEvoy             Parkaire Consultants Inc         23216          6/29/2020      $      240.00 $         288.00        $     600.00     Psychotherapy
S-1/B              Sean McEvoy             Parkaire Consultants Inc         23217          6/29/2020      $      240.00 $         288.00        $     600.00     Psychotherapy
S-1/B              Nicholas Lasso          Spring Valley Hospital           23032          6/29/2020      $   41,251.70 $      49,502.04        $ 142,293.00     Surgery
                                                                                                          $     75,006.95 $       90,008.34     $ 296,078.35


****     This List of Receivables supporting Series 1-Intake B in the amount of US$296,078.35 is in good order as Forget-the-Market Ltd has performed the following:

         a. Review of the invoice supporting each line item on List of Receivables confirming list accuracy including the invoice amount.

         b. Collected and reviewed (via Sharing Link) the lien for each line item on the List of Receivables. Any missing liens are noted on the List of Receivables with
         an explanation as to why.

         c. Confirmed that the value of purchased receivables respecting the listed invoices equals 394.73% of the purchased total of $75,006.95.
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List of Receivables for Series-1/Intake C

                                                                                                                                         Receivable                            Funding
Intake
     ClaimId
          Lawyer                                 Provider                                              BillId   Date Paid      Purchase Price            Cost    GFB Amount     Type
S-1/C    Sean McEvoy                            Parkaire Consultants Inc                               23218     6/29/2020     $      240.00   $        288.00   $    600.00     PI
S-1/C    Sean McEvoy                            Parkaire Consultants Inc                               23219     6/29/2020     $      240.00   $        288.00   $    600.00     PI
S-1/C    Reginald A Greene                      Pain Management Specialists of Atlanta PC              23476     6/29/2020     $      157.50   $        189.00   $    350.00    PM
S-1/C    Cassandra Evans-Jones                  Stat Diagnostics                                       23866    11/11/2020     $    1,200.00   $      1,440.00   $ 9,000.00     MRI
S-1/C    Sam K. Mukerji                         Stat Diagnostics                                       23867    11/11/2020     $      600.00   $        720.00   $ 4,500.00     MRI
S-1/C    Sam K. Mukerji                         Stat Diagnostics                                       23914    11/11/2020     $    1,800.00   $      2,160.00   $ 11,950.00    MRI
S-1/C    Gloria Flores                          Stat Diagnostics                                       23868    11/11/2020     $      600.00   $        720.00   $ 4,500.00     MRI
S-1/C    Manuel Gonzales                        Stat Diagnostics                                       23869    11/11/2020                     $           -     $ 1,322.95     MRI
S-1/C    Manuel Gonzales                        Stat Diagnostics                                       23870    11/11/2020     $    1,200.00   $      1,440.00   $ 9,000.00     MRI
S-1/C    Frances N. Nwora                       Stat Diagnostics                                       23871    11/11/2020     $      600.00   $        720.00   $ 4,500.00     MRI
S-1/C    Reginald A Greene                      Polaris Spine & Neurosurgery Center                    23890                   $      354.00   $        424.80   $    885.00     PI
S-1/C    John Jackson                           Carrollton Orthopaedic Clinic                          23049     6/29/2020     $      790.80   $        948.96   $ 1,977.00      PI
S-1/C    Joe Ray Rodriguez                      Stat Diagnostics                                       23872    11/11/2020     $    1,200.00   $      1,440.00   $ 9,275.00     MRI
S-1/C    Kumar Law Firm                         Stat Diagnostics                                       23873    11/11/2020     $      600.00   $        720.00   $ 4,500.00     MRI
S-1/C    Joe Ray Rodriguez                      Stat Diagnostics                                       23874    11/11/2020     $    1,200.00   $      1,440.00   $ 9,000.00     MRI
S-1/C    Caroline Owings                        (AHI) American Health Imaging                          23589                   $      968.00   $      1,161.60   $ 2,420.00     MRI
S-1/C    Jonathan Broderick                     Pain Management Specialists of Atlanta PC              23164    6/29/2020      $       87.77   $        105.32   $    195.05    PM
S-1/C    Natanya Brooks                         Peachtree Orthopaedic Clinic                           23290    6/29/2020      $      106.20   $        127.44   $    236.00     PI
S-1/C    Natanya Brooks                         Peachtree Orthopaedic Clinic                           23604                   $      181.80   $        218.16   $    404.00     PI
S-1/C    Miguel A. Adame                        Stat Diagnostics                                       23875    11/11/2020     $      600.00   $        720.00   $ 4,500.00     MRI
S-1/C    Miguel A. Adame                        Stat Diagnostics                                       23876    11/11/2020     $    1,200.00   $      1,440.00   $ 9,000.00     MRI
S-1/C    Christopher J. Leavitt                 Stat Diagnostics                                       23877    11/11/2020     $      600.00   $        720.00   $ 4,500.00     MRI
S-1/C    Booker Law Firm                        Stat Diagnostics                                       23878    11/11/2020     $    2,400.00   $      2,880.00   $ 15,050.00    MRI
S-1/C    Ian Perez                              South Atlanta MUA Center                               23860      7/1/2020     $    2,380.50   $      2,856.60   $ 9,522.00      PI
S-1/C    Ian Perez                              South Atlanta MUA Center                               23861      7/1/2020     $    2,485.00   $      2,982.00   $ 9,940.00      PI
S-1/C    Schechter McElwee Shaffer & Harris LLP Stat Diagnostics                                       23879    11/11/2020     $      600.00   $        720.00   $ 4,500.00     MRI
S-1/C    Natanya Brooks                         Safeway Psychological Services                         23301     6/29/2020     $      844.00   $      1,012.80   $ 2,110.00      PI
S-1/C    Christopher J. Leavitt                 Stat Diagnostics                                       23880    11/11/2020     $    1,200.00   $      1,440.00   $ 9,611.55     MRI
S-1/C    Kathryn Burmeister                     BENCHMARK PHYSICAL THERAPY                             23102     6/29/2020     $      126.52   $        151.82   $    361.50     PI
S-1/C    Kathryn Burmeister                     BENCHMARK PHYSICAL THERAPY                             23103     6/29/2020     $      126.52   $        151.82   $    361.50     PI
S-1/C    Kathryn Burmeister                     BENCHMARK PHYSICAL THERAPY                             23242     6/29/2020     $      121.80   $        146.16   $    348.00     PI
S-1/C    Kathryn Burmeister                     BENCHMARK PHYSICAL THERAPY                             23848                   $      150.68   $        180.82   $    430.50     PI
S-1/C    Kathryn Burmeister                     BENCHMARK PHYSICAL THERAPY                             23849                   $      245.18   $        294.22   $    700.50     PI
S-1/C    Kumar Law Firm                         Stat Diagnostics                                       23881    11/11/2020     $    1,800.00   $      2,160.00   $ 11,950.00    MRI
S-1/C    Jonathan Wade                          (AHI) American Health Imaging                          23211     6/29/2020     $    1,300.00   $      1,560.00   $ 4,595.00     MRI
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List of Receivables for Series-1/Intake C

                                                                                                                                          Receivable                           Funding
Intake
     ClaimId
          Lawyer                                 Provider                                               BillId    Date Paid     Purchase Price           Cost   GFB Amount      Type
S-1/C     Salazar & Velazquez P.C.               Stat Diagnostics                                       23882    11/11/2020     $      600.00 $        720.00   $ 4,500.00       MRI
S-1/C     Jenaya Lawrence                        Family Dental Solutions                                23212     6/29/2020     $      200.00 $        240.00   $     500.00      PI
S-1/C     William Winters                        Pain Management Specialists of Atlanta PC              23166     6/29/2020     $       87.75 $        105.30   $     195.00     PM
S-1/C     Peter Ross                             Pain Management Specialists of Atlanta PC              23054     6/29/2020     $       87.75 $        105.30   $     195.00     PM
S-1/C     W. Clark Martin IV                     Stat Diagnostics                                       23883    11/11/2020     $    1,200.00 $      1,440.00   $ 7,450.00       MRI
S-1/C     Christopher J. Leavitt                 Stat Diagnostics                                       23884    11/11/2020     $      600.00 $        720.00   $ 4,500.00       MRI
S-1/C     Ali Salimi                             Parkaire Consultants Inc                               23040     6/29/2020     $      240.00 $        288.00   $     600.00      PI
S-1/C     Ali Salimi                             Parkaire Consultants Inc                               23101     6/29/2020     $      240.00 $        288.00   $     600.00      PI
S-1/C     Jay Halloway                           South Atlanta MUA Center                               23892      7/1/2020     $    6,255.50 $      7,506.60   $ 25,022.00       PI
S-1/C     Christopher J. Leavitt                 Stat Diagnostics                                       23885    11/11/2020     $    1,200.00 $      1,440.00   $ 5,900.00       MRI
S-1/C     Ali Salimi                             Polaris Spine & Neurosurgery Center                    23114     6/29/2020     $      531.60 $        637.92   $ 1,329.00        PI
S-1/C     Jonathan Broderick                     Northside Hospital                                     23038     6/29/2020     $   41,425.07 $ 49,710.08       $ 103,562.68      PI
S-1/C     W. Clark Martin IV                     Stat Diagnostics                                       23886    11/11/2020     $      600.00 $        720.00   $ 4,500.00       MRI
S-1/C     Rob O. Cantu                           Stat Diagnostics                                       23887    11/11/2020     $      600.00 $        720.00   $ 4,500.00       MRI
S-1/C     Hilda L. Sibrian                       Stat Diagnostics                                       23888    11/11/2020     $    1,200.00 $      1,440.00   $ 9,150.00       MRI
S-1/C     Hilda L. Sibrian                       Stat Diagnostics                                       23889    11/11/2020     $    2,400.00 $      2,880.00   $ 16,600.00      MRI
S-1/C     Sean McEvoy                            Daniel D. Eisenman Ph.D. LLC                           23390     6/29/2020     $    3,120.00 $      3,744.00   $ 7,800.00        PI
S-1/C     Javier Marcos                          Stat Diagnostics                                       23912    11/11/2020     $    1,200.00 $      1,440.00   $ 9,000.00       MRI
S-1/C     Christopher J. Leavitt                 Stat Diagnostics                                       23893    11/11/2020     $    2,400.00 $      2,880.00   $ 20,950.00      MRI
S-1/C     Smith & Hassler                        Stat Diagnostics                                       23894    11/11/2020     $    1,800.00 $      2,160.00   $ 10,400.00      MRI
S-1/C     Ronald Chalker                         Atlas Orthopaedics;Duncan Wells MD                     23115     6/29/2020     $      121.70 $        146.04   $     304.24      PI
S-1/C     Reginald A Greene                      (AHI) American Health Imaging                          23145     6/29/2020     $      381.60 $        457.92   $     954.00     MRI
S-1/C     Reginald A Greene                      Perimeter Orthopaedics PC                              23039     6/29/2020     $      419.74 $        503.69   $ 1,049.35        PI
S-1/C     Reginald A Greene                      Perimeter Orthopaedics PC                              23146     6/29/2020     $    1,082.24 $      1,298.69   $ 2,705.60        PI
S-1/C     Sam K. Mukerji                         Stat Diagnostics                                       23895    11/11/2020     $    1,200.00 $      1,440.00   $ 9,000.00       MRI
S-1/C     John Morrison                          Kevin Hicks DO                                         23043      6/2/2020     $      240.00 $        288.00   $     240.00      PI
S-1/C     Kherkher Garcia LLP                    Stat Diagnostics                                       23896    11/11/2020     $    1,200.00 $      1,440.00   $ 9,000.00       MRI
S-1/C     Adame & Garza                          Stat Diagnostics                                       23897    11/11/2020     $      600.00 $        720.00   $ 5,900.00       MRI
S-1/C     Adame & Garza                          Stat Diagnostics                                       23898    11/11/2020     $    1,200.00 $      1,440.00   $ 9,000.00       MRI
S-1/C     Schechter McElwee Shaffer & Harris LLP Stat Diagnostics                                       23899    11/11/2020     $      600.00 $        720.00   $ 4,500.00       MRI
S-1/C     Casey Geiger                           BENCHMARK PHYSICAL THERAPY                             23241     6/29/2020     $      126.00 $        151.20   $     360.00      PI
S-1/C     Casey Geiger                           BENCHMARK PHYSICAL THERAPY                             23935                   $      147.00 $        176.40   $     420.00      PI
S-1/C     Casey Geiger                           BENCHMARK PHYSICAL THERAPY                             23936                   $      126.00 $        151.20   $     360.00      PI
S-1/C     Casey Geiger                           BENCHMARK PHYSICAL THERAPY                             23937                   $      154.88 $        185.86   $     442.50      PI
S-1/C     Casey Geiger                           Legacy Brain & Spine                                   23104     6/29/2020     $      220.00 $        264.00   $     550.00      PI
S-1/C     Lozano Law Offices P.C.                Stat Diagnostics                                       23900    11/11/2020     $    1,800.00 $      2,160.00   $ 11,950.00      MRI
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List of Receivables for Series-1/Intake C

                                                                                                                                Receivable                            Funding
Intake
     ClaimId
          Lawyer                       Provider                                               BillId    Date Paid     Purchase Price             Cost   GFB Amount     Type
S-1/C     Angel Figueredo              Atlas Orthopaedics;Duncan Wells MD                     23045     6/29/2020     $      176.50 $          211.80   $    441.24      PI
S-1/C     Hilda L. Sibrian             Stat Diagnostics                                       23901    11/11/2020     $    1,200.00 $        1,440.00   $ 9,150.00      MRI
S-1/C     Jonathan Wade                BENCHMARK PHYSICAL THERAPY                             23105     6/29/2020     $      126.52 $          151.82   $    361.50      PI
S-1/C     Jonathan Wade                BENCHMARK PHYSICAL THERAPY                             23106     6/29/2020     $      126.52 $          151.82   $    361.50      PI
S-1/C     Jonathan Wade                BENCHMARK PHYSICAL THERAPY                             23107     6/29/2020     $      121.80 $          146.16   $    348.00      PI
S-1/C     Jonathan Wade                BENCHMARK PHYSICAL THERAPY                             23108     6/29/2020     $      121.80 $          146.16   $    348.00      PI
S-1/C     Jonathan Wade                BENCHMARK PHYSICAL THERAPY                             23239     6/29/2020     $      121.80 $          146.16   $    348.00      PI
S-1/C     Jonathan Wade                BENCHMARK PHYSICAL THERAPY                             23240     6/29/2020     $      121.80 $          146.16   $    348.00      PI
S-1/C     Jonathan Wade                Legacy Brain & Spine                                   23109     6/29/2020     $    2,608.44 $        3,130.13   $ 6,521.10       PI
S-1/C     Jonathan Wade                Legacy Brain & Spine                                   23151     6/29/2020     $      220.00 $          264.00   $    550.00      PI
S-1/C     Adame & Garza                Stat Diagnostics                                       23902    11/11/2020     $      600.00 $          720.00   $ 2,950.00      MRI
S-1/C     Stewart J. Guss              Stat Diagnostics                                       23903    11/11/2020     $      600.00 $          720.00   $ 4,500.00      MRI
S-1/C     Stewart J. Guss              Stat Diagnostics                                       23904    11/11/2020     $      600.00 $          720.00   $ 2,950.00      MRI
S-1/C     Michael Moran                Resurgens Orthopaedics                                 23293     6/29/2020     $      124.20 $          149.04   $    276.00      PI
S-1/C     Michael Moran                Roswell Surgery Center                                 23915                   $    4,034.70 $        4,841.64   $ 8,966.00       PI
S-1/C     J. Franklin Burns            BENCHMARK PHYSICAL THERAPY                             23116     6/29/2020     $      116.38 $          139.66   $    332.50      PI
S-1/C     J. Franklin Burns            Georgia Spine & Orthopedics                            23213     6/29/2020     $      128.80 $          154.56   $    322.00      PI
S-1/C     Cassandra Evans-Jones        Stat Diagnostics                                       23905    11/11/2020     $    1,800.00 $        2,160.00   $ 11,950.00     MRI
S-1/C     Miguel A. Adame              Stat Diagnostics                                       23906    11/11/2020     $    1,800.00 $        2,160.00   $ 11,950.00     MRI
S-1/C     Garrett Walker               South Atlanta MUA Center                               23853      7/1/2020     $    4,200.00 $        5,040.00   $ 16,800.00      PI
S-1/C     Reginald A Greene            Pain Management Specialists of Atlanta PC              23449     6/29/2020     $      157.50 $          189.00   $    350.00     PM
S-1/C     Javier Marcos                Stat Diagnostics                                       23907    11/11/2020     $    1,200.00 $        1,440.00   $ 9,000.00      MRI
S-1/C     Reginald A Greene            Pain Consultants of Atlanta                            23292     6/29/2020     $      224.20 $          269.04   $    590.00     PM
S-1/C     Sean McEvoy                  Parkaire Consultants Inc                               22963     6/29/2020     $      300.00 $          360.00   $    750.00      PI
S-1/C     Sean McEvoy                  Parkaire Consultants Inc                               23420     6/29/2020     $      240.00 $          288.00   $    600.00      PI
S-1/C     Holly Salimi                 BENCHMARK PHYSICAL THERAPY                             23844                   $      150.68 $          180.82   $    430.50      PI
S-1/C     Holly Salimi                 BENCHMARK PHYSICAL THERAPY                             23845                   $      150.68 $          180.82   $    430.50      PI
S-1/C     Holly Salimi                 BENCHMARK PHYSICAL THERAPY                             23846                   $      150.68 $          180.82   $    430.50      PI
S-1/C     Holly Salimi                 BENCHMARK PHYSICAL THERAPY                             23847                   $      185.68 $          222.82   $    530.50      PI
S-1/C     Holly Salimi                 Carrollton Orthopaedic Clinic                          23297     6/29/2020     $      125.60 $          150.72   $    314.00      PI
S-1/C     Salazar & Velazquez P.C.     Stat Diagnostics                                       23908    11/11/2020     $    1,200.00 $        1,440.00   $ 9,000.00      MRI
S-1/C     Jennifer Dunlap              South Atlanta MUA Center                               23854      7/1/2020     $    4,963.00 $        5,955.60   $ 19,862.00      PI
S-1/C     Christopher J. Leavitt       Stat Diagnostics                                       23909    11/11/2020     $      600.00 $          720.00   $ 4,500.00      MRI
S-1/C     Salazar & Velazquez P.C.     Stat Diagnostics                                       23910    11/11/2020     $      600.00 $          720.00   $ 4,500.00      MRI
S-1/C     Jonathan Wade                BENCHMARK PHYSICAL THERAPY                             23850                   $      217.88 $          261.46   $    622.50      PI
S-1/C     Jonathan Wade                BENCHMARK PHYSICAL THERAPY                             23851                   $      123.38 $          148.06   $    352.50      PI
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TECUMSEH-Infinity MR Fund

List of Receivables for Series-1/Intake C

                                                                                                                                                                  Receivable                             Funding
Intake
     ClaimId
          Lawyer                                      Provider                                                           BillId        Date Paid        Purchase Price             Cost   GFB Amount      Type
S-1/C     Jonathan Wade                               BENCHMARK PHYSICAL THERAPY                                         23852                          $      102.38 $          122.86   $    292.50       PI
S-1/C     Jonathan Wade                               BENCHMARK PHYSICAL THERAPY                                         23110         6/29/2020        $      101.85 $          122.22   $    291.00       PI
S-1/C     Jonathan Wade                               BENCHMARK PHYSICAL THERAPY                                         23111         6/29/2020        $      101.85 $          122.22   $    291.00       PI
S-1/C     Jonathan Wade                               BENCHMARK PHYSICAL THERAPY                                         23112         6/29/2020        $      102.38 $          122.86   $    292.50       PI
S-1/C     Paul Mazur                                  Northside Hospital                                                 23418         6/29/2020        $    1,759.32 $        2,111.18   $ 4,398.30        PI
S-1/C     W. Clark Martin IV                          Stat Diagnostics                                                   23911        11/11/2020        $    1,200.00 $        1,440.00   $ 9,000.00       MRI
S-1/C     Godseg Martin Law Firm                      Preva Advanced Surgicare - The Woodlands LLC                       22551          6/9/2020        $    3,548.78 $        4,258.54   $ 16,130.82       PI
S-1/C     Charles E (Ted) Lake Jr.                    Polaris Spine & Neurosurgery Center                                23220         6/29/2020        $      354.00 $          424.80   $    885.00       PI
S-1/C     CORY HILTON                                 Durango Outpatient Surgery Center                                  23033         6/29/2020        $    2,400.65 $        2,880.78   $ 6,859.00        PI
S-1/C     John Webb                                   GA Pain Management Center LLC                                      23295         6/29/2020        $    1,643.40 $        1,972.08   $ 3,652.00       PM
S-1/C     John Webb                                   Pain Management Specialists of Atlanta PC                          23296         6/29/2020        $      495.00 $          594.00   $ 1,100.00       PM
S-1/C     John Webb                                   Pain Management Specialists of Atlanta PC                          23389         6/29/2020        $       87.75 $          105.30   $    195.00      PM
S-1/C     Littleton Law Firm                          Preva Advanced Surgicare - The Woodlands LLC                       22552          6/9/2020        $    3,031.16 $        3,637.39   $ 13,778.00       PI

                                                                                                                                                        $   148,380.16 $ 178,056.19       $ 645,886.88

****      This List of Receivables supporting Series 1-Intake C in the amount of US$178,056.19 is in good order as Forget-the-Market Ltd has performed the following:

          a. Review of the invoice supporting each line item on List of Receivables confirming list accuracy including the invoice amount.

          b. Collected and reviewed (via Sharing Link) the lien for each line item on the List of Receivables. Any missing liens are noted on the List of Receivables with
          an explanation as to why.

          c. Confirmed that the value of purchased receivables respecting the listed invoices equals 120.00% of the purchased total of $148,380.16
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List of Receivables for Series-1/Intake D
                                                                                       Receivables
Intake Lawyer               Provider                       BillId   Date Paid   Purch Price      Cost       GFB Amount Fund Type

S-1/D   Nicholas Lasso      Buena Vista Medical Services   16403   6/3/2019 $       36.18    $     43.42    $    120.60    Rx
S-1/D   Nicholas Lasso      Buena Vista Medical Services   16404   6/3/2019 $       35.15    $     42.18    $    117.16    Rx
S-1/D   Nicholas Lasso      Buena Vista Medical Services   17080   3/4/2020 $       37.03    $     44.44    $    123.42    Rx
S-1/D   Anthony Perez       Buena Vista Medical Services   16782 10/1/2019 $        35.50    $     42.60    $    118.32    Rx
S-1/D   Anthony Perez       Buena Vista Medical Services   16784 11/4/2019 $        37.78    $     45.34    $    125.94    Rx
S-1/D   Anthony Perez       Buena Vista Medical Services   16785 11/4/2019 $        36.95    $     44.34    $    123.16    Rx
S-1/D   Anthony Perez       Buena Vista Medical Services   16786 10/1/2019 $        36.95    $     44.34    $    123.16    Rx
S-1/D   Anthony Perez       Buena Vista Medical Services   16788   9/3/2019 $      103.84    $    124.61    $    346.12    Rx
S-1/D   Anthony Perez       Buena Vista Medical Services   16789   9/3/2019 $       36.95    $     44.34    $    123.16    Rx
S-1/D   Anthony Perez       Buena Vista Medical Services   16790   9/3/2019 $       35.50    $     42.60    $    118.32    Rx
S-1/D   Anthony Perez       Buena Vista Medical Services   17371   4/3/2020 $       37.78    $     45.34    $    125.94    Rx
S-1/D   Anthony Perez       Buena Vista Medical Services   18188   5/5/2020 $       48.07    $     57.68    $    160.22    Rx
S-1/D   Anthony Perez       Buena Vista Medical Services   21270   7/2/2020 $       48.07    $     57.68    $    160.22    Rx
S-1/D   Neal Howard         Ensign Legal Support            8301  9/24/2018 $       51.38    $     61.66    $     77.07    MR
S-1/D   Neal Howard         Ensign Legal Support            8334  9/24/2018 $      105.62    $    126.74    $    158.43    MR
S-1/D   Neal Howard         Ensign Legal Support            8449 10/29/2018 $       25.25    $     30.30    $     25.25    MR
S-1/D   Neal Howard         Ensign Legal Support            8479 10/29/2018 $       25.25    $     30.30    $     25.25    MR
S-1/D   Neal Howard         Ensign Legal Support            8494 10/29/2018 $       25.25    $     30.30    $     25.25    MR
S-1/D   Hamed Yazdanpanah   Buena Vista Medical Services   15740 12/3/2019 $        53.04    $     63.65    $    176.80    Rx
S-1/D   Hamed Yazdanpanah   Buena Vista Medical Services   15742 11/4/2019 $        53.04    $     63.65    $    176.80    Rx
S-1/D   Hamed Yazdanpanah   Buena Vista Medical Services   24417            $       30.76    $     36.91    $    102.52    Rx
S-1/D   Bryan Blackwell     Buena Vista Medical Services   16917   3/4/2020 $       16.85    $     20.22    $     56.17    Rx
S-1/D   Bryan Blackwell     Buena Vista Medical Services   16918   3/4/2020 $       36.51    $     43.81    $    121.71    Rx
S-1/D   Bryan Blackwell     Buena Vista Medical Services   17008   3/4/2020 $       37.69    $     45.23    $    125.63    Rx
S-1/D   Bryan Blackwell     Buena Vista Medical Services   17009            $       37.13    $     44.56    $    123.77    Rx
S-1/D   Bryan Blackwell     Buena Vista Medical Services   17010            $       37.60    $     45.12    $    125.32    Rx
S-1/D   Bryan Blackwell     Buena Vista Medical Services   17163            $      (37.60)   $    (45.12)   $   (125.32)   Rx
S-1/D   Bryan Blackwell     Buena Vista Medical Services   17164            $      (37.13)   $    (44.56)   $   (123.77)   Rx
S-1/D   Bryan Blackwell     Buena Vista Medical Services   17294   3/4/2020 $       16.85    $     20.22    $     56.17    Rx
S-1/D   Bryan Blackwell     Buena Vista Medical Services   17295   3/4/2020 $       37.69    $     45.23    $    125.63    Rx
S-1/D   Bryan Blackwell     Buena Vista Medical Services   17607   4/3/2020 $       45.02    $     54.02    $    150.08    Rx
S-1/D   Bryan Blackwell     Buena Vista Medical Services   18056   5/5/2020 $       36.51    $     43.81    $    121.71    Rx
S-1/D   Bryan Blackwell     Buena Vista Medical Services   18123   5/5/2020 $       37.53    $     45.04    $    125.10    Rx
S-1/D   Bryan Blackwell     Buena Vista Medical Services   18124   5/5/2020 $       42.82    $     51.38    $    142.73    Rx
S-1/D   Bryan Blackwell     Buena Vista Medical Services   18179   5/5/2020 $       45.02    $     54.02    $    150.08    Rx
S-1/D   Bryan Blackwell     Buena Vista Medical Services   20353   6/1/2020 $       36.51    $     43.81    $    121.71    Rx
S-1/D   Bryan Blackwell     Buena Vista Medical Services   20354   6/1/2020 $       46.12    $     55.34    $    153.73    Rx
S-1/D   Bryan Blackwell     Buena Vista Medical Services   22734   7/2/2020 $      215.32    $    258.38    $    717.73    Rx
S-1/D   Bryan Blackwell     Buena Vista Medical Services   23819   7/2/2020 $       45.02    $     54.02    $    150.08    Rx
S-1/D   Bryan Blackwell     Buena Vista Medical Services   23952            $       28.76    $     34.51    $     95.88    Rx
S-1/D   Nicholas Lasso      Buena Vista Medical Services   15754 11/4/2019 $        48.43    $     58.12    $    161.44    Rx
S-1/D   Nicholas Lasso      Buena Vista Medical Services   15755 11/4/2019 $        35.27    $     42.32    $    117.56    Rx
S-1/D   Nicholas Lasso      Buena Vista Medical Services   15757 12/3/2019 $        35.27    $     42.32    $    117.56    Rx
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List of Receivables for Series-1/Intake D
                                                                                           Receivables
Intake   Lawyer                Provider                       BillId   Date Paid    Purch Price      Cost       GFB Amount Fund Type
S-1/D    Nicholas Lasso        Buena Vista Medical Services   15759      2/4/2020   $   48.43 $         58.12   $    161.44   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   15760     12/3/2019   $   48.43 $         58.12   $    161.44   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   15762     10/1/2019   $   35.27 $         42.32   $    117.56   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   15764      7/3/2019   $   36.00 $         43.20   $    120.00   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   15766      7/3/2019   $   35.05 $         42.06   $    116.84   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   15768      8/2/2019   $   48.43 $         58.12   $    161.44   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   15770      9/3/2019   $   34.82 $         41.78   $    116.08   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   15772      9/3/2019   $   48.43 $         58.12   $    161.44   Rx
S-1/D    Daniel Del Rio        Ensign Legal Support            6576     1/10/2018   $   25.00 $         30.00   $     50.00   MR
S-1/D    Daniel Del Rio        Ensign Legal Support            6630     1/10/2018   $   72.00 $         86.40   $    144.00   MR
S-1/D    Daniel Del Rio        Ensign Legal Support            6878    12/22/2017   $   66.25 $         79.50   $    132.50   MR
S-1/D    Daniel Del Rio        Ensign Legal Support            6965    11/15/2017   $   54.75 $         65.70   $    109.50   MR
S-1/D    Daniel Del Rio        Ensign Legal Support            6966    11/15/2017   $   45.50 $         54.60   $     91.00   MR
S-1/D    Daniel Del Rio        Ensign Legal Support            7004    10/31/2017   $   74.75 $         89.70   $    149.50   MR
S-1/D    Daniel Del Rio        Ensign Legal Support            7005     4/11/2018   $   10.50 $         12.60   $     21.00   MR
S-1/D    Natanya Brooks        Buena Vista Medical Services   15717      9/3/2019   $   35.87 $         43.04   $    119.56   Rx
S-1/D    Natanya Brooks        Buena Vista Medical Services   15719     11/4/2019   $   37.52 $         45.02   $    125.08   Rx
S-1/D    Natanya Brooks        Buena Vista Medical Services   15721     12/3/2019   $   15.48 $         18.58   $     51.60   Rx
S-1/D    Natanya Brooks        Buena Vista Medical Services   16282     10/1/2019   $   34.61 $         41.53   $    115.36   Rx
S-1/D    Natanya Brooks        Buena Vista Medical Services   16284     10/1/2019   $   34.62 $         41.54   $    115.40   Rx
S-1/D    Natanya Brooks        Buena Vista Medical Services   16286     10/1/2019   $   35.14 $         42.17   $    117.12   Rx
S-1/D    Natanya Brooks        Buena Vista Medical Services   16287     10/1/2019   $   34.96 $         41.95   $    116.52   Rx
S-1/D    Natanya Brooks        Buena Vista Medical Services   16288     10/1/2019   $   34.55 $         41.46   $    115.16   Rx
S-1/D    Natanya Brooks        Buena Vista Medical Services   16293      9/3/2019   $   34.92 $         41.90   $    116.40   Rx
S-1/D    Natanya Brooks        Buena Vista Medical Services   17016      3/4/2020   $   37.88 $         45.46   $    126.27   Rx
S-1/D    Natanya Brooks        Buena Vista Medical Services   17017      3/4/2020   $   34.61 $         41.53   $    115.36   Rx
S-1/D    Natanya Brooks        Buena Vista Medical Services   23821      7/2/2020   $   47.71 $         57.25   $    159.04   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   16450      8/2/2019   $   35.04 $         42.05   $    116.80   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   16452      7/3/2019   $   35.12 $         42.14   $    117.08   Rx
S-1/D    Mark Ruszecki         Buena Vista Medical Services   15804     10/1/2019   $   39.61 $         47.53   $    132.04   Rx
S-1/D    Mark Ruszecki         Buena Vista Medical Services   15806     10/1/2019   $   43.20 $         51.84   $    144.00   Rx
S-1/D    Mark Ruszecki         Buena Vista Medical Services   15808      9/3/2019   $   43.20 $         51.84   $    144.00   Rx
S-1/D    Mark Ruszecki         Buena Vista Medical Services   15810      8/2/2019   $   43.20 $         51.84   $    144.00   Rx
S-1/D    Mark Ruszecki         Buena Vista Medical Services   15811      8/2/2019   $   39.61 $         47.53   $    132.04   Rx
S-1/D    Campbell Williamson   Advanced Home Care              2104     6/24/2016   $ 208.00 $         249.60   $    208.00   PI
S-1/D    Daniel Del Rio        Appleby & Co. Inc               6267    12/10/2017   $   81.36 $         97.63   $    162.72   MR
S-1/D    Daniel Del Rio        Appleby & Co. Inc               6269    12/10/2017   $   54.63 $         65.56   $    109.26   MR
S-1/D    Daniel Del Rio        Appleby & Co. Inc               6272    12/10/2017   $   50.66 $         60.79   $    101.32   MR
S-1/D    Nicholas Lasso        Buena Vista Medical Services   16414      8/2/2019   $   34.78 $         41.74   $    115.92   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   16416      6/3/2019   $   34.81 $         41.77   $    116.04   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   16417      6/3/2019   $   36.18 $         43.42   $    120.60   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   15789     11/4/2019   $   28.88 $         34.66   $     96.27   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   15791     10/1/2019   $   34.36 $         41.23   $    114.52   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   15792     11/4/2019   $   31.59 $         37.91   $    105.30   Rx
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List of Receivables for Series-1/Intake D
                                                                                      Receivables
Intake   Lawyer             Provider                       BillId Date Paid    Purch Price      Cost        GFB Amount Fund Type
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15794 12/3/2019     $    31.59 $        37.91    $    105.30   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15795 11/4/2019     $    34.75 $        41.70    $    115.84   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15797    9/3/2019   $    34.36 $        41.23    $    114.52   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15798    9/3/2019   $    78.41 $        94.09    $    261.36   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15800 10/1/2019     $    35.22 $        42.26    $    117.40   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15801 10/1/2019     $    34.75 $        41.70    $    115.84   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15802 10/1/2019     $    34.75 $        41.70    $    115.84   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   18121    5/5/2020   $    37.09 $        44.51    $    123.64   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   18973    6/1/2020   $    57.66 $        69.19    $    192.19   Rx
S-1/D    Diana Tenorio      Buena Vista Medical Services   17376    4/3/2020   $    38.51 $        46.21    $    128.36   Rx
S-1/D    Diana Tenorio      Buena Vista Medical Services   17377    4/3/2020   $    18.23 $        21.88    $     60.77   Rx
S-1/D    Diana Tenorio      Buena Vista Medical Services   18005    5/5/2020   $    18.23 $        21.88    $     60.77   Rx
S-1/D    Diana Tenorio      Buena Vista Medical Services   18006    5/5/2020   $    38.51 $        46.21    $    128.36   Rx
S-1/D    Diana Tenorio      Buena Vista Medical Services   18194    5/5/2020   $    40.92 $        49.10    $    136.40   Rx
S-1/D    Diana Tenorio      Buena Vista Medical Services   18195               $    18.23 $        21.88    $     60.77   Rx
S-1/D    Diana Tenorio      Buena Vista Medical Services   18490               $   (18.23) $      (21.88)   $    (60.77)  Rx
S-1/D    Diana Tenorio      Buena Vista Medical Services   18491    5/5/2020   $    38.51 $        46.21    $    128.36   Rx
S-1/D    Diana Tenorio      Buena Vista Medical Services   19564    6/1/2020   $    40.92 $        49.10    $    136.40   Rx
S-1/D    Diana Tenorio      Buena Vista Medical Services   19795    6/1/2020   $    38.51 $        46.21    $    128.36   Rx
S-1/D    Diana Tenorio      Buena Vista Medical Services   23835    7/2/2020   $    40.92 $        49.10    $    136.40   Rx
S-1/D    Diana Tenorio      Buena Vista Medical Services   23836    7/2/2020   $    38.51 $        46.21    $    128.36   Rx
S-1/D    Omid Khorshidi     Buena Vista Medical Services   19797    6/1/2020   $    47.95 $        57.54    $    159.84   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16408    6/3/2019   $    34.79 $        41.75    $    115.96   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16409    6/3/2019   $    36.18 $        43.42    $    120.60   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16411    6/3/2019   $    35.17 $        42.20    $    117.24   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16412    6/3/2019   $    36.18 $        43.42    $    120.60   Rx
S-1/D    Arash Khorsandi    Buena Vista Medical Services   15310    2/4/2020   $    36.64 $        43.97    $    122.13   Rx
S-1/D    Arash Khorsandi    Buena Vista Medical Services   15312    1/3/2020   $    23.81 $        28.57    $     79.36   Rx
S-1/D    Arash Khorsandi    Buena Vista Medical Services   15313    2/4/2020   $    37.36 $        44.83    $    124.53   Rx
S-1/D    Arash Khorsandi    Buena Vista Medical Services   15315    2/4/2020   $    36.75 $        44.10    $    122.51   Rx
S-1/D    Arash Khorsandi    Buena Vista Medical Services   15316    2/4/2020   $    20.47 $        24.56    $     68.22   Rx
S-1/D    Arash Khorsandi    Buena Vista Medical Services   15317    1/3/2020   $    26.43 $        31.72    $     88.10   Rx
S-1/D    Arash Khorsandi    Buena Vista Medical Services   15319 12/3/2019     $    28.62 $        34.34    $     95.41   Rx
S-1/D    Arash Khorsandi    Buena Vista Medical Services   15321 11/4/2019     $    40.10 $        48.12    $    133.68   Rx
S-1/D    Arash Khorsandi    Buena Vista Medical Services   15323 12/3/2019     $    25.99 $        31.19    $     86.62   Rx
S-1/D    Arash Khorsandi    Buena Vista Medical Services   15325    1/3/2020   $    24.37 $        29.24    $     81.24   Rx
S-1/D    Arash Khorsandi    Buena Vista Medical Services   15326 12/3/2019     $    18.60 $        22.32    $     62.00   Rx
S-1/D    Arash Khorsandi    Buena Vista Medical Services   17458    4/3/2020   $    69.03 $        82.84    $    230.11   Rx
S-1/D    Arash Khorsandi    Buena Vista Medical Services   17613    4/3/2020   $    69.03 $        82.84    $    230.11   Rx
S-1/D    Arash Khorsandi    Buena Vista Medical Services   17755    4/3/2020   $    69.03 $        82.84    $    230.11   Rx
S-1/D    Arash Khorsandi    Buena Vista Medical Services   17994    5/5/2020   $    69.03 $        82.84    $    230.11   Rx
S-1/D    Arash Khorsandi    Buena Vista Medical Services   18064    5/5/2020   $    40.10 $        48.12    $    133.68   Rx
S-1/D    Arash Khorsandi    Buena Vista Medical Services   19554    6/1/2020   $    40.10 $        48.12    $    133.68   Rx
S-1/D    Michael Shemtoub   Buena Vista Medical Services   23967               $    62.73 $        75.28    $    209.11   Rx
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List of Receivables for Series-1/Intake D
                                                                                             Receivables
Intake   Lawyer                  Provider                       BillId   Date Paid    Purch Price      Cost       GFB Amount Fund Type
S-1/D    Daniel Del Rio          Ensign Legal Support            6567     1/10/2018   $   59.25 $         71.10   $    118.50   MR
S-1/D    Daniel Del Rio          Ensign Legal Support            6779      3/1/2018   $   43.25 $         51.90   $     86.50   MR
S-1/D    Daniel Del Rio          Ensign Legal Support            6832    12/22/2017   $   99.00 $        118.80   $    198.00   MR
S-1/D    Daniel Del Rio          Ensign Legal Support            6833    12/22/2017   $   25.50 $         30.60   $     51.00   MR
S-1/D    Daniel Del Rio          Ensign Legal Support            6879    11/15/2017   $   59.00 $         70.80   $    118.00   MR
S-1/D    Daniel Del Rio          Ensign Legal Support            6880    12/22/2017   $   45.50 $         54.60   $     91.00   MR
S-1/D    Daniel Del Rio          Ensign Legal Support            6977    11/15/2017   $   61.25 $         73.50   $    122.50   MR
S-1/D    Daniel Del Rio          Ensign Legal Support            7039     4/11/2018   $   41.75 $         50.10   $     83.50   MR
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16622     10/1/2019   $   36.91 $         44.29   $    123.04   Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16623     10/1/2019   $   36.38 $         43.66   $    121.28   Rx
S-1/D    Mauro Fiore Jr          Buena Vista Medical Services   16653      7/3/2019   $   35.14 $         42.17   $    117.12   Rx
S-1/D    Mauro Fiore Jr          Buena Vista Medical Services   16654      7/3/2019   $   35.83 $         43.00   $    119.44   Rx
S-1/D    Mauro Fiore Jr          Buena Vista Medical Services   16655      7/3/2019   $   35.05 $         42.06   $    116.84   Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   15348      1/3/2020   $   19.20 $         23.04   $     64.00   Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   15349      1/3/2020   $   24.29 $         29.15   $     80.96   Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   15350      1/3/2020   $   23.69 $         28.43   $     78.98   Rx
S-1/D    Reginald A Greene       Buena Vista Medical Services   20366      6/1/2020   $   22.15 $         26.58   $     73.82   Rx
S-1/D    Reginald A Greene       Buena Vista Medical Services   20367      6/1/2020   $   22.29 $         26.75   $     74.30   Rx
S-1/D    Hamed Yazdanpanah       Buena Vista Medical Services   16224      8/2/2019   $   34.52 $         41.42   $    115.08   Rx
S-1/D    Hamed Yazdanpanah       Buena Vista Medical Services   16225      8/2/2019   $   34.79 $         41.75   $    115.96   Rx
S-1/D    Hamed Yazdanpanah       Buena Vista Medical Services   16226      8/2/2019   $   34.66 $         41.59   $    115.52   Rx
S-1/D    Ronald Chalker          Ensign Legal Support            8273    10/29/2018   $   25.50 $         30.60   $     38.25   MR
S-1/D    Ronald Chalker          Ensign Legal Support            8285     9/24/2018   $   32.25 $         38.70   $     48.38   MR
S-1/D    Ronald Chalker          Ensign Legal Support            8286     9/24/2018   $   61.08 $         73.30   $     91.62   MR
S-1/D    Ronald Chalker          Ensign Legal Support            8311     9/24/2018   $   76.93 $         92.32   $    115.40   MR
S-1/D    Omid Khorshidi          Buena Vista Medical Services   15436      1/3/2020   $   50.85 $         61.02   $    169.49   Rx
S-1/D    Omid Khorshidi          Buena Vista Medical Services   15437      1/3/2020   $ 151.53 $         181.84   $    505.09   Rx
S-1/D    Omid Khorshidi          Buena Vista Medical Services   15438      1/3/2020   $   15.48 $         18.58   $     51.60   Rx
S-1/D    Omid Khorshidi          Buena Vista Medical Services   15440      6/3/2019   $   35.03 $         42.04   $    116.76   Rx
S-1/D    Omid Khorshidi          Buena Vista Medical Services   15441      1/3/2020   $   17.22 $         20.66   $     57.40   Rx
S-1/D    Daniel Del Rio          Compex                          6341     1/10/2018   $   64.80 $         77.76   $    129.60   MR
S-1/D    Daniel Del Rio          Compex                          6342      2/7/2018   $   80.00 $         96.00   $    160.00   MR
S-1/D    Daniel Del Rio          Compex                          6350      2/7/2018   $   90.00 $        108.00   $    180.00   MR
S-1/D    Daniel Del Rio          Compex                          6351      2/7/2018   $   65.20 $         78.24   $    130.40   MR
S-1/D    Daniel Del Rio          Compex                          6352      2/7/2018   $   66.00 $         79.20   $    132.00   MR
S-1/D    Daniel Del Rio          Compex                          6353      2/7/2018   $   67.20 $         80.64   $    134.40   MR
S-1/D    Daniel Del Rio          Compex                          6354      3/1/2018   $   78.80 $         94.56   $    157.60   MR
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15774     12/3/2019   $   20.10 $         24.12   $     67.00   Rx
S-1/D    Jonathan Broderick      Ensign Legal Support           10691     5/22/2019   $   70.58 $         84.70   $    105.87   MR
S-1/D    Jonathan Broderick      Ensign Legal Support           10694     5/22/2019   $   79.28 $         95.14   $    158.56   MR
S-1/D    Hamed Yazdanpanah       Buena Vista Medical Services   17090      3/4/2020   $   41.55 $         49.86   $    138.51   Rx
S-1/D    Hamed Yazdanpanah       Buena Vista Medical Services   17459      4/3/2020   $   56.59 $         67.91   $    188.62   Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16704      7/3/2019   $   34.80 $         41.76   $    116.00   Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16705      7/3/2019   $   34.67 $         41.60   $    115.56   Rx
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List of Receivables for Series-1/Intake D
                                                                                     Receivables
Intake   Lawyer            Provider                       BillId Date Paid    Purch Price      Cost       GFB Amount Fund Type
S-1/D    Nicholas Lasso    Buena Vista Medical Services   16706    7/3/2019   $   48.43 $         58.12   $    161.44   Rx
S-1/D    Nicholas Lasso    Buena Vista Medical Services   17999    5/5/2020   $   72.35 $         86.82   $    241.18   Rx
S-1/D    Nicholas Lasso    Buena Vista Medical Services   18000    5/5/2020   $   39.37 $         47.24   $    131.23   Rx
S-1/D    Ronald Chalker    Ensign Legal Support            8085   8/26/2018   $   66.83 $         80.20   $    100.25   MR
S-1/D    Ronald Chalker    Ensign Legal Support            8272   9/24/2018   $   66.08 $         79.30   $     99.12   MR
S-1/D    Ronald Chalker    Ensign Legal Support            8343   9/28/2018   $   36.75 $         44.10   $     55.13   MR
S-1/D    Ronald Chalker    Ensign Legal Support            8344   9/28/2018   $   25.00 $         30.00   $     37.50   MR
S-1/D    Arash Khorsandi   Buena Vista Medical Services   16563    8/2/2019   $   34.84 $         41.81   $    116.12   Rx
S-1/D    Mauro Fiore Jr    Buena Vista Medical Services   17012    3/4/2020   $   37.90 $         45.48   $    126.35   Rx
S-1/D    Mauro Fiore Jr    Buena Vista Medical Services   17013    3/4/2020   $   36.57 $         43.88   $    121.90   Rx
S-1/D    Mauro Fiore Jr    Buena Vista Medical Services   17014    3/4/2020   $   37.37 $         44.84   $    124.56   Rx
S-1/D    Mauro Fiore Jr    Buena Vista Medical Services   17015    3/4/2020   $   36.79 $         44.15   $    122.63   Rx
S-1/D    Mauro Fiore Jr    Buena Vista Medical Services   17370    4/3/2020   $   37.90 $         45.48   $    126.35   Rx
S-1/D    Mauro Fiore Jr    Buena Vista Medical Services   17752    4/3/2020   $   37.53 $         45.04   $    125.10   Rx
S-1/D    Mauro Fiore Jr    Buena Vista Medical Services   17753    4/3/2020   $   57.74 $         69.29   $    192.46   Rx
S-1/D    Mauro Fiore Jr    Buena Vista Medical Services   19776    6/1/2020   $   36.79 $         44.15   $    122.63   Rx
S-1/D    Mauro Fiore Jr    Buena Vista Medical Services   19777    6/1/2020   $   25.84 $         31.01   $     86.12   Rx
S-1/D    Mauro Fiore Jr    Buena Vista Medical Services   21268    7/2/2020   $   25.84 $         31.01   $     86.12   Rx
S-1/D    Bryan Blackwell   Buena Vista Medical Services   16845    2/4/2020   $   77.91 $         93.49   $    259.69   Rx
S-1/D    Bryan Blackwell   Buena Vista Medical Services   16846    2/4/2020   $   36.65 $         43.98   $    122.17   Rx
S-1/D    Bryan Blackwell   Buena Vista Medical Services   17083    3/4/2020   $   36.51 $         43.81   $    121.71   Rx
S-1/D    Nancy Bernstein   Buena Vista Medical Services   18487    5/5/2020   $   46.64 $         55.97   $    155.47   Rx
S-1/D    Nancy Bernstein   Buena Vista Medical Services   18488    5/5/2020   $   44.88 $         53.86   $    149.60   Rx
S-1/D    Nancy Bernstein   Buena Vista Medical Services   18489    5/5/2020   $   30.36 $         36.43   $    101.19   Rx
S-1/D    Nancy Bernstein   Buena Vista Medical Services   17305    3/4/2020   $   36.73 $         44.08   $    122.44   Rx
S-1/D    Nancy Bernstein   Buena Vista Medical Services   17306    3/4/2020   $   16.71 $         20.05   $     55.71   Rx
S-1/D    Nancy Bernstein   Buena Vista Medical Services   17621    4/3/2020   $   26.63 $         31.96   $     88.76   Rx
S-1/D    Nancy Bernstein   Buena Vista Medical Services   18004    5/5/2020   $   25.73 $         30.88   $     85.78   Rx
S-1/D    Nancy Bernstein   Buena Vista Medical Services   18133    5/5/2020   $   56.30 $         67.56   $    187.66   Rx
S-1/D    Nancy Bernstein   Buena Vista Medical Services   18134    5/5/2020   $   40.92 $         49.10   $    136.40   Rx
S-1/D    Nancy Bernstein   Buena Vista Medical Services   19563    6/1/2020   $   40.92 $         49.10   $    136.40   Rx
S-1/D    Nicholas Lasso    Buena Vista Medical Services   16667    8/2/2019   $   37.56 $         45.07   $    125.20   Rx
S-1/D    Nicholas Lasso    Buena Vista Medical Services   16669 4/30/2019     $   33.22 $         39.86   $    110.72   Rx
S-1/D    Nicholas Lasso    Buena Vista Medical Services   16670 4/30/2019     $   32.98 $         39.58   $    109.94   Rx
S-1/D    Arash Khorsandi   Buena Vista Medical Services   16648 10/1/2019     $   42.16 $         50.59   $    140.52   Rx
S-1/D    Arash Khorsandi   Buena Vista Medical Services   16649 10/1/2019     $   36.16 $         43.39   $    120.52   Rx
S-1/D    Timothy Revero    Buena Vista Medical Services   16360    7/3/2019   $   34.64 $         41.57   $    115.48   Rx
S-1/D    Timothy Revero    Buena Vista Medical Services   16362    7/3/2019   $   34.64 $         41.57   $    115.48   Rx
S-1/D    Timothy Revero    Buena Vista Medical Services   16364    9/3/2019   $   34.64 $         41.57   $    115.48   Rx
S-1/D    Timothy Revero    Buena Vista Medical Services   16366    8/2/2019   $   34.64 $         41.57   $    115.48   Rx
S-1/D    Timothy Revero    Buena Vista Medical Services   16368    4/2/2019   $   34.84 $         41.81   $    116.14   Rx
S-1/D    Timothy Revero    Buena Vista Medical Services   16369    4/2/2019   $   31.53 $         37.84   $    105.10   Rx
S-1/D    Timothy Revero    Buena Vista Medical Services   16371    6/3/2019   $   31.47 $         37.76   $    104.91   Rx
S-1/D    Timothy Revero    Buena Vista Medical Services   16373 4/30/2019     $   34.84 $         41.81   $    116.14   Rx
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List of Receivables for Series-1/Intake D
                                                                                       Receivables
Intake   Lawyer              Provider                       BillId Date Paid    Purch Price      Cost         GFB Amount Fund Type
S-1/D    Timothy Revero      Buena Vista Medical Services   17292    3/4/2020   $    36.51 $        43.81     $     121.71  Rx
S-1/D    Timothy Revero      Buena Vista Medical Services   17293    3/4/2020   $    18.16 $        21.79     $      60.54  Rx
S-1/D    Timothy Revero      Buena Vista Medical Services   23229    7/2/2020   $    33.43 $        40.12     $     111.44  Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15691 12/3/2019     $    34.17 $        41.00     $     113.90  Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15692 12/3/2019     $    44.28 $        53.14     $     147.60  Rx
S-1/D    KristinH. Cogburn   Buena Vista Medical Services   16480    9/3/2019   $    34.54 $        41.45     $     115.12  Rx
S-1/D    KristinH. Cogburn   Buena Vista Medical Services   16482    8/2/2019   $    35.16 $        42.19     $     117.20  Rx
S-1/D    KristinH. Cogburn   Buena Vista Medical Services   16483    8/2/2019   $    36.00 $        43.20     $     120.00  Rx
S-1/D    Brian Nettles       Buena Vista Medical Services   16531 12/3/2019     $    36.23 $        43.48     $     120.78  Rx
S-1/D    Brian Nettles       Buena Vista Medical Services   16532 12/3/2019     $    44.55 $        53.46     $     148.50  Rx
S-1/D    Brian Nettles       Buena Vista Medical Services   16534 11/4/2019     $    44.55 $        53.46     $     148.50  Rx
S-1/D    Brian Nettles       Buena Vista Medical Services   16535 11/4/2019     $    36.23 $        43.48     $     120.78  Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15849 10/1/2019     $    34.90 $        41.88     $     116.32  Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15851    9/3/2019   $    34.98 $        41.98     $     116.60  Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15853    9/3/2019   $    37.24 $        44.69     $     124.12  Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15855 10/1/2019     $    34.90 $        41.88     $     116.32  Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15856 10/1/2019     $    34.98 $        41.98     $     116.60  Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15858 10/1/2019     $    37.24 $        44.69     $     124.12  Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15860    7/3/2019   $    37.24 $        44.69     $     124.12  Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15862    7/3/2019   $    34.98 $        41.98     $     116.60  Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15864    7/3/2019   $    37.24 $        44.69     $     124.12  Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15866    8/2/2019   $    34.90 $        41.88     $     116.32  Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15868    8/2/2019   $    34.98 $        41.98     $     116.60  Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15869    7/3/2019   $    34.90 $        41.88     $     116.32  Rx
S-1/D    D.Hess Panah        Buena Vista Medical Services   16537 11/4/2019     $    35.68 $        42.82     $     118.92  Rx
S-1/D    D.Hess Panah        Buena Vista Medical Services   16539 11/4/2019     $   (35.68) $      (42.82)    $    (118.92) Rx
S-1/D    D.Hess Panah        Buena Vista Medical Services   16541 10/1/2019     $    35.68 $        42.82     $     118.92  Rx
S-1/D    Peter Ross          Ensign Legal Support            8303   9/24/2018   $    25.25 $        30.30     $      25.25  MR
S-1/D    Peter Ross          Ensign Legal Support            8447 10/29/2018    $    64.74 $        77.69     $      97.11  MR
S-1/D    Peter Ross          Ensign Legal Support           10458               $    (0.25) $        (0.30)   $      (0.25) MR
S-1/D    Hamed Yazdanpanah   Buena Vista Medical Services   15518 11/4/2019     $    31.20 $        37.44     $     104.01  Rx
S-1/D    Hamed Yazdanpanah   Buena Vista Medical Services   15520    1/3/2020   $    32.24 $        38.69     $     107.45  Rx
S-1/D    Hamed Yazdanpanah   Buena Vista Medical Services   15522    2/4/2020   $    15.47 $        18.56     $      51.57  Rx
S-1/D    Hamed Yazdanpanah   Buena Vista Medical Services   15524 11/4/2019     $    34.82 $        41.78     $     116.08  Rx
S-1/D    Hamed Yazdanpanah   Buena Vista Medical Services   15525 11/4/2019     $    34.93 $        41.92     $     116.44  Rx
S-1/D    Hamed Yazdanpanah   Buena Vista Medical Services   15526 11/4/2019     $    32.24 $        38.69     $     107.45  Rx
S-1/D    Hamed Yazdanpanah   Buena Vista Medical Services   18978    6/1/2020   $    15.47 $        18.56     $      51.57  Rx
S-1/D    Hamed Yazdanpanah   Buena Vista Medical Services   22739    7/2/2020   $    15.47 $        18.56     $      51.57  Rx
S-1/D    Hamed Yazdanpanah   Buena Vista Medical Services   24413               $    15.47 $        18.56     $      51.57  Rx
S-1/D    Farid Yaghoubtil    Buena Vista Medical Services   19568    6/1/2020   $    37.53 $        45.04     $     125.10  Rx
S-1/D    Farid Yaghoubtil    Buena Vista Medical Services   19569    6/1/2020   $    47.95 $        57.54     $     159.84  Rx
S-1/D    Farid Yaghoubtil    Buena Vista Medical Services   24410               $    76.94 $        92.33     $     256.46  Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15477    1/3/2020   $    30.65 $        36.78     $     102.18  Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15479 12/3/2019     $    29.46 $        35.35     $      98.20  Rx
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List of Receivables for Series-1/Intake D
                                                                                       Receivables
Intake   Lawyer              Provider                       BillId Date Paid    Purch Price      Cost       GFB Amount Fund Type
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15480 12/3/2019     $   62.79 $         75.35   $    209.31   Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   16197    8/2/2019   $   35.35 $         42.42   $    117.84   Rx
S-1/D    Brittany Young      Buena Vista Medical Services   16625 12/3/2019     $   23.69 $         28.43   $     78.98   Rx
S-1/D    Brittany Young      Buena Vista Medical Services   16626 12/3/2019     $   19.26 $         23.11   $     64.20   Rx
S-1/D    Brittany Young      Buena Vista Medical Services   16809    2/4/2020   $   37.02 $         44.42   $    123.39   Rx
S-1/D    Arash Khorsandi     Buena Vista Medical Services   15729 12/3/2019     $   64.98 $         77.98   $    216.61   Rx
S-1/D    Arash Khorsandi     Buena Vista Medical Services   15730 12/3/2019     $   25.16 $         30.19   $     83.85   Rx
S-1/D    ShahabSean Shamsi   Buena Vista Medical Services   16310 10/1/2019     $   34.84 $         41.81   $    116.12   Rx
S-1/D    ShahabSean Shamsi   Buena Vista Medical Services   16312 10/1/2019     $   34.75 $         41.70   $    115.84   Rx
S-1/D    ShahabSean Shamsi   Buena Vista Medical Services   16314    9/3/2019   $   34.84 $         41.81   $    116.12   Rx
S-1/D    ShahabSean Shamsi   Buena Vista Medical Services   16316 11/4/2019     $   35.48 $         42.58   $    118.28   Rx
S-1/D    ShahabSean Shamsi   Buena Vista Medical Services   16317 11/4/2019     $   34.98 $         41.98   $    116.60   Rx
S-1/D    ShahabSean Shamsi   Buena Vista Medical Services   16318 11/4/2019     $   35.57 $         42.68   $    118.56   Rx
S-1/D    ShahabSean Shamsi   Buena Vista Medical Services   16320    8/2/2019   $   34.84 $         41.81   $    116.12   Rx
S-1/D    ShahabSean Shamsi   Buena Vista Medical Services   16322    7/3/2019   $   34.70 $         41.64   $    115.68   Rx
S-1/D    ShahabSean Shamsi   Buena Vista Medical Services   16323    7/3/2019   $   34.60 $         41.52   $    115.32   Rx
S-1/D    ShahabSean Shamsi   Buena Vista Medical Services   16325    9/3/2019   $   34.75 $         41.70   $    115.84   Rx
S-1/D    ShahabSean Shamsi   Buena Vista Medical Services   16326    9/3/2019   $   34.84 $         41.81   $    116.12   Rx
S-1/D    ShahabSean Shamsi   Buena Vista Medical Services   16327    8/2/2019   $   34.75 $         41.70   $    115.84   Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   16838    2/4/2020   $   37.48 $         44.98   $    124.94   Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   20363    6/1/2020   $   25.97 $         31.16   $     86.58   Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   20364    6/1/2020   $   89.97 $        107.96   $    299.89   Rx
S-1/D    Kenneth Klein       Buena Vista Medical Services   15415 12/3/2019     $   51.26 $         61.51   $    170.86   Rx
S-1/D    Kenneth Klein       Buena Vista Medical Services   15417    1/3/2020   $   36.94 $         44.33   $    123.12   Rx
S-1/D    Kenneth Klein       Buena Vista Medical Services   15419    1/3/2020   $   18.24 $         21.89   $     60.80   Rx
S-1/D    Kenneth Klein       Buena Vista Medical Services   15421 12/3/2019     $   36.94 $         44.33   $    123.12   Rx
S-1/D    Kenneth Klein       Buena Vista Medical Services   15423 10/1/2019     $   34.55 $         41.46   $    115.16   Rx
S-1/D    Kenneth Klein       Buena Vista Medical Services   15424 10/1/2019     $   35.10 $         42.12   $    117.00   Rx
S-1/D    Kenneth Klein       Buena Vista Medical Services   15426 11/4/2019     $   36.94 $         44.33   $    123.12   Rx
S-1/D    Hamed Yazdanpanah   Buena Vista Medical Services   16799 10/1/2019     $   35.69 $         42.83   $    118.96   Rx
S-1/D    Farid Yaghoubtil    Buena Vista Medical Services   16297    9/3/2019   $   34.52 $         41.42   $    115.08   Rx
S-1/D    Farid Yaghoubtil    Buena Vista Medical Services   16298    9/3/2019   $   35.22 $         42.26   $    117.40   Rx
S-1/D    Farid Yaghoubtil    Buena Vista Medical Services   16300 12/3/2019     $   30.17 $         36.20   $    100.57   Rx
S-1/D    Farid Yaghoubtil    Buena Vista Medical Services   16302    7/3/2019   $   34.64 $         41.57   $    115.48   Rx
S-1/D    Farid Yaghoubtil    Buena Vista Medical Services   16304    9/3/2019   $   34.52 $         41.42   $    115.08   Rx
S-1/D    Farid Yaghoubtil    Buena Vista Medical Services   16305    9/3/2019   $   35.22 $         42.26   $    117.40   Rx
S-1/D    Hamed Yazdanpanah   Buena Vista Medical Services   16595 11/4/2019     $   35.29 $         42.35   $    117.64   Rx
S-1/D    Hamed Yazdanpanah   Buena Vista Medical Services   16596 11/4/2019     $   45.06 $         54.07   $    150.20   Rx
S-1/D    Hamed Yazdanpanah   Buena Vista Medical Services   16597 11/4/2019     $   35.36 $         42.43   $    117.88   Rx
S-1/D    Arash Khorsandi     Buena Vista Medical Services   15964 11/4/2019     $   45.56 $         54.67   $    151.85   Rx
S-1/D    Arash Khorsandi     Buena Vista Medical Services   15966 10/1/2019     $   34.81 $         41.77   $    116.04   Rx
S-1/D    Arash Khorsandi     Buena Vista Medical Services   17020    3/4/2020   $   37.04 $         44.45   $    123.46   Rx
S-1/D    Arash Khorsandi     Buena Vista Medical Services   18184    5/5/2020   $   99.86 $        119.83   $    332.85   Rx
S-1/D    Jeff Scarborough    Buena Vista Medical Services   16400    6/3/2019   $   36.18 $         43.42   $    120.60   Rx
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List of Receivables for Series-1/Intake D
                                                                                           Receivables
Intake   Lawyer                  Provider                       BillId Date Paid    Purch Price      Cost        GFB Amount Fund Type
S-1/D    Jeff Scarborough        Buena Vista Medical Services   16401    6/3/2019   $    34.81 $        41.77    $     116.04  Rx
S-1/D    Jeff Scarborough        Buena Vista Medical Services   16338    9/3/2019   $    35.06 $        42.07    $     116.88  Rx
S-1/D    Jeff Scarborough        Buena Vista Medical Services   16340    8/2/2019   $    35.12 $        42.14    $     117.08  Rx
S-1/D    Jeff Scarborough        Buena Vista Medical Services   16342               $   (35.12) $      (42.14)   $    (117.08) Rx
S-1/D    Jeff Scarborough        Buena Vista Medical Services   16343    9/3/2019   $    34.60 $        41.52    $     115.32  Rx
S-1/D    Jeff Scarborough        Buena Vista Medical Services   16345    2/4/2020   $    37.82 $        45.38    $     126.08  Rx
S-1/D    Jeff Scarborough        Buena Vista Medical Services   16346    2/4/2020   $    36.92 $        44.30    $     123.08  Rx
S-1/D    Jeff Scarborough        Buena Vista Medical Services   16348 12/3/2019     $    30.30 $        36.36    $     101.00  Rx
S-1/D    Jeff Scarborough        Buena Vista Medical Services   16350    6/3/2019   $    34.82 $        41.78    $     116.08  Rx
S-1/D    Jeff Scarborough        Buena Vista Medical Services   16352    6/3/2019   $    32.93 $        39.52    $     109.78  Rx
S-1/D    Jeff Scarborough        Buena Vista Medical Services   16353    6/3/2019   $    31.90 $        38.28    $     106.35  Rx
S-1/D    Jeff Scarborough        Buena Vista Medical Services   16354    6/3/2019   $    34.87 $        41.84    $     116.24  Rx
S-1/D    Jeff Scarborough        Buena Vista Medical Services   16355               $   (36.18) $      (43.42)   $    (120.60) Rx
S-1/D    Jeff Scarborough        Buena Vista Medical Services   16357               $    35.12 $        42.14    $     117.08  Rx
S-1/D    Jeff Scarborough        Buena Vista Medical Services   16358               $    36.18 $        43.42    $     120.60  Rx
S-1/D    Jeff Scarborough        Buena Vista Medical Services   16907    3/4/2020   $    17.47 $        20.96    $      58.24  Rx
S-1/D    Jeff Scarborough        Buena Vista Medical Services   17005    3/4/2020   $    51.92 $        62.30    $     173.08  Rx
S-1/D    Jeff Scarborough        Buena Vista Medical Services   17366    4/3/2020   $    43.63 $        52.36    $     145.43  Rx
S-1/D    Kevin Danesh            Buena Vista Medical Services   15482    1/3/2020   $    16.74 $        20.09    $      55.80  Rx
S-1/D    Kevin Danesh            Buena Vista Medical Services   15484 12/3/2019     $    41.52 $        49.82    $     138.41  Rx
S-1/D    Kevin Danesh            Buena Vista Medical Services   17018    3/4/2020   $    37.13 $        44.56    $     123.77  Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   15408 12/3/2019     $    33.78 $        40.54    $     112.61  Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   15410    2/4/2020   $    32.36 $        38.83    $     107.88  Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   15412 11/4/2019     $    33.01 $        39.61    $     110.03  Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   15413 12/3/2019     $    32.36 $        38.83    $     107.88  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15396    2/4/2020   $    37.63 $        45.16    $     125.44  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15398 11/4/2019     $    44.28 $        53.14    $     147.60  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15400 11/4/2019     $    33.78 $        40.54    $     112.61  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16832    2/4/2020   $    18.02 $        21.62    $      60.08  Rx
S-1/D    Daniel Del Rio          Ensign Legal Support            6786    3/1/2018   $ 109.00 $         130.80    $     218.00  MR
S-1/D    Daniel Del Rio          Ensign Legal Support            6789    3/1/2018   $    42.95 $        51.54    $      85.90  MR
S-1/D    Daniel Del Rio          Ensign Legal Support            7051   4/11/2018   $    60.25 $        72.30    $     120.50  MR
S-1/D    John Shook              Buena Vista Medical Services   16559    4/2/2019   $    33.32 $        39.98    $     111.07  Rx
S-1/D    John Shook              Buena Vista Medical Services   16560    4/2/2019   $    33.05 $        39.66    $     110.18  Rx
S-1/D    John Shook              Buena Vista Medical Services   16561    4/2/2019   $    31.20 $        37.44    $     104.01  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15939 10/1/2019     $    34.84 $        41.81    $     116.12  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15940 10/1/2019     $    39.79 $        47.75    $     132.64  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15942 10/1/2019     $    36.08 $        43.30    $     120.28  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15944 11/4/2019     $    46.98 $        56.38    $     156.60  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15945 11/4/2019     $    36.08 $        43.30    $     120.28  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15946 10/1/2019     $    36.08 $        43.30    $     120.28  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15948    9/3/2019   $    39.79 $        47.75    $     132.64  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15950    7/3/2019   $    34.81 $        41.77    $     116.04  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15951    7/3/2019   $    35.32 $        42.38    $     117.72  Rx
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List of Receivables for Series-1/Intake D
                                                                                           Receivables
Intake   Lawyer                  Provider                       BillId Date Paid    Purch Price      Cost        GFB Amount Fund Type
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15952 10/1/2019     $    34.84 $        41.81    $     116.12  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15953 10/1/2019     $    39.79 $        47.75    $     132.64  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15954    9/3/2019   $    34.84 $        41.81    $     116.12  Rx
S-1/D    Kevin Danesh            Buena Vista Medical Services   18977    6/1/2020   $    37.86 $        45.43    $     126.21  Rx
S-1/D    Kevin Danesh            Buena Vista Medical Services   19775    6/1/2020   $    37.86 $        45.43    $     126.21  Rx
S-1/D    D.Hess Panah            Buena Vista Medical Services   16611 10/1/2019     $    36.14 $        43.37    $     120.48  Rx
S-1/D    D.Hess Panah            Buena Vista Medical Services   16613 10/1/2019     $    35.45 $        42.54    $     118.16  Rx
S-1/D    Farid Yaghoubtil        Buena Vista Medical Services   16514    2/4/2020   $    40.00 $        48.00    $     133.34  Rx
S-1/D    Farid Yaghoubtil        Buena Vista Medical Services   16811    2/4/2020   $    37.70 $        45.24    $     125.67  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16162    6/3/2019   $    36.77 $        44.12    $     122.58  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16163    6/3/2019   $    33.65 $        40.38    $     112.16  Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   15887    9/3/2019   $    34.68 $        41.62    $     115.60  Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   15888    9/3/2019   $    34.90 $        41.88    $     116.32  Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   15889    9/3/2019   $    34.79 $        41.75    $     115.96  Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   15890    9/3/2019   $    34.78 $        41.74    $     115.92  Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   15891    9/3/2019   $    36.08 $        43.30    $     120.28  Rx
S-1?d    Brian Matlin            Buena Vista Medical Services   15663 12/3/2019     $   (45.10) $      (54.12)   $    (150.34) Rx
S-1/D    Brian Matlin            Buena Vista Medical Services   15665    2/4/2020   $    42.48 $        50.98    $     141.59  Rx
S-1/D    Brian Matlin            Buena Vista Medical Services   15667 11/4/2019     $    45.10 $        54.12    $     150.34  Rx
S-1/D    Brian Matlin            Buena Vista Medical Services   15668 11/4/2019     $    30.04 $        36.05    $     100.14  Rx
S-1/D    Brian Matlin            Buena Vista Medical Services   18192    5/5/2020   $    26.87 $        32.24    $      89.56  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15541    1/3/2020   $    27.59 $        33.11    $      91.97  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15543 12/3/2019     $    27.59 $        33.11    $      91.97  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15545 12/3/2019     $    35.68 $        42.82    $     118.92  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15547    2/4/2020   $    27.59 $        33.11    $      91.97  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15548    2/4/2020   $    35.68 $        42.82    $     118.92  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15549    1/3/2020   $    35.68 $        42.82    $     118.92  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15551 11/4/2019     $    35.68 $        42.82    $     118.92  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15553 10/1/2019     $    34.64 $        41.57    $     115.48  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15555    9/3/2019   $    34.80 $        41.76    $     116.00  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15557    8/2/2019   $    35.68 $        42.82    $     118.92  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15559 10/1/2019     $    34.64 $        41.57    $     115.48  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15561 10/1/2019     $    34.90 $        41.88    $     116.32  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15562 10/1/2019     $    35.68 $        42.82    $     118.92  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   17757    4/3/2020   $    35.68 $        42.82    $     118.92  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   17758    4/3/2020   $    27.59 $        33.11    $      91.97  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   24465               $    38.86 $        46.63    $     129.54  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16565    8/2/2019   $    35.46 $        42.55    $     118.20  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16566    8/2/2019   $    36.30 $        43.56    $     121.00  Rx
S-1/D    Kevin Danesh            Buena Vista Medical Services   16657    7/3/2019   $    35.36 $        42.43    $     117.88  Rx
S-1/D    Kevin Danesh            Buena Vista Medical Services   16658    7/3/2019   $    36.23 $        43.48    $     120.76  Rx
S-1/D    Kevin Danesh            Buena Vista Medical Services   18185    5/5/2020   $    54.59 $        65.51    $     181.96  Rx
S-1/D    Kevin Danesh            Buena Vista Medical Services   18186    5/5/2020   $    63.58 $        76.30    $     211.95  Rx
S-1/D    Kevin Danesh            Buena Vista Medical Services   18187    5/5/2020   $    46.05 $        55.26    $     153.50  Rx
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List of Receivables for Series-1/Intake D
                                                                                          Receivables
Intake   Lawyer               Provider                       BillId   Date Paid    Purch Price      Cost        GFB Amount Fund Type
S-1/D    Morgan Fashchti      Buena Vista Medical Services   16519      2/4/2020   $    38.11 $        45.73    $     127.03  Rx
S-1/D    Morgan Fashchti      Buena Vista Medical Services   16520      2/4/2020   $    37.00 $        44.40    $     123.35  Rx
S-1/D    Peter Ross           Ensign Legal Support            8297     9/24/2018   $    28.75 $        34.50    $      43.12  MR
S-1/D    Peter Ross           Ensign Legal Support            8298     9/24/2018   $ 103.51 $         124.21    $     155.26  MR
S-1/D    Peter Ross           Ensign Legal Support            8299     9/24/2018   $ 394.58 $         473.50    $     591.87  MR
S-1/D    Salar Hendizadeh     Buena Vista Medical Services   24427                 $ 128.33 $         154.00    $     427.77  Rx
S-1/D    Salar Hendizadeh     Buena Vista Medical Services   24428                 $    39.31 $        47.17    $     131.02  Rx
S-1/D    Daniel Del Rio       Ensign Legal Support            7008    10/12/2017   $    40.50 $        48.60    $      81.00  MR
S-1/D    Daniel Del Rio       Med R                           7120     9/13/2017   $ 100.65 $         120.78    $     201.30  MR
S-1/D    Daniel Del Rio       Med R                           7121     9/13/2017   $    57.00 $        68.40    $     114.00  MR
S-1/D    Daniel Del Rio       Med R                           7122     9/13/2017   $    48.60 $        58.32    $      97.20  MR
S-1/D    Daniel Del Rio       Med R                           7123     9/13/2017   $    77.52 $        93.02    $     155.04  MR
S-1/D    Daniel Del Rio       Ensign Legal Support            7058     8/13/2017   $    66.25 $        79.50    $     132.50  MR
S-1/D    Daniel Del Rio       Ensign Legal Support            7059     8/13/2017   $    47.00 $        56.40    $      94.00  MR
S-1/D    Daniel Del Rio       Ensign Legal Support            7061     8/13/2017   $    51.25 $        61.50    $     102.50  MR
S-1/D    Daniel Del Rio       Ensign Legal Support            7062     8/13/2017   $    52.50 $        63.00    $     105.00  MR
S-1/D    Daniel Del Rio       Ensign Legal Support            7023    10/12/2017   $    57.75 $        69.30    $     115.50  MR
S-1/D    Daniel Del Rio       Ensign Legal Support            6963    12/10/2017   $    66.25 $        79.50    $     132.50  MR
S-1/D    Daniel Del Rio       Ensign Legal Support            6964    12/10/2017   $    48.75 $        58.50    $      97.50  MR
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16056     4/30/2019   $    48.85 $        58.62    $     162.82  Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16057     4/30/2019   $    46.27 $        55.52    $     154.24  Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   15428      1/3/2020   $    32.16 $        38.59    $     107.21  Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   15430      2/4/2020   $    47.92 $        57.50    $     159.74  Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   15432     12/3/2019   $    49.12 $        58.94    $     163.73  Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   15434     12/3/2019   $    47.92 $        57.50    $     159.74  Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   16830      2/4/2020   $    37.77 $        45.32    $     125.89  Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   17019                 $    47.92 $        57.50    $     159.74  Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   17167                 $   (47.92) $      (57.50)   $    (159.74) Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   17168      3/4/2020   $    47.92 $        57.50    $     159.74  Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   18182      5/5/2020   $    47.20 $        56.64    $     157.34  Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   19782      6/1/2020   $    47.20 $        56.64    $     157.34  Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   19783      6/1/2020   $    61.95 $        74.34    $     206.50  Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   19784      6/1/2020   $    47.92 $        57.50    $     159.74  Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   18079      5/5/2020   $    29.14 $        34.97    $      97.12  Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   18080      5/5/2020   $    72.50 $        87.00    $     241.68  Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   18974      6/1/2020   $    47.20 $        56.64    $     157.34  Rx
S-1/D    W. Winston Briggs    Ensign Legal Support            9803     2/21/2019   $ 196.52 $         235.82    $     294.78  MR
S-1/D    Jonathan Broderick   Ensign Legal Support           10681     5/22/2019   $    89.41 $       107.29    $     178.82  MR
S-1/D    Jonathan Broderick   Ensign Legal Support           10683     5/22/2019   $    65.27 $        78.32    $     130.54  MR Missing Lien
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16124      6/3/2019   $    36.83 $        44.20    $     122.76  Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16125      6/3/2019   $    39.35 $        47.22    $     131.16  Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16126      6/3/2019   $    48.32 $        57.98    $     161.08  Rx
S-1/D    Daniel Del Rio       Keais;Ontellus                  8380     9/20/2018   $ 4,030.60 $     4,836.72    $ 8,061.20    MR
S-1/D    James Grant          Ensign Legal Support           11400     8/15/2019   $    25.25 $        30.30    $      50.50  MR Missing Lien
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List of Receivables for Series-1/Intake D
                                                                                           Receivables
Intake   Lawyer                  Provider                       BillId Date Paid    Purch Price      Cost       GFB Amount Fund Type
S-1/D    James Grant             Ensign Legal Support           11406 8/15/2019     $   25.25 $         30.30   $     50.50   MR
S-1/D    Michael Shemtoub        Buena Vista Medical Services   17106    3/4/2020   $   37.68 $         45.22   $    125.59   Rx
S-1/D    Michael Shemtoub        Buena Vista Medical Services   17612    4/3/2020   $   26.39 $         31.67   $     87.96   Rx
S-1/D    Michael Shemtoub        Buena Vista Medical Services   17991    5/5/2020   $   49.16 $         58.99   $    163.86   Rx
S-1/D    Michael Shemtoub        Buena Vista Medical Services   17992    5/5/2020   $   53.01 $         63.61   $    176.69   Rx
S-1/D    Michael Shemtoub        Buena Vista Medical Services   19778    6/1/2020   $   84.16 $        100.99   $    280.52   Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15602    1/3/2020   $   23.69 $         28.43   $     78.98   Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15604    2/4/2020   $   23.69 $         28.43   $     78.98   Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15605    1/3/2020   $   23.97 $         28.76   $     79.91   Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15606    1/3/2020   $   23.59 $         28.31   $     78.62   Rx
S-1/D    Richard Harris          Buena Vista Medical Services   16029    4/2/2019   $   31.82 $         38.18   $    106.08   Rx
S-1/D    Richard Harris          Buena Vista Medical Services   16030    4/2/2019   $   35.22 $         42.26   $    117.39   Rx
S-1/D    Richard Harris          Buena Vista Medical Services   16032    4/2/2019   $   41.66 $         49.99   $    138.88   Rx
S-1/D    HagopJ. Bazerkanian     Buena Vista Medical Services   15640    2/4/2020   $   39.85 $         47.82   $    132.82   Rx
S-1/D    HagopJ. Bazerkanian     Buena Vista Medical Services   15642 12/3/2019     $   39.85 $         47.82   $    132.82   Rx
S-1/D    HagopJ. Bazerkanian     Buena Vista Medical Services   15644 11/4/2019     $   39.85 $         47.82   $    132.82   Rx
S-1/D    HagopJ. Bazerkanian     Buena Vista Medical Services   17024    3/4/2020   $   39.85 $         47.82   $    132.82   Rx
S-1/D    HagopJ. Bazerkanian     Buena Vista Medical Services   17098    3/4/2020   $   37.13 $         44.56   $    123.77   Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   16005    4/2/2019   $   32.06 $         38.47   $    106.86   Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   16006    4/2/2019   $   31.72 $         38.06   $    105.73   Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   16059 4/30/2019     $   31.82 $         38.18   $    106.08   Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   16061 4/30/2019     $   32.33 $         38.80   $    107.76   Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   16063    6/3/2019   $   32.96 $         39.55   $    109.86   Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   16064    6/3/2019   $   33.02 $         39.62   $    110.06   Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   16066 4/30/2019     $   36.60 $         43.92   $    121.99   Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   16068 4/30/2019     $   31.76 $         38.11   $    105.88   Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   16069 4/30/2019     $   32.75 $         39.30   $    109.16   Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   16070 4/30/2019     $   33.70 $         40.44   $    112.32   Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   16071 4/30/2019     $   32.66 $         39.19   $    108.85   Rx
S-1/D    Matthew Hoffman         Buena Vista Medical Services   15582    1/3/2020   $   33.01 $         39.61   $    110.03   Rx
S-1/D    Matthew Hoffman         Buena Vista Medical Services   15584    2/4/2020   $   16.85 $         20.22   $     56.17   Rx
S-1/D    Matthew Hoffman         Buena Vista Medical Services   15585    2/4/2020   $   33.01 $         39.61   $    110.03   Rx
S-1/D    Matthew Hoffman         Buena Vista Medical Services   15586    1/3/2020   $   23.61 $         28.33   $     78.70   Rx
S-1/D    Matthew Hoffman         Buena Vista Medical Services   15588 11/4/2019     $   33.01 $         39.61   $    110.03   Rx
S-1/D    Matthew Hoffman         Buena Vista Medical Services   15589 11/4/2019     $   88.33 $        106.00   $    294.44   Rx
S-1/D    Matthew Hoffman         Buena Vista Medical Services   15590    1/3/2020   $   15.72 $         18.86   $     52.40   Rx
S-1/D    Matthew Hoffman         Buena Vista Medical Services   17027    3/4/2020   $   36.73 $         44.08   $    122.44   Rx
S-1/D    Matthew Hoffman         Buena Vista Medical Services   17101    3/4/2020   $   33.01 $         39.61   $    110.03   Rx
S-1/D    Matthew Hoffman         Buena Vista Medical Services   17375    4/3/2020   $   36.73 $         44.08   $    122.44   Rx
S-1/D    Matthew Hoffman         Buena Vista Medical Services   17464    4/3/2020   $   33.01 $         39.61   $    110.03   Rx
S-1/D    Matthew Hoffman         Buena Vista Medical Services   18070    5/5/2020   $   36.73 $         44.08   $    122.44   Rx
S-1/D    Matthew Hoffman         Buena Vista Medical Services   18980    6/1/2020   $   36.73 $         44.08   $    122.44   Rx
S-1/D    Matthew Hoffman         Buena Vista Medical Services   18981    6/1/2020   $   33.01 $         39.61   $    110.03   Rx
S-1/D    Matthew Hoffman         Buena Vista Medical Services   19558    6/1/2020   $   23.61 $         28.33   $     78.70   Rx
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List of Receivables for Series-1/Intake D
                                                                                         Receivables
Intake   Lawyer               Provider                        BillId Date Paid    Purch Price      Cost        GFB Amount Fund Type
S-1/D    Matthew Hoffman      Buena Vista Medical Services   21271     7/2/2020   $    36.73 $        44.08    $     122.44  Rx
S-1/D    Matthew Hoffman      Buena Vista Medical Services   21272     7/2/2020   $    33.01 $        39.61    $     110.03  Rx
S-1/D    Matthew Hoffman      Buena Vista Medical Services   23962                $    36.73 $        44.08    $     122.44  Rx
S-1/D    Matthew Hoffman      Buena Vista Medical Services   24419                $    33.01 $        39.61    $     110.03  Rx
S-1/D    Omid Khorshidi       Buena Vista Medical Services   24476                $    51.36 $        61.63    $     171.19  Rx
S-1/D    Jacob Emrani         Buena Vista Medical Services   18137     5/5/2020   $    29.60 $        35.52    $      98.67  Rx
S-1/D    Jacob Emrani         Buena Vista Medical Services   18180     5/5/2020   $    41.67 $        50.00    $     138.89  Rx
S-1/D    Jacob Emrani         Buena Vista Medical Services   19549     6/1/2020   $    29.60 $        35.52    $      98.67  Rx
S-1/D    Jacob Emrani         Buena Vista Medical Services   22735     7/2/2020   $    41.46 $        49.75    $     138.19  Rx
S-1/D    Jacob Emrani         Buena Vista Medical Services   22736     7/2/2020   $    38.42 $        46.10    $     128.07  Rx
S-1/D    Arash Khorsandi      Buena Vista Medical Services   16599 11/4/2019      $    34.85 $        41.82    $     116.16  Rx
S-1/D    Kevin Danesh         Buena Vista Medical Services   15921                $   (36.59) $      (43.91)   $    (121.96) Rx
S-1/D    Kevin Danesh         Buena Vista Medical Services   15923                $    36.59 $        43.91    $     121.96  Rx
S-1/D    Kevin Danesh         Buena Vista Medical Services   15925 10/1/2019      $    36.59 $        43.91    $     121.96  Rx
S-1/D    Jonathan Broderick   Ensign Legal Support           10685 5/22/2019      $    58.01 $        69.61    $     116.02  MR
S-1/D    Nancy Bernstein      Buena Vista Medical Services   19561     6/1/2020   $    56.30 $        67.56    $     187.66  Rx
S-1/D    Nancy Bernstein      Buena Vista Medical Services   19562     6/1/2020   $    42.82 $        51.38    $     142.73  Rx
S-1/D    Nancy Bernstein      Buena Vista Medical Services   20361     6/1/2020   $    56.30 $        67.56    $     187.66  Rx
S-1/D    Nancy Bernstein      Buena Vista Medical Services   20362     6/1/2020   $    42.82 $        51.38    $     142.73  Rx
S-1/D    Nancy Bernstein      Buena Vista Medical Services   23833     7/2/2020   $    42.82 $        51.38    $     142.73  Rx
S-1/D    Nancy Bernstein      Buena Vista Medical Services   23834     7/2/2020   $    56.30 $        67.56    $     187.66  Rx
S-1/D    Daniel Del Rio       Ensign Legal Support            6061 12/10/2017     $    57.10 $        68.52    $     114.20  MR Missing Lien
S-1/D    Daniel Del Rio       Ensign Legal Support            6941 11/15/2017     $    41.75 $        50.10    $      83.50  MR
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16039 4/30/2019      $    31.64 $        37.97    $     105.46  Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16041     6/3/2019   $    55.86 $        67.03    $     186.19  Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16043     4/2/2019   $    31.65 $        37.98    $     105.50  Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16044     4/2/2019   $    31.68 $        38.02    $     105.61  Rx
S-1/D    Michael Shemtoub     Buena Vista Medical Services   17474     4/3/2020   $    54.43 $        65.32    $     181.44  Rx
S-1/D    Michael Shemtoub     Buena Vista Medical Services   18057     5/5/2020   $    54.43 $        65.32    $     181.44  Rx
S-1/D    Michael Shemtoub     Buena Vista Medical Services   18125     5/5/2020   $    27.46 $        32.95    $      91.53  Rx
S-1/D    Michael Shemtoub     Buena Vista Medical Services   18126     5/5/2020   $    23.09 $        27.71    $      76.96  Rx
S-1/D    Kevin Danesh         Buena Vista Medical Services   17091     3/4/2020   $    37.90 $        45.48    $     126.35  Rx
S-1/D    Kevin Danesh         Buena Vista Medical Services   17092     3/4/2020   $    37.61 $        45.13    $     125.36  Rx
S-1/D    Nancy Bernstein      Buena Vista Medical Services   18142     5/5/2020   $    43.31 $        51.97    $     144.38  Rx
S-1/D    Nancy Bernstein      Buena Vista Medical Services   18985     6/1/2020   $    47.95 $        57.54    $     159.84  Rx
S-1/D    Nancy Bernstein      Buena Vista Medical Services   21276     7/2/2020   $    43.31 $        51.97    $     144.38  Rx
S-1/D    Nancy Bernstein      Buena Vista Medical Services   21277     7/2/2020   $    47.95 $        57.54    $     159.84  Rx
S-1/D    Nancy Bernstein      Buena Vista Medical Services   23963                $    47.95 $        57.54    $     159.84  Rx
S-1/D    Nancy Bernstein      Buena Vista Medical Services   24420                $    45.03 $        54.04    $     150.10  Rx
S-1/D    Neal Howard          Ensign Legal Support            7598     7/1/2018   $    40.25 $        48.30    $      80.50  MR
S-1/D    Neal Howard          Ensign Legal Support            7599     7/1/2018   $    42.75 $        51.30    $      85.50  MR
S-1/D    Neal Howard          David-Preferred Non-Emergency Transport
                                                              7672 LLC7/12/2018   $ 315.00 $         378.00    $     472.50  MR
S-1/D    Neal Howard          Ensign Legal Support            7702    8/26/2018   $ 147.46 $         176.95    $     221.19  MR
S-1/D    Neal Howard          Ensign Legal Support            7766    8/26/2018   $    42.35 $        50.82    $      63.52  MR
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List of Receivables for Series-1/Intake D
                                                                                           Receivables
Intake   Lawyer            Provider                          BillId   Date Paid    Purch Price       Cost       GFB Amount Fund Type
S-1/D    Neal Howard       Ensign Legal Support               7768     8/26/2018   $     25.25 $        30.30   $     37.87   MR
S-1/D    Neal Howard       Ensign Legal Support               7770     8/26/2018   $     25.25 $        30.30   $     37.87   MR
S-1/D    Neal Howard       Ensign Legal Support               7772     8/26/2018   $     25.25 $        30.30   $     37.88   MR
S-1/D    Neal Howard       Ensign Legal Support               7810     8/26/2018   $     50.50 $        60.60   $     75.75   MR Missing Lien
S-1/D    Neal Howard       Ensign Legal Support               7856     8/12/2018   $     58.26 $        69.91   $    116.52   MR
S-1/D    Neal Howard       Ensign Legal Support               8324     9/24/2018   $     45.50 $        54.60   $     91.00   MR Missing Lien
S-1/D    Neal Howard       Buena Vista Medical Services      15352     9/17/2018   $     28.54 $        34.25   $     95.14   Rx
S-1/D    Nancy Bernstein   Buena Vista Medical Services      17466      4/3/2020   $     48.34 $        58.01   $    161.13   Rx
S-1/D    Nancy Bernstein   Buena Vista Medical Services      17467      4/3/2020   $     40.14 $        48.17   $    133.80   Rx
S-1/D    Nancy Bernstein   Buena Vista Medical Services      18071      5/5/2020   $     37.53 $        45.04   $    125.10   Rx
S-1/D    Nancy Bernstein   Buena Vista Medical Services      18072      5/5/2020   $     48.34 $        58.01   $    161.13   Rx
S-1/D    Nicholas Lasso    Buena Vista Medical Services      15596      1/3/2020   $     44.33 $        53.20   $    147.78   Rx
S-1/D    Nicholas Lasso    Buena Vista Medical Services      15597      1/3/2020   $     33.65 $        40.38   $    112.18   Rx
S-1/D    Nicholas Lasso    Buena Vista Medical Services      15599     12/3/2019   $     44.33 $        53.20   $    147.78   Rx
S-1/D    Nicholas Lasso    Buena Vista Medical Services      15600     12/3/2019   $     33.65 $        40.38   $    112.18   Rx
S-1/D    Nicholas Lasso    Buena Vista Medical Services      16914      3/4/2020   $     33.65 $        40.38   $    112.18   Rx
S-1/D    Nicholas Lasso    Buena Vista Medical Services      16915      3/4/2020   $     44.33 $        53.20   $    147.78   Rx
S-1/D    Nicholas Lasso    Buena Vista Medical Services      18073      5/5/2020   $     33.65 $        40.38   $    112.18   Rx
S-1/D    Nicholas Lasso    Buena Vista Medical Services      18074      5/5/2020   $     44.33 $        53.20   $    147.78   Rx
S-1/D    Daniel Del Rio    Ensign Legal Support               6631     1/10/2018   $     41.25 $        49.50   $     82.50   MR
S-1/D    Daniel Del Rio    Ensign Legal Support               6834    12/22/2017   $     25.75 $        30.90   $     51.50   MR
S-1/D    Daniel Del Rio    Ensign Legal Support               6912    12/10/2017   $     27.00 $        32.40   $     54.00   MR
S-1/D    Daniel Del Rio    Ensign Legal Support               6913    12/10/2017   $     42.75 $        51.30   $     85.50   MR
S-1/D    Daniel Del Rio    Ensign Legal Support               6914    12/10/2017   $     92.00 $       110.40   $    184.00   MR
S-1/D    Daniel Del Rio    Ensign Legal Support               6915    12/10/2017   $     43.50 $        52.20   $     87.00   MR
S-1/D    Daniel Del Rio    Ensign Legal Support               6916    12/10/2017   $     40.50 $        48.60   $     81.00   MR
S-1/D    Daniel Del Rio    Ensign Legal Support               7043      5/6/2018   $     25.75 $        30.90   $     51.50   MR
S-1/D    Daniel Del Rio    Ensign Legal Support               7044     4/11/2018   $     43.00 $        51.60   $     86.00   MR
S-1/D    Bryce Angell      North Dekalb Orthopedics PC        536      5/12/2015   $ 400.00 $          480.00   $ 1,000.00    MR
S-1/D    Bryce Angell      North Dekalb Orthopedics PC        537      6/26/2015   $ 217.36 $          260.83   $    600.00   MR
S-1/D    Bryce Angell      North Dekalb Orthopedics PC        538      6/26/2015   $ 4,841.04 $      5,809.25   $ 19,470.00   PI
S-1/D    Bryce Angell      Perimeter Surgery Center of Atlanta684      9/11/2015   $ 15,966.80 $ 19,160.16      $ 39,917.00   PI
S-1/D    Bryce Angell      North Dekalb Orthopedics PC        687      9/11/2015   $     58.02 $        69.62   $    212.00   MR
S-1/D    Daniel Del Rio    Ensign Legal Support               6063      2/7/2018   $     75.50 $        90.60   $    151.00   MR
S-1/D    Neal Howard       Ensign Legal Support               8376    10/29/2018   $ 108.83 $          130.60   $    163.25   MR
S-1/D    Neal Howard       Ensign Legal Support               8405    10/29/2018   $ 202.17 $          242.60   $    303.26   MR
S-1/D    Neal Howard       Ensign Legal Support               8483    10/29/2018   $ 193.71 $          232.45   $    290.57   MR
S-1/D    Neal Howard       Ensign Legal Support               8493    10/29/2018   $     68.15 $        81.78   $    102.23   MR
S-1/D    Neal Howard       Ensign Legal Support               8546    10/29/2018   $     10.50 $        12.60   $     15.75   MR Missing Lien
S-1/D    Neal Howard       Ensign Legal Support               8611     12/7/2018   $     42.25 $        50.70   $     63.38   MR
S-1/D    Neal Howard       Ensign Legal Support               8675    10/29/2018   $     26.00 $        31.20   $     39.00   MR
S-1/D    Neal Howard       Ensign Legal Support               8684    10/29/2018   $     25.00 $        30.00   $     25.00   MR
S-1/D    Neal Howard       Ensign Legal Support               9034     12/7/2018   $     46.50 $        55.80   $     69.75   MR
S-1/D    D.Hess Panah      Buena Vista Medical Services      15618     12/3/2019   $ 104.96 $          125.95   $    349.85   Rx
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List of Receivables for Series-1/Intake D
                                                                                          Receivables
Intake   Lawyer                Provider                        BillId Date Paid    Purch Price      Cost        GFB Amount Fund Type
S-1/D    John Beals            Buena Vista Medical Services    15842    1/3/2020   $    35.84 $        43.01    $     119.48  Rx
S-1/D    John Beals            Buena Vista Medical Services    15844 12/3/2019     $    24.15 $        28.98    $      80.50  Rx
S-1/D    John Beals            Buena Vista Medical Services    15845 12/3/2019     $    23.95 $        28.74    $      79.83  Rx
S-1/D    John Beals            Buena Vista Medical Services    15846    1/3/2020   $    24.79 $        29.75    $      82.64  Rx
S-1/D    John Beals            Buena Vista Medical Services    16813    2/4/2020   $    39.35 $        47.22    $     131.18  Rx
S-1/D    John Beals            Buena Vista Medical Services    16814    2/4/2020   $    35.84 $        43.01    $     119.48  Rx
S-1/D    John Beals            Buena Vista Medical Services    16815    1/3/2020   $    24.15 $        28.98    $      80.50  Rx
S-1/D    John Beals            Buena Vista Medical Services    16817 10/1/2019     $    35.84 $        43.01    $     119.48  Rx
S-1/D    John Beals            Buena Vista Medical Services    16818 10/1/2019     $    35.47 $        42.56    $     118.24  Rx
S-1/D    John Beals            Buena Vista Medical Services    16819 10/1/2019     $    36.05 $        43.26    $     120.16  Rx
S-1/D    John Beals            Buena Vista Medical Services    16821 11/4/2019     $    35.47 $        42.56    $     118.24  Rx
S-1/D    John Beals            Buena Vista Medical Services    16822 12/3/2019     $    35.84 $        43.01    $     119.48  Rx
S-1/D    John Beals            Buena Vista Medical Services    16823 11/4/2019     $    36.05 $        43.26    $     120.16  Rx
S-1/D    John Beals            Buena Vista Medical Services    16824 11/4/2019     $    35.84 $        43.01    $     119.48  Rx
S-1/D    John Beals            Buena Vista Medical Services    16826    2/4/2020   $    38.28 $        45.94    $     127.60  Rx
S-1/D    John Beals            Buena Vista Medical Services    17087    3/4/2020   $    39.35 $        47.22    $     131.18  Rx
S-1/D    John Beals            Buena Vista Medical Services    17088    3/4/2020   $    35.84 $        43.01    $     119.48  Rx
S-1/D    John Beals            Buena Vista Medical Services    17166    3/4/2020   $    38.28 $        45.94    $     127.60  Rx
S-1/D    John Beals            Buena Vista Medical Services    17456    4/3/2020   $    35.84 $        43.01    $     119.48  Rx
S-1/D    John Beals            Buena Vista Medical Services    17457    4/3/2020   $    39.35 $        47.22    $     131.18  Rx
S-1/D    John Beals            Buena Vista Medical Services    17754    4/3/2020   $    38.28 $        45.94    $     127.60  Rx
S-1/D    John Beals            Buena Vista Medical Services    18062    5/5/2020   $    35.84 $        43.01    $     119.48  Rx
S-1/D    John Beals            Buena Vista Medical Services    18063    5/5/2020   $    39.35 $        47.22    $     131.18  Rx
S-1/D    John Beals            Buena Vista Medical Services    18181    5/5/2020   $    38.28 $        45.94    $     127.60  Rx
S-1/D    John Beals            Buena Vista Medical Services    19779    6/1/2020   $    35.84 $        43.01    $     119.48  Rx
S-1/D    John Beals            Buena Vista Medical Services    19780    6/1/2020   $    39.35 $        47.22    $     131.18  Rx
S-1/D    John Beals            Buena Vista Medical Services    19781    6/1/2020   $    38.28 $        45.94    $     127.60  Rx
S-1/D    John Beals            Buena Vista Medical Services    23232    7/2/2020   $    39.35 $        47.22    $     131.18  Rx
S-1/D    John Beals            Buena Vista Medical Services    23233    7/2/2020   $    38.28 $        45.94    $     127.60  Rx
S-1/D    John Beals            Buena Vista Medical Services    23234    7/2/2020   $    35.84 $        43.01    $     119.48  Rx We have 31 invoices on the spreadsheet but now only 29 invoices in the patient file
S-1/D    John Beals            Buena Vista Medical Services    24463               $    35.84 $        43.01    $     119.48  Rx
S-1/D    Michael Shemtoub      Buena Vista Medical Services    15499    2/4/2020   $    76.00 $        91.20    $     253.35  Rx
S-1/D    Michael Shemtoub      Buena Vista Medical Services    15500    2/4/2020   $    51.34 $        61.61    $     171.15  Rx
S-1/D    Michael Shemtoub      Buena Vista Medical Services    15502    1/3/2020   $    31.09 $        37.31    $     103.62  Rx
S-1/D    Daniel Del Rio        Ace Imaging Technologies Inc.    3865   6/15/2017   $ 258.09 $         309.71    $     516.18  MR
S-1/D    HagopJ. Bazerkanian   Buena Vista Medical Services    16795 10/1/2019     $    39.32 $        47.18    $     131.08  Rx
S-1/D    HagopJ. Bazerkanian   Buena Vista Medical Services    16796 10/1/2019     $    64.68 $        77.62    $     215.60  Rx
S-1/D    HagopJ. Bazerkanian   Buena Vista Medical Services    16797 10/1/2019     $    94.02 $       112.82    $     313.40  Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services    15821 11/4/2019     $   (35.76) $      (42.91)   $    (119.20) Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services    15823 10/1/2019     $    34.36 $        41.23    $     114.52  Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services    15824 11/4/2019     $   (34.36) $      (41.23)   $    (114.52) Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services    15825 11/4/2019     $    34.36 $        41.23    $     114.52  Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services    15826 11/4/2019     $    35.76 $        42.91    $     119.20  Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services    15827 10/1/2019     $    35.76 $        42.91    $     119.20  Rx
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List of Receivables for Series-1/Intake D
                                                                                          Receivables
Intake   Lawyer               Provider                       BillId   Date Paid    Purch Price      Cost       GFB Amount Fund Type
S-1/D    Nicholas Lasso       Buena Vista Medical Services   15829      8/2/2019   $   34.81 $         41.77   $    116.04   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   15830      8/2/2019   $   35.76 $         42.91   $    119.20   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   15832      9/3/2019   $   35.76 $         42.91   $    119.20   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   15834     10/1/2019   $   34.36 $         41.23   $    114.52   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   15835      9/3/2019   $   34.54 $         41.45   $    115.12   Rx
S-1/D    Michael Shemtoub     Buena Vista Medical Services   17476      4/3/2020   $   56.59 $         67.91   $    188.62   Rx
S-1/D    Michael Shemtoub     Buena Vista Medical Services   17477      4/3/2020   $   25.66 $         30.79   $     85.54   Rx
S-1/D    Michael Shemtoub     Buena Vista Medical Services   18975      6/1/2020   $   27.21 $         32.65   $     90.70   Rx
S-1/D    Michael Shemtoub     Buena Vista Medical Services   18976      6/1/2020   $   56.59 $         67.91   $    188.62   Rx
S-1/D    Daniel Del Rio       Ensign Legal Support            6059    12/22/2017   $   31.50 $         37.80   $     63.00   MR
S-1/D    Daniel Del Rio       Ensign Legal Support            6060    12/10/2017   $   48.50 $         58.20   $     97.00   MR
S-1/D    Daniel Del Rio       Ensign Legal Support            6971    11/15/2017   $   55.00 $         66.00   $    110.00   MR
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16664     4/30/2019   $   34.35 $         41.22   $    114.50   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16665     4/30/2019   $   32.98 $         39.58   $    109.94   Rx
S-1/D    James Grant          Ensign Legal Support           11422     8/15/2019   $   54.47 $         65.36   $    108.94   MR
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16442      7/3/2019   $   36.29 $         43.55   $    120.96   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16443      7/3/2019   $   36.22 $         43.46   $    120.72   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16444      7/3/2019   $   35.05 $         42.06   $    116.84   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16199      8/2/2019   $   40.09 $         48.11   $    133.64   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16200      8/2/2019   $   35.06 $         42.07   $    116.88   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16202     10/1/2019   $   36.00 $         43.20   $    120.00   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16204      8/2/2019   $   36.00 $         43.20   $    120.00   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16206      6/3/2019   $   31.40 $         37.68   $    104.68   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16207      6/3/2019   $   32.09 $         38.51   $    106.98   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16209      7/3/2019   $   36.00 $         43.20   $    120.00   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16210      7/3/2019   $   35.05 $         42.06   $    116.84   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16522      7/3/2019   $   36.10 $         43.32   $    120.32   Rx
S-1/D    Farid Yaghoubtil     Buena Vista Medical Services   17608      4/3/2020   $   40.05 $         48.06   $    133.50   Rx
S-1/D    Farid Yaghoubtil     Buena Vista Medical Services   17609      4/3/2020   $   37.53 $         45.04   $    125.10   Rx
S-1/D    Farid Yaghoubtil     Buena Vista Medical Services   18058      5/5/2020   $   40.05 $         48.06   $    133.50   Rx
S-1/D    Farid Yaghoubtil     Buena Vista Medical Services   18059      5/5/2020   $   85.11 $        102.13   $    283.71   Rx
S-1/D    Farid Yaghoubtil     Buena Vista Medical Services   18060      5/5/2020   $   45.14 $         54.17   $    150.46   Rx
S-1/D    Farid Yaghoubtil     Buena Vista Medical Services   18061      5/5/2020   $   38.42 $         46.10   $    128.07   Rx
S-1/D    Omid Khorshidi       Buena Vista Medical Services   15374     11/4/2019   $   35.27 $         42.32   $    117.56   Rx
S-1/D    Omid Khorshidi       Buena Vista Medical Services   15376      2/4/2020   $   37.82 $         45.38   $    126.08   Rx
S-1/D    Omid Khorshidi       Buena Vista Medical Services   15377     11/4/2019   $   35.93 $         43.12   $    119.76   Rx
S-1/D    Omid Khorshidi       Buena Vista Medical Services   15378     11/4/2019   $   34.56 $         41.47   $    115.20   Rx
S-1/D    Jonathan Broderick   Ensign Legal Support           10687     5/22/2019   $   75.03 $         90.04   $    150.06   MR
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16240     11/4/2019   $   31.46 $         37.75   $    104.87   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16241     11/4/2019   $   44.28 $         53.14   $    147.60   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16242     11/4/2019   $   36.94 $         44.33   $    123.12   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16244      2/4/2020   $   44.28 $         53.14   $    147.60   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16246      1/3/2020   $   36.94 $         44.33   $    123.12   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16248     12/3/2019   $   36.94 $         44.33   $    123.12   Rx
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List of Receivables for Series-1/Intake D
                                                                                        Receivables
Intake   Lawyer               Provider                       BillId Date Paid    Purch Price      Cost       GFB Amount Fund Type
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16250    7/3/2019   $   36.94 $         44.33   $    123.12   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16252    7/3/2019   $   36.94 $         44.33   $    123.12   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16254    7/3/2019   $   35.86 $         43.03   $    119.52   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16256 10/1/2019     $   36.94 $         44.33   $    123.12   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16258    9/3/2019   $   36.94 $         44.33   $    123.12   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16260    8/2/2019   $   36.94 $         44.33   $    123.12   Rx
S-1/D    Farid Yaghoubtil     Buena Vista Medical Services   24478               $   24.41 $         29.29   $     81.36   Rx
S-1/D    Farid Yaghoubtil     Buena Vista Medical Services   24479               $   26.84 $         32.21   $     89.45   Rx
S-1/D    Lawrence Ruiz        Buena Vista Medical Services   23972               $   37.53 $         45.04   $    125.10   Rx
S-1/D    Lawrence Ruiz        Buena Vista Medical Services   23974               $   76.97 $         92.36   $    256.57   Rx
S-1/D    Justin Weinrich      Buena Vista Medical Services   16769 12/3/2019     $   44.48 $         53.38   $    148.28   Rx
S-1/D    Justin Weinrich      Buena Vista Medical Services   16770 12/3/2019     $   44.46 $         53.35   $    148.21   Rx
S-1/D    Justin Weinrich      Buena Vista Medical Services   16772    1/3/2020   $   44.46 $         53.35   $    148.21   Rx
S-1/D    Justin Weinrich      Buena Vista Medical Services   16773 12/3/2019     $   31.85 $         38.22   $    106.16   Rx
S-1/D    Justin Weinrich      Buena Vista Medical Services   16775 11/4/2019     $   44.46 $         53.35   $    148.21   Rx
S-1/D    Justin Weinrich      Buena Vista Medical Services   16777 11/4/2019     $   44.48 $         53.38   $    148.28   Rx
S-1/D    Justin Weinrich      Buena Vista Medical Services   16778 11/4/2019     $   44.78 $         53.74   $    149.26   Rx
S-1/D    Justin Weinrich      Buena Vista Medical Services   16779 11/4/2019     $   38.81 $         46.57   $    129.38   Rx
S-1/D    Justin Weinrich      Buena Vista Medical Services   16780 11/4/2019     $   31.85 $         38.22   $    106.16   Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   15514    2/4/2020   $   23.79 $         28.55   $     79.29   Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   15516    1/3/2020   $   23.79 $         28.55   $     79.29   Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   16908    3/4/2020   $   37.70 $         45.24   $    125.67   Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   17089    3/4/2020   $   23.79 $         28.55   $     79.29   Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   18481    5/5/2020   $   23.79 $         28.55   $     79.29   Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   18482    5/5/2020   $   37.70 $         45.24   $    125.67   Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   20360    6/1/2020   $   23.79 $         28.55   $     79.29   Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   23237    7/2/2020   $   45.79 $         54.95   $    152.63   Rx
S-1/D    Jonathan Broderick   ChartSquad                     13815 1/27/2020     $   55.00 $         66.00   $    120.00   MR
S-1/D    Jonathan Broderick   ChartSquad                     14342 1/27/2020     $   51.50 $         61.80   $    120.00   MR
S-1/D    Jonathan Broderick   ChartSquad                     14343 1/27/2020     $   51.50 $         61.80   $    120.00   MR
S-1/D    Michael Shemtoub     Buena Vista Medical Services   17011    3/4/2020   $   54.79 $         65.75   $    182.63   Rx
S-1/D    Michael Shemtoub     Buena Vista Medical Services   17610    4/3/2020   $   54.79 $         65.75   $    182.63   Rx
S-1/D    Michael Shemtoub     Buena Vista Medical Services   17611    4/3/2020   $   49.05 $         58.86   $    163.50   Rx
S-1/D    Michael Shemtoub     Buena Vista Medical Services   18127    5/5/2020   $   35.60 $         42.72   $    118.68   Rx
S-1/D    Michael Shemtoub     Buena Vista Medical Services   18479    5/5/2020   $   37.53 $         45.04   $    125.10   Rx
S-1/D    Michael Shemtoub     Buena Vista Medical Services   18480    5/5/2020   $   49.05 $         58.86   $    163.50   Rx
S-1/D    Michael Shemtoub     Buena Vista Medical Services   20356    6/1/2020   $   57.74 $         69.29   $    192.46   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16176 4/30/2019     $   38.04 $         45.65   $    126.79   Rx
S-1/D    Omid Khorshidi       Buena Vista Medical Services   16628 12/3/2019     $   16.26 $         19.51   $     54.20   Rx
S-1/D    Omid Khorshidi       Buena Vista Medical Services   16629 12/3/2019     $   16.32 $         19.58   $     54.40   Rx
S-1/D    Daniel Del Rio       Ensign Legal Support            6636    2/7/2018   $   53.00 $         63.60   $    106.00   MR
S-1/D    Daniel Del Rio       Ensign Legal Support            6780    3/1/2018   $   64.75 $         77.70   $    129.50   MR
S-1/D    Daniel Del Rio       Ensign Legal Support            7040    5/6/2018   $   40.00 $         48.00   $     80.00   MR
S-1/D    Daniel Del Rio       Ensign Legal Support            7041   4/11/2018   $   45.50 $         54.60   $     91.00   MR
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List of Receivables for Series-1/Intake D
                                                                                         Receivables
Intake   Lawyer              Provider                       BillId   Date Paid    Purch Price      Cost        GFB Amount Fund Type
S-1/D    Daniel Del Rio      Ensign Legal Support            7042     4/11/2018   $    25.25 $        30.30    $     50.50   MR
S-1/D    Nicholas Lasso      Buena Vista Medical Services   16170     4/30/2019   $    31.66 $        37.99    $    105.53   Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   16172     4/30/2019   $    31.74 $        38.09    $    105.81   Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   16173     4/30/2019   $    31.24 $        37.49    $    104.13   Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   16174     4/30/2019   $    32.51 $        39.01    $    108.38   Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   16435      7/3/2019   $    34.81 $        41.77    $    116.04   Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   16437     4/30/2019   $    31.74 $        38.09    $    105.81   Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   16438     4/30/2019   $    32.98 $        39.58    $    109.94   Rx
S-1/D    Daniel Del Rio      Ensign Legal Support            5981    12/22/2017   $    41.50 $        49.80    $     83.00   MR
S-1/D    Daniel Del Rio      Ensign Legal Support            6844    12/22/2017   $    41.25 $        49.50    $     82.50   MR
S-1/D    Daniel Del Rio      Ensign Legal Support            6956    12/10/2017   $    47.25 $        56.70    $     94.50   MR
S-1/D    Daniel Del Rio      Ensign Legal Support            6958    12/10/2017   $    40.75 $        48.90    $     81.50   MR
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15610     12/3/2019   $    49.86 $        59.83    $    166.20   Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15612      2/4/2020   $    43.32 $        51.98    $    144.40   Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15613     12/3/2019   $    43.32 $        51.98    $    144.40   Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15615     10/1/2019   $    49.86 $        59.83    $    166.20   Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15616     10/1/2019   $    43.32 $        51.98    $    144.40   Rx
S-1/D    Daniel Del Rio      Ensign Legal Support            6058    12/10/2017   $    45.00 $        54.00    $     90.00   MR
S-1/D    CORY HILTON         Buena Vista Medical Services   15341      1/3/2020   $    25.48 $        30.58    $     84.94   Rx
S-1/D    CORY HILTON         Buena Vista Medical Services   15343      1/3/2020   $    19.80 $        23.76    $     66.00   Rx
S-1/D    CORY HILTON         Buena Vista Medical Services   15345     12/3/2019   $    19.80 $        23.76    $     66.00   Rx
S-1/D    CORY HILTON         Buena Vista Medical Services   15346     12/3/2019   $    25.48 $        30.58    $     84.94   Rx
S-1/D    CORY HILTON         Buena Vista Medical Services   16836      2/4/2020   $    37.71 $        45.25    $    125.70   Rx
S-1/D    CORY HILTON         Buena Vista Medical Services   17103      3/4/2020   $    38.36 $        46.03    $    127.87   Rx
S-1/D    CORY HILTON         Buena Vista Medical Services   17104                 $    19.80 $        23.76    $     66.00   Rx
S-1/D    CORY HILTON         Buena Vista Medical Services   17177      3/4/2020   $    25.48 $        30.58    $     84.94   Rx
S-1/D    CORY HILTON         Buena Vista Medical Services   17302                 $   (19.80) $      (23.76)   $    (66.00)  Rx
S-1/D    CORY HILTON         Buena Vista Medical Services   17303      3/4/2020   $    19.80 $        23.76    $     66.00   Rx
S-1/D    CORY HILTON         Buena Vista Medical Services   17619      4/3/2020   $    19.80 $        23.76    $     66.00   Rx
S-1/D    CORY HILTON         Buena Vista Medical Services   17620      4/3/2020   $    76.22 $        91.46    $    255.74   Rx
S-1/D    CORY HILTON         Buena Vista Medical Services   18132                 $    19.80 $        23.76    $     66.00   Rx
S-1/D    CORY HILTON         Buena Vista Medical Services   18483                 $   (19.80) $      (23.76)   $    (66.00)  Rx
S-1/D    Nancy Bernstein     Buena Vista Medical Services   17488      4/3/2020   $    54.59 $        65.51    $    181.96   Rx
S-1/D    Nancy Bernstein     Buena Vista Medical Services   17489      4/3/2020   $    39.37 $        47.24    $    131.22   Rx
S-1/D    Nancy Bernstein     Buena Vista Medical Services   19565      6/1/2020   $    39.37 $        47.24    $    131.22   Rx
S-1/D    Nancy Bernstein     Buena Vista Medical Services   19566      6/1/2020   $    53.58 $        64.30    $    178.61   Rx
S-1/D    Nancy Bernstein     Buena Vista Medical Services   22740      7/2/2020   $    53.58 $        64.30    $    178.61   Rx
S-1/D    Daniel Del Rio      US Legal Support Inc.           6530    11/15/2017   $ 121.41 $         145.69    $    242.82   MR
S-1/D    Daniel Del Rio      US Legal Support Inc.           6532    11/15/2017   $    85.69 $       102.83    $    171.38   MR
S-1/D    Daniel Del Rio      US Legal Support Inc.           6538    11/15/2017   $ 107.67 $         129.20    $    215.34   MR
S-1/D    Daniel Del Rio      US Legal Support Inc.           6539    11/15/2017   $    87.06 $       104.47    $    174.12   MR
S-1/D    Daniel Del Rio      US Legal Support Inc.           6541    12/10/2017   $ 194.03 $         232.84    $    388.06   MR
S-1/D    Daniel Del Rio      US Legal Support Inc.           6542    12/10/2017   $    77.00 $        92.40    $    154.00   MR
S-1/D    Hamed Yazdanpanah   Buena Vista Medical Services   16633     12/3/2019   $    27.59 $        33.11    $     91.97   Rx
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List of Receivables for Series-1/Intake D
                                                                                         Receivables
Intake   Lawyer              Provider                       BillId   Date Paid    Purch Price      Cost       GFB Amount Fund Type
S-1/D    Hamed Yazdanpanah   Buena Vista Medical Services   16635     12/3/2019   $   27.59 $         33.11   $     91.97   Rx
S-1/D    Brian Matlin        Buena Vista Medical Services   15402      2/4/2020   $   24.29 $         29.15   $     80.96   Rx
S-1/D    Brian Matlin        Buena Vista Medical Services   15403      2/4/2020   $   17.22 $         20.66   $     57.40   Rx
S-1/D    Brian Matlin        Buena Vista Medical Services   15405      1/3/2020   $   17.22 $         20.66   $     57.40   Rx
S-1/D    Brian Matlin        Buena Vista Medical Services   15406      1/3/2020   $   24.29 $         29.15   $     80.96   Rx
S-1/D    Brian Matlin        Buena Vista Medical Services   17025      3/4/2020   $   17.22 $         20.66   $     57.40   Rx
S-1/D    Brian Matlin        Buena Vista Medical Services   17026      3/4/2020   $   24.29 $         29.15   $     80.96   Rx
S-1/D    Brian Matlin        Buena Vista Medical Services   17462      4/3/2020   $   17.22 $         20.66   $     57.40   Rx
S-1/D    Brian Matlin        Buena Vista Medical Services   17463      4/3/2020   $   24.29 $         29.15   $     80.96   Rx
S-1/D    Brian Matlin        Buena Vista Medical Services   18068      5/5/2020   $   76.53 $         91.84   $    255.09   Rx
S-1/D    Brian Matlin        Buena Vista Medical Services   18069      5/5/2020   $   58.59 $         70.31   $    195.29   Rx
S-1/D    Brian Matlin        Buena Vista Medical Services   19557      6/1/2020   $   76.53 $         91.84   $    255.09   Rx
S-1/D    Brian Matlin        Buena Vista Medical Services   23238      7/2/2020   $   76.53 $         91.84   $    255.09   Rx
S-1/D    Omid Khorshidi      Buena Vista Medical Services   17169      3/4/2020   $   36.56 $         43.87   $    121.87   Rx
S-1/D    Omid Khorshidi      Buena Vista Medical Services   17170      3/4/2020   $   37.08 $         44.50   $    123.61   Rx
S-1/D    Omid Khorshidi      Buena Vista Medical Services   17171      3/4/2020   $   37.10 $         44.52   $    123.65   Rx
S-1/D    Omid Khorshidi      Buena Vista Medical Services   17614      4/3/2020   $   37.08 $         44.50   $    123.61   Rx
S-1/D    Omid Khorshidi      Buena Vista Medical Services   17615      4/3/2020   $   37.10 $         44.52   $    123.65   Rx
S-1/D    Omid Khorshidi      Buena Vista Medical Services   17616      4/3/2020   $   36.56 $         43.87   $    121.87   Rx
S-1/D    Omid Khorshidi      Buena Vista Medical Services   18189      5/5/2020   $   37.08 $         44.50   $    123.61   Rx
S-1/D    Omid Khorshidi      Buena Vista Medical Services   18190      5/5/2020   $   37.10 $         44.52   $    123.65   Rx
S-1/D    Omid Khorshidi      Buena Vista Medical Services   18191      5/5/2020   $   36.56 $         43.87   $    121.87   Rx
S-1/D    Omid Khorshidi      Buena Vista Medical Services   19789      6/1/2020   $   37.10 $         44.52   $    123.65   Rx
S-1/D    Omid Khorshidi      Buena Vista Medical Services   19790      6/1/2020   $   36.56 $         43.87   $    121.87   Rx
S-1/D    Omid Khorshidi      Buena Vista Medical Services   19791      6/1/2020   $   37.08 $         44.50   $    123.61   Rx
S-1/D    Daniel Del Rio      Compex                          6307    12/10/2017   $   64.80 $         77.76   $    129.60   MR
S-1/D    Daniel Del Rio      Compex                          6309    12/10/2017   $   65.20 $         78.24   $    130.40   MR
S-1/D    Daniel Del Rio      Compex                          6311    12/22/2017   $   76.00 $         91.20   $    152.00   MR
S-1/D    Daniel Del Rio      Compex                          6343      2/7/2018   $   79.20 $         95.04   $    158.40   MR
S-1/D    Daniel Del Rio      Compex                          6344      2/7/2018   $   81.20 $         97.44   $    162.40   MR
S-1/D    Daniel Del Rio      Compex                          6345      2/7/2018   $ 105.20 $         126.24   $    210.40   MR
S-1/D    Daniel Del Rio      Compex                          6346      2/7/2018   $ 259.20 $         311.04   $    518.40   MR
S-1/D    Daniel Del Rio      Compex                          6347      2/7/2018   $   68.80 $         82.56   $    137.60   MR
S-1/D    Daniel Del Rio      Compex                          6348      2/7/2018   $   68.80 $         82.56   $    137.60   MR
S-1/D    Daniel Del Rio      Compex                          6349      2/7/2018   $ 165.60 $         198.72   $    331.20   MR
S-1/D    Daniel Del Rio      Ensign Legal Support            6024    10/12/2017   $   50.00 $         60.00   $    100.00   MR
S-1/D    Daniel Del Rio      Ensign Legal Support            7013     9/13/2017   $   40.75 $         48.90   $     81.50   MR
S-1/D    Daniel Del Rio      Ensign Legal Support            7014    10/12/2017   $   40.50 $         48.60   $     81.00   MR
S-1/D    Daniel Del Rio      Ensign Legal Support            7009    10/12/2017   $   40.75 $         48.90   $     81.50   MR
S-1/D    Daniel Del Rio      Ensign Legal Support            7010     9/13/2017   $   41.25 $         49.50   $     82.50   MR
S-1/D    Daniel Del Rio      Ensign Legal Support            7011     9/13/2017   $   52.25 $         62.70   $    104.50   MR
S-1/D    Daniel Del Rio      Ensign Legal Support            7012     9/13/2017   $   51.00 $         61.20   $    102.00   MR
S-1/D    Farid Yaghoubtil    Buena Vista Medical Services   15732      2/4/2020   $   37.72 $         45.26   $    125.74   Rx
S-1/D    Farid Yaghoubtil    Buena Vista Medical Services   15733      2/4/2020   $   40.65 $         48.78   $    135.51   Rx
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List of Receivables for Series-1/Intake D
                                                                                      Receivables
Intake   Lawyer             Provider                       BillId   Date Paid  Purch Price      Cost        GFB Amount Fund Type
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   15734      2/4/2020 $    36.98 $        44.38    $     123.27  Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   15736     12/3/2019 $    20.34 $        24.41    $      67.80  Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   15738      2/4/2020 $    37.47 $        44.96    $     124.91  Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   17093               $    36.98 $        44.38    $     123.27  Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   17094               $    40.65 $        48.78    $     135.51  Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   17172               $   (36.98) $      (44.38)   $    (123.27) Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   17173               $   (40.65) $      (48.78)   $    (135.51) Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   24414               $    69.53 $        83.44    $     231.76  Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   24415               $    20.08 $        24.10    $      66.92  Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   24416               $    37.47 $        44.96    $     124.91  Rx
S-1/D    Richard Harris     Buena Vista Medical Services   16111      7/3/2019 $    35.14 $        42.17    $     117.12  Rx
S-1/D    Richard Harris     Buena Vista Medical Services   16112      7/3/2019 $    34.90 $        41.88    $     116.32  Rx
S-1/D    Richard Harris     Buena Vista Medical Services   16114      6/3/2019 $    34.91 $        41.89    $     116.36  Rx
S-1/D    Richard Harris     Buena Vista Medical Services   16115      6/3/2019 $    34.88 $        41.86    $     116.28  Rx
S-1/D    Richard Harris     Buena Vista Medical Services   16116      6/3/2019 $    36.56 $        43.87    $     121.88  Rx
S-1/D    Michael Shemtoub   Buena Vista Medical Services   17479      4/3/2020 $    28.88 $        34.66    $      96.25  Rx
S-1/D    Michael Shemtoub   Buena Vista Medical Services   17480      4/3/2020 $    51.96 $        62.35    $     173.19  Rx
S-1/D    Michael Shemtoub   Buena Vista Medical Services   17481      4/3/2020 $    29.67 $        35.60    $      98.91  Rx
S-1/D    Michael Shemtoub   Buena Vista Medical Services   24474               $    28.16 $        33.79    $      93.86  Rx
S-1/D    D.Hess Panah       Buena Vista Medical Services   16220      8/2/2019 $    34.86 $        41.83    $     116.20  Rx
S-1/D    D.Hess Panah       Buena Vista Medical Services   16222      8/2/2019 $    34.54 $        41.45    $     115.12  Rx
S-1/D    Daniel Del Rio     Compex                          6286     8/13/2017 $    99.60 $       119.52    $     199.20  MR
S-1/D    Daniel Del Rio     Compex                          6287     8/13/2017 $ 108.00 $         129.60    $     216.00  MR
S-1/D    Daniel Del Rio     Compex                          6288     8/13/2017 $ 106.40 $         127.68    $     212.80  MR
S-1/D    Daniel Del Rio     Compex                          6289     8/13/2017 $ 109.60 $         131.52    $     219.20  MR
S-1/D    Daniel Del Rio     Compex                          6290     8/13/2017 $ 136.40 $         163.68    $     272.80  MR
S-1/D    Daniel Del Rio     Compex                          6291     8/13/2017 $ 106.00 $         127.20    $     212.00  MR
S-1/D    Daniel Del Rio     Compex                          6292     8/13/2017 $ 115.20 $         138.24    $     230.40  MR
S-1/D    Daniel Del Rio     Compex                          6336    12/22/2017 $    61.20 $        73.44    $     122.40  MR
S-1/D    Daniel Del Rio     Compex                          6337    12/22/2017 $ 117.60 $         141.12    $     235.20  MR
S-1/D    Daniel Del Rio     Compex                          6338    12/22/2017 $    64.40 $        77.28    $     128.80  MR
S-1/D    Daniel Del Rio     Compex                          6340     1/10/2018 $    59.00 $        70.80    $     118.00  MR
S-1/D    Daniel Del Rio     Compex                          6355      3/1/2018 $    55.20 $        66.24    $     110.40  MR
S-1/D    Daniel Del Rio     Compex                          6404      4/5/2018 $ 181.46 $         217.75    $     362.92  MR
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15386      1/3/2020 $    23.41 $        28.09    $      78.04  Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15388      2/4/2020 $    37.89 $        45.47    $     126.31  Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15390     12/3/2019 $    41.01 $        49.21    $     136.69  Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15392      8/2/2019 $    34.90 $        41.88    $     116.32  Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15394     11/4/2019 $    41.01 $        49.21    $     136.69  Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16910      3/4/2020 $    34.90 $        41.88    $     116.32  Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   17461      4/3/2020 $    37.00 $        44.40    $     123.34  Rx
S-1/D    Alex Simanovsky    Ensign Legal Support            7112      5/6/2018 $    65.70 $        78.84    $     131.40  MR
S-1/D    Alex Simanovsky    Ensign Legal Support            7117      5/6/2018 $    86.08 $       103.30    $     172.16  MR
S-1/D    Alex Simanovsky    Ensign Legal Support            7118      5/6/2018 $    86.33 $       103.60    $     172.66  MR
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List of Receivables for Series-1/Intake D
                                                                                       Receivables
Intake   Lawyer            Provider                       BillId   Date Paid    Purch Price      Cost       GFB Amount Fund Type
S-1/D    Alex Simanovsky   Ensign Legal Support            7146      5/6/2018   $   83.57 $        100.28   $    167.14   MR
S-1/D    Alex Simanovsky   Ensign Legal Support            7203     5/13/2018   $ 131.26 $         157.51   $    262.52   MR
S-1/D    Alex Simanovsky   Ensign Legal Support            7387      6/6/2018   $   40.50 $         48.60   $     81.00   MR
S-1/D    Daniel Del Rio    Ensign Legal Support            6646      2/7/2018   $   40.25 $         48.30   $     80.50   MR
S-1/D    Daniel Del Rio    Ensign Legal Support            7006    10/31/2017   $   25.25 $         30.30   $     50.50   MR
S-1/D    Daniel Del Rio    Ensign Legal Support            7007    10/31/2017   $   25.25 $         30.30   $     50.50   MR
S-1/D    Daniel Del Rio    Ensign Legal Support            6026      2/7/2018   $   28.25 $         33.90   $     56.50   MR
S-1/D    Daniel Del Rio    Ensign Legal Support            6027    10/12/2017   $   46.50 $         55.80   $     93.00   MR
S-1/D    Daniel Del Rio    Ensign Legal Support            6562     1/10/2018   $   53.00 $         63.60   $    106.00   MR
S-1/D    Daniel Del Rio    Appleby & Co. Inc               7168     2/22/2017   $   89.62 $        107.54   $    179.24   MR
S-1/D    Daniel Del Rio    Appleby & Co. Inc               7169     2/22/2017   $   50.33 $         60.40   $    100.66   MR
S-1/D    Daniel Del Rio    Appleby & Co. Inc               7170     2/22/2017   $   99.85 $        119.82   $    199.70   MR
S-1/D    Daniel Del Rio    Appleby & Co. Inc               7172     2/22/2017   $   52.65 $         63.18   $    105.30   MR Appear to be extra invoices in folder that not on spreadsheet
S-1/D    Daniel Del Rio    Appleby & Co. Inc               7174     2/22/2017   $   71.79 $         86.15   $    143.58   MR
S-1/D    Daniel Del Rio    Appleby & Co. Inc               7175     2/22/2017   $   72.12 $         86.54   $    144.24   MR
S-1/D    Daniel Del Rio    Appleby & Co. Inc               7176     2/22/2017   $   60.24 $         72.29   $    120.48   MR
S-1/D    Daniel Del Rio    Appleby & Co. Inc               7177     2/22/2017   $ 497.28 $         596.74   $    994.56   MR
S-1/D    Daniel Del Rio    Appleby & Co. Inc               7178     2/22/2017   $   55.62 $         66.74   $    111.24   MR
S-1/D    Daniel Del Rio    Appleby & Co. Inc               7179     2/22/2017   $   50.66 $         60.79   $    101.32   MR
S-1/D    Daniel Del Rio    Appleby & Co. Inc               7180     2/22/2017   $   73.44 $         88.13   $    146.88   MR
S-1/D    Daniel Del Rio    Appleby & Co. Inc               7181     2/22/2017   $   50.33 $         60.40   $    100.66   MR
S-1/D    Daniel Del Rio    Appleby & Co. Inc               7182     2/22/2017   $   50.66 $         60.79   $    101.32   MR
S-1/D    Daniel Del Rio    Appleby & Co. Inc               7183     2/22/2017   $   92.92 $        111.50   $    185.84   MR
S-1/D    Daniel Del Rio    Appleby & Co. Inc               7184     2/22/2017   $   54.63 $         65.56   $    109.26   MR
S-1/D    Daniel Del Rio    Appleby & Co. Inc               7185     2/22/2017   $   52.32 $         62.78   $    104.64   MR
S-1/D    Daniel Del Rio    Appleby & Co. Inc               7186     2/22/2017   $   50.99 $         61.19   $    101.98   MR
S-1/D    Daniel Del Rio    Appleby & Co. Inc               7187     2/22/2017   $ 143.75 $         172.50   $    287.50   MR
S-1/D    Daniel Del Rio    Appleby & Co. Inc               7188     3/21/2017   $   54.63 $         65.56   $    109.26   MR
S-1/D    Daniel Del Rio    Appleby & Co. Inc               7189     3/31/2017   $   64.53 $         77.44   $    129.06   MR
S-1/D    Daniel Del Rio    Appleby & Co. Inc               7190     3/31/2017   $   96.22 $        115.46   $    192.44   MR
S-1/D    David Menocal     Buena Vista Medical Services   15968     10/1/2019   $   35.70 $         42.84   $    119.00   Rx
S-1/D    David Menocal     Buena Vista Medical Services   15970     10/1/2019   $   36.00 $         43.20   $    120.00   Rx
S-1/D    David Menocal     Buena Vista Medical Services   15972     10/1/2019   $   34.82 $         41.78   $    116.08   Rx
S-1/D    David Menocal     Buena Vista Medical Services   15974      8/2/2019   $   36.00 $         43.20   $    120.00   Rx
S-1/D    David Menocal     Buena Vista Medical Services   15975      8/2/2019   $   34.60 $         41.52   $    115.32   Rx
S-1/D    David Menocal     Buena Vista Medical Services   15977      9/3/2019   $   36.00 $         43.20   $    120.00   Rx
S-1/D    David Menocal     Buena Vista Medical Services   16911      3/4/2020   $   18.02 $         21.62   $     60.08   Rx
S-1/D    David Menocal     Buena Vista Medical Services   16912      3/4/2020   $   37.89 $         45.47   $    126.31   Rx
S-1/D    David Menocal     Buena Vista Medical Services   16913      3/4/2020   $   36.57 $         43.88   $    121.90   Rx
S-1/D    David Menocal     Buena Vista Medical Services   17099      3/4/2020   $   16.30 $         19.56   $     54.33   Rx
S-1/D    David Menocal     Buena Vista Medical Services   17174      3/4/2020   $   35.70 $         42.84   $    119.00   Rx
S-1/D    David Menocal     Buena Vista Medical Services   17300      3/4/2020   $   43.44 $         52.13   $    144.79   Rx
S-1/D    David Menocal     Buena Vista Medical Services   17374      4/3/2020   $   48.40 $         58.08   $    161.32   Rx
S-1/D    David Menocal     Buena Vista Medical Services   18128      5/5/2020   $ 105.54 $         126.65   $    351.80   Rx
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List of Receivables for Series-1/Intake D
                                                                                      Receivables
Intake   Lawyer             Provider                       BillId Date Paid    Purch Price      Cost        GFB Amount Fund Type
S-1/D    David Menocal      Buena Vista Medical Services   18129    5/5/2020   $    70.46 $        84.55    $    234.88   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16719 11/4/2019     $    36.23 $        43.48    $    120.78   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16720 11/4/2019     $    44.62 $        53.54    $    148.75   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16721 11/4/2019     $    38.17 $        45.80    $    127.23   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16454 11/4/2019     $ 102.72 $         123.26    $    342.40   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16456 12/3/2019     $ 102.72 $         123.26    $    342.40   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16458    8/2/2019   $    37.52 $        45.02    $    125.08   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16459    8/2/2019   $    36.47 $        43.76    $    121.56   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16604 11/4/2019     $    36.91 $        44.29    $    123.04   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16606 10/1/2019     $    36.91 $        44.29    $    123.04   Rx
S-1/D    James Grant        Ensign Legal Support           11420 8/15/2019     $    25.25 $        30.30    $     50.50   MR
S-1/D    CORY HILTON        Buena Vista Medical Services   18015    5/5/2020   $    24.33 $        29.20    $     81.10   Rx
S-1/D    CORY HILTON        Buena Vista Medical Services   18016    5/5/2020   $    53.71 $        64.45    $    179.04   Rx
S-1/D    CORY HILTON        Buena Vista Medical Services   18017    5/5/2020   $    19.53 $        23.44    $     65.09   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16109    6/3/2019   $    36.01 $        43.21    $    120.04   Rx
S-1/D    CORY HILTON        Buena Vista Medical Services   18493    5/5/2020   $    38.45 $        46.14    $    128.17   Rx
S-1/D    CORY HILTON        Buena Vista Medical Services   19793    6/1/2020   $    38.45 $        46.14    $    128.17   Rx
S-1/D    CORY HILTON        Buena Vista Medical Services   21274    7/2/2020   $    43.92 $        52.70    $    146.39   Rx
S-1/D    CORY HILTON        Buena Vista Medical Services   24466               $    54.10 $        64.92    $    180.35   Rx
S-1/D    CORY HILTON        Buena Vista Medical Services   24467               $ 103.06 $         123.67    $    343.52   Rx
S-1/D    Robin Saghian      Buena Vista Medical Services   16717 11/4/2019     $    27.59 $        33.11    $     91.97   Rx
S-1/D    John Ye            Buena Vista Medical Services   23823    7/2/2020   $    25.84 $        31.01    $     86.12   Rx
S-1/D    John Ye            Buena Vista Medical Services   23824    7/2/2020   $    27.04 $        32.45    $     90.12   Rx
S-1/D    John Ye            Buena Vista Medical Services   23957               $    27.04 $        32.45    $     90.12   Rx
S-1/D    John Ye            Buena Vista Medical Services   23958               $    58.94 $        70.73    $    196.47   Rx
S-1/D    Daniel Del Rio     Ensign Legal Support            6019 12/10/2017    $    41.50 $        49.80    $     83.00   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6950 12/10/2017    $    50.75 $        60.90    $    101.50   MR
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16524    8/2/2019   $    35.80 $        42.96    $    119.32   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16526    7/3/2019   $    34.78 $        41.74    $    115.92   Rx
S-1/D    CORY HILTON        Buena Vista Medical Services   18139    5/5/2020   $    35.78 $        42.94    $    119.28   Rx
S-1/D    CORY HILTON        Buena Vista Medical Services   18140    5/5/2020   $    42.82 $        51.38    $    142.73   Rx
S-1/D    CORY HILTON        Buena Vista Medical Services   18484    5/5/2020   $    27.82 $        33.38    $     92.72   Rx
S-1/D    CORY HILTON        Buena Vista Medical Services   18485    5/5/2020   $    25.19 $        30.23    $     83.96   Rx
S-1/D    CORY HILTON        Buena Vista Medical Services   18982               $    24.65 $        29.58    $     82.18   Rx
S-1/D    CORY HILTON        Buena Vista Medical Services   18983    6/1/2020   $    35.78 $        42.94    $    119.28   Rx
S-1/D    CORY HILTON        Buena Vista Medical Services   19560               $   (24.65) $      (29.58)   $    (82.18)  Rx
S-1/D    CORY HILTON        Buena Vista Medical Services   23831    7/2/2020   $    51.48 $        61.78    $    171.59   Rx
S-1/D    CORY HILTON        Buena Vista Medical Services   23832    7/2/2020   $    42.82 $        51.38    $    142.73   Rx
S-1/D    Mauro Fiore Jr     Buena Vista Medical Services   16485 12/3/2019     $    44.36 $        53.23    $    147.85   Rx
S-1/D    Mauro Fiore Jr     Buena Vista Medical Services   16486 12/3/2019     $    31.07 $        37.28    $    103.58   Rx
S-1/D    Mauro Fiore Jr     Buena Vista Medical Services   16488    2/4/2020   $    38.75 $        46.50    $    129.16   Rx
S-1/D    Mauro Fiore Jr     Buena Vista Medical Services   16490 11/4/2019     $    45.21 $        54.25    $    150.70   Rx
S-1/D    Mauro Fiore Jr     Buena Vista Medical Services   16491 11/4/2019     $    37.40 $        44.88    $    124.65   Rx
S-1/D    Mauro Fiore Jr     Buena Vista Medical Services   16492 12/3/2019     $    62.44 $        74.93    $    208.15   Rx
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List of Receivables for Series-1/Intake D
                                                                                        Receivables
Intake   Lawyer             Provider                       BillId   Date Paid    Purch Price      Cost       GFB Amount Fund Type
S-1/D    Mauro Fiore Jr     Buena Vista Medical Services   16828      2/4/2020   $   36.78 $         44.14   $    122.59   Rx
S-1/D    Mauro Fiore Jr     Buena Vista Medical Services   22738      7/2/2020   $   31.94 $         38.33   $    106.47   Rx
S-1/D    Brittany Young     Buena Vista Medical Services   16640     10/1/2019   $   36.38 $         43.66   $    121.28   Rx
S-1/D    Brittany Young     Buena Vista Medical Services   16641     10/1/2019   $   35.35 $         42.42   $    117.84   Rx
S-1/D    Brittany Young     Buena Vista Medical Services   16643     10/1/2019   $   35.05 $         42.06   $    116.84   Rx
S-1/D    Brittany Young     Buena Vista Medical Services   16644     10/1/2019   $   38.38 $         46.06   $    127.92   Rx
S-1/D    Michael Shemtoub   Buena Vista Medical Services   17368      4/3/2020   $   48.95 $         58.74   $    163.17   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16335      9/3/2019   $   35.78 $         42.94   $    119.28   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16336      9/3/2019   $   35.08 $         42.10   $    116.92   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16332      9/3/2019   $   35.78 $         42.94   $    119.28   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16333      9/3/2019   $   35.08 $         42.10   $    116.92   Rx
S-1/D    Janice Strong      ChartSquad                     17907                 $   95.00 $        114.00   $    120.00   MR
S-1/D    Janice Strong      ChartSquad                     17908                 $   45.00 $         54.00   $    120.00   MR
S-1/D    Janice Strong      ChartSquad                     18593                 $   51.50 $         61.80   $    120.00   MR
S-1/D    Janice Strong      ChartSquad                     23993                 $   82.52 $         99.02   $    120.00   MR
S-1/D    Matthew Hoffman    Buena Vista Medical Services   16502     11/4/2019   $   34.17 $         41.00   $    113.90   Rx
S-1/D    Matthew Hoffman    Buena Vista Medical Services   16504     12/3/2019   $   38.17 $         45.80   $    127.23   Rx
S-1/D    Matthew Hoffman    Buena Vista Medical Services   16505     11/4/2019   $   38.17 $         45.80   $    127.23   Rx
S-1/D    Matthew Hoffman    Buena Vista Medical Services   16507     10/1/2019   $   35.68 $         42.82   $    118.92   Rx
S-1/D    Matthew Hoffman    Buena Vista Medical Services   16508     10/1/2019   $   34.64 $         41.57   $    115.48   Rx
S-1/D    Michael Shemtoub   Buena Vista Medical Services   16631     12/3/2019   $   20.16 $         24.19   $     67.20   Rx
S-1/D    Daniel Del Rio     Ensign Legal Support            6651      2/7/2018   $   25.00 $         30.00   $     50.00   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6652      2/7/2018   $   40.00 $         48.00   $     80.00   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6672      2/7/2018   $   25.00 $         30.00   $     50.00   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6673      2/7/2018   $   25.00 $         30.00   $     50.00   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6676      2/7/2018   $   25.00 $         30.00   $     50.00   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6698      3/1/2018   $ 111.25 $         133.50   $    222.50   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6699      3/1/2018   $ 145.85 $         175.02   $    291.70   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6743      3/1/2018   $ 112.25 $         134.70   $    224.50   MR Missing Lien
S-1/D    Daniel Del Rio     Ensign Legal Support            6763      3/1/2018   $ 110.25 $         132.30   $    220.50   MR Missing Lien
S-1/D    Daniel Del Rio     Ensign Legal Support            6764      3/1/2018   $ 110.50 $         132.60   $    221.00   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6765      3/1/2018   $ 114.75 $         137.70   $    229.50   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6766      3/1/2018   $ 112.50 $         135.00   $    225.00   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6767      3/1/2018   $   76.35 $         91.62   $    152.70   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6768      3/1/2018   $ 125.75 $         150.90   $    251.50   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6769      3/1/2018   $ 110.75 $         132.90   $    221.50   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6772      3/1/2018   $ 114.00 $         136.80   $    228.00   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6774      3/1/2018   $ 111.25 $         133.50   $    222.50   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6775      3/1/2018   $   78.50 $         94.20   $    157.00   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6776      3/1/2018   $   76.50 $         91.80   $    153.00   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6777      3/1/2018   $ 112.00 $         134.40   $    224.00   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6906    12/10/2017   $   25.75 $         30.90   $     51.50   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6908    12/10/2017   $   26.25 $         31.50   $     52.50   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6909    12/10/2017   $   40.50 $         48.60   $     81.00   MR Missing Lien
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List of Receivables for Series-1/Intake D
                                                                                        Receivables
Intake   Lawyer             Provider                       BillId   Date Paid    Purch Price      Cost       GFB Amount Fund Type
S-1/D    Daniel Del Rio     Ensign Legal Support            6910    12/10/2017   $   55.50 $         66.60   $    111.00   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6911    12/10/2017   $   25.25 $         30.30   $     50.50   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6973    11/15/2017   $   27.25 $         32.70   $     54.50   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6974    11/15/2017   $   28.00 $         33.60   $     56.00   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6975    11/15/2017   $   25.25 $         30.30   $     50.50   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6976     4/11/2018   $ 116.25 $         139.50   $    232.50   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            7037     4/11/2018   $ 111.25 $         133.50   $    222.50   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            7038     4/11/2018   $ 110.25 $         132.30   $    220.50   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6953    12/10/2017   $   47.00 $         56.40   $     94.00   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            7003    10/31/2017   $ 121.00 $         145.20   $    242.00   MR
S-1/D    DarrenO. Aitken    Buena Vista Medical Services   15504      1/3/2020   $   35.59 $         42.71   $    118.63   Rx
S-1/D    DarrenO. Aitken    Buena Vista Medical Services   15506     12/3/2019   $   38.04 $         45.65   $    126.80   Rx
S-1/D    DarrenO. Aitken    Buena Vista Medical Services   15507      1/3/2020   $   20.10 $         24.12   $     67.00   Rx
S-1/D    DarrenO. Aitken    Buena Vista Medical Services   15508      1/3/2020   $   23.90 $         28.68   $     79.68   Rx
S-1/D    DarrenO. Aitken    Buena Vista Medical Services   15509     12/3/2019   $   42.30 $         50.76   $    140.99   Rx
S-1/D    DarrenO. Aitken    Buena Vista Medical Services   15510     12/3/2019   $   35.59 $         42.71   $    118.63   Rx
S-1/D    DarrenO. Aitken    Buena Vista Medical Services   15511     12/3/2019   $   57.98 $         69.58   $    193.25   Rx
S-1/D    DarrenO. Aitken    Buena Vista Medical Services   15512     12/3/2019   $   46.14 $         55.37   $    153.79   Rx
S-1/D    Daniel Del Rio     Ensign Legal Support            6155     1/10/2018   $   51.50 $         61.80   $    103.00   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6156      2/7/2018   $   58.50 $         70.20   $    117.00   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            7052     4/11/2018   $   45.50 $         54.60   $     91.00   MR
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16461      8/2/2019   $   35.20 $         42.24   $    117.32   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16462      8/2/2019   $   35.53 $         42.64   $    118.44   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16097      6/3/2019   $   36.36 $         43.63   $    121.20   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16099      7/3/2019   $   36.89 $         44.27   $    122.96   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16101      7/3/2019   $   36.52 $         43.82   $    121.72   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16103      6/3/2019   $   36.25 $         43.50   $    120.84   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16105      6/3/2019   $   33.15 $         39.78   $    110.49   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16106      6/3/2019   $   42.37 $         50.84   $    141.22   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16107      6/3/2019   $   32.76 $         39.31   $    109.20   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15682      9/3/2019   $   34.94 $         41.93   $    116.48   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15684     12/3/2019   $   31.85 $         38.22   $    106.16   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15685     12/3/2019   $   44.37 $         53.24   $    147.89   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15687      9/3/2019   $   36.30 $         43.56   $    121.00   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15688      9/3/2019   $   35.35 $         42.42   $    117.84   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15689      9/3/2019   $   34.84 $         41.81   $    116.12   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16834      2/4/2020   $   36.54 $         43.85   $    120.18   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   24423                 $   27.46 $         32.95   $     91.54   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   24425                 $   64.96 $         77.95   $    216.52   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15670     12/3/2019   $   82.93 $         99.52   $    276.44   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15672     12/3/2019   $   37.01 $         44.41   $    123.36   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15674      1/3/2020   $   37.01 $         44.41   $    123.36   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15676     11/4/2019   $   42.43 $         50.92   $    141.42   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15678      9/3/2019   $   41.38 $         49.66   $    137.92   Rx
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List of Receivables for Series-1/Intake D
                                                                                        Receivables
Intake   Lawyer             Provider                       BillId   Date Paid    Purch Price      Cost        GFB Amount Fund Type
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15679     11/4/2019   $    31.33 $        37.60    $     104.44  Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15680     11/4/2019   $    37.01 $        44.41    $     123.36  Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   17100      3/4/2020   $    37.01 $        44.41    $     123.36  Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   17618      4/3/2020   $    37.01 $        44.41    $     123.36  Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   18001      5/5/2020   $    37.01 $        44.41    $     123.36  Rx
S-1/D    James Grant        ChartSquad                     13795     1/27/2020   $    73.85 $        88.62    $     120.00  MR
S-1/D    James Grant        ChartSquad                     13796     1/27/2020   $    64.15 $        76.98    $     120.00  MR
S-1/D    James Grant        ChartSquad                     13797     1/27/2020   $    46.50 $        55.80    $     120.00  MR
S-1/D    James Grant        ChartSquad                     13880     1/27/2020   $    46.50 $        55.80    $     120.00  MR
S-1/D    Timothy Revero     Buena Vista Medical Services   18082      5/5/2020   $    54.59 $        65.51    $     181.96  Rx
S-1/D    Timothy Revero     Buena Vista Medical Services   18083      5/5/2020   $    39.37 $        47.24    $     131.23  Rx
S-1/D    Michael Shemtoub   Buena Vista Medical Services   15380      2/4/2020   $    22.20 $        26.64    $      74.00  Rx
S-1/D    Michael Shemtoub   Buena Vista Medical Services   15382      1/3/2020   $    22.20 $        26.64    $      74.00  Rx
S-1/D    Michael Shemtoub   Buena Vista Medical Services   15384     12/3/2019   $    22.20 $        26.64    $      74.00  Rx
S-1/D    Michael Shemtoub   Buena Vista Medical Services   23825      7/2/2020   $    27.43 $        32.92    $      91.42  Rx
S-1/D    Michael Shemtoub   Buena Vista Medical Services   23959                 $    27.98 $        33.58    $      93.28  Rx
S-1/D    Daniel Del Rio     Ensign Legal Support            6677      2/7/2018   $    40.00 $        48.00    $      80.00  MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6678      2/7/2018   $    25.00 $        30.00    $      50.00  MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6835    12/22/2017   $ 195.50 $         234.60    $     391.00  MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6836    12/22/2017   $    43.00 $        51.60    $      86.00  MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6837    12/22/2017   $    43.50 $        52.20    $      87.00  MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6838    12/22/2017   $    74.25 $        89.10    $     148.50  MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6839    12/22/2017   $    61.75 $        74.10    $     123.50  MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6845    12/22/2017   $    53.00 $        63.60    $     106.00  MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6846    12/22/2017   $    71.95 $        86.34    $     143.90  MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6847    12/22/2017   $    25.75 $        30.90    $      51.50  MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6014      2/7/2018   $    27.00 $        32.40    $      54.00  MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6017    12/10/2017   $    49.00 $        58.80    $      98.00  MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6778      3/1/2018   $    45.50 $        54.60    $      91.00  MR Missing Lien
S-1/D    Daniel Del Rio     Ensign Legal Support            6900    12/10/2017   $    59.50 $        71.40    $     119.00  MR
S-1/D    Michael Shemtoub   Buena Vista Medical Services   23838      7/2/2020   $ 100.98 $         121.18    $     336.60  Rx
S-1/D    Michael Shemtoub   Buena Vista Medical Services   23839      7/2/2020   $    27.85 $        33.42    $      92.84  Rx
S-1/D    Michael Shemtoub   Buena Vista Medical Services   23840      7/2/2020   $    38.42 $        46.10    $     128.07  Rx
S-1/D    Michael Shemtoub   Buena Vista Medical Services   23841      7/2/2020   $    34.71 $        41.65    $     115.69  Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16262                 $    34.85 $        41.82    $     116.16  Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16264                 $   (34.85) $      (41.82)   $    (116.16) Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16266      2/4/2020   $    34.85 $        41.82    $     116.16  Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16268     10/1/2019   $    35.08 $        42.10    $     116.92  Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16269     10/1/2019   $    36.91 $        44.29    $     123.04  Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16270     10/1/2019   $    34.85 $        41.82    $     116.16  Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16271     10/1/2019   $    35.59 $        42.71    $     118.64  Rx
S-1/D    Lawrence Ruiz      Buena Vista Medical Services   17379      4/3/2020   $    55.59 $        66.71    $     185.29  Rx
S-1/D    Lawrence Ruiz      Buena Vista Medical Services   17380      4/3/2020   $    88.22 $       105.86    $     294.08  Rx
S-1/D    Lawrence Ruiz      Buena Vista Medical Services   17989      5/5/2020   $    88.22 $       105.86    $     294.08  Rx
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List of Receivables for Series-1/Intake D
                                                                                     Receivables
Intake   Lawyer            Provider                       BillId Date Paid    Purch Price      Cost       GFB Amount Fund Type
S-1/D    Lawrence Ruiz     Buena Vista Medical Services   17990    5/5/2020   $   55.59 $         66.71   $    185.29   Rx
S-1/D    Lawrence Ruiz     Buena Vista Medical Services   19553    6/1/2020   $   88.22 $        105.86   $    294.08   Rx
S-1/D    Lawrence Ruiz     Buena Vista Medical Services   19774    6/1/2020   $   55.59 $         66.71   $    185.29   Rx
S-1/D    Alberto Castro    Buena Vista Medical Services   16708 4/30/2019     $   33.51 $         40.21   $    111.70   Rx
S-1/D    Alberto Castro    Buena Vista Medical Services   16710 11/4/2019     $   31.46 $         37.75   $    104.87   Rx
S-1/D    Alberto Castro    Buena Vista Medical Services   16711 4/30/2019     $   83.30 $         99.96   $    277.68   Rx
S-1/D    Alberto Castro    Buena Vista Medical Services   16712 4/30/2019     $   33.28 $         39.94   $    110.92   Rx
S-1/D    Alex Simanovsky   Ensign Legal Support            6829    5/6/2018   $   25.75 $         30.90   $     51.50   MR
S-1/D    Alex Simanovsky   Ensign Legal Support            6937    5/6/2018   $   26.00 $         31.20   $     52.00   MR
S-1/D    Alex Simanovsky   Ensign Legal Support            7053    5/6/2018   $ 296.12 $         355.34   $    592.24   MR
S-1/D    Alex Simanovsky   Ensign Legal Support            7202   5/13/2018   $   66.39 $         79.67   $    132.78   MR
S-1/D    Alex Simanovsky   Ensign Legal Support            7328    6/6/2018   $   68.33 $         82.00   $    136.66   MR
S-1/D    Alex Simanovsky   Ensign Legal Support            7329    6/6/2018   $ 154.09 $         184.91   $    308.18   MR
S-1/D    Alex Simanovsky   Ensign Legal Support            7330    6/6/2018   $ 196.28 $         235.54   $    392.56   MR
S-1/D    Alex Simanovsky   Ensign Legal Support            7438   6/20/2018   $   56.38 $         67.66   $    112.76   MR
S-1/D    Mauro Fiore Jr    Buena Vista Medical Services   15278    1/3/2020   $   34.85 $         41.82   $    116.16   Rx
S-1/D    Mauro Fiore Jr    Buena Vista Medical Services   15280 12/3/2019     $   35.09 $         42.11   $    116.96   Rx
S-1/D    Mauro Fiore Jr    Buena Vista Medical Services   15281    1/3/2020   $   35.09 $         42.11   $    116.96   Rx
S-1/D    Mauro Fiore Jr    Buena Vista Medical Services   15282    1/3/2020   $   65.27 $         78.32   $    217.58   Rx
S-1/D    Mauro Fiore Jr    Buena Vista Medical Services   15283    1/3/2020   $   16.92 $         20.30   $     56.40   Rx
S-1/D    Mauro Fiore Jr    Buena Vista Medical Services   15285    8/2/2019   $   35.09 $         42.11   $    116.96   Rx
S-1/D    Mauro Fiore Jr    Buena Vista Medical Services   15286    8/2/2019   $   34.85 $         41.82   $    116.16   Rx
S-1/D    Mauro Fiore Jr    Buena Vista Medical Services   15288    9/3/2019   $   35.14 $         42.17   $    117.12   Rx
S-1/D    Mauro Fiore Jr    Buena Vista Medical Services   15290 11/4/2019     $   34.85 $         41.82   $    116.16   Rx
S-1/D    Mauro Fiore Jr    Buena Vista Medical Services   15291    9/3/2019   $   35.35 $         42.42   $    117.84   Rx
S-1/D    Michael Madadi    Buena Vista Medical Services   24470               $   24.76 $         29.71   $     82.54   Rx
S-1/D    Michael Madadi    Buena Vista Medical Services   24471               $   26.19 $         31.43   $     87.29   Rx
S-1/D    Michael Madadi    Buena Vista Medical Services   24472               $   57.39 $         68.87   $    191.29   Rx
S-1/D    Kevin Danesh      Buena Vista Medical Services   16543 11/4/2019     $   34.31 $         41.17   $    114.36   Rx
S-1/D    Kevin Danesh      Buena Vista Medical Services   16545    8/2/2019   $   34.31 $         41.17   $    114.36   Rx
S-1/D    Nicholas Lasso    Buena Vista Medical Services   16804    1/3/2020   $   17.10 $         20.52   $     57.00   Rx
S-1/D    Nicholas Lasso    Buena Vista Medical Services   16805    1/3/2020   $   21.72 $         26.06   $     72.40   Rx
S-1/D    Nicholas Lasso    Buena Vista Medical Services   17468    4/3/2020   $   17.10 $         20.52   $     57.00   Rx
S-1/D    Nicholas Lasso    Buena Vista Medical Services   17469    4/3/2020   $   21.72 $         26.06   $     72.40   Rx
S-1/D    Nicholas Lasso    Buena Vista Medical Services   24421               $   16.92 $         20.30   $     56.40   Rx
S-1/D    Nicholas Lasso    Buena Vista Medical Services   24468               $   21.72 $         26.06   $     72.40   Rx
S-1/D    Joseph Zdrilich   Peachtree Orthopaedic Clinic    9657    2/8/2019   $ 216.00 $         259.20   $    480.00   MR
S-1/D    Joseph Zdrilich   Peachtree Orthopaedic Clinic   10016 3/19/2019     $ 160.20 $         192.24   $    356.00   MR
S-1/D    Timothy Revero    Buena Vista Medical Services   16496 12/3/2019     $   45.00 $         54.00   $    150.01   Rx
S-1/D    Timothy Revero    Buena Vista Medical Services   16497 12/3/2019     $   44.66 $         53.59   $    148.86   Rx
S-1/D    Timothy Revero    Buena Vista Medical Services   16499 11/4/2019     $   72.25 $         86.70   $    240.84   Rx
S-1/D    Timothy Revero    Buena Vista Medical Services   16500 11/4/2019     $   50.28 $         60.34   $    167.60   Rx
S-1/D    Timothy Revero    Buena Vista Medical Services   18130    5/5/2020   $   44.66 $         53.59   $    148.86   Rx
S-1/D    Timothy Revero    Buena Vista Medical Services   19792    6/1/2020   $   44.66 $         53.59   $    148.86   Rx
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List of Receivables for Series-1/Intake D
                                                                                      Receivables
Intake   Lawyer             Provider                       BillId Date Paid    Purch Price      Cost       GFB Amount Fund Type
S-1/D    Timothy Revero     Buena Vista Medical Services   23829    7/2/2020   $   59.82 $         71.78   $    199.41   Rx
S-1/D    Timothy Revero     Buena Vista Medical Services   23830    7/2/2020   $   44.66 $         53.59   $    148.86   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16228    8/2/2019   $   34.85 $         41.82   $    116.16   Rx
S-1/D    Alex Simanovsky    Ensign Legal Support            6858    5/6/2018   $   83.13 $         99.76   $    166.26   MR
S-1/D    Alex Simanovsky    Ensign Legal Support            7064    5/6/2018   $   59.23 $         71.08   $    118.46   MR
S-1/D    Alex Simanovsky    Ensign Legal Support            7065    5/6/2018   $   61.67 $         74.00   $    123.34   MR Missing Lien
S-1/D    Alex Simanovsky    Ensign Legal Support            7113    5/6/2018   $ 181.97 $         218.36   $    363.94   MR
S-1/D    Alex Simanovsky    Ensign Legal Support            7126    5/6/2018   $   25.00 $         30.00   $     50.00   MR
S-1/D    Alex Simanovsky    Ensign Legal Support            7333    6/6/2018   $   25.25 $         30.30   $     50.50   MR
S-1/D    Alex Simanovsky    Ensign Legal Support            7386    6/6/2018   $   25.00 $         30.00   $     50.00   MR
S-1/D    Richard Harris     Buena Vista Medical Services   16080    6/3/2019   $   34.91 $         41.89   $    116.36   Rx
S-1/D    Richard Harris     Buena Vista Medical Services   16082    7/3/2019   $   35.21 $         42.25   $    117.36   Rx
S-1/D    Richard Harris     Buena Vista Medical Services   16084    7/3/2019   $   34.90 $         41.88   $    116.32   Rx
S-1/D    Richard Harris     Buena Vista Medical Services   16086 4/30/2019     $   31.72 $         38.06   $    105.73   Rx
S-1/D    Richard Harris     Buena Vista Medical Services   16087 4/30/2019     $   33.78 $         40.54   $    112.59   Rx
S-1/D    Richard Harris     Buena Vista Medical Services   16088    6/3/2019   $   36.82 $         44.18   $    122.72   Rx
S-1/D    Richard Harris     Buena Vista Medical Services   16273    2/4/2020   $   37.70 $         45.24   $    125.67   Rx
S-1/D    Richard Harris     Buena Vista Medical Services   16274    2/4/2020   $   38.38 $         46.06   $    127.95   Rx
S-1/D    Richard Harris     Buena Vista Medical Services   17470    4/3/2020   $   38.38 $         46.06   $    127.95   Rx
S-1/D    Richard Harris     Buena Vista Medical Services   17471    4/3/2020   $   37.70 $         45.24   $    125.67   Rx
S-1/D    Richard Harris     Buena Vista Medical Services   17472    4/3/2020   $   69.03 $         82.84   $    230.11   Rx
S-1/D    Richard Harris     Buena Vista Medical Services   18077    5/5/2020   $   37.70 $         45.24   $    125.67   Rx
S-1/D    Richard Harris     Buena Vista Medical Services   18135    5/5/2020   $   38.38 $         46.06   $    127.95   Rx
S-1/D    Richard Harris     Buena Vista Medical Services   18986    6/1/2020   $   37.70 $         45.24   $    125.67   Rx
S-1/D    Dustin Birch       Buena Vista Medical Services   17382    4/3/2020   $   56.35 $         67.62   $    187.83   Rx
S-1/D    Dustin Birch       Buena Vista Medical Services   17383    4/3/2020   $   53.11 $         63.73   $    177.04   Rx
S-1/D    Dustin Birch       Buena Vista Medical Services   17759    4/3/2020   $   26.00 $         31.20   $     86.65   Rx
S-1/D    Dustin Birch       Buena Vista Medical Services   18002    5/5/2020   $   38.95 $         46.74   $    129.84   Rx
S-1/D    Dustin Birch       Buena Vista Medical Services   18003    5/5/2020   $   23.62 $         28.34   $     78.75   Rx
S-1/D    Dustin Birch       Buena Vista Medical Services   18193    5/5/2020   $   53.11 $         63.73   $    177.04   Rx
S-1/D    Dustin Birch       Buena Vista Medical Services   18486    5/5/2020   $   38.95 $         46.74   $    129.84   Rx
S-1/D    Dustin Birch       Buena Vista Medical Services   21275    7/2/2020   $   38.95 $         46.74   $    129.84   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   19772    6/1/2020   $   32.98 $         39.58   $    109.95   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   19773    6/1/2020   $   37.53 $         45.04   $    125.10   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   23820    7/2/2020   $   32.98 $         39.58   $    109.95   Rx
S-1/D    Kevin Danesh       Buena Vista Medical Services   15786 12/3/2019     $   14.28 $         17.14   $     47.60   Rx
S-1/D    Kevin Danesh       Buena Vista Medical Services   15787 12/3/2019     $   26.04 $         31.25   $     86.81   Rx
S-1/D    Kevin Danesh       Buena Vista Medical Services   18183    5/5/2020   $   56.30 $         67.56   $    187.66   Rx
S-1/D    Kevin Danesh       Buena Vista Medical Services   19785    6/1/2020   $   56.30 $         67.56   $    187.66   Rx
S-1/D    Kevin Danesh       Buena Vista Medical Services   19786    6/1/2020   $   14.28 $         17.14   $     47.60   Rx
S-1/D    Kevin Danesh       Buena Vista Medical Services   20357    6/1/2020   $   57.74 $         69.29   $    192.46   Rx
S-1/D    Kevin Danesh       Buena Vista Medical Services   20358    6/1/2020   $   34.99 $         41.99   $    116.63   Rx
S-1/D    Kevin Danesh       Buena Vista Medical Services   20359    6/1/2020   $   22.52 $         27.02   $     75.08   Rx
S-1/D    Kevin Danesh       Buena Vista Medical Services   21269    7/2/2020   $   28.59 $         34.31   $     95.30   Rx
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List of Receivables for Series-1/Intake D
                                                                                         Receivables
Intake   Lawyer                Provider                       BillId Date Paid    Purch Price      Cost       GFB Amount Fund Type
S-1/D    Kevin Danesh          Buena Vista Medical Services   23235    7/2/2020   $   56.30 $         67.56   $    187.66   Rx
S-1/D    Kevin Danesh          Buena Vista Medical Services   23236    7/2/2020   $   14.28 $         17.14   $     47.60   Rx
S-1/D    Kevin Danesh          Buena Vista Medical Services   23822    7/2/2020   $   57.74 $         69.29   $    192.46   Rx
S-1/D    Michael Shemtoub      Buena Vista Medical Services   18012    5/5/2020   $   43.54 $         52.25   $    145.14   Rx
S-1/D    Michael Shemtoub      Buena Vista Medical Services   18013    5/5/2020   $   78.65 $         94.38   $    262.18   Rx
S-1/D    Michael Shemtoub      Buena Vista Medical Services   19552    6/1/2020   $   78.65 $         94.38   $    262.18   Rx
S-1/D    Michael Shemtoub      Buena Vista Medical Services   23230    7/2/2020   $   78.65 $         94.38   $    262.18   Rx
S-1/D    Michael Shemtoub      Buena Vista Medical Services   24462               $   78.65 $         94.38   $    262.18   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   15488 11/4/2019     $   44.65 $         53.58   $    148.82   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   15490 12/3/2019     $   39.17 $         47.00   $    130.56   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   15492    1/3/2020   $   39.17 $         47.00   $    130.56   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   15494    9/3/2019   $   39.17 $         47.00   $    130.56   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   15495    9/3/2019   $   34.75 $         41.70   $    115.84   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   15497 10/1/2019     $   39.17 $         47.00   $    130.56   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   17455    4/3/2020   $   39.17 $         47.00   $    130.56   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   18122    5/5/2020   $   39.17 $         47.00   $    130.56   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   19771    6/1/2020   $   39.17 $         47.00   $    130.56   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   21263    7/2/2020   $   39.17 $         47.00   $    130.56   Rx
S-1/D    HagopJ. Bazerkanian   Buena Vista Medical Services   16619 10/1/2019     $   34.96 $         41.95   $    116.52   Rx
S-1/D    HagopJ. Bazerkanian   Buena Vista Medical Services   16620 10/1/2019     $   63.00 $         75.60   $    210.00   Rx
S-1/D    Jacob Emrani          Buena Vista Medical Services   18197    5/5/2020   $ 160.65 $         192.78   $    535.50   Rx
S-1/D    Jacob Emrani          Buena Vista Medical Services   18198    5/5/2020   $   58.05 $         69.66   $    193.49   Rx
S-1/D    Jacob Emrani          Buena Vista Medical Services   19550    6/1/2020   $   31.86 $         38.23   $    106.20   Rx
S-1/D    Jacob Emrani          Buena Vista Medical Services   22737    7/2/2020   $   31.86 $         38.23   $    106.20   Rx
S-1/D    Farid Yaghoubtil      Buena Vista Medical Services   16471    9/3/2019   $   35.74 $         42.89   $    119.12   Rx
S-1/D    Farid Yaghoubtil      Buena Vista Medical Services   16473 10/1/2019     $   35.15 $         42.18   $    117.16   Rx
S-1/D    Farid Yaghoubtil      Buena Vista Medical Services   16475    9/3/2019   $   35.15 $         42.18   $    117.16   Rx
S-1/D    Farid Yaghoubtil      Buena Vista Medical Services   16477    8/2/2019   $   35.15 $         42.18   $    117.16   Rx
S-1/D    Farid Yaghoubtil      Buena Vista Medical Services   16478    8/2/2019   $   35.74 $         42.89   $    119.12   Rx
S-1/D    Farid Yaghoubtil      Buena Vista Medical Services   23826    7/2/2020   $   29.27 $         35.12   $     97.58   Rx
S-1/D    Timothy Revero        Buena Vista Medical Services   17385    4/3/2020   $   65.96 $         79.15   $    219.87   Rx
S-1/D    Timothy Revero        Buena Vista Medical Services   17386    4/3/2020   $   91.19 $        109.43   $    303.96   Rx
S-1/D    Timothy Revero        Buena Vista Medical Services   17763    4/3/2020   $   35.36 $         42.43   $    117.88   Rx
S-1/D    Timothy Revero        Buena Vista Medical Services   18075    5/5/2020   $   91.19 $        109.43   $    303.96   Rx
S-1/D    Timothy Revero        Buena Vista Medical Services   18076    5/5/2020   $   65.96 $         79.15   $    219.87   Rx
S-1/D    Timothy Revero        Buena Vista Medical Services   21278    7/2/2020   $   30.75 $         36.90   $    102.51   Rx
S-1/D    Alex Simanovsky       Ciox Health                     6405    4/5/2018   $   20.00 $         24.00   $     40.00   MR
S-1/D    Alex Simanovsky       Ciox Health                     6406    4/5/2018   $   78.72 $         94.46   $    157.44   MR
S-1/D    HagopJ. Bazerkanian   Buena Vista Medical Services   16307    9/3/2019   $   42.16 $         50.59   $    140.52   Rx
S-1/D    HagopJ. Bazerkanian   Buena Vista Medical Services   16308    9/3/2019   $   85.32 $        102.38   $    284.40   Rx
S-1/D    Farid Yaghoubtil      Buena Vista Medical Services   15528    1/3/2020   $   37.01 $         44.41   $    123.36   Rx
S-1/D    Farid Yaghoubtil      Buena Vista Medical Services   15530    2/4/2020   $ 186.45 $         223.74   $    621.49   Rx
S-1/D    Farid Yaghoubtil      Buena Vista Medical Services   15531    2/4/2020   $   37.01 $         44.41   $    123.36   Rx
S-1/D    Farid Yaghoubtil      Buena Vista Medical Services   15533 12/3/2019     $   37.01 $         44.41   $    123.36   Rx
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List of Receivables for Series-1/Intake D
                                                                                        Receivables
Intake   Lawyer             Provider                       BillId   Date Paid    Purch Price      Cost       GFB Amount Fund Type
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   15535      9/3/2019   $   36.72 $         44.06   $    122.40   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   15537     10/1/2019   $   36.72 $         44.06   $    122.40   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   15539     11/4/2019   $   37.01 $         44.41   $    123.36   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   17023      3/4/2020   $   37.72 $         45.26   $    125.74   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   17095      3/4/2020   $   16.99 $         20.39   $     56.63   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   17096      3/4/2020   $   37.55 $         45.06   $    125.17   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   17097      3/4/2020   $   37.01 $         44.41   $    123.36   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   17373      4/3/2020   $   37.38 $         44.86   $    124.60   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   17460      4/3/2020   $   43.89 $         52.67   $    146.30   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   17617      4/3/2020   $   37.55 $         45.06   $    125.17   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   19555      6/1/2020   $   48.56 $         58.27   $    161.85   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   19556      6/1/2020   $   51.26 $         61.51   $    170.86   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   23960                 $   51.26 $         61.51   $    170.86   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   23961                 $   48.56 $         58.27   $    161.85   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   24418                 $   50.51 $         60.61   $    168.38   Rx
S-1/D    Mauro Fiore Jr     Buena Vista Medical Services   17483      4/3/2020   $   33.65 $         40.38   $    112.17   Rx
S-1/D    Omid Khorshidi     Buena Vista Medical Services   19799      6/1/2020   $   83.38 $        100.06   $    277.94   Rx
S-1/D    Omid Khorshidi     Buena Vista Medical Services   23231      7/2/2020   $   83.38 $        100.06   $    277.94   Rx
S-1/D    Daniel Del Rio     Ensign Legal Support            6984    11/15/2017   $   45.50 $         54.60   $     91.00   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            7035    10/12/2017   $   49.50 $         59.40   $     99.00   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            7036    10/12/2017   $   58.50 $         70.20   $    117.00   MR
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16680      9/3/2019   $   35.68 $         42.82   $    118.92   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16682      8/2/2019   $   35.68 $         42.82   $    118.92   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16683      9/3/2019   $   35.89 $         43.07   $    119.64   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16684      9/3/2019   $   35.53 $         42.64   $    118.44   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16685      8/2/2019   $   35.53 $         42.64   $    118.44   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16686      8/2/2019   $   34.54 $         41.45   $    115.12   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16687      8/2/2019   $   36.00 $         43.20   $    120.00   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16688      8/2/2019   $   35.89 $         43.07   $    119.64   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16689      8/2/2019   $   37.03 $         44.44   $    123.44   Rx
S-1/D    Richard Harris     Buena Vista Medical Services   16699      7/3/2019   $   49.86 $         59.83   $    166.20   Rx
S-1/D    Richard Harris     Buena Vista Medical Services   16700      7/3/2019   $   44.09 $         52.91   $    146.96   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   17993      5/5/2020   $   40.12 $         48.14   $    133.74   Rx
S-1/D    Daniel Del Rio     Ensign Legal Support            6981    10/12/2017   $   52.00 $         62.40   $    104.00   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6982    10/12/2017   $   58.50 $         70.20   $    117.00   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6983    11/15/2017   $   45.50 $         54.60   $     91.00   MR
S-1/D    Nancy Bernstein    Buena Vista Medical Services   17485      4/3/2020   $   54.59 $         65.51   $    181.96   Rx
S-1/D    Nancy Bernstein    Buena Vista Medical Services   17486      4/3/2020   $   39.37 $         47.24   $    131.22   Rx
S-1/D    Nancy Bernstein    Buena Vista Medical Services   19559      6/1/2020   $   39.37 $         47.24   $    131.22   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16142      7/3/2019   $   35.08 $         42.10   $    116.92   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16144     10/1/2019   $   35.08 $         42.10   $    116.92   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16145     10/1/2019   $   45.10 $         54.12   $    150.32   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16147     4/30/2019   $   44.00 $         52.80   $    146.68   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16148     4/30/2019   $   31.93 $         38.32   $    106.43   Rx
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List of Receivables for Series-1/Intake D
                                                                                             Receivables
Intake   Lawyer                  Provider                       BillId   Date Paid    Purch Price      Cost        GFB Amount Fund Type
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16150      6/3/2019   $    42.75 $        51.30    $     142.51  Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   17178      3/4/2020   $    17.13 $        20.56    $      57.09  Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   17179      3/4/2020   $    17.06 $        20.47    $      56.86  Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   17180      3/4/2020   $    10.57 $        12.68    $      35.24  Rx
S-1/D    Brittany Young          Buena Vista Medical Services   16568     11/4/2019   $    35.35 $        42.42    $     117.84  Rx
S-1/D    Brittany Young          Buena Vista Medical Services   16570     12/3/2019   $    36.30 $        43.56    $     121.00  Rx
S-1/D    Brittany Young          Buena Vista Medical Services   16571     12/3/2019   $    35.35 $        42.42    $     117.84  Rx
S-1/D    Brittany Young          Buena Vista Medical Services   16573     10/1/2019   $    36.30 $        43.56    $     121.00  Rx
S-1/D    Brittany Young          Buena Vista Medical Services   16574     10/1/2019   $    35.35 $        42.42    $     117.84  Rx
S-1/D    Brittany Young          Buena Vista Medical Services   16575     11/4/2019   $    36.30 $        43.56    $     121.00  Rx
S-1/D    James Grant             Ensign Legal Support           11421     8/15/2019   $    27.25 $        32.70    $      54.50  MR
S-1/D    Daniel Del Rio          Ensign Legal Support            6020    12/22/2017   $    40.25 $        48.30    $      80.50  MR
S-1/D    Daniel Del Rio          Ensign Legal Support            6826    12/22/2017   $    92.00 $       110.40    $     184.00  MR
S-1/D    Daniel Del Rio          Ensign Legal Support            6827    12/22/2017   $    42.35 $        50.82    $      84.70  MR
S-1/D    Daniel Del Rio          Ensign Legal Support            6828    12/22/2017   $    40.00 $        48.00    $      80.00  MR
S-1/D    Daniel Del Rio          Ensign Legal Support            6830    12/22/2017   $    25.00 $        30.00    $      50.00  MR
S-1/D    Daniel Del Rio          Ensign Legal Support            6840    12/22/2017   $    74.25 $        89.10    $     148.50  MR
S-1/D    Daniel Del Rio          Ensign Legal Support            6841    12/22/2017   $ 140.50 $         168.60    $     281.00  MR Missing Lien
S-1/D    Michael Shemtoub        Buena Vista Medical Services   24411                 $    20.50 $        24.60    $      68.32  Rx
S-1/D    Michael Shemtoub        Buena Vista Medical Services   24412                 $    20.45 $        24.54    $      68.17  Rx
S-1/D    John Beals              Buena Vista Medical Services   15962     10/1/2019   $ 429.73 $         515.68    $ 1,432.44    Rx
S-1/D    Neal Howard             Ensign Legal Support            8046     8/26/2018   $    27.00 $        32.40    $      40.50  MR
S-1/D    Neal Howard             Ensign Legal Support            8293     9/24/2018   $    67.71 $        81.25    $     101.56  MR
S-1/D    Neal Howard             Ensign Legal Support            8294     9/24/2018   $    66.08 $        79.30    $      99.12  MR
S-1/D    Neal Howard             Ensign Legal Support            8545    10/29/2018   $ 173.63 $         208.36    $     260.45  MR
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16726     4/30/2019   $    38.04 $        45.65    $     126.79  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16727     4/30/2019   $    33.22 $        39.86    $     110.72  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15776     12/3/2019   $    24.57 $        29.48    $      81.90  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15777     12/3/2019   $    24.57 $        29.48    $      81.90  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15779      2/4/2020   $    40.34 $        48.41    $     134.48  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15780     12/3/2019   $    26.58 $        31.90    $      88.61  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15781     12/3/2019   $    36.91 $        44.29    $     123.04  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15782     12/3/2019   $    37.15 $        44.58    $     123.82  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15783     12/3/2019   $    27.92 $        33.50    $      93.05  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15784     12/3/2019   $    47.92 $        57.50    $     159.74  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   19794      6/1/2020   $    33.60 $        40.32    $     111.99  Rx
S-1/D    Daniel Del Rio          Ensign Legal Support            6940    12/10/2017   $    73.00 $        87.60    $     146.00  MR
S-1/D    Timothy Revero          Buena Vista Medical Services   15646     11/4/2019   $    36.00 $        43.20    $     120.00  Rx
S-1/D    Timothy Revero          Buena Vista Medical Services   15648     10/1/2019   $    36.00 $        43.20    $     120.00  Rx
S-1/D    Timothy Revero          Buena Vista Medical Services   15650                 $    36.61 $        43.93    $     122.04  Rx
S-1/D    Timothy Revero          Buena Vista Medical Services   15652     12/3/2019   $    36.00 $        43.20    $     120.00  Rx
S-1/D    Timothy Revero          Buena Vista Medical Services   15654                 $   (36.61) $      (43.93)   $    (122.04) Rx
S-1/D    Timothy Revero          Buena Vista Medical Services   15656      7/3/2019   $    35.16 $        42.19    $     117.20  Rx
S-1/D    Timothy Revero          Buena Vista Medical Services   15657      7/3/2019   $    36.00 $        43.20    $     120.00  Rx
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List of Receivables for Series-1/Intake D
                                                                                           Receivables
Intake   Lawyer                  Provider                       BillId Date Paid    Purch Price      Cost       GFB Amount Fund Type
S-1/D    Timothy Revero          Buena Vista Medical Services   15659    9/3/2019   $   36.00 $         43.20   $    120.00   Rx
S-1/D    Timothy Revero          Buena Vista Medical Services   15660 10/1/2019     $   36.61 $         43.93   $    122.04   Rx
S-1/D    Timothy Revero          Buena Vista Medical Services   15661    9/3/2019   $   35.16 $         42.19   $    117.20   Rx
S-1/D    Daniel Del Rio          ABI Document Services           6137    2/7/2018   $   60.66 $         72.79   $    121.32   MR
S-1/D    Daniel Del Rio          ABI Document Services           6138    2/7/2018   $   83.67 $        100.40   $    167.34   MR
S-1/D    Daniel Del Rio          ABI Document Services           6140    2/7/2018   $   59.91 $         71.89   $    119.82   MR
S-1/D    John Ye                 Buena Vista Medical Services   18066    5/5/2020   $   22.92 $         27.50   $     76.40   Rx
S-1/D    John Ye                 Buena Vista Medical Services   18067    5/5/2020   $   54.39 $         65.27   $    181.30   Rx
S-1/D    Timothy Revero          Buena Vista Medical Services   16237    8/2/2019   $   35.64 $         42.77   $    118.80   Rx
S-1/D    Timothy Revero          Buena Vista Medical Services   16238    8/2/2019   $   35.18 $         42.22   $    117.28   Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   17032    3/4/2020   $   36.72 $         44.06   $    122.40   Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   17301    3/4/2020   $   40.40 $         48.48   $    134.67   Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   21273    7/2/2020   $   40.40 $         48.48   $    134.67   Rx
S-1/D    Kevin Danesh            Buena Vista Medical Services   16429    8/2/2019   $   35.41 $         42.49   $    118.04   Rx
S-1/D    Kevin Danesh            Buena Vista Medical Services   16430    8/2/2019   $   34.37 $         41.24   $    114.56   Rx
S-1/D    Kevin Danesh            Buena Vista Medical Services   16432    7/3/2019   $   35.41 $         42.49   $    118.04   Rx
S-1/D    Kevin Danesh            Buena Vista Medical Services   16433    7/3/2019   $   34.37 $         41.24   $    114.56   Rx
S-1/D    Kevin Danesh            Buena Vista Medical Services   17021    3/4/2020   $   34.37 $         41.24   $    114.56   Rx
S-1/D    Janice Strong           ChartSquad                     14218 1/27/2020     $   51.50 $         61.80   $    120.00   MR
S-1/D    Janice Strong           ChartSquad                     14219 1/27/2020     $   51.50 $         61.80   $    120.00   MR
S-1/D    Janice Strong           ChartSquad                     14221 1/27/2020     $   45.00 $         54.00   $    120.00   MR
S-1/D    Janice Strong           ChartSquad                     14222 1/27/2020     $   46.50 $         55.80   $    120.00   MR
S-1/D    Janice Strong           ChartSquad                     14378 1/27/2020     $   45.00 $         54.00   $    120.00   MR
S-1/D    Janice Strong           ChartSquad                     14379 1/27/2020     $   45.00 $         54.00   $    120.00   MR
S-1/D    Janice Strong           ChartSquad                     14384 1/27/2020     $   45.00 $         54.00   $    120.00   MR
S-1/D    Janice Strong           ChartSquad                     14495 1/27/2020     $   45.00 $         54.00   $    120.00   MR
S-1/D    Janice Strong           ChartSquad                     14496 1/27/2020     $   51.50 $         61.80   $    120.00   MR
S-1/D    Salar Hendizadeh        Buena Vista Medical Services   17367    4/3/2020   $   36.82 $         44.18   $    122.74   Rx
S-1/D    Salar Hendizadeh        Buena Vista Medical Services   17751    4/3/2020   $   35.13 $         42.16   $    117.10   Rx
S-1/D    Michael Shemtoub        Buena Vista Medical Services   22743    7/2/2020   $   38.42 $         46.10   $    128.07   Rx
S-1/D    Michael Shemtoub        Buena Vista Medical Services   22744    7/2/2020   $   49.16 $         58.99   $    163.86   Rx
S-1/D    Michael Shemtoub        Buena Vista Medical Services   22745    7/2/2020   $   26.30 $         31.56   $     87.68   Rx
S-1/D    Hamed Yazdanpanah       Buena Vista Medical Services   16547 11/4/2019     $   28.11 $         33.73   $     93.69   Rx
S-1/D    Hamed Yazdanpanah       Buena Vista Medical Services   16549 11/4/2019     $   28.62 $         34.34   $     95.41   Rx
S-1/D    Hamed Yazdanpanah       Buena Vista Medical Services   16551 11/4/2019     $   34.55 $         41.46   $    115.16   Rx
S-1/D    Hamed Yazdanpanah       Buena Vista Medical Services   16552 11/4/2019     $   44.28 $         53.14   $    147.60   Rx
S-1/D    Hamed Yazdanpanah       Buena Vista Medical Services   16553 11/4/2019     $   33.01 $         39.61   $    110.03   Rx
S-1/D    Hamed Yazdanpanah       Buena Vista Medical Services   17756    4/3/2020   $   78.65 $         94.38   $    262.18   Rx
S-1/D    Hamed Yazdanpanah       Buena Vista Medical Services   17995    5/5/2020   $   83.80 $        100.56   $    279.34   Rx
S-1/D    Hamed Yazdanpanah       Buena Vista Medical Services   18065    5/5/2020   $   70.60 $         84.72   $    235.34   Rx
S-1/D    Hamed Yazdanpanah       Buena Vista Medical Services   19787    6/1/2020   $   38.42 $         46.10   $    128.07   Rx
S-1/D    Hamed Yazdanpanah       Buena Vista Medical Services   19788    6/1/2020   $   78.65 $         94.38   $    262.18   Rx
S-1/D    Kevin Danesh            Buena Vista Medical Services   16494 12/3/2019     $   46.72 $         56.06   $    155.74   Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16714 11/4/2019     $   37.40 $         44.88   $    124.65   Rx
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List of Receivables for Series-1/Intake D
                                                                                           Receivables
Intake   Lawyer                  Provider                       BillId Date Paid    Purch Price      Cost         GFB Amount Fund Type
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16715 11/4/2019     $   36.36 $          43.63    $     121.21  Rx
S-1/D    Alex Simanovsky         Ciox Health                     6395    4/5/2018   $   83.00 $          99.60    $     166.00  MR
S-1/D    Alex Simanovsky         Ciox Health                     6396    4/5/2018   $   20.00 $          24.00    $      40.00  MR
S-1/D    Alex Simanovsky         Ciox Health                     6397    4/5/2018   $   65.11 $          78.13    $     130.22  MR
S-1/D    Alex Simanovsky         Ciox Health                     6399    4/5/2018   $   65.11 $          78.13    $     130.22  MR
S-1/D    Alex Simanovsky         Ciox Health                     6414    4/5/2018   $   20.00 $          24.00    $      40.00  MR
S-1/D    Alex Simanovsky         Ciox Health                     6607    4/5/2018   $   79.76 $          95.71    $     159.52  MR
S-1/D    Ronald Chalker          Ensign Legal Support            8271   9/24/2018   $ 152.97 $          183.56    $     229.46  MR
S-1/D    Ronald Chalker          Ensign Legal Support            8292   9/24/2018   $   66.33 $          79.60    $      99.50  MR
S-1/D    Ronald Chalker          Ensign Legal Support            8331   9/24/2018   $   36.25 $          43.50    $      54.38  MR
S-1/D    Ronald Chalker          Ensign Legal Support            8336   9/28/2018   $   61.08 $          73.30    $      91.62  MR
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15564 12/3/2019     $   36.30 $          43.56    $     121.00  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15565 12/3/2019     $   35.35 $          42.42    $     117.84  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15567    1/3/2020   $   36.30 $          43.56    $     121.00  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15568    1/3/2020   $   35.35 $          42.42    $     117.84  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15570    8/2/2019   $   35.35 $          42.42    $     117.84  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15571    8/2/2019   $   36.30 $          43.56    $     121.00  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15573 10/1/2019     $   35.35 $          42.42    $     117.84  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15574 10/1/2019     $   36.30 $          43.56    $     121.00  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   17298    3/4/2020   $   44.35 $          53.22    $     147.84  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   17299    3/4/2020   $   36.30 $          43.56    $     121.00  Rx
S-1/D    Brittany Young          Buena Vista Medical Services   18009    5/5/2020   $   54.59 $          65.51    $     181.96  Rx
S-1/D    Brittany Young          Buena Vista Medical Services   18010    5/5/2020   $   37.53 $          45.04    $     125.10  Rx
S-1/D    Arash Khorsandi         Buena Vista Medical Services   15443    1/3/2020   $   38.56 $          46.27    $     128.52  Rx
S-1/D    Arash Khorsandi         Buena Vista Medical Services   15445 12/3/2019     $   24.68 $          29.62    $      82.25  Rx
S-1/D    Arash Khorsandi         Buena Vista Medical Services   15447    2/4/2020   $   36.57 $          43.88    $     121.90  Rx
S-1/D    Arash Khorsandi         Buena Vista Medical Services   15448    2/4/2020   $   37.61 $          45.13    $     125.36  Rx
S-1/D    Arash Khorsandi         Buena Vista Medical Services   15450 11/4/2019     $ 184.90 $          221.88    $     616.32  Rx
S-1/D    Arash Khorsandi         Buena Vista Medical Services   15451 11/4/2019     $   38.56 $          46.27    $     128.52  Rx
S-1/D    Arash Khorsandi         Buena Vista Medical Services   15453 12/3/2019     $   38.56 $          46.27    $     128.52  Rx
S-1/D    Arash Khorsandi         Buena Vista Medical Services   15455 12/3/2019     $ (184.90) $       (221.88)   $    (616.32) Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16212    8/2/2019   $   35.53 $          42.64    $     118.44  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16214    9/3/2019   $   35.53 $          42.64    $     118.44  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16215    8/2/2019   $   36.00 $          43.20    $     120.00  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16217    7/3/2019   $   35.05 $          42.06    $     116.84  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16218    7/3/2019   $   36.00 $          43.20    $     120.00  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   21264    7/2/2020   $   22.99 $          27.59    $      76.63  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   21265    7/2/2020   $   54.40 $          65.28    $     181.32  Rx
S-1/D    Farid Yaghoubtil        Buena Vista Medical Services   16920    3/4/2020   $   40.10 $          48.12    $     133.68  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16735 10/1/2019     $   36.05 $          43.26    $     120.16  Rx
S-1/D    Bryan Blackwell         Buena Vista Medical Services   16848    2/4/2020   $   36.56 $          43.87    $     121.87  Rx
S-1/D    Bryan Blackwell         Buena Vista Medical Services   16849    2/4/2020   $   37.60 $          45.12    $     125.32  Rx
S-1/D    Bryan Blackwell         Buena Vista Medical Services   16850    2/4/2020   $   77.91 $          93.49    $     259.69  Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   16637 12/3/2019     $   17.46 $          20.95    $      58.20  Rx
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Intake   Lawyer                  Provider                       BillId Date Paid    Purch Price      Cost        GFB Amount Fund Type
S-1/D    Christopher Henderson   Buena Vista Medical Services   16638 12/3/2019     $   14.94 $         17.93    $     49.80   Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15592    1/3/2020   $   24.18 $         29.02    $     80.61   Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15594    9/3/2019   $   39.31 $         47.17    $    131.04   Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16743    8/2/2019   $ 144.96 $         173.95    $    483.20   Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16694    9/3/2019   $   35.29 $         42.35    $    117.64   Rx
S-1/D    Farid Yaghoubtil        Buena Vista Medical Services   17029    3/4/2020   $   17.68 $         21.22    $     58.93   Rx
S-1/D    Farid Yaghoubtil        Buena Vista Medical Services   17030    3/4/2020   $   38.12 $         45.74    $    127.07   Rx
S-1/D    Farid Yaghoubtil        Buena Vista Medical Services   17369    4/3/2020   $   40.10 $         48.12    $    133.68   Rx
S-1/D    Morgan Fashchti         Buena Vista Medical Services   15998 12/3/2019     $   82.93 $         99.52    $    276.44   Rx
S-1/D    Morgan Fashchti         Buena Vista Medical Services   16000 10/1/2019     $   78.95 $         94.74    $    263.16   Rx
S-1/D    Morgan Fashchti         Buena Vista Medical Services   17102    3/4/2020   $   82.93 $         99.52    $    276.44   Rx
S-1/D    Morgan Fashchti         Buena Vista Medical Services   18131    5/5/2020   $   27.10 $         32.52    $     90.33   Rx
S-1/D    Omid Khorshidi          Buena Vista Medical Services   24481               $   33.02 $         39.62    $    110.05   Rx
S-1/D    Lee Arter               Buena Vista Medical Services   16651    7/3/2019   $ 329.70 $         395.64    $ 1,099.00    Rx
S-1/D    DavidF. Makkabi         Buena Vista Medical Services   16691    9/3/2019   $   41.00 $         49.20    $    136.68   Rx
S-1/D    DavidF. Makkabi         Buena Vista Medical Services   16692    9/3/2019   $   35.21 $         42.25    $    117.36   Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16801    1/3/2020   $   17.76 $         21.31    $     59.20   Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16802    1/3/2020   $   23.48 $         28.18    $     78.27   Rx
S-1/D    David Menocal           Buena Vista Medical Services   16840    2/4/2020   $   36.74 $         44.09    $    122.47   Rx
S-1/D    David Menocal           Buena Vista Medical Services   16841    2/4/2020   $   37.90 $         45.48    $    126.35   Rx
S-1/D    Jared Richards          Buena Vista Medical Services   23965               $   82.39 $         98.87    $    274.63   Rx
S-1/D    Jared Richards          Buena Vista Medical Services   24408               $   48.55 $         58.26    $    161.84   Rx
S-1/D    Jared Richards          Buena Vista Medical Services   24409               $   99.72 $        119.66    $    332.39   Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16446    7/3/2019   $   35.34 $         42.41    $    117.80   Rx
S-1/D    Alex Simanovsky         Ciox Health                     6401    4/5/2018   $   30.00 $         36.00    $     60.00   MR
S-1/D    Alex Simanovsky         Ciox Health                     6402    4/5/2018   $   30.00 $         36.00    $     60.00   MR
S-1/D    Alex Simanovsky         Ensign Legal Support            7115    5/6/2018   $   26.75 $         32.10    $     53.50   MR
S-1/D    Alex Simanovsky         Ensign Legal Support            7266   5/20/2018   $   61.80 $         74.16    $    123.60   MR
S-1/D    Alex Simanovsky         Ensign Legal Support            7331    6/6/2018   $   80.74 $         96.89    $    161.48   MR
S-1/D    Jonathan Broderick      Ensign Legal Support           10429 4/30/2019     $ 111.54 $         133.85    $    223.08   MR
S-1/D    Jonathan Broderick      Ensign Legal Support           11050 6/28/2019     $   79.46 $         95.35    $    119.20   MR
S-1/D    Dwayne Singleton        ChartSquad                     13787 1/27/2020     $   51.50 $         61.80    $    120.00   MR
S-1/D    Dwayne Singleton        ChartSquad                     13788 1/27/2020     $   51.50 $         61.80    $    120.00   MR
S-1/D    Dwayne Singleton        ChartSquad                     13789 1/27/2020     $   52.00 $         62.40    $    120.00   MR
S-1/D    Dwayne Singleton        ChartSquad                     13790 1/27/2020     $   40.00 $         48.00    $    120.00   MR
S-1/D    Dwayne Singleton        ChartSquad                     13792 1/27/2020     $   40.00 $         48.00    $    120.00   MR
S-1/D    Dwayne Singleton        ChartSquad                     13794 1/27/2020     $   40.00 $         48.00    $    120.00   MR
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16073 4/30/2019     $   46.27 $         55.52    $    154.24   Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16074 4/30/2019     $   53.86 $         64.63    $    179.52   Rx
S-1/D    Nancy Bernstein         Buena Vista Medical Services   17159    3/4/2020   $   36.74 $         44.09    $    122.47   Rx
S-1/D    Nancy Bernstein         Buena Vista Medical Services   17160    3/4/2020   $   36.85 $         44.22    $    122.82   Rx
S-1/D    Nancy Bernstein         Buena Vista Medical Services   17161    3/4/2020   $   37.99 $         45.59    $    126.62   Rx
S-1/D    Nancy Bernstein         Buena Vista Medical Services   17162    3/4/2020   $   78.42 $         94.10    $    261.40   Rx
S-1/D    Neal Howard             Ensign Legal Support            8332   9/24/2018   $     3.20 $          3.84   $    132.16   MR
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List of Receivables for Series-1/Intake D
                                                                                        Receivables
Intake   Lawyer             Provider                       BillId   Date Paid    Purch Price      Cost       GFB Amount Fund Type
S-1/D    Neal Howard        Ensign Legal Support            8342     9/28/2018   $   75.50 $         90.60   $    113.25   MR
S-1/D    Neal Howard        Ensign Legal Support            8542    10/29/2018   $ 165.51 $         198.61   $    248.27   MR
S-1/D    Neal Howard        Ensign Legal Support            8682    10/29/2018   $   25.00 $         30.00   $     25.00   MR
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16517      2/4/2020   $   37.72 $         45.26   $    125.74   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   18478      5/5/2020   $   30.50 $         36.60   $    101.67   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   19551      6/1/2020   $   48.56 $         58.27   $    161.85   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   20355      6/1/2020   $   47.40 $         56.88   $    158.01   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   21267      7/2/2020   $   62.71 $         75.25   $    209.04   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15355     12/3/2019   $   46.14 $         55.37   $    153.79   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15356     12/3/2019   $   36.38 $         43.66   $    121.28   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15358     11/4/2019   $   46.14 $         55.37   $    153.79   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15360      2/4/2020   $   24.99 $         29.99   $     83.30   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15362      1/3/2020   $   46.14 $         55.37   $    153.79   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15363      1/3/2020   $   24.99 $         29.99   $     83.30   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15365     10/1/2019   $   36.29 $         43.55   $    120.96   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15366     10/1/2019   $   35.21 $         42.25   $    117.36   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15368     10/1/2019   $   36.52 $         43.82   $    121.72   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15369     11/4/2019   $   36.38 $         43.66   $    121.28   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15371     10/1/2019   $   36.29 $         43.55   $    120.96   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15372     10/1/2019   $   36.38 $         43.66   $    121.28   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   17081      3/4/2020   $   46.14 $         55.37   $    153.79   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   17082      3/4/2020   $   24.99 $         29.99   $     83.30   Rx
S-1/D    Daniel Del Rio     Compex                          6273     7/17/2017   $   67.20 $         80.64   $    134.40   MR
S-1/D    Daniel Del Rio     Compex                          6274     7/17/2017   $   87.20 $        104.64   $    174.40   MR
S-1/D    Daniel Del Rio     Compex                          6276     7/17/2017   $ 103.20 $         123.84   $    206.40   MR
S-1/D    Daniel Del Rio     Compex                          6277     7/17/2017   $   67.60 $         81.12   $    135.20   MR
S-1/D    Daniel Del Rio     Compex                          6278     7/17/2017   $ 137.20 $         164.64   $    274.40   MR
S-1/D    Daniel Del Rio     Compex                          6279     7/17/2017   $   65.60 $         78.72   $    131.20   MR
S-1/D    Daniel Del Rio     Compex                          6280     7/17/2017   $ 134.00 $         160.80   $    268.00   MR
S-1/D    Daniel Del Rio     Compex                          6281     7/17/2017   $   75.60 $         90.72   $    151.20   MR
S-1/D    Daniel Del Rio     Compex                          6282     7/17/2017   $   86.00 $        103.20   $    172.00   MR
S-1/D    Daniel Del Rio     Compex                          6283     7/17/2017   $   75.20 $         90.24   $    150.40   MR
S-1/D    Daniel Del Rio     Compex                          6284     7/17/2017   $   66.00 $         79.20   $    132.00   MR
S-1/D    Daniel Del Rio     Compex                          6285     7/17/2017   $ 225.60 $         270.72   $    451.20   MR
S-1/D    Daniel Del Rio     Compex                          6293     9/13/2017   $   88.00 $        105.60   $    176.00   MR
S-1/D    Daniel Del Rio     Compex                          6310    12/10/2017   $ 105.68 $         126.82   $    211.36   MR
S-1/D    Daniel Del Rio     Compex                          6335    12/10/2017   $ 105.68 $         126.82   $    211.36   MR
S-1/D    Natanya Brooks     Buena Vista Medical Services   15222      9/3/2019   $   36.55 $         43.86   $    182.76   Rx
S-1/D    Natanya Brooks     Buena Vista Medical Services   15223      9/3/2019   $   36.24 $         43.49   $    181.20   Rx
S-1/D    Natanya Brooks     Buena Vista Medical Services   15224      9/3/2019   $   36.95 $         44.34   $    184.74   Rx
S-1/D    Natanya Brooks     Buena Vista Medical Services   15230     12/3/2019   $   36.88 $         44.26   $    184.40   Rx
S-1/D    Natanya Brooks     Buena Vista Medical Services   15232      1/3/2020   $   20.16 $         24.19   $    100.80   Rx
S-1/D    Natanya Brooks     Buena Vista Medical Services   15233     12/3/2019   $   34.43 $         41.32   $    172.14   Rx
S-1/D    Natanya Brooks     Buena Vista Medical Services   15234     12/3/2019   $   35.85 $         43.02   $    179.24   Rx
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List of Receivables for Series-1/Intake D
                                                                                       Receivables
Intake   Lawyer              Provider                       BillId Date Paid    Purch Price      Cost        GFB Amount Fund Type
S-1/D    Natanya Brooks      Buena Vista Medical Services   15235 12/3/2019     $    39.07 $        46.88    $    195.36   Rx
S-1/D    Natanya Brooks      Buena Vista Medical Services   17086    3/4/2020   $    36.97 $        44.36    $    184.84   Rx
S-1/D    Natanya Brooks      Buena Vista Medical Services   17296    3/4/2020   $    30.43 $        36.52    $    152.14   Rx
S-1/D    Natanya Brooks      Buena Vista Medical Services   21266    7/2/2020   $ 239.85 $         287.82    $ 1,199.23    Rx
S-1/D    Natanya Brooks      Buena Vista Medical Services   23953               $ 239.85 $         287.82    $ 1,199.23    Rx
S-1/D    Farid Yaghoubtil    Buena Vista Medical Services   15625 12/3/2019     $    35.74 $        42.89    $    119.12   Rx
S-1/D    Farid Yaghoubtil    Buena Vista Medical Services   15626 12/3/2019     $    35.80 $        42.96    $    119.32   Rx
S-1/D    Farid Yaghoubtil    Buena Vista Medical Services   15628    9/3/2019   $    35.80 $        42.96    $    119.32   Rx
S-1/D    Farid Yaghoubtil    Buena Vista Medical Services   15629    9/3/2019   $    35.74 $        42.89    $    119.12   Rx
S-1/D    Daniel Del Rio      Ensign Legal Support            6568   1/10/2018   $    57.50 $        69.00    $    115.00   MR
S-1/D    Daniel Del Rio      Ensign Legal Support            6649    2/7/2018   $    82.00 $        98.40    $    164.00   MR
S-1/D    Daniel Del Rio      Ensign Legal Support            6792    3/1/2018   $    44.60 $        53.52    $     89.20   MR
S-1/D    Daniel Del Rio      Ensign Legal Support            6848 12/22/2017    $    52.75 $        63.30    $    105.50   MR
S-1/D    Mark Jackson        Buena Vista Medical Services   15979 10/1/2019     $    34.75 $        41.70    $    115.84   Rx
S-1/D    Mark Jackson        Buena Vista Medical Services   15981 10/1/2019     $    36.91 $        44.29    $    123.04   Rx
S-1/D    Mark Jackson        Buena Vista Medical Services   15982 10/1/2019     $    34.94 $        41.93    $    116.48   Rx
S-1/D    Mark Jackson        Buena Vista Medical Services   18979    6/1/2020   $    32.33 $        38.80    $    107.76   Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   16279    9/3/2019   $    34.91 $        41.89    $    116.36   Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   16280    9/3/2019   $    35.10 $        42.12    $    117.00   Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   16276    9/3/2019   $    35.10 $        42.12    $    117.00   Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   16277    9/3/2019   $    34.91 $        41.89    $    116.36   Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   17006    3/4/2020   $    41.06 $        49.27    $    136.87   Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   17007    3/4/2020   $    36.95 $        44.34    $    123.16   Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15608    1/3/2020   $    23.97 $        28.76    $     79.91   Rx
S-1/D    Nancy Bernstein     Buena Vista Medical Services   17760    4/3/2020   $    29.60 $        35.52    $     98.67   Rx
S-1/D    Nancy Bernstein     Buena Vista Medical Services   17761    4/3/2020   $    54.59 $        65.51    $    181.96   Rx
S-1/D    Nancy Bernstein     Buena Vista Medical Services   17762    4/3/2020   $    53.54 $        64.25    $    178.46   Rx
S-1/D    Nancy Bernstein     Buena Vista Medical Services   18984    6/1/2020   $    54.59 $        65.51    $    181.96   Rx
S-1/D    Vahagn Koshkaryan   Buena Vista Medical Services   15293    1/3/2020   $   (27.73) $      (33.28)   $    (92.43)  Rx
S-1/D    Vahagn Koshkaryan   Buena Vista Medical Services   15295 12/3/2019     $    27.73 $        33.28    $     92.43   Rx
S-1/D    Vahagn Koshkaryan   Buena Vista Medical Services   15297    1/3/2020   $    25.79 $        30.95    $     85.96   Rx
S-1/D    Vahagn Koshkaryan   Buena Vista Medical Services   15299    2/4/2020   $    18.66 $        22.39    $     62.21   Rx
S-1/D    Vahagn Koshkaryan   Buena Vista Medical Services   15300    2/4/2020   $    15.72 $        18.86    $     52.40   Rx
S-1/D    Vahagn Koshkaryan   Buena Vista Medical Services   15301 12/3/2019     $    21.30 $        25.56    $     71.00   Rx
S-1/D    Vahagn Koshkaryan   Buena Vista Medical Services   15303 10/1/2019     $    34.64 $        41.57    $    115.48   Rx
S-1/D    Vahagn Koshkaryan   Buena Vista Medical Services   15304 10/1/2019     $    35.10 $        42.12    $    117.00   Rx
S-1/D    Vahagn Koshkaryan   Buena Vista Medical Services   15306 11/4/2019     $    35.10 $        42.12    $    117.00   Rx
S-1/D    Vahagn Koshkaryan   Buena Vista Medical Services   15307 12/3/2019     $    21.30 $        25.56    $     71.00   Rx
S-1/D    Vahagn Koshkaryan   Buena Vista Medical Services   15308 12/3/2019     $    15.72 $        18.86    $     52.40   Rx
S-1/D    Vahagn Koshkaryan   Buena Vista Medical Services   23954               $    28.53 $        34.24    $     95.10   Rx
S-1/D    Vahagn Koshkaryan   Buena Vista Medical Services   23955               $    42.10 $        50.52    $    140.32   Rx
S-1/D    Vahagn Koshkaryan   Buena Vista Medical Services   23956               $    39.45 $        47.34    $    131.51   Rx
S-1/D    Jacob Emrani        Buena Vista Medical Services   23969               $    30.14 $        36.17    $    100.45   Rx
S-1/D    Jacob Emrani        Buena Vista Medical Services   23970               $    44.30 $        53.16    $    147.66   Rx
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TECUMSEH-Infinity MR Fund

List of Receivables for Series-1/Intake D
                                                                                                   Receivables
Intake   Lawyer                   Provider                           BillId Date Paid       Purch Price      Cost          GFB Amount Fund Type
S-1/D    Kevin Danesh             Buena Vista Medical Services       16440    7/3/2019      $   37.24 $         44.69      $    124.12   Rx
S-1/D    Frank Fasel              Buena Vista Medical Services       15744 12/3/2019        $   34.99 $         41.99      $    116.64   Rx
S-1/D    Frank Fasel              Buena Vista Medical Services       15745 12/3/2019        $   18.96 $         22.75      $     63.20   Rx
S-1/D    Frank Fasel              Buena Vista Medical Services       15746 12/3/2019        $   26.04 $         31.25      $     86.81   Rx
S-1/D    Frank Fasel              Buena Vista Medical Services       15748 11/4/2019        $   32.24 $         38.69      $    107.45   Rx
S-1/D    Frank Fasel              Buena Vista Medical Services       15750 10/1/2019        $   34.99 $         41.99      $    116.64   Rx
S-1/D    Frank Fasel              Buena Vista Medical Services       15751 11/4/2019        $   34.99 $         41.99      $    116.64   Rx
S-1/D    Frank Fasel              Buena Vista Medical Services       15752 11/4/2019        $   26.04 $         31.25      $     86.81   Rx
S-1/D    Frank Fasel              Buena Vista Medical Services       16909    3/4/2020      $   37.63 $         45.16      $    125.44   Rx
S-1/D    Frank Fasel              Buena Vista Medical Services       17372    4/3/2020      $   36.70 $         44.04      $    122.32   Rx
S-1/D    Frank Fasel              Buena Vista Medical Services       17998    5/5/2020      $   36.70 $         44.04      $    122.32   Rx
S-1/D    Frank Fasel              Buena Vista Medical Services       24464                  $   20.37 $         24.44      $     67.91   Rx

                                                                                            $ 95,269.19 $ 114,323.03       $ 268,556.98




**** This List of Receivables supporting Series 1-Intake D in the amount of US$268,556.98 is in good order as Forget-the-Market Ltd has performed the following:

         a. Review of the invoice supporting each line item on List of Receivables confirming list accuracy including the invoice amount.

         b. Collected and reviewed (via Sharing Link) the lien for each line item on the List of Receivables. Any missing liens are noted on the List of Receivables with
         an explanation as to why.

         c. Confirmed that the value of purchased receivables respecting the listed invoices equals 234.91% of the purchased total of $114,323.03.


         William B Dalzell
         CFO, Forget-the-Market Limited
         Co-Manager for Tecumseh-Infinity MR Fund
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                         EXHIBIT D-5
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake E

                                                                                                                      Receivables                                Funding
Intake   ClaimId Lawyer                   Provider                                       BillId   Date Paid   Purchase Price           Cost        GFB Amount     Type

S-1/E    18535   Reginald A Greene        Peak Orthopedics & Spine PLLC                  23981    7/23/2020   $      436.00   $       523.20   $      1,090.00     PI
S-1/E    18535   Reginald A Greene        Peak Orthopedics & Spine PLLC                  23982    7/23/2020   $      330.40   $       396.48   $        826.00     PI
S-1/E    18535   Reginald A Greene        Health Images                                  24755                $      550.00   $       660.00   $      1,742.00    MRI
S-1/E    19347   Bret Griffin             Stat Diagnostics                               24633    8/5/2020    $    1,800.00   $     2,160.00   $     11,950.00    MRI
S-1/E    19349   Bret Griffin             Stat Diagnostics                               24634    8/5/2020    $      600.00   $       720.00   $      2,950.00    MRI
S-1/E    16219   Matthew R. Birdwell      Preva Advanced Surgicare - The Woodlands LLC   24765                $    3,883.71   $     4,660.45   $     17,653.24    PM
S-1/E    16219   Matthew R. Birdwell      Preva Advanced Surgicare - The Woodlands LLC   24766                $      612.14   $       734.57   $      2,782.44    PM
S-1/E     6536   Nicholas Lasso           Neuromonitoring Associates                     24507    8/13/2020   $    2,500.00   $     3,000.00   $     31,424.00    PM
S-1/E     6536   Nicholas Lasso           Neuromonitoring Associates                     24506    8/13/2020   $    2,000.00   $     2,400.00   $     16,491.00     PI
S-1/E     6536   Nicholas Lasso           Neuroradium LLC                                24559    8/13/2020   $      688.00   $       825.60   $      1,720.00     PI
S-1/E    18469   Reginald A Greene        Perimeter Orthopaedics PC                      24446    7/23/2020   $      281.12   $       337.34   $        702.80     PI
S-1/E    18469   Reginald A Greene        North Atlanta Surgical Associates              24739    8/13/2020   $      273.00   $       327.60   $        650.00     PI
S-1/E    19453   David W. Bergquist       Preva Advanced Surgicare - The Woodlands LLC   24767                $    2,396.28   $     2,875.54   $     10,892.20    PM
S-1/E    19351   Spagnoletti Associates   Stat Diagnostics                               24635    8/5/2020    $    2,400.00   $     2,880.00   $     13,350.00    MRI
S-1/E    19353   Bret Griffin             Stat Diagnostics                               24636    8/5/2020    $      600.00   $       720.00   $      4,500.00    MRI
S-1/E    19355   Bret Griffin             Stat Diagnostics                               24637    8/5/2020    $    1,200.00   $     1,440.00   $      9,000.00    MRI
S-1/E    19357   Adame & Garza            Stat Diagnostics                               24638    8/5/2020    $    1,200.00   $     1,440.00   $      7,450.00    MRI
S-1/E    19359   Stewart J. Guss          Stat Diagnostics                               24639    8/5/2020    $    1,200.00   $     1,440.00   $      9,000.00    MRI
S-1/E    19361   Renaulda Perkins         Stat Diagnostics                               24640    8/5/2020    $      600.00   $       720.00   $      4,500.00    MRI
S-1/E    19455   Nicholas M. Wills        Stat Diagnostics                               24768                $    2,396.28   $     2,875.54   $     10,892.20    PM
S-1/E    19455   Nicholas M. Wills        Stat Diagnostics                               24769                $    3,883.71   $     4,660.45   $     17,653.24    PM
S-1/E    19363   Kumar Law Firm           Stat Diagnostics                               24641     8/5/2020   $      600.00   $       720.00   $      4,500.00    MRI
S-1/E     9223   Jonathan Broderick       Pain Management Specialists of Atlanta PC      24646    8/13/2020   $       58.50   $        70.20   $        130.00    PM
S-1/E     9347   Natanya Brooks           Peachtree Orthopaedic Clinic                   24378    7/23/2020   $      112.50   $       135.00   $        250.00     PI
S-1/E     9347   Natanya Brooks           Peachtree Orthopaedic Clinic                   24442    7/23/2020   $      151.20   $       181.44   $        336.00     PI
S-1/E     9347   Natanya Brooks           Peachtree Orthopaedic Clinic                   24585    8/13/2020   $      179.10   $       214.92   $        398.00     PI
S-1/E     9347   Natanya Brooks           Peachtree Orthopaedic Clinic                   24586    8/13/2020   $      160.20   $       192.24   $        356.00     PI
S-1/E     9347   Natanya Brooks           Peachtree Orthopaedic Clinic                   24587    8/13/2020   $      151.20   $       181.44   $        336.00     PI
S-1/E     9347   Natanya Brooks           Peachtree Orthopaedic Clinic                   24588    8/13/2020   $      151.20   $       181.44   $        336.00     PI
S-1/E     9347   Natanya Brooks           Peachtree Orthopaedic Clinic                   24589    8/13/2020   $      151.20   $       181.44   $        336.00     PI
S-1/E     9347   Natanya Brooks           Peachtree Orthopaedic Clinic                   24697    8/13/2020   $      144.90   $       173.88   $        322.00     PI
S-1/E     9347   Natanya Brooks           Peachtree Orthopaedic Clinic                   24698    8/13/2020   $      151.20   $       181.44   $        336.00     PI
S-1/E     9347   Natanya Brooks           Peachtree Orthopaedic Clinic                   24699    8/13/2020   $      112.50   $       135.00   $        250.00     PI
S-1/E     9347   Natanya Brooks           Peachtree Orthopaedic Clinic                   24736                $      151.20   $       181.44   $        336.00     PI
S-1/E    19365   Kumar Law Firm           Stat Diagnostics                               24642     8/5/2020   $      600.00   $       720.00   $      4,500.00    MRI
S-1/E    18441   Miguel A. Adame          Stat Diagnostics                               24643     8/5/2020   $      600.00   $       720.00   $      2,950.00    MRI
S-1/E    19255   Reginald A Greene        (AHI) American Health Imaging                  24454    7/23/2020   $      650.00   $       780.00   $      2,370.00    MRI
S-1/E    19195   William L. Swank II      Perimeter Orthopaedics PC                      24367    7/23/2020   $      482.96   $       579.55   $      1,207.40     PI
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake E

                                                                                                                       Receivables                          Funding
Intake   ClaimId   Lawyer                   Provider                                     BillId   Date Paid    Purchase Price        Cost     GFB Amount     Type
S-1/E     19195    William L. Swank II      BENCHMARK PHYSICAL THERAPY                   24368    7/23/2020   $       220.50 $     264.60   $      630.00      PI
S-1/E     19195    William L. Swank II      BENCHMARK PHYSICAL THERAPY                   24369    7/23/2020   $       126.00 $     151.20   $      360.00      PI
S-1/E     19195    William L. Swank II      BENCHMARK PHYSICAL THERAPY                   24433    7/23/2020   $       126.00 $     151.20   $      360.00      PI
S-1/E     19195    William L. Swank II      BENCHMARK PHYSICAL THERAPY                   24434    7/23/2020   $       140.00 $     168.00   $      400.00      PI
S-1/E     19195    William L. Swank II      BENCHMARK PHYSICAL THERAPY                   24486    7/23/2020   $       174.82 $     209.78   $      499.50      PI
S-1/E     19195    William L. Swank II      BENCHMARK PHYSICAL THERAPY                   24487    7/23/2020   $       174.82 $     209.78   $      499.50      PI
S-1/E     19195    William L. Swank II      Perimeter Orthopaedics PC                    24562    8/13/2020   $       400.00 $     480.00   $    1,000.00     MRI
S-1/E     19195    William L. Swank II      Perimeter Orthopaedics PC                    24563    8/13/2020   $       216.38 $     259.66   $      540.95      PI
S-1/E     19195    William L. Swank II      BENCHMARK PHYSICAL THERAPY                   24608    8/13/2020   $       168.88 $     202.66   $      482.50      PI
S-1/E     19195    William L. Swank II      BENCHMARK PHYSICAL THERAPY                   24609    8/13/2020   $       164.68 $     197.62   $      470.50      PI
S-1/E     19195    William L. Swank II      BENCHMARK PHYSICAL THERAPY                   24711    8/13/2020   $       150.68 $     180.82   $      430.50      PI
S-1/E     19367    Jonathan S. Harris       Stat Diagnostics                             24644     8/5/2020   $     1,200.00 $ 1,440.00     $    9,000.00     MRI
S-1/E     17451    Natanya Brooks           Safeway Psychological Services               24735    8/13/2020   $       110.00 $     132.00   $      275.00      PI
S-1/E      5718    Alyssa Martins           J & J Medical Inc                            23987    7/23/2020   $       252.40 $     302.88   $      631.00      PI
S-1/E     11123    Kathryn Burmeister       BENCHMARK PHYSICAL THERAPY                   24366    7/23/2020   $       179.55 $     215.46   $      513.00      PI
S-1/E     11123    Kathryn Burmeister       BENCHMARK PHYSICAL THERAPY                   24435    7/23/2020   $       174.82 $     209.78   $      499.50      PI
S-1/E     11123    Kathryn Burmeister       BENCHMARK PHYSICAL THERAPY                   24436    7/23/2020   $       174.82 $     209.78   $      499.50      PI
S-1/E     11123    Kathryn Burmeister       BENCHMARK PHYSICAL THERAPY                   24483    7/23/2020   $       145.95 $     175.14   $      417.00      PI
S-1/E     11123    Kathryn Burmeister       BENCHMARK PHYSICAL THERAPY                   24590    8/13/2020   $       174.82 $     209.78   $      499.50      PI
S-1/E     11123    Kathryn Burmeister       BENCHMARK PHYSICAL THERAPY                   24591    8/13/2020   $       174.82 $     209.78   $      499.50      PI
S-1/E      8331    Joe Ray Rodriguez        Stat Diagnostics                             24645     8/5/2020   $       600.00 $     720.00   $    4,500.00     MRI
S-1/E     19369    Carlos Hughes            Stat Diagnostics                             24647     8/5/2020   $     1,200.00 $ 1,440.00     $    7,450.00     MRI
S-1/E     19371    Pulkit Moudgil           Stat Diagnostics                             24648     8/5/2020   $     1,800.00 $ 2,160.00     $   11,950.00     MRI
S-1/E     19245    John Leslie              Non-Surgical Orthopaedics PC                 24444    7/23/2020   $       284.00 $     340.80   $      710.00     PM
S-1/E     19245    John Leslie              Non-Surgical Orthopaedics PC                 24573    8/13/2020   $       208.00 $     249.60   $      520.00     PM
S-1/E     19241    Ronald Chalker           Specialty Orthopaedics PC                    24432    7/23/2020   $        70.00 $      84.00   $      175.00      PI
S-1/E     19457    E. Nadia Sifuentes       Stat Diagnostics                             24770                $     2,812.35 $ 3,374.82     $   12,783.41     PM
S-1/E     19457    E. Nadia Sifuentes       Stat Diagnostics                             24771                $     4,077.57 $ 4,893.08     $   18,534.40     PM
S-1/E     19459    Ryan M. Snider           Stat Diagnostics                             24772                $     2,396.28 $ 2,875.54     $   10,892.20     PM
S-1/E     17365    Jenaye Peterson          Family Dental Solutions                      24445    7/23/2020   $       475.20 $     570.24   $    1,188.00      PI
S-1/E     19461    Michael J. Lowenberg     Stat Diagnostics                             24773                $     3,548.78 $ 4,258.54     $   16,130.82     PM
S-1/E      8430    Peter Ross               Pain Management Specialists of Atlanta PC    23983    7/23/2020   $     1,327.50 $ 1,593.00     $    2,950.00     PM
S-1/E      8430    Peter Ross               GA Pain Management Center LLC                23984    7/23/2020   $     5,715.00 $ 6,858.00     $   12,700.00      PI
S-1/E      8430    Peter Ross               Pain Management Specialists of Atlanta PC    24058    7/23/2020   $        87.75 $     105.30   $      195.00     PM
S-1/E     19373    Thornton & Thornton      Stat Diagnostics                             24649     8/5/2020   $       600.00 $     720.00   $    2,950.00     MRI
S-1/E      8525    Christopher J. Leavitt   Stat Diagnostics                             24650     8/5/2020   $       600.00 $     720.00   $    4,500.00     MRI
S-1/E     16323    Matthew R. Birdwell      Stat Diagnostics                             24774                $     2,812.35 $ 3,374.82     $   12,783.41     PM
S-1/E     16323    Matthew R. Birdwell      Stat Diagnostics                             24775                $     1,548.79 $ 1,858.55     $    7,039.96     PM
S-1/E     18473    Jay Halloway             South Atlanta MUA Center                     24491    7/21/2020   $    12,330.00 $ 14,796.00    $   49,320.00     PM
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake E

                                                                                                                       Receivables                              Funding
Intake   ClaimId   Lawyer                   Provider                                     BillId   Date Paid    Purchase Price            Cost     GFB Amount     Type
S-1/E      6411    Matthew Broun            Non-Surgical Orthopaedics PC                 24112    7/23/2020   $       208.00 $         249.60   $      520.00     PM
S-1/E      6411    Matthew Broun            Non-Surgical Orthopaedics PC                 24272    7/23/2020   $     1,012.00 $       1,214.40   $    2,530.00     PM
S-1/E      6411    Matthew Broun            The Center for Spine Procedures              24273    7/23/2020   $     1,512.00 $       1,814.40   $    3,780.00     PM
S-1/E     19375    Carmen Elizalde          Stat Diagnostics                             24651     8/5/2020   $     1,800.00 $       2,160.00   $   10,400.00     MRI
S-1/E     19283    Natanya Brooks           Safeway Psychological Services               24570    8/13/2020   $        92.00 $         110.40   $      230.00      PI
S-1/E     19377    Caroline Adams           Stat Diagnostics                             24652     8/5/2020   $     1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/E      8715    Ali Salimi               Polaris Center For Outpatients               24430    7/23/2020   $     1,225.52 $       1,470.62   $    3,501.50      PI
S-1/E      8715    Ali Salimi               Polaris Spine & Neurosurgery Center          24431    7/23/2020   $       630.00 $         756.00   $    1,575.00      PI
S-1/E      8715    Ali Salimi               Polaris Spine & Neurosurgery Center          24511    8/13/2020   $       154.00 $         184.80   $      385.00      PI
S-1/E     19379    Hilda L. Sibrian         Stat Diagnostics                             24690     8/5/2020   $     1,200.00 $       1,440.00   $    7,450.00     MRI
S-1/E     19379    Hilda L. Sibrian         Stat Diagnostics                             24691     8/5/2020   $       600.00 $         720.00   $    4,500.00     MRI
S-1/E     19381    Bret Griffin             Stat Diagnostics                             24692     8/5/2020   $     1,200.00 $       1,440.00   $    7,450.00     MRI
S-1/E     18461    W. Clark Martin IV       Stat Diagnostics                             24693     8/5/2020   $       600.00 $         720.00   $    4,500.00     MRI
S-1/E     19383    Bret Griffin             Stat Diagnostics                             24694     8/5/2020   $     1,200.00 $       1,440.00   $    7,450.00     MRI
S-1/E     19385    W. Clark Martin IV       Stat Diagnostics                             24695     8/5/2020   $       600.00 $         720.00   $    4,500.00     MRI
S-1/E      7679    CORY HILTON              Durango Outpatient Surgery Center            24502    7/23/2020   $     2,270.45 $       2,724.54   $    6,487.00     PM
S-1/E     19463    Stephanie Hay            Stat Diagnostics                             24776                $     4,077.57 $       4,893.08   $   18,534.40     PM
S-1/E     19465    Nicholas M. Wills        Stat Diagnostics                             24777                $       154.00 $         184.80   $      700.00     PM
S-1/E     19465    Nicholas M. Wills        Stat Diagnostics                             24778                $     1,548.79 $       1,858.55   $    7,039.96     PM
S-1/E     19465    Nicholas M. Wills        Stat Diagnostics                             24779                $       221.94 $         266.33   $    1,008.81     PM
S-1/E     19467    Abraham Garcia           Stat Diagnostics                             24780                $     4,909.70 $       5,891.64   $   22,316.82     PM
S-1/E     16333    N/A                      Stat Diagnostics                             24781                $     5,324.97 $       6,389.96   $   24,204.40     PM
S-1/E      8035    CORY HILTON              Durango Outpatient Surgery Center            23986    7/23/2020   $     2,400.65 $       2,880.78   $    6,859.00     PM
S-1/E     16363    Bergquist Law Firm       Stat Diagnostics                             24782                $     2,812.35 $       3,374.82   $   12,783.41     PM
S-1/E     18467    Hilda L. Sibrian         Stat Diagnostics                             24696     8/5/2020   $       600.00 $         720.00   $    2,950.00     MRI
S-1/E     19193    Martin Futrell           Family Dental Solutions                      24365    7/23/2020   $       140.00 $         168.00   $      350.00      PI
S-1/E     19193    Martin Futrell           Family Dental Solutions                      24558    8/13/2020   $     1,434.00 $       1,720.80   $    3,585.00      PI
S-1/E     19387    Kumar Law Firm           Stat Diagnostics                             24700     8/5/2020   $     1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/E     19389    Adam Ramji               Stat Diagnostics                             24701     8/5/2020   $     1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/E     19391    Thomas J Henry           Stat Diagnostics                             24702     8/5/2020   $       600.00 $         720.00   $    4,500.00     MRI
S-1/E     19393    Truc T. Le               Stat Diagnostics                             24703     8/5/2020   $     1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/E      7505    Edward Kim               Peachtree Orthopaedic Clinic                 23988    7/23/2020   $       233.20 $         279.84   $      502.00      PI
S-1/E     19395    Christopher J. Leavitt   Stat Diagnostics                             24704     8/5/2020   $       600.00 $         720.00   $    4,500.00     MRI
S-1/E     19251    Ronald Chalker           Carrollton Orthopaedic Clinic                24450    7/23/2020   $       158.80 $         190.56   $      397.00      PI
S-1/E     19397    Sam K. Mukerji           Stat Diagnostics                             24705     8/5/2020   $     1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/E     16335    Stewart J. Guss          Stat Diagnostics                             24783                $     2,131.89 $       2,558.27   $    9,690.41     PM
S-1/E     18533    Zachary Nelson           Safeway Psychological Services               23979    7/23/2020   $       654.00 $         784.80   $    1,635.00      PI
S-1/E     18533    Zachary Nelson           Safeway Psychological Services               23980    7/23/2020   $       844.00 $       1,012.80   $    2,110.00      PI
S-1/E     18533    Zachary Nelson           Peachtree Orthopaedic Clinic                 24106    7/23/2020   $       179.10 $         214.92   $      398.00      PI
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake E

                                                                                                                       Receivables                              Funding
Intake   ClaimId   Lawyer                   Provider                                     BillId   Date Paid    Purchase Price            Cost     GFB Amount     Type
S-1/E     18533    Zachary Nelson           Safeway Psychological Services               24107    7/23/2020   $       436.00 $         523.20   $    1,090.00      PI
S-1/E     18533    Zachary Nelson           Peachtree Orthopaedic Clinic                 24108    7/23/2020   $       179.10 $         214.92   $      398.00      PI
S-1/E     18533    Zachary Nelson           Peachtree Orthopaedic Clinic                 24488    7/23/2020   $       244.80 $         293.76   $      544.00      PI
S-1/E     18533    Zachary Nelson           Peachtree Orthopaedic Clinic                 24489    7/23/2020   $       142.20 $         170.64   $      316.00      PI
S-1/E     18533    Zachary Nelson           Peachtree Orthopaedic Clinic                 24490    7/23/2020   $       109.80 $         131.76   $      244.00      PI
S-1/E     18533    Zachary Nelson           Peachtree Orthopaedic Clinic                 24575    8/13/2020   $       148.50 $         178.20   $      330.00      PI
S-1/E     18533    Zachary Nelson           Peachtree Orthopaedic Clinic                 24747                $       215.10 $         258.12   $      478.00      PI
S-1/E     18533    Zachary Nelson           Peachtree Orthopaedic Clinic                 24748                $       132.30 $         158.76   $      294.00      PI
S-1/E     18533    Zachary Nelson           Peachtree Orthopaedic Clinic                 24749                $       104.40 $         125.28   $      232.00      PI
S-1/E     18533    Zachary Nelson           Peachtree Orthopaedic Clinic                 24750                $        93.60 $         112.32   $      208.00      PI
S-1/E     18533    Zachary Nelson           Peachtree Orthopaedic Clinic                 24751                $        18.00 $          21.60   $       36.00     Rx
S-1/E     18533    Zachary Nelson           Peachtree Orthopaedic Clinic                 24752                $       179.10 $         214.92   $      398.00      PI
S-1/E      9415    Katie Hingerty Barodin   (AHI) American Health Imaging                24510    8/13/2020   $       402.00 $         482.40   $    1,005.00     MRI
S-1/E     19399    Jonathan S. Harris       Stat Diagnostics                             24712     8/5/2020   $     1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/E     19401    Kumar Law Firm           Stat Diagnostics                             24713     8/5/2020   $     1,200.00 $       1,440.00   $    7,450.00     MRI
S-1/E     19403    Christopher J. Leavitt   Stat Diagnostics                             24714     8/5/2020   $       600.00 $         720.00   $    4,500.00     MRI
S-1/E     19405    Adame & Garza            Stat Diagnostics                             24715     8/5/2020   $       600.00 $         720.00   $    4,500.00     MRI
S-1/E     19253    Stephen A. Shea          Pain Management Specialists of Atlanta PC    24451    7/23/2020   $       180.00 $         216.00   $      400.00     PM
S-1/E     19253    Stephen A. Shea          (AHI) American Health Imaging                24453    7/23/2020   $       650.00 $         780.00   $    2,225.00     MRI
S-1/E     19253    Stephen A. Shea          Pain Management Specialists of Atlanta PC    24726    8/13/2020   $        58.50 $          70.20   $      130.00     PM
S-1/E     19407    Anthony G. Buzbee        Stat Diagnostics                             24716     8/5/2020   $     1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/E     17173    Reginald A Greene        Perimeter Orthopaedics PC                    24505    8/13/2020   $       696.35 $         835.62   $    1,899.95      PI
S-1/E     19411    Christopher J. Leavitt   Stat Diagnostics                             24718     8/5/2020   $       600.00 $         720.00   $    4,500.00     MRI
S-1/E     19409    Thomas J Henry           Stat Diagnostics                             24717     8/5/2020   $     2,400.00 $       2,880.00   $   14,900.00     MRI
S-1/E     19469    Nicholas M. Wills        Stat Diagnostics                             24784                $     1,547.87 $       1,857.44   $    7,035.76     PM
S-1/E     19469    Nicholas M. Wills        Stat Diagnostics                             24785                $       172.04 $         206.45   $      782.00     PM
S-1/E     19469    Nicholas M. Wills        Stat Diagnostics                             24786                $       154.00 $         184.80   $      700.00     PM
S-1/E     19469    Nicholas M. Wills        Stat Diagnostics                             24787                $     1,547.87 $       1,857.44   $    7,035.76     PM
S-1/E     19469    Nicholas M. Wills        Stat Diagnostics                             24788                $       172.04 $         206.45   $      782.00     PM
S-1/E     19469    Nicholas M. Wills        Stat Diagnostics                             24789                $       154.00 $         184.80   $      700.00     PM
S-1/E     19413    Kumar Law Firm           Stat Diagnostics                             24719     8/5/2020   $       600.00 $         720.00   $    4,500.00     MRI
S-1/E      7835    Teresa Ross              Peachtree Orthopaedic Clinic                 24274    7/23/2020   $       160.20 $         192.24   $      356.00      PI
S-1/E      7835    Teresa Ross              Peachtree Orthopaedic Clinic                 24602    8/13/2020   $       160.20 $         192.24   $      356.00      PI
S-1/E      4979    Casey Geiger             BENCHMARK PHYSICAL THERAPY                   24441    7/23/2020   $       147.00 $         176.40   $      420.00      PI
S-1/E      4979    Casey Geiger             BENCHMARK PHYSICAL THERAPY                   24482    7/23/2020   $       147.00 $         176.40   $      420.00      PI
S-1/E      4979    Casey Geiger             Legacy Brain & Spine                         24582    8/13/2020   $       220.00 $         264.00   $      550.00     PM
S-1/E      6478    Russell Boston           Legacy Brain & Spine                         24512    8/13/2020   $       220.00 $         264.00   $      550.00     PM
S-1/E      6478    Russell Boston           Legacy Brain & Spine                         24513    8/13/2020   $       790.00 $         948.00   $    1,975.00     MRI
S-1/E      6478    Russell Boston           Legacy Brain & Spine                         24514    8/13/2020   $       180.00 $         216.00   $      450.00     PM
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake E

                                                                                                                       Receivables                              Funding
Intake   ClaimId   Lawyer                   Provider                                     BillId   Date Paid    Purchase Price            Cost     GFB Amount     Type
S-1/E     19311    Edward Kim               BENCHMARK PHYSICAL THERAPY                   24612    8/13/2020   $       144.38 $         173.26   $      412.50      PI
S-1/E      5237    Jonathan Wade            BENCHMARK PHYSICAL THERAPY                   24109    7/23/2020   $       121.80 $         146.16   $      348.00      PI
S-1/E      5237    Jonathan Wade            BENCHMARK PHYSICAL THERAPY                   24110    7/23/2020   $       121.80 $         146.16   $      348.00      PI
S-1/E      5237    Jonathan Wade            BENCHMARK PHYSICAL THERAPY                   24111    7/23/2020   $       127.05 $         152.46   $      363.00      PI
S-1/E      5237    Jonathan Wade            Legacy Brain & Spine                         24383    7/23/2020   $       180.00 $         216.00   $      450.00     PM
S-1/E      5237    Jonathan Wade            BENCHMARK PHYSICAL THERAPY                   24437    7/23/2020   $       126.00 $         151.20   $      360.00      PI
S-1/E      5237    Jonathan Wade            Legacy Brain & Spine                         24561    8/13/2020   $       220.00 $         264.00   $      550.00     PM
S-1/E      5237    Jonathan Wade            BENCHMARK PHYSICAL THERAPY                   24583    8/13/2020   $       150.68 $         180.82   $      430.50      PI
S-1/E      5237    Jonathan Wade            BENCHMARK PHYSICAL THERAPY                   24584    8/13/2020   $       126.52 $         151.82   $      361.50      PI
S-1/E      5237    Jonathan Wade            BENCHMARK PHYSICAL THERAPY                   24707    8/13/2020   $       126.00 $         151.20   $      360.00      PI
S-1/E      5237    Jonathan Wade            BENCHMARK PHYSICAL THERAPY                   24708    8/13/2020   $       150.68 $         180.82   $      430.50      PI
S-1/E      5237    Jonathan Wade            Legacy Brain & Spine                         24733    8/13/2020   $     2,796.76 $       3,356.11   $    6,991.90      PI
S-1/E     19415    Caroline Adams           Stat Diagnostics                             24720     8/5/2020   $       600.00 $         720.00   $    2,950.00     MRI
S-1/E     19417    Adam J. Rosenfeld        Stat Diagnostics                             24721     8/5/2020   $     1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/E      6269    Michael Moran            Resurgens Orthopaedics                       23985    7/23/2020   $     1,444.05 $       1,732.86   $    3,209.00      PI
S-1/E     19419    Jonathan S. Harris       Stat Diagnostics                             24722     8/5/2020   $     1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/E     19421    Tammy D. Harris          Stat Diagnostics                             24723     8/5/2020   $       600.00 $         720.00   $    2,950.00     MRI
S-1/E     19423    Adame & Garza            Stat Diagnostics                             24724     8/5/2020   $     1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/E     19423    Adame & Garza            Stat Diagnostics                             24725     8/5/2020   $       600.00 $         720.00   $    4,500.00     MRI
S-1/E     17695    Reginald A Greene        Pain Management Specialists of Atlanta PC    24759                $        87.75 $         105.30   $      195.00     PM
S-1/E     19425    Kumar Law Firm           Stat Diagnostics                             24727     8/5/2020   $       600.00 $         720.00   $    4,500.00     MRI
S-1/E     18501    Javier Marcos            Stat Diagnostics                             24728     8/5/2020   $     1,200.00 $       1,440.00   $    5,900.00     MRI
S-1/E      5389    Ronald Chalker           Safeway Psychological Services               24556    8/13/2020   $     1,092.00 $       1,310.40   $    2,730.00      PI
S-1/E     17051    Sean McEvoy              Parkaire Consultants Inc                     23975    7/23/2020   $       240.00 $         288.00   $      600.00      PI
S-1/E     17449    Holly Salimi             BENCHMARK PHYSICAL THERAPY                   24113    7/23/2020   $       150.68 $         180.82   $      430.50      PI
S-1/E     17449    Holly Salimi             BENCHMARK PHYSICAL THERAPY                   24114    7/23/2020   $       121.80 $         146.16   $      348.00      PI
S-1/E     17449    Holly Salimi             BENCHMARK PHYSICAL THERAPY                   24440    7/23/2020   $       121.80 $         146.16   $      348.00      PI
S-1/E     17449    Holly Salimi             BENCHMARK PHYSICAL THERAPY                   24485    7/23/2020   $       150.68 $         180.82   $      430.50      PI
S-1/E     17449    Holly Salimi             Carrollton Orthopaedic Clinic                24742                $        78.00 $          93.60   $      195.00      PI
S-1/E     19445    Jonathan Wade            (AHI) American Health Imaging                24756                $       650.00 $         780.00   $    2,225.00     MRI
S-1/E     19445    Jonathan Wade            (AHI) American Health Imaging                24757                $       650.00 $         780.00   $    2,225.00     MRI
S-1/E     19427    Stewart J. Guss          Stat Diagnostics                             24729     8/5/2020   $       600.00 $         720.00   $    4,500.00     MRI
S-1/E      8695    Jonathan Wade            BENCHMARK PHYSICAL THERAPY                   24331    7/23/2020   $       102.38 $         122.86   $      292.50      PI
S-1/E      8695    Jonathan Wade            BENCHMARK PHYSICAL THERAPY                   24335    7/23/2020   $       126.52 $         151.82   $      361.50      PI
S-1/E      8695    Jonathan Wade            BENCHMARK PHYSICAL THERAPY                   24438    7/23/2020   $       150.15 $         180.18   $      429.00      PI
S-1/E      8695    Jonathan Wade            BENCHMARK PHYSICAL THERAPY                   24439    7/23/2020   $       126.52 $         151.82   $      361.50      PI
S-1/E      8695    Jonathan Wade            BENCHMARK PHYSICAL THERAPY                   24484    7/23/2020   $       150.15 $         180.18   $      429.00      PI
S-1/E     17367    Charles E (Ted) Lake Jr. Polaris Spine & Neurosurgery Center          23976    7/23/2020   $       154.00 $         184.80   $      385.00      PI
S-1/E      5067    Natanya Brooks           Non-Surgical Orthopaedics PC                 24382    7/23/2020   $       620.00 $         744.00   $    1,550.00     PM
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake E

                                                                                                                                       Receivables                                 Funding
Intake   ClaimId   Lawyer                   Provider                                               BillId      Date Paid       Purchase Price        Cost            GFB Amount     Type
S-1/E      5067    Natanya Brooks           Paradigm Labs LLC                                      24501                      $       277.00 $     332.40          $      555.57      PI
S-1/E     19429    Thornton & Thornton      Stat Diagnostics                                       24730       8/5/2020       $     1,200.00 $ 1,440.00            $    9,000.00     MRI
S-1/E     19431    Kumar Law Firm           Stat Diagnostics                                       24731       8/5/2020       $       600.00 $     720.00          $    4,500.00     MRI

                                                                                                                              $    169,558.06 $ 203,469.67         $ 811,767.32


****     This List of Receivables supporting Series 1-Intake E in the amount of US$811,767.32 is in good order as Forget-the-Market Ltd has performed the following:

         a. Review of the invoice supporting each line item on List of Receivables confirming list accuracy including the invoice amount.

         b. Collected and reviewed (via Sharing Link) the lien for each line item on the List of Receivables. Any missing liens are noted on the List of Receivables with
         an explanation as to why.

         c. Confirmed that the value of purchased receivables respecting the listed invoices equals 398.96% of the purchased total of $203,469.67.


         William B Dalzell
         CFO, Forget-the-Market Limited
         Co-Manager for Tecumseh-Infinity MR Fund
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                         EXHIBIT D-6
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                                                                            RECEIVABLES
                                                                          PURCHASE ORDER

                                                                         PO #: 1-F-9-15



 TECUMSEH – Infinity Medical Receivables Fund, LP
 DATE: 22 September 2020


To: Infinity Capital Management


Reference: Series #1 - Intake F

        Qty. - USD                                               Description
                                  Medical receivables to be purchased
          400,852.58


                                  Acquisition/Service fees
          80,170.52




          481,023.10              TOTAL




 Signature
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake F (Batch 6, 7 & 8)
                                                                                                                            Receivables                               Funding
Intake   ClaimId   Lawyer                 Provider                                         BillId   Date Paid       Purchase Price            Cost    GFB Amount        Type

S-1/F    19315     Theresa Ify Omeludike Stat Diagnostics                                  24614    8/5/2020    $          600.00   $        720.00   $    4,500.00     MRI
S-1/F    19317     Bret Griffin             Stat Diagnostics                               24615    8/5/2020    $          600.00   $        720.00   $    4,500.00     MRI
S-1/F    19319     Mokaram Law Firm         Stat Diagnostics                               24616    8/5/2020    $        1,200.00   $      1,440.00   $    9,000.00     MRI
S-1/F    5871      Ronald Chalker           Polaris Spine & Neurosurgery Center            24319    7/23/2020   $          170.00   $        204.00   $      425.00      PI
S-1/F    19247     Ronald Chalker           Athens Orthopedic Clinic                       24447    7/23/2020   $          158.80   $        190.56   $      397.00      PI
S-1/F    19321     Cassandra Evans-Jones Stat Diagnostics                                  24617    8/5/2020    $        1,200.00   $      1,440.00   $    5,900.00     MRI
S-1/F    19323     Kumar Law Firm           Stat Diagnostics                               24618    8/5/2020    $        1,200.00   $      1,440.00   $    9,000.00     MRI
S-1/F    19279     Nathan Fitzpatrick       Perimeter Orthopaedics PC                      24566    8/13/2020   $        1,240.35   $      1,488.42   $    3,100.87     MRI
S-1/F    19279     Nathan Fitzpatrick       Perimeter Orthopaedics PC                      24567    8/13/2020   $          738.30   $        885.96   $    1,847.00      PI
S-1/F    19325     Kumar Law Firm           Stat Diagnostics                               24619    8/5/2020    $        1,200.00   $      1,440.00   $    9,000.00     MRI
S-1/F    19325     Kumar Law Firm           Stat Diagnostics                               24620    8/5/2020    $          600.00   $        720.00   $    2,950.00     MRI
S-1/F    19327     Ciro Samperi             Stat Diagnostics                               24621    8/5/2020    $        1,200.00   $      1,440.00   $    7,450.00     MRI
S-1/F    19329     Kumar Law Firm           Stat Diagnostics                               24622    8/5/2020    $          600.00   $        720.00   $    4,500.00     MRI
S-1/F    8751      Bret Griffin             Stat Diagnostics                               24623    8/5/2020    $        1,200.00   $      1,440.00   $    9,000.00     MRI
S-1/F    8753      Bret Griffin             Stat Diagnostics                               24624    8/5/2020    $        1,200.00   $      1,440.00   $    9,000.00     MRI
S-1/F    19267     Raymond B. Lakes         South Atlanta MUA Center                       24515    7/30/2020   $        6,380.50   $      7,656.60   $   25,522.00     PM
S-1/F    19439     Stephanie Hay            Preva Advanced Surgicare - The Woodlands LLC   24743                $        1,401.39   $      1,681.67   $    6,369.95     PM
S-1/F    6458      Paul Kaufman             Non-Surgical Orthopaedics PC                   23989    7/23/2020   $          208.00   $        249.60   $      520.00     PM
S-1/F    6458      Paul Kaufman             Non-Surgical Orthopaedics PC                   23990    7/23/2020   $          320.00   $        384.00   $      800.00     PM
S-1/F    6458      Paul Kaufman             Non-Surgical Orthopaedics PC                   23991    7/23/2020   $        2,634.80   $      3,161.76   $    6,587.00     PM
S-1/F    6458      Paul Kaufman             The Center for Spine Procedures                23992    7/23/2020   $        8,048.00   $      9,657.60   $   20,120.00     PM
S-1/F    6458      Paul Kaufman             Polaris Spine & Neurosurgery Center            24572    8/13/2020   $          354.00   $        424.80   $      885.00      PI
S-1/F    19331     George K. Farah          Stat Diagnostics                               24625    8/5/2020    $        1,200.00   $      1,440.00   $    9,000.00     MRI
S-1/F    19441     Abraham Garcia           Preva Advanced Surgicare - The Woodlands LLC   24744                $        2,812.35   $      3,374.82   $   12,783.41     PM
S-1/F    19441     Abraham Garcia           Preva Advanced Surgicare - The Woodlands LLC   24745                $          432.23   $        518.68   $    1,964.70     PM
S-1/F    19441     Abraham Garcia           Preva Advanced Surgicare - The Woodlands LLC   24746                $          154.00   $        184.80   $      700.00     PM
S-1/F    19333     Thornton & Thornton Stat Diagnostics                                    24626    8/5/2020    $        1,200.00   $      1,440.00   $    9,000.00     MRI
S-1/F    6307      Ronald Chalker           Outpatient Imaging                             24452    8/13/2020   $          161.60   $        193.92   $      404.00     MRI
S-1/F    6307      Ronald Chalker           Northside Hospital                             24564    7/30/2020   $       37,809.80   $     45,371.76   $   94,524.50      PI
S-1/F    6307      Ronald Chalker           North Atlanta Surgical Associates              24753                $        6,300.00   $      7,560.00   $   15,000.00      PI
S-1/F    19437     Charles E (Ted) Lake Jr. Perimeter Orthopaedics PC                      24740                $          456.96   $        548.35   $    1,142.40      PI
S-1/F    19437     Charles E (Ted) Lake Jr. (AHI) American Health Imaging                  24741                $          402.00   $        482.40   $    1,005.00     MRI
S-1/F    19335     Theresa Ify Omeludike Stat Diagnostics                                  24627    8/5/2020    $        1,800.00   $      2,160.00   $   10,400.00     MRI
S-1/F    19337     Theresa Ify Omeludike Stat Diagnostics                                  24628    8/5/2020    $        1,200.00   $      1,440.00   $    7,450.00     MRI
S-1/F    14987     Reginald A Greene        Resurgens Orthopaedics                         24380    7/23/2020   $           73.85   $         88.62   $      164.12      PI
S-1/F    14987     Reginald A Greene        Resurgens Orthopaedics                         24429    7/23/2020   $          240.75   $        288.90   $      535.00      PI
S-1/F    18531     Zachary Nelson           Safeway Psychological Services                 23977    7/23/2020   $          844.00   $      1,012.80   $    2,110.00      PI
S-1/F    18531     Zachary Nelson           Safeway Psychological Services                 23978    7/23/2020   $          436.00   $        523.20   $    1,090.00      PI
S-1/F    18531     Zachary Nelson           Safeway Psychological Services                 24379    7/23/2020   $          328.00   $        393.60   $      820.00      PI
S-1/F    18531     Zachary Nelson           Safeway Psychological Services                 24509    8/13/2020   $          110.00   $        132.00   $      275.00      PI
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake F (Batch 6, 7 & 8)
                                                                                                                            Receivables                               Funding
Intake   ClaimId   Lawyer                   Provider                                       BillId   Date Paid       Purchase Price             Cost   GFB Amount        Type
S-1/F     18531    Zachary Nelson           Safeway Psychological Services                 24581    8/13/2020   $          110.00 $          132.00   $      275.00       PI
S-1/F     19339    Bret Griffin             Stat Diagnostics                               24629    8/5/2020    $        1,200.00 $        1,440.00   $    9,000.00     MRI
S-1/F     19341    Kumar Law Firm           Stat Diagnostics                               24630    8/5/2020    $        1,200.00 $        1,440.00   $    7,450.00     MRI
S-1/F     8699     Sean McEvoy              Safeway Psychological Services                 24443    7/23/2020   $          328.00 $          393.60   $      820.00       PI
S-1/F     9519     Peter Ross               Pain Consultants of Atlanta                    24706    8/13/2020   $          116.67 $          140.00   $      307.03      PM
S-1/F     19443    Stewart J. Guss          Preva Advanced Surgicare - The Woodlands LLC   24754                $        2,812.35 $        3,374.82   $   12,783.41      PM
S-1/F     5111     Neil Putnam              Peachtree Orthopaedic Clinic                   24503                $          398.70 $          478.44   $      886.00       PI
S-1/F     5111     Neil Putnam              Peachtree Orthopaedic Clinic                   24504    8/13/2020   $           90.00 $          108.00   $      180.00      Rx
S-1/F     19277    Fariba Bayani            (AHI) American Health Imaging                  24560    8/13/2020   $        1,300.00 $        1,560.00   $    4,595.00     MRI
S-1/F     19433    Riah Greathouse          Family Dental Solutions                        24732    8/13/2020   $          140.00 $          168.00   $      350.00       PI
S-1/F     19249    Donald Paradiso          Las Vegas Sleep Center                         24448    7/23/2020   $          105.00 $          126.00   $      300.00       PI
S-1/F     19249    Donald Paradiso          Las Vegas Sleep Center                         24449    7/23/2020   $          280.00 $          336.00   $      800.00       PI
S-1/F     19249    Donald Paradiso          Las Vegas Sleep Center                         24498    7/23/2020   $          105.00 $          126.00   $      300.00       PI
S-1/F     19249    Donald Paradiso          Las Vegas Sleep Center                         24499    7/23/2020   $          322.00 $          386.40   $      920.00       PI
S-1/F     19249    Donald Paradiso          Las Vegas Sleep Center                         24500    7/23/2020   $          280.00 $          336.00   $      800.00       PI
S-1/F     19447    Nicholas M. Wills        Preva Advanced Surgicare - The Woodlands LLC   24760                $          154.00 $          184.80   $      700.00      PM
S-1/F     19447    Nicholas M. Wills        Preva Advanced Surgicare - The Woodlands LLC   24761                $        1,548.79 $        1,858.55   $    7,039.96      PM
S-1/F     19447    Nicholas M. Wills        Preva Advanced Surgicare - The Woodlands LLC   24762                $          221.94 $          266.33   $    1,008.81      PM
S-1/F     19281    Ronald Chalker           BENCHMARK PHYSICAL THERAPY                     24568    8/13/2020   $          137.38 $          164.86   $      392.50       PI
S-1/F     19281    Ronald Chalker           Legacy Brain & Spine                           24569    8/13/2020   $          274.00 $          328.80   $      685.00      PM
S-1/F     19281    Ronald Chalker           BENCHMARK PHYSICAL THERAPY                     24610    8/13/2020   $          165.72 $          198.86   $      473.50       PI
S-1/F     19281    Ronald Chalker           Legacy Brain & Spine                           24611    8/13/2020   $          276.00 $          331.20   $      690.00      PM
S-1/F     19281    Ronald Chalker           BENCHMARK PHYSICAL THERAPY                     24709    8/13/2020   $          154.88 $          185.86   $      442.50       PI
S-1/F     19281    Ronald Chalker           BENCHMARK PHYSICAL THERAPY                     24710    8/13/2020   $          126.00 $          151.20   $      360.00       PI
S-1/F     9321     Samuel Johnson           Bethea CPS P.C.                                24557    8/13/2020   $          116.00 $          139.20   $      290.00       PI
S-1/F     9321     Samuel Johnson           Perimeter Orthopaedics PC                      24571    8/13/2020   $           40.36 $           48.43   $      100.90      Rx
S-1/F     9321     Samuel Johnson           Perimeter Orthopaedics PC                      24758                $           89.40 $          107.28   $      223.50       PI
S-1/F     19313    Theodore Berman          South Atlanta MUA Center                       24613    8/10/2020   $       10,230.00 $       12,276.00   $   40,920.00      PM
S-1/F     19343    J. Moises Cedillos       Stat Diagnostics                               24631    8/5/2020    $          600.00 $          720.00   $    2,950.00     MRI
S-1/F     19435    Charles E (Ted) Lake Jr. Pain Care LLC                                  24738    8/13/2020   $          480.00 $          576.00   $    1,200.01      PM
S-1/F     19449    David W. Bergquist       Stat Diagnostics                               24763                $        2,131.89 $        2,558.27   $    9,690.41      PM
S-1/F     19451    David W. Bergquist       Preva Advanced Surgicare - The Woodlands LLC   24764                $        2,812.35 $        3,374.82   $   12,783.41      PM
S-1/F     6343     Riah Greathouse          Arizona Pain Treatment Center                  24492    7/23/2020   $          150.90 $          181.08   $      377.23      PM
S-1/F     6343     Riah Greathouse          Arizona Pain Treatment Center                  24493    7/23/2020   $          103.90 $          124.68   $      259.74      PM
S-1/F     6343     Riah Greathouse          Arizona Pain Treatment Center                  24494    7/23/2020   $          150.89 $          181.07   $      377.23      PM
S-1/F     6343     Riah Greathouse          Arizona Pain Treatment Center                  24495    7/23/2020   $          232.85 $          279.42   $      582.12      PM
S-1/F     6343     Riah Greathouse          McDowell Ambulatory Surgery                    24496    7/23/2020   $          857.40 $        1,028.88   $    2,143.50      PM
S-1/F     6343     Riah Greathouse          On Call Anesthesia Surgical                    24497    7/23/2020   $          600.00 $          720.00   $    1,500.00       PI
S-1/F     10999    Ronald Chalker           Non-Surgical Orthopaedics PC                   24057    7/23/2020   $          208.00 $          249.60   $      520.00      PM
S-1/F     10999    Ronald Chalker           Legacy Brain & Spine                           24381    7/23/2020   $          330.00 $          396.00   $      825.00      PM
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List of Receivables for Series-1/Intake F (Batch 6, 7 & 8)
                                                                                                                        Receivables                               Funding
Intake   ClaimId   Lawyer                   Provider                                   BillId   Date Paid       Purchase Price             Cost   GFB Amount        Type
S-1/F     10999    Ronald Chalker           Legacy Brain & Spine                       24565    8/13/2020   $          220.00 $          264.00   $      550.00      PM
S-1/F     19345    Spagnoletti Associates Stat Diagnostics                             24632    8/5/2020    $          600.00 $          720.00   $    2,950.00     MRI
S-1/F              Leo & Oginni             Stat Diagnostics                           25123                $        1,200.00 $        1,440.00   $    7,450.00     MRI
S-1/F              Ronald Chalker           Athens Orthopedic Clinic                   25026                $           70.80 $           84.96   $      177.00       PI
S-1/F              John Leslie              Georgia Pain Management;Dr. James Ellner   24790                $          120.00 $          144.00   $      300.00      PM
S-1/F              John Leslie              Georgia Pain Management;Dr. James Ellner   24848                $          500.00 $          600.00   $    1,250.00      PM
S-1/F              John Leslie              Samson Pain Center;Dr. James Ellner        24844                $        1,400.00 $        1,680.00   $    3,500.00      PM
S-1/F              Tommy T. Mingledorff Stat Diagnostics                               25124                $          600.00 $          720.00   $    4,500.00     MRI
S-1/F              Jacob Jackson            South Atlanta MUA Center                   24979                $       10,750.00 $       12,900.00   $   43,000.00      PM
S-1/F              Bret Griffin             Stat Diagnostics                           25130                $        1,800.00 $        2,160.00   $   11,950.00     MRI
S-1/F              Bret Griffin             Stat Diagnostics                           25131                $        1,200.00 $        1,440.00   $    7,450.00     MRI
S-1/F              Christopher J. Leavitt Stat Diagnostics                             25132                $        1,800.00 $        2,160.00   $   11,325.00     MRI
S-1/F              Richard Paxton           Stat Diagnostics                           25133                $        1,200.00 $        1,440.00   $    5,900.00     MRI
S-1/F              Kumar Law Firm           Stat Diagnostics                           25134                $        1,200.00 $        1,440.00   $    9,000.00     MRI
S-1/F              J S Lopez                Stat Diagnostics                           25135                $          600.00 $          720.00   $    4,500.00     MRI
S-1/F              Griselda Alvarado        Stat Diagnostics                           25136                $          600.00 $          720.00   $    4,500.00     MRI
S-1/F              Peter Ross               Peachtree Orthopaedic Clinic               24871                $           42.00 $           50.40   $       84.00      PM
S-1/F              Peter Ross               Peachtree Orthopaedic Clinic               24862                $          108.00 $          129.60   $      240.00      PM
S-1/F              Peter Ross               Peachtree Orthopaedic Clinic               24861                $          120.00 $          144.00   $      240.00      PM
S-1/F              Peter Ross               Peachtree Orthopaedic Clinic               24870                $          346.50 $          415.80   $      770.00      PM
S-1/F              Peter Ross               Peachtree Orthopaedic Clinic               24869                $        1,077.30 $        1,292.76   $    2,394.00      PM
S-1/F              Adame & Garza            Stat Diagnostics                           25137                $          600.00 $          720.00   $    4,500.00     MRI
S-1/F              Kumar Law Firm           Stat Diagnostics                           25138                $        1,200.00 $        1,440.00   $    9,000.00     MRI
S-1/F              Amy Daugherty            South Atlanta MUA Center                   25103                $        7,755.00 $        9,306.00   $   31,020.00      PM
S-1/F              Kumar Law Firm           Stat Diagnostics                           25139                $        1,200.00 $        1,440.00   $    7,450.00     MRI
S-1/F              Charles E (Ted) Lake Jr. (AHI) American Health Imaging              24953                $          650.00 $          780.00   $    2,370.00     MRI
S-1/F              Charles E (Ted) Lake Jr. (AHI) American Health Imaging              24955                $          650.00 $          780.00   $    2,225.00     MRI
S-1/F              Charles E (Ted) Lake Jr. (AHI) American Health Imaging              24954                $        1,300.00 $        1,560.00   $    4,310.00     MRI
S-1/F              Kumar Law Firm           Stat Diagnostics                           25140                $        1,200.00 $        1,440.00   $    7,450.00     MRI
S-1/F              Christopher J. Leavitt Stat Diagnostics                             25141                $          600.00 $          720.00   $    4,500.00     MRI
S-1/F              Charles E (Ted) Lake Jr. Perimeter Orthopaedics PC                  24872                $          392.86 $          471.43   $      982.15       PI
S-1/F              Trisha Starks            BENCHMARK PHYSICAL THERAPY                 24957                $          140.52 $          168.62   $      401.50       PI
S-1/F              Trisha Starks            BENCHMARK PHYSICAL THERAPY                 24977                $          140.52 $          168.62   $      401.50       PI
S-1/F              Trisha Starks            BENCHMARK PHYSICAL THERAPY                 24978                $          140.52 $          168.62   $      401.50       PI
S-1/F              Trisha Starks            BENCHMARK PHYSICAL THERAPY                 24956                $          201.08 $          241.30   $      574.50       PI
S-1/F              Zachary Nelson           Safeway Psychological Services             24796                $          110.00 $          132.00   $      275.00       PI
S-1/F              Carlos Hughes            Stat Diagnostics                           25142                $          600.00 $          720.00   $    4,500.00     MRI
S-1/F              Kumar Law Firm           Stat Diagnostics                           25143                $          600.00 $          720.00   $    4,500.00     MRI
S-1/F              Ronald Chalker           BENCHMARK PHYSICAL THERAPY                 24958                $          115.85 $          139.02   $      331.00       PI
S-1/F              Ronald Chalker           BENCHMARK PHYSICAL THERAPY                 25086                $          126.52 $          151.82   $      361.50       PI
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List of Receivables for Series-1/Intake F (Batch 6, 7 & 8)
                                                                                                                         Receivables                              Funding
Intake   ClaimId   Lawyer                Provider                                       BillId   Date Paid       Purchase Price            Cost   GFB Amount        Type
S-1/F              Ronald Chalker        BENCHMARK PHYSICAL THERAPY                     25087                $          126.52 $         151.82   $      361.50       PI
S-1/F              Ronald Chalker        BENCHMARK PHYSICAL THERAPY                     25088                $          126.52 $         151.82   $      361.50       PI
S-1/F              Ronald Chalker        BENCHMARK PHYSICAL THERAPY                     25085                $          154.88 $         185.86   $      442.50       PI
S-1/F              Ronald Chalker        BENCHMARK PHYSICAL THERAPY                     25089                $          154.88 $         185.86   $      442.50       PI
S-1/F              Ronald Chalker        Legacy Brain & Spine                           25084                $          310.00 $         372.00   $      775.00       PI
S-1/F              Samuel Johnson        Perimeter Orthopaedics PC                      24852                $        2,025.62 $       2,430.74   $    5,064.05       PI
S-1/F              Samuel Johnson        Perimeter Orthopaedics PC                      24854                $        2,753.22 $       3,303.86   $    6,883.05       PI
S-1/F              Samuel Johnson        Perimeter Orthopaedics PC                      24853                $        3,906.20 $       4,687.44   $   20,332.90       PI
S-1/F              Ronald Chalker        Atlas Orthopaedics;Duncan Wells MD             24950                $          320.69 $         384.83   $      801.72       PI
S-1/F              The NMW Law Firm      Preva Advanced Surgicare - The Woodlands LLC   24800                $          154.00 $         184.80   $      700.00      PM
S-1/F              The NMW Law Firm      Preva Advanced Surgicare - The Woodlands LLC   24801                $          221.94 $         266.33   $    1,008.81      PM
S-1/F              The NMW Law Firm      Preva Advanced Surgicare - The Woodlands LLC   24802                $        1,548.79 $       1,858.55   $    7,039.96      PM
S-1/F              Ronald Chalker        Athens Orthopedic Clinic                       24859                $          104.80 $         125.76   $      262.00       PI
S-1/F              Ronald Chalker        Athens Orthopedic Clinic                       24857                $          139.30 $         167.16   $      348.25       PI
S-1/F              Hilda L. Sibrian      Stat Diagnostics                               25144                $        3,000.00 $       3,600.00   $   19,400.00     MRI
S-1/F              The NMW Law Firm      Preva Advanced Surgicare - The Woodlands LLC   24833                $          154.00 $         184.80   $      700.00      PM
S-1/F              The NMW Law Firm      Preva Advanced Surgicare - The Woodlands LLC   24837                $          221.94 $         266.33   $    1,008.81      PM
S-1/F              The NMW Law Firm      Preva Advanced Surgicare - The Woodlands LLC   24838                $        1,548.79 $       1,858.55   $    7,039.96      PM
S-1/F              Reginald A Greene     Pain Management Specialists of Atlanta PC      24860                $           87.75 $         105.30   $      195.00      PM
S-1/F              Leo & Oginni          Stat Diagnostics                               25145                $          600.00 $         720.00   $    4,500.00     MRI
S-1/F              Brian E. White        Stat Diagnostics                               25146                $        1,800.00 $       2,160.00   $   11,950.00     MRI
S-1/F              Matthew R. Birdwell   Preva Advanced Surgicare - The Woodlands LLC   24839                $          285.33 $         342.40   $    1,296.95      PM
S-1/F              Matthew R. Birdwell   Preva Advanced Surgicare - The Woodlands LLC   24840                $        1,427.64 $       1,713.17   $    6,489.28      PM
S-1/F              Joel Roth             Non-Surgical Orthopaedics PC                   24791                $          284.00 $         340.80   $      710.00      PM
S-1/F              Joel Roth             Non-Surgical Orthopaedics PC                   25090                $          208.00 $         249.60   $      520.00      PM
S-1/F              Joel Roth             Non-Surgical Orthopaedics PC                   24792                $          284.00 $         340.80   $      710.00      PM
S-1/F              Joseph D. Terry       Stat Diagnostics                               25147                $        1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/F              K Douglas Cook        MD Pain Care PC                                25020                $           80.00 $          96.00   $      200.00      PM
S-1/F              K Douglas Cook        MD Pain Care PC                                25021                $          140.00 $         168.00   $      350.00      PM
S-1/F              K Douglas Cook        MD Pain Care PC                                25022                $           80.00 $          96.00   $      200.00      PM
S-1/F              K Douglas Cook        MD Pain Care PC                                25079                $           80.00 $          96.00   $      200.00      PM
S-1/F              K Douglas Cook        MD Pain Care PC                                25080                $          100.00 $         120.00   $      250.00      PM
S-1/F              Hilda L. Sibrian      Stat Diagnostics                               25156                $        1,800.00 $       2,160.00   $   10,400.00     MRI
S-1/F              Kumar Law Firm        Stat Diagnostics                               25157                $          600.00 $         720.00   $    2,950.00     MRI
S-1/F              Adame & Garza         Stat Diagnostics                               25158                $        1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/F              Kumar Law Firm        Stat Diagnostics                               25155                $        1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/F              Natanya Brooks        Peachtree Orthopaedic Clinic                   24834                $          179.10 $         214.92   $      398.00      PM
S-1/F              Natanya Brooks        Peachtree Orthopaedic Clinic                   24835                $          322.50 $         387.00   $      645.00      PM
S-1/F              Natanya Brooks        Peachtree Orthopaedic Clinic                   24836                $          525.70 $         630.84   $    1,166.00      PM
S-1/F              J. Kyle Beale         Stat Diagnostics                               25159                $          600.00 $         720.00   $    4,500.00     MRI
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                                                                                                                            Receivables                               Funding
Intake   ClaimId   Lawyer                   Provider                                       BillId   Date Paid       Purchase Price             Cost   GFB Amount        Type
S-1/F              Christopher J. Leavitt Stat Diagnostics                                 25160                $          600.00 $          720.00   $    4,500.00     MRI
S-1/F              Reginald A Greene        Non-Surgical Orthopaedics PC                   24951                $          284.00 $          340.80   $      710.00      PM
S-1/F              Andrew Kumar             Stat Diagnostics                               25162                $          600.00 $          720.00   $    4,500.00     MRI
S-1/F              Andrew Kumar             Stat Diagnostics                               25161                $        1,200.00 $        1,440.00   $    7,450.00     MRI
S-1/F              Reginald A Greene        (AHI) American Health Imaging                  25029                $          318.00 $          381.60   $      795.00     MRI
S-1/F              William L. Swank II      BENCHMARK PHYSICAL THERAPY                     25096                $          126.00 $          151.20   $      360.00       PI
S-1/F              William L. Swank II      BENCHMARK PHYSICAL THERAPY                     25097                $          126.00 $          151.20   $      360.00       PI
S-1/F              William L. Swank II      BENCHMARK PHYSICAL THERAPY                     25092                $          126.52 $          151.82   $      361.50       PI
S-1/F              William L. Swank II      BENCHMARK PHYSICAL THERAPY                     24959                $          150.68 $          180.82   $      430.50       PI
S-1/F              William L. Swank II      BENCHMARK PHYSICAL THERAPY                     25093                $          150.68 $          180.82   $      430.50       PI
S-1/F              William L. Swank II      BENCHMARK PHYSICAL THERAPY                     25094                $          150.68 $          180.82   $      430.50       PI
S-1/F              William L. Swank II      BENCHMARK PHYSICAL THERAPY                     25095                $          150.68 $          180.82   $      430.50       PI
S-1/F              Natanya Brooks           Safeway Psychological Services                 25152                $          220.00 $          264.00   $      550.00       PI
S-1/F              Natanya Brooks           Safeway Psychological Services                 25153                $          292.00 $          350.40   $      730.00       PI
S-1/F              Kumar Law Firm           Stat Diagnostics                               25163                $          600.00 $          720.00   $    4,500.00     MRI
S-1/F              Hilda L. Sibrian         Stat Diagnostics                               25165                $        1,800.00 $        2,160.00   $   10,550.00     MRI
S-1/F              Hilda L. Sibrian         Stat Diagnostics                               25166                $        2,400.00 $        2,880.00   $   11,800.00     MRI
S-1/F              Sean O'Rourke            Stat Diagnostics                               25164                $        1,800.00 $        2,160.00   $   11,950.00     MRI
S-1/F              Joseph K. Plumbar        Stat Diagnostics                               25167                $          600.00 $          720.00   $    2,950.00     MRI
S-1/F              John Leslie              Non-Surgical Orthopaedics PC                   25028                $          208.00 $          249.60   $      520.00      PM
S-1/F              E. Nadia Sifuentes       Preva Advanced Surgicare - The Woodlands LLC   24843                $        2,097.35 $        2,516.82   $    9,533.41      PM
S-1/F              Hector L. Sandoval       Stat Diagnostics                               25168                $        1,800.00 $        2,160.00   $   11,950.00     MRI
S-1/F              Gordon Remmen            Non-Surgical Orthopaedics PC                   25205                $          720.00 $          864.00   $    1,800.00     MRI
S-1/F              Gordon Remmen            (AHI) American Health Imaging                  25206                $        1,950.00 $        2,340.00   $    6,820.00      PM
S-1/F              Hector L. Sandoval       Stat Diagnostics                               25169                $          600.00 $          720.00   $    4,500.00     MRI
S-1/F              Jenaye Peterson          Family Dental Solutions                        24863                $          771.60 $          925.92   $    1,929.00       PI
S-1/F              Matthew R. Birdwell Stat Diagnostics                                    24928                $        2,812.35 $        3,374.82   $   12,783.41     MRI
S-1/F              Christopher J. Leavitt Stat Diagnostics                                 25170                $          600.00 $          720.00   $    4,875.00     MRI
S-1/F              Madeleine Simmons South Atlanta MUA Center                              24858                $       29,640.00 $       35,568.00   $ 118,560.00       PM
S-1/F              Charles E (Ted) Lake Jr. (AHI) American Health Imaging                  24855                $          650.00 $          780.00   $    2,225.00     MRI
S-1/F              Kumar Law Firm           Stat Diagnostics                               25171                $        1,800.00 $        2,160.00   $   11,950.00     MRI
S-1/F              CORY HILTON              Durango Outpatient Surgery Center              25151                $        5,834.85 $        7,001.82   $   16,671.00       PI
S-1/F              Holly Salimi             BENCHMARK PHYSICAL THERAPY                     24966                $           24.15 $           28.98   $       69.00       PI
S-1/F              Holly Salimi             BENCHMARK PHYSICAL THERAPY                     24968                $           24.15 $           28.98   $       69.00       PI
S-1/F              Holly Salimi             BENCHMARK PHYSICAL THERAPY                     24970                $           24.15 $           28.98   $       69.00       PI
S-1/F              Holly Salimi             BENCHMARK PHYSICAL THERAPY                     25023                $           24.15 $           28.98   $       69.00       PI
S-1/F              Holly Salimi             BENCHMARK PHYSICAL THERAPY                     24971                $          135.98 $          163.18   $      388.50       PI
S-1/F              Holly Salimi             BENCHMARK PHYSICAL THERAPY                     24965                $          194.78 $          233.74   $      556.50       PI
S-1/F              Holly Salimi             BENCHMARK PHYSICAL THERAPY                     24967                $          194.78 $          233.74   $      556.50       PI
S-1/F              Holly Salimi             BENCHMARK PHYSICAL THERAPY                     24969                $          194.78 $          233.74   $      556.50       PI
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List of Receivables for Series-1/Intake F (Batch 6, 7 & 8)
                                                                                                                          Receivables                              Funding
Intake   ClaimId   Lawyer                 Provider                                       BillId   Date Paid       Purchase Price            Cost   GFB Amount        Type
S-1/F              Holly Salimi           BENCHMARK PHYSICAL THERAPY                     24972                $          213.15 $         255.78   $      609.00       PI
S-1/F              Holly Salimi           BENCHMARK PHYSICAL THERAPY                     24964                $          236.25 $         283.50   $      675.00       PI
S-1/F              Nicholas M. Wills      Preva Advanced Surgicare - The Woodlands LLC   24936                $          154.00 $         184.80   $      700.00      PM
S-1/F              Nicholas M. Wills      Preva Advanced Surgicare - The Woodlands LLC   24938                $          221.94 $         266.33   $    1,008.81      PM
S-1/F              Nicholas M. Wills      Preva Advanced Surgicare - The Woodlands LLC   24937                $        1,548.79 $       1,858.55   $    7,039.96      PM
S-1/F              Jason Holladay         Preva Advanced Surgicare - The Woodlands LLC   24845                $          154.00 $         184.80   $      700.00      PM
S-1/F              Jason Holladay         Preva Advanced Surgicare - The Woodlands LLC   24846                $          432.23 $         518.68   $    1,964.70      PM
S-1/F              Jason Holladay         Preva Advanced Surgicare - The Woodlands LLC   24847                $        2,812.35 $       3,374.82   $   12,783.41      PM
S-1/F              Adame & Garza          Stat Diagnostics                               25203                $          600.00 $         720.00   $    2,950.00     MRI
S-1/F              Adame & Garza          Stat Diagnostics                               25204                $          600.00 $         720.00   $    4,500.00     MRI
S-1/F              Bergquist Law Firm     Preva Advanced Surgicare - The Woodlands LLC   24941                $        2,812.35 $       3,374.82   $   12,783.41      PM
S-1/F              Adame & Garza          Stat Diagnostics                               25172                $        1,200.00 $       1,440.00   $    7,450.00     MRI
S-1/F              Matthew Broun          Non-Surgical Orthopaedics PC                   25091                $          168.00 $         201.60   $      420.00      PM
S-1/F              Stewart J. Guss        Preva Advanced Surgicare - The Woodlands LLC   24942                $        2,131.89 $       2,558.27   $    9,690.41      PM
S-1/F              Zachary Nelson         Peachtree Orthopaedic Clinic                   24864                $           31.05 $          37.26   $       69.00       PI
S-1/F              Zachary Nelson         Georgia Eye Physicians & Surgeons              25083                $          262.80 $         315.36   $      657.00      PM
S-1/F              Zachary Nelson         Peachtree Orthopaedic Clinic                   24865                $          520.65 $         624.78   $    1,141.00      PM
S-1/F              Zachary Nelson         Peachtree Orthopaedic Clinic                   24867                $          699.60 $         839.52   $    3,948.00      PM
S-1/F              Zachary Nelson         Peachtree Orthopaedic Clinic                   24866                $        1,106.10 $       1,327.32   $    2,458.00      PM
S-1/F              Zachary Nelson         Peachtree Orthopaedic Clinic                   24868                $        1,574.10 $       1,888.92   $    3,948.00      PM
S-1/F              Zachary Nelson         Peachtree Orthopaedic Clinic                   25082                $          753.75 $         904.50   $    1,675.00      PM
S-1/F              Katie Hingerty Barodin Kevin Hicks DO                                 25081                $          240.00 $         288.00   $      240.00       PI
S-1/F              Adame & Garza          Stat Diagnostics                               25173                $        1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/F              Michael Lonati         Non-Surgical Orthopaedics PC                   25099                $          208.00 $         249.60   $      520.00     MRI
S-1/F              Michael Lonati         Non-Surgical Orthopaedics PC                   25098                $          548.00 $         657.60   $    1,370.00     MRI
S-1/F              Michael Lonati         (AHI) American Health Imaging                  25100                $        1,300.00 $       1,560.00   $    4,450.00      PM
S-1/F              Michael Lonati         (AHI) American Health Imaging                  25101                $        1,300.00 $       1,560.00   $    4,450.00      PM
S-1/F              Bret Griffin           Stat Diagnostics                               25174                $        1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/F              Craig Miller           ENT of Georgia LLC                             24856                $          117.31 $         140.77   $      293.28       PI
S-1/F              Bret Griffin           Stat Diagnostics                               25175                $          600.00 $         720.00   $    4,500.00     MRI
S-1/F              Kumar Law Firm         Stat Diagnostics                               25177                $          600.00 $         720.00   $    4,500.00     MRI
S-1/F              Lozano Law Offices P.C.Stat Diagnostics                               25176                $        1,800.00 $       2,160.00   $   11,950.00     MRI
S-1/F              Adame & Garza          Stat Diagnostics                               25178                $        1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/F              Michael Lonati         BENCHMARK PHYSICAL THERAPY                     25127                $          131.25 $         157.50   $      375.00       PI
S-1/F              Michael Lonati         BENCHMARK PHYSICAL THERAPY                     25128                $          131.25 $         157.50   $      375.00       PI
S-1/F              Michael Lonati         BENCHMARK PHYSICAL THERAPY                     25129                $          131.25 $         157.50   $      375.00       PI
S-1/F              Michael Lonati         BENCHMARK PHYSICAL THERAPY                     25126                $          225.75 $         270.90   $      645.00       PI
S-1/F              Michael Lonati         Non-Surgical Orthopaedics PC                   25125                $          588.00 $         705.60   $    1,470.00      PM
S-1/F              Kumar Law Firm         Stat Diagnostics                               25179                $          600.00 $         720.00   $    4,500.00     MRI
S-1/F              Kumar Law Firm         Stat Diagnostics                               25180                $        1,800.00 $       2,160.00   $   11,950.00     MRI
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake F (Batch 6, 7 & 8)
                                                                                                                        Receivables                              Funding
Intake   ClaimId   Lawyer               Provider                                       BillId   Date Paid       Purchase Price            Cost   GFB Amount        Type
S-1/F              Adam J. Rosenfeld    Stat Diagnostics                               25181                $          600.00 $         720.00   $    4,500.00     MRI
S-1/F              Jonathan Wade        BENCHMARK PHYSICAL THERAPY                     24962                $          111.65 $         133.98   $      319.00       PI
S-1/F              Jonathan Wade        BENCHMARK PHYSICAL THERAPY                     24961                $          121.80 $         146.16   $      348.00       PI
S-1/F              Jonathan Wade        BENCHMARK PHYSICAL THERAPY                     24975                $          126.00 $         151.20   $      360.00       PI
S-1/F              Jonathan Wade        BENCHMARK PHYSICAL THERAPY                     24976                $          126.00 $         151.20   $      360.00       PI
S-1/F              Jonathan Wade        BENCHMARK PHYSICAL THERAPY                     24960                $          126.52 $         151.82   $      361.50       PI
S-1/F              Jonathan Wade        BENCHMARK PHYSICAL THERAPY                     25031                $          126.52 $         151.82   $      361.50       PI
S-1/F              Jonathan Wade        BENCHMARK PHYSICAL THERAPY                     24973                $          150.50 $         180.60   $      430.50       PI
S-1/F              Jonathan Wade        BENCHMARK PHYSICAL THERAPY                     25030                $          150.68 $         180.82   $      430.50       PI
S-1/F              Jonathan Wade        Legacy Brain & Spine                           25034                $          157.50 $         189.00   $      450.00       PI
S-1/F              Jonathan Wade        Legacy Brain & Spine                           25037                $          180.00 $         216.00   $      450.00       PI
S-1/F              Jonathan Wade        Legacy Brain & Spine                           25035                $          220.00 $         264.00   $      550.00       PI
S-1/F              Ronald Chalker       Family Dental Solutions                        25122                $          140.00 $         168.00   $      350.00       PI
S-1/F              Ronald Chalker       Family Dental Solutions                        25148                $          434.80 $         521.76   $    1,087.00       PI
S-1/F              Marc J. Shuman       Stat Diagnostics                               25182                $        1,800.00 $       2,160.00   $   11,950.00     MRI
S-1/F              Hilda L. Sibrian     Stat Diagnostics                               25184                $        1,800.00 $       2,160.00   $   10,400.00     MRI
S-1/F              Salazar Velazquez    Stat Diagnostics                               25183                $        1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/F              Salazar Velazquez    Stat Diagnostics                               25185                $          600.00 $         720.00   $    4,500.00     MRI
S-1/F              Joseph D. Terry      Stat Diagnostics                               25186                $        1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/F              Zachary Nelson       ENT of Georgia LLC                             24952                $          353.02 $         423.62   $      882.56       PI
S-1/F              CORY HILTON          Durango Outpatient Surgery Center              25150                $        5,834.85 $       7,001.82   $   16,671.00       PI
S-1/F              Farrah Martinez      Stat Diagnostics                               25187                $        1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/F              Adame & Garza        Stat Diagnostics                               25188                $          600.00 $         720.00   $    2,950.00     MRI
S-1/F              Richard Kopelman     Non-Surgical Orthopaedics PC                   25112                $          740.00 $         888.00   $    1,850.00     MRI
S-1/F              Richard Kopelman     (AHI) American Health Imaging                  25114                $          402.00 $         482.40   $    1,005.00     MRI
S-1/F              Richard Kopelman     (AHI) American Health Imaging                  25116                $          402.00 $         482.40   $    1,005.00     MRI
S-1/F              Richard Kopelman     (AHI) American Health Imaging                  25119                $          381.60 $         457.92   $      954.00      PM
S-1/F              The NMW Law Firm     Preva Advanced Surgicare - The Woodlands LLC   24793                $          154.00 $         184.80   $      700.00      PM
S-1/F              The NMW Law Firm     Preva Advanced Surgicare - The Woodlands LLC   24794                $          827.48 $         992.98   $    3,761.28      PM
S-1/F              The NMW Law Firm     Preva Advanced Surgicare - The Woodlands LLC   24795                $        6,371.38 $       7,645.66   $   28,960.80      PM
S-1/F              Tammy D. Harris      Stat Diagnostics                               25189                $        1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/F              Mokaram Law Firm     Stat Diagnostics                               25190                $        1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/F              Trisha Starks        Non-Surgical Orthopaedics PC                   24949                $          476.00 $         571.20   $    1,190.00      PM
S-1/F              Jennifer Dunlap      South Atlanta MUA Center                       24980                $        4,729.75 $       5,675.70   $   18,919.00      PM
S-1/F              Nicholas M. Wills    Preva Advanced Surgicare - The Woodlands LLC   24849                $          154.00 $         184.80   $      700.00      PM
S-1/F              Nicholas M. Wills    Preva Advanced Surgicare - The Woodlands LLC   24850                $          221.94 $         266.33   $    1,008.81      PM
S-1/F              Smith & Hassler      Preva Advanced Surgicare - The Woodlands LLC   24851                $        1,416.89 $       1,700.27   $    6,440.41      PM
S-1/F              Hector L. Sandoval   Stat Diagnostics                               25191                $        1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/F              Kumar Law Firm       Stat Diagnostics                               25192                $        1,800.00 $       2,160.00   $   11,950.00     MRI
S-1/F              Anjali Sharma        Stat Diagnostics                               25193                $        1,800.00 $       2,160.00   $   11,950.00     MRI
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake F (Batch 6, 7 & 8)
                                                                                                                           Receivables                              Funding
Intake   ClaimId   Lawyer                Provider                                         BillId   Date Paid       Purchase Price            Cost   GFB Amount        Type
S-1/F              Stewart J. Guss       Preva Advanced Surgicare - The Woodlands LLC     24797                $        2,396.28 $       2,875.54   $   10,892.20      PM
S-1/F              Abraham Watkins Nichols
                                         Preva
                                             Sorrels
                                               Advanced
                                                     Agosto
                                                          Surgicare
                                                             & Aziz - The Woodlands LLC   24798                $        6,371.38 $       7,645.66   $   28,960.80      PM
S-1/F              Kumar Law Firm        Stat Diagnostics                                 25194                $        1,200.00 $       1,440.00   $    7,450.00     MRI
S-1/F              Adame & Garza         Stat Diagnostics                                 25195                $          600.00 $         720.00   $    2,950.00     MRI
S-1/F              Ali Salimi            Georgia Pain and Spine Solutions                 24963                $          333.72 $         400.46   $      834.30      PM
S-1/F              Paul Valdivieso       Stat Diagnostics                                 25196                $          600.00 $         720.00   $    2,950.00     MRI
S-1/F              Davis Bozeman         Mariposa Medical Associates                      25019                $          115.15 $         138.18   $      329.00       PI
S-1/F              Kumar Law Firm        Stat Diagnostics                                 25197                $          600.00 $         720.00   $    3,100.00     MRI
S-1/F              Thomas F. Bickham Jr. Preva Advanced Surgicare - The Woodlands LLC     24799                $        2,812.35 $       3,374.82   $   12,783.41      PM
S-1/F              Adame & Garza         Stat Diagnostics                                 25200                $        1,800.00 $       2,160.00   $   11,950.00     MRI
S-1/F              John Zaid             Stat Diagnostics                                 25198                $          600.00 $         720.00   $    4,500.00     MRI
S-1/F              W. Clark Martin IV    Stat Diagnostics                                 25199                $        1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/F              R. Todd Elias         Stat Diagnostics                                 25201                $        1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/F              Natanya Brooks        Non-Surgical Orthopaedics PC                     25027                $          812.00 $         974.40   $    2,030.00      PM
S-1/F              Rodney Merwin         Stat Diagnostics                                 25202                $        1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/F              Keith Foster          Peachtree Orthopaedic Clinic                     24842                $           60.00 $          72.00   $      120.00      PM
S-1/F              Keith Foster          Peachtree Orthopaedic Clinic                     24841                $        1,164.00 $       1,396.80   $    2,580.00      PM
S-1/F              Keith Foster          Peachtree Orthopaedic Surgery Center             25025                $        4,095.00 $       4,914.00   $    9,100.00      PM
S-1/F              Keith Foster          Peachtree Orthopaedic Clinic                     25154                $        3,733.20 $       4,479.84   $    8,296.00       PI
S-1/F              CORY HILTON           Durango Outpatient Surgery Center                25149                $        4,052.65 $       4,863.18   $   11,579.00       PI
S-1/F              Nathan Fitzpatrick    Perimeter Orthopaedics PC                        25272                $          216.38 $         259.66   $      540.95       PI
S-1/F              Steven Leibel         (AHI) American Health Imaging                    25217                $        1,300.00 $       1,560.00   $    4,595.00     MRI
S-1/F              Steven Leibel         (AHI) American Health Imaging                    25216                $          650.00 $         780.00   $    2,225.00     MRI
S-1/F              Steven Leibel         BENCHMARK PHYSICAL THERAPY                       25266                $           98.18 $         117.82   $      280.50       PI
S-1/F              Steven Leibel         BENCHMARK PHYSICAL THERAPY                       25215                $          122.85 $         147.42   $      351.00       PI
S-1/F              Steven Leibel         BENCHMARK PHYSICAL THERAPY                       25214                $          122.85 $         147.42   $      351.00       PI
S-1/F              Steven Leibel         BENCHMARK PHYSICAL THERAPY                       25213                $           78.75 $          94.50   $      225.00       PI
S-1/F              Steven Leibel         BENCHMARK PHYSICAL THERAPY                       25212                $          176.40 $         211.68   $      504.00       PI
S-1/F              Steven Leibel         Specialty Orthopaedics PC                        25211                $          452.80 $         543.36   $    1,181.00       PI
S-1/F              Sean McEvoy           Safeway Psychological Services                   25267                $          220.00 $         264.00   $      550.00       PI
S-1/F              Peter Angulo          Durango Outpatient Surgery Center                25264                $        5,834.85 $       7,001.82   $   16,671.00       PI
S-1/F              Peter Ross            Polaris Spine & Neurosurgery Center              25281                $          396.00 $         475.20   $      990.00       PI
S-1/F              Ronald Chalker        BENCHMARK PHYSICAL THERAPY                       25274                $          102.38 $         122.86   $      292.50       PI
S-1/F              Ronald Chalker        BENCHMARK PHYSICAL THERAPY                       25273                $           98.70 $         118.44   $      282.00       PI
S-1/F              W. Winston Briggs     Georgia Pain and Spine Solutions                 25270                $          333.72 $         400.46   $      834.30      PM
S-1/F              Peter Ross            GA Pain Management Center LLC                    25261                $        6,525.90 $       7,831.08   $   14,502.00      PM
S-1/F              Peter Ross            GA Pain Management Center LLC                    25260                $        6,525.90 $       7,831.08   $   14,502.00      PM
S-1/F              Peter Ross            Pain Management Specialists of Atlanta PC        25263                $        1,589.40 $       1,907.28   $    3,532.00      PM
S-1/F              Peter Ross            Pain Management Specialists of Atlanta PC        25262                $        1,575.00 $       1,890.00   $    3,500.00      PM
S-1/F              David Bence           South Atlanta MUA Center                         25209                $        1,004.00 $       1,204.80   $    2,868.57      PM
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake F (Batch 6, 7 & 8)
                                                                                                                                                    Receivables                                           Funding
Intake      ClaimId     Lawyer                  Provider                                               BillId      Date Paid                Purchase Price                        Cost   GFB Amount         Type
S-1/F                   David Bence             South Atlanta MUA Center                               25208                      $              1,001.01 $                   1,201.21   $    2,860.02       PM
S-1/F                   Aj Mitchell             Georgia Eye Physicians & Surgeons                      25265                      $                397.20 $                     476.64   $      993.00        PI
S-1/F                   Jonathan Wade           Family Dental Solutions                                25275                      $                140.00 $                     168.00   $      350.00        PI
S-1/F                   Jonathan Wade           Peachtree Orthopaedic Clinic                           25277                      $                657.05 $                     788.46   $    1,447.00       PM
S-1/F                   Jonathan Wade           Peachtree Orthopaedic Clinic                           25276                      $                 36.00 $                      43.20   $       72.00       PM
S-1/F                   Richard Kopelman        Non-Surgical Orthopaedics PC                           25257                      $                284.00 $                     340.80   $      710.00       PM
S-1/F                   Stephen A. Shea         Pain Management Specialists of Atlanta PC              25271                      $                 58.50 $                      70.20   $      130.00       PM
S-1/F                   Casey Geiger            Legacy Brain & Spine                                   25280                      $                180.00 $                     216.00   $      450.00        PI
S-1/F                   Casey Geiger            Legacy Brain & Spine                                   25279                      $                220.00 $                     264.00   $      550.00        PI
S-1/F                   Casey Geiger            Legacy Brain & Spine                                   25278                      $              1,580.00 $                   1,896.00   $    3,950.00        PI
S-1/F                   Zachary Nelson          Northside Hospital                                     25268                      $                652.40 $                     782.88   $    1,631.00        PI
S-1/F                   Jennifer Dunlap         South Atlanta MUA Center                               25210                      $              5,560.00 $                   6,672.00   $   22,240.00       PM
                                                                                                                                  $             400,852.58 $                481,023.10   $ 1,671,274.81

         Amendment to Purchase Order            Canceled Receivable                                    24928                      $                2,812.35   $               3,374.82   $   12,783.41
                                                Canceled Receivable                                    24936                      $                  154.00   $                 184.80   $      700.00
                                                Canceled Receivable                                    24938                      $                  221.94   $                 266.33   $    1,008.81
                                                Canceled Receivable                                    24937                      $                1,548.79   $               1,858.55   $    7,039.96
                                                Canceled Receivable                                    24941                      $                2,812.35   $               3,374.82   $   12,783.41
                                                Canceled Receivable                                    24942                      $                2,131.89   $               2,558.27   $    9,690.41
                                                                                                                                  $                9,681.32   $              11,617.59   $   44,006.00

         Amended Total                                                                                                            $             391,171.26 $                469,405.51   $ 1,627,268.81



****     This List of Receivables supporting Series 1-Intake F in the amount of US$1,627,268.81 is in good order as Forget-the-Market Ltd has performed the following:

         a. Review of the invoice supporting each line item on List of Receivables confirming list accuracy including the invoice amount.

         b. Collected and reviewed (via Sharing Link) the lien for each line item on the List of Receivables. Any missing liens are noted on the List of Receivables with
         an explanation as to why.

         c. Confirmed that the value of purchased receivables respecting the listed invoices equals 346.67% of the purchased total of $469,405.51.


         William B Dalzell
         CFO, Forget-the-Market Limited
         Co-Manager for Tecumseh-Infinity MR Fund
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake F (Batch 6, 7 & 8)
                                                                                                                                Receivables                               Funding
Intake   ClaimId Lawyer                     Provider                                       BillId     Date Paid       Purchase Price              Cost    GFB Amount        Type

S-1/F    19315   Theresa Ify Omeludike      Stat Diagnostics                               24614      8/5/2020    $          600.00   $          720.00   $    4,500.00     MRI
S-1/F    19317   Bret Griffin               Stat Diagnostics                               24615      8/5/2020    $          600.00   $          720.00   $    4,500.00     MRI
S-1/F    19319   Mokaram Law Firm           Stat Diagnostics                               24616      8/5/2020    $        1,200.00   $        1,440.00   $    9,000.00     MRI
S-1/F     5871   Ronald Chalker             Polaris Spine & Neurosurgery Center            24319      7/23/2020   $          170.00   $          204.00   $      425.00      PI
S-1/F    19247   Ronald Chalker             Athens Orthopedic Clinic                       24447      7/23/2020   $          158.80   $          190.56   $      397.00      PI
S-1/F    19321   Cassandra Evans-Jones      Stat Diagnostics                               24617      8/5/2020    $        1,200.00   $        1,440.00   $    5,900.00     MRI
S-1/F    19323   Kumar Law Firm             Stat Diagnostics                               24618      8/5/2020    $        1,200.00   $        1,440.00   $    9,000.00     MRI
S-1/F    19279   Nathan Fitzpatrick         Perimeter Orthopaedics PC                      24566      8/13/2020   $        1,240.35   $        1,488.42   $    3,100.87     MRI
S-1/F    19279   Nathan Fitzpatrick         Perimeter Orthopaedics PC                      24567      8/13/2020   $          738.30   $          885.96   $    1,847.00      PI
S-1/F    19325   Kumar Law Firm             Stat Diagnostics                               24619      8/5/2020    $        1,200.00   $        1,440.00   $    9,000.00     MRI
S-1/F    19325   Kumar Law Firm             Stat Diagnostics                               24620      8/5/2020    $          600.00   $          720.00   $    2,950.00     MRI
S-1/F    19327   Ciro Samperi               Stat Diagnostics                               24621      8/5/2020    $        1,200.00   $        1,440.00   $    7,450.00     MRI
S-1/F    19329   Kumar Law Firm             Stat Diagnostics                               24622      8/5/2020    $          600.00   $          720.00   $    4,500.00     MRI
S-1/F     8751   Bret Griffin               Stat Diagnostics                               24623      8/5/2020    $        1,200.00   $        1,440.00   $    9,000.00     MRI
S-1/F     8753   Bret Griffin               Stat Diagnostics                               24624      8/5/2020    $        1,200.00   $        1,440.00   $    9,000.00     MRI
S-1/F    19267   Raymond B. Lakes           South Atlanta MUA Center                       24515      7/30/2020   $        6,380.50   $        7,656.60   $   25,522.00     PM
S-1/F    19439   Stephanie Hay              Preva Advanced Surgicare - The Woodlands LLC   24743                  $        1,401.39   $        1,681.67   $    6,369.95     PM
S-1/F     6458   Paul Kaufman               Non-Surgical Orthopaedics PC                   23989      7/23/2020   $          208.00   $          249.60   $      520.00     PM
S-1/F     6458   Paul Kaufman               Non-Surgical Orthopaedics PC                   23990      7/23/2020   $          320.00   $          384.00   $      800.00     PM
S-1/F     6458   Paul Kaufman               Non-Surgical Orthopaedics PC                   23991      7/23/2020   $        2,634.80   $        3,161.76   $    6,587.00     PM
S-1/F     6458   Paul Kaufman               The Center for Spine Procedures                23992      7/23/2020   $        8,048.00   $        9,657.60   $   20,120.00     PM
S-1/F     6458   Paul Kaufman               Polaris Spine & Neurosurgery Center            24572      8/13/2020   $          354.00   $          424.80   $      885.00      PI
S-1/F    19331   George K. Farah            Stat Diagnostics                               24625      8/5/2020    $        1,200.00   $        1,440.00   $    9,000.00     MRI
S-1/F    19441   Abraham Garcia             Preva Advanced Surgicare - The Woodlands LLC   24744                  $        2,812.35   $        3,374.82   $   12,783.41     PM
S-1/F    19441   Abraham Garcia             Preva Advanced Surgicare - The Woodlands LLC   24745                  $          432.23   $          518.68   $    1,964.70     PM
S-1/F    19441   Abraham Garcia             Preva Advanced Surgicare - The Woodlands LLC   24746                  $          154.00   $          184.80   $      700.00     PM
S-1/F    19333   Thornton & Thornton        Stat Diagnostics                               24626      8/5/2020    $        1,200.00   $        1,440.00   $    9,000.00     MRI
S-1/F     6307   Ronald Chalker             Outpatient Imaging                             24452      8/13/2020   $          161.60   $          193.92   $      404.00     MRI
S-1/F     6307   Ronald Chalker             Northside Hospital                             24564      7/30/2020   $       37,809.80   $       45,371.76   $   94,524.50      PI
S-1/F     6307   Ronald Chalker             North Atlanta Surgical Associates              24753                  $        6,300.00   $        7,560.00   $   15,000.00      PI
S-1/F    19437   Charles E (Ted) Lake Jr.   Perimeter Orthopaedics PC                      24740                  $          456.96   $          548.35   $    1,142.40      PI
S-1/F    19437   Charles E (Ted) Lake Jr.   (AHI) American Health Imaging                  24741                  $          402.00   $          482.40   $    1,005.00     MRI
S-1/F    19335   Theresa Ify Omeludike      Stat Diagnostics                               24627      8/5/2020    $        1,800.00   $        2,160.00   $   10,400.00     MRI
S-1/F    19337   Theresa Ify Omeludike      Stat Diagnostics                               24628      8/5/2020    $        1,200.00   $        1,440.00   $    7,450.00     MRI
S-1/F    14987   Reginald A Greene          Resurgens Orthopaedics                         24380      7/23/2020   $           73.85   $           88.62   $      164.12      PI
S-1/F    14987   Reginald A Greene          Resurgens Orthopaedics                         24429      7/23/2020   $          240.75   $          288.90   $      535.00      PI
S-1/F    18531   Zachary Nelson             Safeway Psychological Services                 23977      7/23/2020   $          844.00   $        1,012.80   $    2,110.00      PI
S-1/F    18531   Zachary Nelson             Safeway Psychological Services                 23978      7/23/2020   $          436.00   $          523.20   $    1,090.00      PI
S-1/F    18531   Zachary Nelson             Safeway Psychological Services                 24379      7/23/2020   $          328.00   $          393.60   $      820.00      PI
S-1/F    18531   Zachary Nelson             Safeway Psychological Services                 24509      8/13/2020   $          110.00   $          132.00   $      275.00      PI
S-1/F    18531   Zachary Nelson             Safeway Psychological Services                 24581      8/13/2020   $          110.00   $          132.00   $      275.00      PI
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List of Receivables for Series-1/Intake F (Batch 6, 7 & 8)
                                                                                                                                  Receivables                               Funding
Intake   ClaimId   Lawyer                     Provider                                       BillId     Date Paid       Purchase Price               Cost   GFB Amount        Type
S-1/F     19339    Bret Griffin               Stat Diagnostics                               24629      8/5/2020    $        1,200.00 $          1,440.00   $    9,000.00     MRI
S-1/F     19341    Kumar Law Firm             Stat Diagnostics                               24630      8/5/2020    $        1,200.00 $          1,440.00   $    7,450.00     MRI
S-1/F      8699    Sean McEvoy                Safeway Psychological Services                 24443      7/23/2020   $          328.00 $            393.60   $      820.00       PI
S-1/F      9519    Peter Ross                 Pain Consultants of Atlanta                    24706      8/13/2020   $          116.67 $            140.00   $      307.03      PM
S-1/F     19443    Stewart J. Guss            Preva Advanced Surgicare - The Woodlands LLC   24754                  $        2,812.35 $          3,374.82   $   12,783.41      PM
S-1/F      5111    Neil Putnam                Peachtree Orthopaedic Clinic                   24503                  $          398.70 $            478.44   $      886.00       PI
S-1/F      5111    Neil Putnam                Peachtree Orthopaedic Clinic                   24504      8/13/2020   $           90.00 $            108.00   $      180.00      Rx
S-1/F     19277    Fariba Bayani              (AHI) American Health Imaging                  24560      8/13/2020   $        1,300.00 $          1,560.00   $    4,595.00     MRI
S-1/F     19433    Riah Greathouse            Family Dental Solutions                        24732      8/13/2020   $          140.00 $            168.00   $      350.00       PI
S-1/F     19249    Donald Paradiso            Las Vegas Sleep Center                         24448      7/23/2020   $          105.00 $            126.00   $      300.00       PI
S-1/F     19249    Donald Paradiso            Las Vegas Sleep Center                         24449      7/23/2020   $          280.00 $            336.00   $      800.00       PI
S-1/F     19249    Donald Paradiso            Las Vegas Sleep Center                         24498      7/23/2020   $          105.00 $            126.00   $      300.00       PI
S-1/F     19249    Donald Paradiso            Las Vegas Sleep Center                         24499      7/23/2020   $          322.00 $            386.40   $      920.00       PI
S-1/F     19249    Donald Paradiso            Las Vegas Sleep Center                         24500      7/23/2020   $          280.00 $            336.00   $      800.00       PI
S-1/F     19447    Nicholas M. Wills          Preva Advanced Surgicare - The Woodlands LLC   24760                  $          154.00 $            184.80   $      700.00      PM
S-1/F     19447    Nicholas M. Wills          Preva Advanced Surgicare - The Woodlands LLC   24761                  $        1,548.79 $          1,858.55   $    7,039.96      PM
S-1/F     19447    Nicholas M. Wills          Preva Advanced Surgicare - The Woodlands LLC   24762                  $          221.94 $            266.33   $    1,008.81      PM
S-1/F     19281    Ronald Chalker             BENCHMARK PHYSICAL THERAPY                     24568      8/13/2020   $          137.38 $            164.86   $      392.50       PI
S-1/F     19281    Ronald Chalker             Legacy Brain & Spine                           24569      8/13/2020   $          274.00 $            328.80   $      685.00      PM
S-1/F     19281    Ronald Chalker             BENCHMARK PHYSICAL THERAPY                     24610      8/13/2020   $          165.72 $            198.86   $      473.50       PI
S-1/F     19281    Ronald Chalker             Legacy Brain & Spine                           24611      8/13/2020   $          276.00 $            331.20   $      690.00      PM
S-1/F     19281    Ronald Chalker             BENCHMARK PHYSICAL THERAPY                     24709      8/13/2020   $          154.88 $            185.86   $      442.50       PI
S-1/F     19281    Ronald Chalker             BENCHMARK PHYSICAL THERAPY                     24710      8/13/2020   $          126.00 $            151.20   $      360.00       PI
S-1/F      9321    Samuel Johnson             Bethea CPS P.C.                                24557      8/13/2020   $          116.00 $            139.20   $      290.00       PI
S-1/F      9321    Samuel Johnson             Perimeter Orthopaedics PC                      24571      8/13/2020   $           40.36 $             48.43   $      100.90      Rx
S-1/F      9321    Samuel Johnson             Perimeter Orthopaedics PC                      24758                  $           89.40 $            107.28   $      223.50       PI
S-1/F     19313    Theodore Berman            South Atlanta MUA Center                       24613      8/10/2020   $       10,230.00 $         12,276.00   $   40,920.00      PM
S-1/F     19343    J. Moises Cedillos         Stat Diagnostics                               24631      8/5/2020    $          600.00 $            720.00   $    2,950.00     MRI
S-1/F     19435    Charles E (Ted) Lake Jr.   Pain Care LLC                                  24738      8/13/2020   $          480.00 $            576.00   $    1,200.01      PM
S-1/F     19449    David W. Bergquist         Stat Diagnostics                               24763                  $        2,131.89 $          2,558.27   $    9,690.41      PM
S-1/F     19451    David W. Bergquist         Preva Advanced Surgicare - The Woodlands LLC   24764                  $        2,812.35 $          3,374.82   $   12,783.41      PM
S-1/F      6343    Riah Greathouse            Arizona Pain Treatment Center                  24492      7/23/2020   $          150.90 $            181.08   $      377.23      PM
S-1/F      6343    Riah Greathouse            Arizona Pain Treatment Center                  24493      7/23/2020   $          103.90 $            124.68   $      259.74      PM
S-1/F      6343    Riah Greathouse            Arizona Pain Treatment Center                  24494      7/23/2020   $          150.89 $            181.07   $      377.23      PM
S-1/F      6343    Riah Greathouse            Arizona Pain Treatment Center                  24495      7/23/2020   $          232.85 $            279.42   $      582.12      PM
S-1/F      6343    Riah Greathouse            McDowell Ambulatory Surgery                    24496      7/23/2020   $          857.40 $          1,028.88   $    2,143.50      PM
S-1/F      6343    Riah Greathouse            On Call Anesthesia Surgical                    24497      7/23/2020   $          600.00 $            720.00   $    1,500.00       PI
S-1/F     10999    Ronald Chalker             Non-Surgical Orthopaedics PC                   24057      7/23/2020   $          208.00 $            249.60   $      520.00      PM
S-1/F     10999    Ronald Chalker             Legacy Brain & Spine                           24381      7/23/2020   $          330.00 $            396.00   $      825.00      PM
S-1/F     10999    Ronald Chalker             Legacy Brain & Spine                           24565      8/13/2020   $          220.00 $            264.00   $      550.00      PM
S-1/F     19345    Spagnoletti Associates     Stat Diagnostics                               24632      8/5/2020    $          600.00 $            720.00   $    2,950.00     MRI
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                                                                                                                            Receivables                               Funding
Intake   ClaimId Lawyer                     Provider                                   BillId     Date Paid       Purchase Price               Cost   GFB Amount        Type
S-1/F            Leo & Oginni               Stat Diagnostics                           25123                  $        1,200.00 $          1,440.00   $    7,450.00     MRI
S-1/F            Ronald Chalker             Athens Orthopedic Clinic                   25026                  $           70.80 $             84.96   $      177.00       PI
S-1/F            John Leslie                Georgia Pain Management;Dr. James Ellner   24790                  $          120.00 $            144.00   $      300.00      PM
S-1/F            John Leslie                Georgia Pain Management;Dr. James Ellner   24848                  $          500.00 $            600.00   $    1,250.00      PM
S-1/F            John Leslie                Samson Pain Center;Dr. James Ellner        24844                  $        1,400.00 $          1,680.00   $    3,500.00      PM
S-1/F            Tommy T. Mingledorff       Stat Diagnostics                           25124                  $          600.00 $            720.00   $    4,500.00     MRI
S-1/F            Jacob Jackson              South Atlanta MUA Center                   24979                  $       10,750.00 $         12,900.00   $   43,000.00      PM
S-1/F            Bret Griffin               Stat Diagnostics                           25130                  $        1,800.00 $          2,160.00   $   11,950.00     MRI
S-1/F            Bret Griffin               Stat Diagnostics                           25131                  $        1,200.00 $          1,440.00   $    7,450.00     MRI
S-1/F            Christopher J. Leavitt     Stat Diagnostics                           25132                  $        1,800.00 $          2,160.00   $   11,325.00     MRI
S-1/F            Richard Paxton             Stat Diagnostics                           25133                  $        1,200.00 $          1,440.00   $    5,900.00     MRI
S-1/F            Kumar Law Firm             Stat Diagnostics                           25134                  $        1,200.00 $          1,440.00   $    9,000.00     MRI
S-1/F            J S Lopez                  Stat Diagnostics                           25135                  $          600.00 $            720.00   $    4,500.00     MRI
S-1/F            Griselda Alvarado          Stat Diagnostics                           25136                  $          600.00 $            720.00   $    4,500.00     MRI
S-1/F            Peter Ross                 Peachtree Orthopaedic Clinic               24871                  $           42.00 $             50.40   $       84.00      PM
S-1/F            Peter Ross                 Peachtree Orthopaedic Clinic               24862                  $          108.00 $            129.60   $      240.00      PM
S-1/F            Peter Ross                 Peachtree Orthopaedic Clinic               24861                  $          120.00 $            144.00   $      240.00      PM
S-1/F            Peter Ross                 Peachtree Orthopaedic Clinic               24870                  $          346.50 $            415.80   $      770.00      PM
S-1/F            Peter Ross                 Peachtree Orthopaedic Clinic               24869                  $        1,077.30 $          1,292.76   $    2,394.00      PM
S-1/F            Adame & Garza              Stat Diagnostics                           25137                  $          600.00 $            720.00   $    4,500.00     MRI
S-1/F            Kumar Law Firm             Stat Diagnostics                           25138                  $        1,200.00 $          1,440.00   $    9,000.00     MRI
S-1/F            Amy Daugherty              South Atlanta MUA Center                   25103                  $        7,755.00 $          9,306.00   $   31,020.00      PM
S-1/F            Kumar Law Firm             Stat Diagnostics                           25139                  $        1,200.00 $          1,440.00   $    7,450.00     MRI
S-1/F            Charles E (Ted) Lake Jr.   (AHI) American Health Imaging              24953                  $          650.00 $            780.00   $    2,370.00     MRI
S-1/F            Charles E (Ted) Lake Jr.   (AHI) American Health Imaging              24955                  $          650.00 $            780.00   $    2,225.00     MRI
S-1/F            Charles E (Ted) Lake Jr.   (AHI) American Health Imaging              24954                  $        1,300.00 $          1,560.00   $    4,310.00     MRI
S-1/F            Kumar Law Firm             Stat Diagnostics                           25140                  $        1,200.00 $          1,440.00   $    7,450.00     MRI
S-1/F            Christopher J. Leavitt     Stat Diagnostics                           25141                  $          600.00 $            720.00   $    4,500.00     MRI
S-1/F            Charles E (Ted) Lake Jr.   Perimeter Orthopaedics PC                  24872                  $          392.86 $            471.43   $      982.15       PI
S-1/F            Trisha Starks              BENCHMARK PHYSICAL THERAPY                 24957                  $          140.52 $            168.62   $      401.50       PI
S-1/F            Trisha Starks              BENCHMARK PHYSICAL THERAPY                 24977                  $          140.52 $            168.62   $      401.50       PI
S-1/F            Trisha Starks              BENCHMARK PHYSICAL THERAPY                 24978                  $          140.52 $            168.62   $      401.50       PI
S-1/F            Trisha Starks              BENCHMARK PHYSICAL THERAPY                 24956                  $          201.08 $            241.30   $      574.50       PI
S-1/F            Zachary Nelson             Safeway Psychological Services             24796                  $          110.00 $            132.00   $      275.00       PI
S-1/F            Carlos Hughes              Stat Diagnostics                           25142                  $          600.00 $            720.00   $    4,500.00     MRI
S-1/F            Kumar Law Firm             Stat Diagnostics                           25143                  $          600.00 $            720.00   $    4,500.00     MRI
S-1/F            Ronald Chalker             BENCHMARK PHYSICAL THERAPY                 24958                  $          115.85 $            139.02   $      331.00       PI
S-1/F            Ronald Chalker             BENCHMARK PHYSICAL THERAPY                 25086                  $          126.52 $            151.82   $      361.50       PI
S-1/F            Ronald Chalker             BENCHMARK PHYSICAL THERAPY                 25087                  $          126.52 $            151.82   $      361.50       PI
S-1/F            Ronald Chalker             BENCHMARK PHYSICAL THERAPY                 25088                  $          126.52 $            151.82   $      361.50       PI
S-1/F            Ronald Chalker             BENCHMARK PHYSICAL THERAPY                 25085                  $          154.88 $            185.86   $      442.50       PI
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                                                                                                                              Receivables                              Funding
Intake   ClaimId Lawyer                   Provider                                       BillId     Date Paid       Purchase Price              Cost   GFB Amount        Type
S-1/F            Ronald Chalker           BENCHMARK PHYSICAL THERAPY                     25089                  $          154.88 $           185.86   $      442.50       PI
S-1/F            Ronald Chalker           Legacy Brain & Spine                           25084                  $          310.00 $           372.00   $      775.00       PI
S-1/F            Samuel Johnson           Perimeter Orthopaedics PC                      24852                  $        2,025.62 $         2,430.74   $    5,064.05       PI
S-1/F            Samuel Johnson           Perimeter Orthopaedics PC                      24854                  $        2,753.22 $         3,303.86   $    6,883.05       PI
S-1/F            Samuel Johnson           Perimeter Orthopaedics PC                      24853                  $        3,906.20 $         4,687.44   $   20,332.90       PI
S-1/F            Ronald Chalker           Atlas Orthopaedics;Duncan Wells MD             24950                  $          320.69 $           384.83   $      801.72       PI
S-1/F            The NMW Law Firm         Preva Advanced Surgicare - The Woodlands LLC   24800                  $          154.00 $           184.80   $      700.00      PM
S-1/F            The NMW Law Firm         Preva Advanced Surgicare - The Woodlands LLC   24801                  $          221.94 $           266.33   $    1,008.81      PM
S-1/F            The NMW Law Firm         Preva Advanced Surgicare - The Woodlands LLC   24802                  $        1,548.79 $         1,858.55   $    7,039.96      PM
S-1/F            Ronald Chalker           Athens Orthopedic Clinic                       24859                  $          104.80 $           125.76   $      262.00       PI
S-1/F            Ronald Chalker           Athens Orthopedic Clinic                       24857                  $          139.30 $           167.16   $      348.25       PI
S-1/F            Hilda L. Sibrian         Stat Diagnostics                               25144                  $        3,000.00 $         3,600.00   $   19,400.00     MRI
S-1/F            The NMW Law Firm         Preva Advanced Surgicare - The Woodlands LLC   24833                  $          154.00 $           184.80   $      700.00      PM
S-1/F            The NMW Law Firm         Preva Advanced Surgicare - The Woodlands LLC   24837                  $          221.94 $           266.33   $    1,008.81      PM
S-1/F            The NMW Law Firm         Preva Advanced Surgicare - The Woodlands LLC   24838                  $        1,548.79 $         1,858.55   $    7,039.96      PM
S-1/F            Reginald A Greene        Pain Management Specialists of Atlanta PC      24860                  $           87.75 $           105.30   $      195.00      PM
S-1/F            Leo & Oginni             Stat Diagnostics                               25145                  $          600.00 $           720.00   $    4,500.00     MRI
S-1/F            Brian E. White           Stat Diagnostics                               25146                  $        1,800.00 $         2,160.00   $   11,950.00     MRI
S-1/F            Matthew R. Birdwell      Preva Advanced Surgicare - The Woodlands LLC   24839                  $          285.33 $           342.40   $    1,296.95      PM
S-1/F            Matthew R. Birdwell      Preva Advanced Surgicare - The Woodlands LLC   24840                  $        1,427.64 $         1,713.17   $    6,489.28      PM
S-1/F            Joel Roth                Non-Surgical Orthopaedics PC                   24791                  $          284.00 $           340.80   $      710.00      PM
S-1/F            Joel Roth                Non-Surgical Orthopaedics PC                   25090                  $          208.00 $           249.60   $      520.00      PM
S-1/F            Joel Roth                Non-Surgical Orthopaedics PC                   24792                  $          284.00 $           340.80   $      710.00      PM
S-1/F            Joseph D. Terry          Stat Diagnostics                               25147                  $        1,200.00 $         1,440.00   $    9,000.00     MRI
S-1/F            K Douglas Cook           MD Pain Care PC                                25020                  $           80.00 $            96.00   $      200.00      PM
S-1/F            K Douglas Cook           MD Pain Care PC                                25021                  $          140.00 $           168.00   $      350.00      PM
S-1/F            K Douglas Cook           MD Pain Care PC                                25022                  $           80.00 $            96.00   $      200.00      PM
S-1/F            K Douglas Cook           MD Pain Care PC                                25079                  $           80.00 $            96.00   $      200.00      PM
S-1/F            K Douglas Cook           MD Pain Care PC                                25080                  $          100.00 $           120.00   $      250.00      PM
S-1/F            Hilda L. Sibrian         Stat Diagnostics                               25156                  $        1,800.00 $         2,160.00   $   10,400.00     MRI
S-1/F            Kumar Law Firm           Stat Diagnostics                               25157                  $          600.00 $           720.00   $    2,950.00     MRI
S-1/F            Adame & Garza            Stat Diagnostics                               25158                  $        1,200.00 $         1,440.00   $    9,000.00     MRI
S-1/F            Kumar Law Firm           Stat Diagnostics                               25155                  $        1,200.00 $         1,440.00   $    9,000.00     MRI
S-1/F            Natanya Brooks           Peachtree Orthopaedic Clinic                   24834                  $          179.10 $           214.92   $      398.00      PM
S-1/F            Natanya Brooks           Peachtree Orthopaedic Clinic                   24835                  $          322.50 $           387.00   $      645.00      PM
S-1/F            Natanya Brooks           Peachtree Orthopaedic Clinic                   24836                  $          525.70 $           630.84   $    1,166.00      PM
S-1/F            J. Kyle Beale            Stat Diagnostics                               25159                  $          600.00 $           720.00   $    4,500.00     MRI
S-1/F            Christopher J. Leavitt   Stat Diagnostics                               25160                  $          600.00 $           720.00   $    4,500.00     MRI
S-1/F            Reginald A Greene        Non-Surgical Orthopaedics PC                   24951                  $          284.00 $           340.80   $      710.00      PM
S-1/F            Andrew Kumar             Stat Diagnostics                               25162                  $          600.00 $           720.00   $    4,500.00     MRI
S-1/F            Andrew Kumar             Stat Diagnostics                               25161                  $        1,200.00 $         1,440.00   $    7,450.00     MRI
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List of Receivables for Series-1/Intake F (Batch 6, 7 & 8)
                                                                                                                                Receivables                               Funding
Intake   ClaimId Lawyer                     Provider                                       BillId     Date Paid       Purchase Price               Cost   GFB Amount        Type
S-1/F            Reginald A Greene          (AHI) American Health Imaging                  25029                  $          318.00 $            381.60   $      795.00     MRI
S-1/F            William L. Swank II        BENCHMARK PHYSICAL THERAPY                     25096                  $          126.00 $            151.20   $      360.00       PI
S-1/F            William L. Swank II        BENCHMARK PHYSICAL THERAPY                     25097                  $          126.00 $            151.20   $      360.00       PI
S-1/F            William L. Swank II        BENCHMARK PHYSICAL THERAPY                     25092                  $          126.52 $            151.82   $      361.50       PI
S-1/F            William L. Swank II        BENCHMARK PHYSICAL THERAPY                     24959                  $          150.68 $            180.82   $      430.50       PI
S-1/F            William L. Swank II        BENCHMARK PHYSICAL THERAPY                     25093                  $          150.68 $            180.82   $      430.50       PI
S-1/F            William L. Swank II        BENCHMARK PHYSICAL THERAPY                     25094                  $          150.68 $            180.82   $      430.50       PI
S-1/F            William L. Swank II        BENCHMARK PHYSICAL THERAPY                     25095                  $          150.68 $            180.82   $      430.50       PI
S-1/F            Natanya Brooks             Safeway Psychological Services                 25152                  $          220.00 $            264.00   $      550.00       PI
S-1/F            Natanya Brooks             Safeway Psychological Services                 25153                  $          292.00 $            350.40   $      730.00       PI
S-1/F            Kumar Law Firm             Stat Diagnostics                               25163                  $          600.00 $            720.00   $    4,500.00     MRI
S-1/F            Hilda L. Sibrian           Stat Diagnostics                               25165                  $        1,800.00 $          2,160.00   $   10,550.00     MRI
S-1/F            Hilda L. Sibrian           Stat Diagnostics                               25166                  $        2,400.00 $          2,880.00   $   11,800.00     MRI
S-1/F            Sean O'Rourke              Stat Diagnostics                               25164                  $        1,800.00 $          2,160.00   $   11,950.00     MRI
S-1/F            Joseph K. Plumbar          Stat Diagnostics                               25167                  $          600.00 $            720.00   $    2,950.00     MRI
S-1/F            John Leslie                Non-Surgical Orthopaedics PC                   25028                  $          208.00 $            249.60   $      520.00      PM
S-1/F            E. Nadia Sifuentes         Preva Advanced Surgicare - The Woodlands LLC   24843                  $        2,097.35 $          2,516.82   $    9,533.41      PM
S-1/F            Hector L. Sandoval         Stat Diagnostics                               25168                  $        1,800.00 $          2,160.00   $   11,950.00     MRI
S-1/F            Gordon Remmen              Non-Surgical Orthopaedics PC                   25205                  $          720.00 $            864.00   $    1,800.00     MRI
S-1/F            Gordon Remmen              (AHI) American Health Imaging                  25206                  $        1,950.00 $          2,340.00   $    6,820.00      PM
S-1/F            Hector L. Sandoval         Stat Diagnostics                               25169                  $          600.00 $            720.00   $    4,500.00     MRI
S-1/F            Jenaye Peterson            Family Dental Solutions                        24863                  $          771.60 $            925.92   $    1,929.00       PI
S-1/F            Matthew R. Birdwell        Stat Diagnostics                               24928                  $        2,812.35 $          3,374.82   $   12,783.41     MRI
S-1/F            Christopher J. Leavitt     Stat Diagnostics                               25170                  $          600.00 $            720.00   $    4,875.00     MRI
S-1/F            Madeleine Simmons          South Atlanta MUA Center                       24858                  $       29,640.00 $         35,568.00   $ 118,560.00       PM
S-1/F            Charles E (Ted) Lake Jr.   (AHI) American Health Imaging                  24855                  $          650.00 $            780.00   $    2,225.00     MRI
S-1/F            Kumar Law Firm             Stat Diagnostics                               25171                  $        1,800.00 $          2,160.00   $   11,950.00     MRI
S-1/F            CORY HILTON                Durango Outpatient Surgery Center              25151                  $        5,834.85 $          7,001.82   $   16,671.00       PI
S-1/F            Holly Salimi               BENCHMARK PHYSICAL THERAPY                     24966                  $           24.15 $             28.98   $       69.00       PI
S-1/F            Holly Salimi               BENCHMARK PHYSICAL THERAPY                     24968                  $           24.15 $             28.98   $       69.00       PI
S-1/F            Holly Salimi               BENCHMARK PHYSICAL THERAPY                     24970                  $           24.15 $             28.98   $       69.00       PI
S-1/F            Holly Salimi               BENCHMARK PHYSICAL THERAPY                     25023                  $           24.15 $             28.98   $       69.00       PI
S-1/F            Holly Salimi               BENCHMARK PHYSICAL THERAPY                     24971                  $          135.98 $            163.18   $      388.50       PI
S-1/F            Holly Salimi               BENCHMARK PHYSICAL THERAPY                     24965                  $          194.78 $            233.74   $      556.50       PI
S-1/F            Holly Salimi               BENCHMARK PHYSICAL THERAPY                     24967                  $          194.78 $            233.74   $      556.50       PI
S-1/F            Holly Salimi               BENCHMARK PHYSICAL THERAPY                     24969                  $          194.78 $            233.74   $      556.50       PI
S-1/F            Holly Salimi               BENCHMARK PHYSICAL THERAPY                     24972                  $          213.15 $            255.78   $      609.00       PI
S-1/F            Holly Salimi               BENCHMARK PHYSICAL THERAPY                     24964                  $          236.25 $            283.50   $      675.00       PI
S-1/F            Nicholas M. Wills          Preva Advanced Surgicare - The Woodlands LLC   24936                  $          154.00 $            184.80   $      700.00      PM
S-1/F            Nicholas M. Wills          Preva Advanced Surgicare - The Woodlands LLC   24938                  $          221.94 $            266.33   $    1,008.81      PM
S-1/F            Nicholas M. Wills          Preva Advanced Surgicare - The Woodlands LLC   24937                  $        1,548.79 $          1,858.55   $    7,039.96      PM
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake F (Batch 6, 7 & 8)
                                                                                                                               Receivables                              Funding
Intake   ClaimId Lawyer                    Provider                                       BillId     Date Paid       Purchase Price              Cost   GFB Amount        Type
S-1/F            Jason Holladay            Preva Advanced Surgicare - The Woodlands LLC   24845                  $          154.00 $           184.80   $      700.00      PM
S-1/F            Jason Holladay            Preva Advanced Surgicare - The Woodlands LLC   24846                  $          432.23 $           518.68   $    1,964.70      PM
S-1/F            Jason Holladay            Preva Advanced Surgicare - The Woodlands LLC   24847                  $        2,812.35 $         3,374.82   $   12,783.41      PM
S-1/F            Adame & Garza             Stat Diagnostics                               25203                  $          600.00 $           720.00   $    2,950.00     MRI
S-1/F            Adame & Garza             Stat Diagnostics                               25204                  $          600.00 $           720.00   $    4,500.00     MRI
S-1/F            Bergquist Law Firm        Preva Advanced Surgicare - The Woodlands LLC   24941                  $        2,812.35 $         3,374.82   $   12,783.41      PM
S-1/F            Adame & Garza             Stat Diagnostics                               25172                  $        1,200.00 $         1,440.00   $    7,450.00     MRI
S-1/F            Matthew Broun             Non-Surgical Orthopaedics PC                   25091                  $          168.00 $           201.60   $      420.00      PM
S-1/F            Stewart J. Guss           Preva Advanced Surgicare - The Woodlands LLC   24942                  $        2,131.89 $         2,558.27   $    9,690.41      PM
S-1/F            Zachary Nelson            Peachtree Orthopaedic Clinic                   24864                  $           31.05 $            37.26   $       69.00       PI
S-1/F            Zachary Nelson            Georgia Eye Physicians & Surgeons              25083                  $          262.80 $           315.36   $      657.00      PM
S-1/F            Zachary Nelson            Peachtree Orthopaedic Clinic                   24865                  $          520.65 $           624.78   $    1,141.00      PM
S-1/F            Zachary Nelson            Peachtree Orthopaedic Clinic                   24867                  $          699.60 $           839.52   $    3,948.00      PM
S-1/F            Zachary Nelson            Peachtree Orthopaedic Clinic                   24866                  $        1,106.10 $         1,327.32   $    2,458.00      PM
S-1/F            Zachary Nelson            Peachtree Orthopaedic Clinic                   24868                  $        1,574.10 $         1,888.92   $    3,948.00      PM
S-1/F            Zachary Nelson            Peachtree Orthopaedic Clinic                   25082                  $          753.75 $           904.50   $    1,675.00      PM
S-1/F            Katie Hingerty Barodin    Kevin Hicks DO                                 25081                  $          240.00 $           288.00   $      240.00       PI
S-1/F            Adame & Garza             Stat Diagnostics                               25173                  $        1,200.00 $         1,440.00   $    9,000.00     MRI
S-1/F            Michael Lonati            Non-Surgical Orthopaedics PC                   25099                  $          208.00 $           249.60   $      520.00     MRI
S-1/F            Michael Lonati            Non-Surgical Orthopaedics PC                   25098                  $          548.00 $           657.60   $    1,370.00     MRI
S-1/F            Michael Lonati            (AHI) American Health Imaging                  25100                  $        1,300.00 $         1,560.00   $    4,450.00      PM
S-1/F            Michael Lonati            (AHI) American Health Imaging                  25101                  $        1,300.00 $         1,560.00   $    4,450.00      PM
S-1/F            Bret Griffin              Stat Diagnostics                               25174                  $        1,200.00 $         1,440.00   $    9,000.00     MRI
S-1/F            Craig Miller              ENT of Georgia LLC                             24856                  $          117.31 $           140.77   $      293.28       PI
S-1/F            Bret Griffin              Stat Diagnostics                               25175                  $          600.00 $           720.00   $    4,500.00     MRI
S-1/F            Kumar Law Firm            Stat Diagnostics                               25177                  $          600.00 $           720.00   $    4,500.00     MRI
S-1/F            Lozano Law Offices P.C.   Stat Diagnostics                               25176                  $        1,800.00 $         2,160.00   $   11,950.00     MRI
S-1/F            Adame & Garza             Stat Diagnostics                               25178                  $        1,200.00 $         1,440.00   $    9,000.00     MRI
S-1/F            Michael Lonati            BENCHMARK PHYSICAL THERAPY                     25127                  $          131.25 $           157.50   $      375.00       PI
S-1/F            Michael Lonati            BENCHMARK PHYSICAL THERAPY                     25128                  $          131.25 $           157.50   $      375.00       PI
S-1/F            Michael Lonati            BENCHMARK PHYSICAL THERAPY                     25129                  $          131.25 $           157.50   $      375.00       PI
S-1/F            Michael Lonati            BENCHMARK PHYSICAL THERAPY                     25126                  $          225.75 $           270.90   $      645.00       PI
S-1/F            Michael Lonati            Non-Surgical Orthopaedics PC                   25125                  $          588.00 $           705.60   $    1,470.00      PM
S-1/F            Kumar Law Firm            Stat Diagnostics                               25179                  $          600.00 $           720.00   $    4,500.00     MRI
S-1/F            Kumar Law Firm            Stat Diagnostics                               25180                  $        1,800.00 $         2,160.00   $   11,950.00     MRI
S-1/F            Adam J. Rosenfeld         Stat Diagnostics                               25181                  $          600.00 $           720.00   $    4,500.00     MRI
S-1/F            Jonathan Wade             BENCHMARK PHYSICAL THERAPY                     24962                  $          111.65 $           133.98   $      319.00       PI
S-1/F            Jonathan Wade             BENCHMARK PHYSICAL THERAPY                     24961                  $          121.80 $           146.16   $      348.00       PI
S-1/F            Jonathan Wade             BENCHMARK PHYSICAL THERAPY                     24975                  $          126.00 $           151.20   $      360.00       PI
S-1/F            Jonathan Wade             BENCHMARK PHYSICAL THERAPY                     24976                  $          126.00 $           151.20   $      360.00       PI
S-1/F            Jonathan Wade             BENCHMARK PHYSICAL THERAPY                     24960                  $          126.52 $           151.82   $      361.50       PI
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake F (Batch 6, 7 & 8)
                                                                                                                          Receivables                              Funding
Intake   ClaimId Lawyer               Provider                                       BillId     Date Paid       Purchase Price              Cost   GFB Amount        Type
S-1/F            Jonathan Wade        BENCHMARK PHYSICAL THERAPY                     25031                  $          126.52 $           151.82   $      361.50       PI
S-1/F            Jonathan Wade        BENCHMARK PHYSICAL THERAPY                     24973                  $          150.50 $           180.60   $      430.50       PI
S-1/F            Jonathan Wade        BENCHMARK PHYSICAL THERAPY                     25030                  $          150.68 $           180.82   $      430.50       PI
S-1/F            Jonathan Wade        Legacy Brain & Spine                           25034                  $          157.50 $           189.00   $      450.00       PI
S-1/F            Jonathan Wade        Legacy Brain & Spine                           25037                  $          180.00 $           216.00   $      450.00       PI
S-1/F            Jonathan Wade        Legacy Brain & Spine                           25035                  $          220.00 $           264.00   $      550.00       PI
S-1/F            Ronald Chalker       Family Dental Solutions                        25122                  $          140.00 $           168.00   $      350.00       PI
S-1/F            Ronald Chalker       Family Dental Solutions                        25148                  $          434.80 $           521.76   $    1,087.00       PI
S-1/F            Marc J. Shuman       Stat Diagnostics                               25182                  $        1,800.00 $         2,160.00   $   11,950.00     MRI
S-1/F            Hilda L. Sibrian     Stat Diagnostics                               25184                  $        1,800.00 $         2,160.00   $   10,400.00     MRI
S-1/F            Salazar Velazquez    Stat Diagnostics                               25183                  $        1,200.00 $         1,440.00   $    9,000.00     MRI
S-1/F            Salazar Velazquez    Stat Diagnostics                               25185                  $          600.00 $           720.00   $    4,500.00     MRI
S-1/F            Joseph D. Terry      Stat Diagnostics                               25186                  $        1,200.00 $         1,440.00   $    9,000.00     MRI
S-1/F            Zachary Nelson       ENT of Georgia LLC                             24952                  $          353.02 $           423.62   $      882.56       PI
S-1/F            CORY HILTON          Durango Outpatient Surgery Center              25150                  $        5,834.85 $         7,001.82   $   16,671.00       PI
S-1/F            Farrah Martinez      Stat Diagnostics                               25187                  $        1,200.00 $         1,440.00   $    9,000.00     MRI
S-1/F            Adame & Garza        Stat Diagnostics                               25188                  $          600.00 $           720.00   $    2,950.00     MRI
S-1/F            Richard Kopelman     Non-Surgical Orthopaedics PC                   25112                  $          740.00 $           888.00   $    1,850.00     MRI
S-1/F            Richard Kopelman     (AHI) American Health Imaging                  25114                  $          402.00 $           482.40   $    1,005.00     MRI
S-1/F            Richard Kopelman     (AHI) American Health Imaging                  25116                  $          402.00 $           482.40   $    1,005.00     MRI
S-1/F            Richard Kopelman     (AHI) American Health Imaging                  25119                  $          381.60 $           457.92   $      954.00      PM
S-1/F            The NMW Law Firm     Preva Advanced Surgicare - The Woodlands LLC   24793                  $          154.00 $           184.80   $      700.00      PM
S-1/F            The NMW Law Firm     Preva Advanced Surgicare - The Woodlands LLC   24794                  $          827.48 $           992.98   $    3,761.28      PM
S-1/F            The NMW Law Firm     Preva Advanced Surgicare - The Woodlands LLC   24795                  $        6,371.38 $         7,645.66   $   28,960.80      PM
S-1/F            Tammy D. Harris      Stat Diagnostics                               25189                  $        1,200.00 $         1,440.00   $    9,000.00     MRI
S-1/F            Mokaram Law Firm     Stat Diagnostics                               25190                  $        1,200.00 $         1,440.00   $    9,000.00     MRI
S-1/F            Trisha Starks        Non-Surgical Orthopaedics PC                   24949                  $          476.00 $           571.20   $    1,190.00      PM
S-1/F            Jennifer Dunlap      South Atlanta MUA Center                       24980                  $        4,729.75 $         5,675.70   $   18,919.00      PM
S-1/F            Nicholas M. Wills    Preva Advanced Surgicare - The Woodlands LLC   24849                  $          154.00 $           184.80   $      700.00      PM
S-1/F            Nicholas M. Wills    Preva Advanced Surgicare - The Woodlands LLC   24850                  $          221.94 $           266.33   $    1,008.81      PM
S-1/F            Smith & Hassler      Preva Advanced Surgicare - The Woodlands LLC   24851                  $        1,416.89 $         1,700.27   $    6,440.41      PM
S-1/F            Hector L. Sandoval   Stat Diagnostics                               25191                  $        1,200.00 $         1,440.00   $    9,000.00     MRI
S-1/F            Kumar Law Firm       Stat Diagnostics                               25192                  $        1,800.00 $         2,160.00   $   11,950.00     MRI
S-1/F            Anjali Sharma        Stat Diagnostics                               25193                  $        1,800.00 $         2,160.00   $   11,950.00     MRI
S-1/F            Stewart J. Guss      Preva Advanced Surgicare - The Woodlands LLC   24797                  $        2,396.28 $         2,875.54   $   10,892.20      PM
S-1/F            Abraham Watkins Nichols
                                      Preva
                                         Sorrels
                                             Advanced
                                                 AgostoSurgicare
                                                        & Aziz - The Woodlands LLC   24798                  $        6,371.38 $         7,645.66   $   28,960.80      PM
S-1/F            Kumar Law Firm       Stat Diagnostics                               25194                  $        1,200.00 $         1,440.00   $    7,450.00     MRI
S-1/F            Adame & Garza        Stat Diagnostics                               25195                  $          600.00 $           720.00   $    2,950.00     MRI
S-1/F            Ali Salimi           Georgia Pain and Spine Solutions               24963                  $          333.72 $           400.46   $      834.30      PM
S-1/F            Paul Valdivieso      Stat Diagnostics                               25196                  $          600.00 $           720.00   $    2,950.00     MRI
S-1/F            Davis Bozeman        Mariposa Medical Associates                    25019                  $          115.15 $           138.18   $      329.00       PI
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake F (Batch 6, 7 & 8)
                                                                                                                             Receivables                              Funding
Intake   ClaimId Lawyer                  Provider                                       BillId     Date Paid       Purchase Price              Cost   GFB Amount        Type
S-1/F            Kumar Law Firm          Stat Diagnostics                               25197                  $          600.00 $           720.00   $    3,100.00     MRI
S-1/F            Thomas F. Bickham Jr.   Preva Advanced Surgicare - The Woodlands LLC   24799                  $        2,812.35 $         3,374.82   $   12,783.41      PM
S-1/F            Adame & Garza           Stat Diagnostics                               25200                  $        1,800.00 $         2,160.00   $   11,950.00     MRI
S-1/F            John Zaid               Stat Diagnostics                               25198                  $          600.00 $           720.00   $    4,500.00     MRI
S-1/F            W. Clark Martin IV      Stat Diagnostics                               25199                  $        1,200.00 $         1,440.00   $    9,000.00     MRI
S-1/F            R. Todd Elias           Stat Diagnostics                               25201                  $        1,200.00 $         1,440.00   $    9,000.00     MRI
S-1/F            Natanya Brooks          Non-Surgical Orthopaedics PC                   25027                  $          812.00 $           974.40   $    2,030.00      PM
S-1/F            Rodney Merwin           Stat Diagnostics                               25202                  $        1,200.00 $         1,440.00   $    9,000.00     MRI
S-1/F            Keith Foster            Peachtree Orthopaedic Clinic                   24842                  $           60.00 $            72.00   $      120.00      PM
S-1/F            Keith Foster            Peachtree Orthopaedic Clinic                   24841                  $        1,164.00 $         1,396.80   $    2,580.00      PM
S-1/F            Keith Foster            Peachtree Orthopaedic Surgery Center           25025                  $        4,095.00 $         4,914.00   $    9,100.00      PM
S-1/F            Keith Foster            Peachtree Orthopaedic Clinic                   25154                  $        3,733.20 $         4,479.84   $    8,296.00       PI
S-1/F            CORY HILTON             Durango Outpatient Surgery Center              25149                  $        4,052.65 $         4,863.18   $   11,579.00       PI
S-1/F            Nathan Fitzpatrick      Perimeter Orthopaedics PC                      25272                  $          216.38 $           259.66   $      540.95       PI
S-1/F            Steven Leibel           (AHI) American Health Imaging                  25217                  $        1,300.00 $         1,560.00   $    4,595.00     MRI
S-1/F            Steven Leibel           (AHI) American Health Imaging                  25216                  $          650.00 $           780.00   $    2,225.00     MRI
S-1/F            Steven Leibel           BENCHMARK PHYSICAL THERAPY                     25266                  $           98.18 $           117.82   $      280.50       PI
S-1/F            Steven Leibel           BENCHMARK PHYSICAL THERAPY                     25215                  $          122.85 $           147.42   $      351.00       PI
S-1/F            Steven Leibel           BENCHMARK PHYSICAL THERAPY                     25214                  $          122.85 $           147.42   $      351.00       PI
S-1/F            Steven Leibel           BENCHMARK PHYSICAL THERAPY                     25213                  $           78.75 $            94.50   $      225.00       PI
S-1/F            Steven Leibel           BENCHMARK PHYSICAL THERAPY                     25212                  $          176.40 $           211.68   $      504.00       PI
S-1/F            Steven Leibel           Specialty Orthopaedics PC                      25211                  $          452.80 $           543.36   $    1,181.00       PI
S-1/F            Sean McEvoy             Safeway Psychological Services                 25267                  $          220.00 $           264.00   $      550.00       PI
S-1/F            Peter Angulo            Durango Outpatient Surgery Center              25264                  $        5,834.85 $         7,001.82   $   16,671.00       PI
S-1/F            Peter Ross              Polaris Spine & Neurosurgery Center            25281                  $          396.00 $           475.20   $      990.00       PI
S-1/F            Ronald Chalker          BENCHMARK PHYSICAL THERAPY                     25274                  $          102.38 $           122.86   $      292.50       PI
S-1/F            Ronald Chalker          BENCHMARK PHYSICAL THERAPY                     25273                  $           98.70 $           118.44   $      282.00       PI
S-1/F            W. Winston Briggs       Georgia Pain and Spine Solutions               25270                  $          333.72 $           400.46   $      834.30      PM
S-1/F            Peter Ross              GA Pain Management Center LLC                  25261                  $        6,525.90 $         7,831.08   $   14,502.00      PM
S-1/F            Peter Ross              GA Pain Management Center LLC                  25260                  $        6,525.90 $         7,831.08   $   14,502.00      PM
S-1/F            Peter Ross              Pain Management Specialists of Atlanta PC      25263                  $        1,589.40 $         1,907.28   $    3,532.00      PM
S-1/F            Peter Ross              Pain Management Specialists of Atlanta PC      25262                  $        1,575.00 $         1,890.00   $    3,500.00      PM
S-1/F            David Bence             South Atlanta MUA Center                       25209                  $        1,004.00 $         1,204.80   $    2,868.57      PM
S-1/F            David Bence             South Atlanta MUA Center                       25208                  $        1,001.01 $         1,201.21   $    2,860.02      PM
S-1/F            Aj Mitchell             Georgia Eye Physicians & Surgeons              25265                  $          397.20 $           476.64   $      993.00       PI
S-1/F            Jonathan Wade           Family Dental Solutions                        25275                  $          140.00 $           168.00   $      350.00       PI
S-1/F            Jonathan Wade           Peachtree Orthopaedic Clinic                   25277                  $          657.05 $           788.46   $    1,447.00      PM
S-1/F            Jonathan Wade           Peachtree Orthopaedic Clinic                   25276                  $           36.00 $            43.20   $       72.00      PM
S-1/F            Richard Kopelman        Non-Surgical Orthopaedics PC                   25257                  $          284.00 $           340.80   $      710.00      PM
S-1/F            Stephen A. Shea         Pain Management Specialists of Atlanta PC      25271                  $           58.50 $            70.20   $      130.00      PM
S-1/F            Casey Geiger            Legacy Brain & Spine                           25280                  $          180.00 $           216.00   $      450.00       PI
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake F (Batch 6, 7 & 8)
                                                                                                                                           Receivables                                       Funding
Intake   ClaimId Lawyer                     Provider                                             BillId      Date Paid           Purchase Price                     Cost    GFB Amount         Type
S-1/F            Casey Geiger               Legacy Brain & Spine                                 25279                      $           220.00 $                  264.00    $      550.00        PI
S-1/F            Casey Geiger               Legacy Brain & Spine                                 25278                      $         1,580.00 $                1,896.00    $    3,950.00        PI
S-1/F            Zachary Nelson             Northside Hospital                                   25268                      $           652.40 $                  782.88    $    1,631.00        PI
S-1/F            Jennifer Dunlap            South Atlanta MUA Center                             25210                      $         5,560.00 $                6,672.00    $   22,240.00       PM
                                                                                                                             $       400,852.58 $            481,023.10     $ 1,671,274.81


****     This List of Receivables supporting Series 1-Intake F in the amount of US$1,671,274.81 is in good order as Forget-the-Market Ltd has performed the following:

         a. Review of the invoice supporting each line item on List of Receivables confirming list accuracy including the invoice amount.

         b. Collected and reviewed (via Sharing Link) the lien for each line item on the List of Receivables. Any missing liens are noted on the List of Receivables with
         an explanation as to why.

         c. Confirmed that the value of purchased receivables respecting the listed invoices equals 347.44% of the purchased total of $481,023.10.


         William B Dalzell
         CFO, Forget-the-Market Limited
         Co-Manager for Tecumseh-Infinity MR Fund
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                         EXHIBIT D-7
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                                                                            RECEIVABLES
                                                                          PURCHASE ORDER

                                                                         PO #: 1-RO-9-16



 TECUMSEH – Infinity Medical Receivables Fund, LP
 DATE: 30 September 2020


To: Infinity Capital Management


Reference: Series #1 – Roll Over Funding

        Qty. - USD                                            Description
                              STANDING PURCHASE ORDER for September 2020

          46,291.50           Medical receivables to be purchased using rolled over funds



             9258.30          Acquisition/Service fees




         $55,549.80           TOTAL




 Signature
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Roll Over G

                                                                                                                                                              Receivables
        Lawyer                                                 Provider                                               BillId    Date Paid          Purchase Price               Cost    GFB Amount

R/O-1   David W. Bergquist                                     Preva Advanced Surgicare - The Woodlands LLC          25334      9/18/2020      $        3,019.98   $         3,623.98   $   13,727.20
R/O-1   David W. Bergquist                                     Preva Advanced Surgicare - The Woodlands LLC          25335      9/18/2020      $        5,786.97   $         6,944.36   $   26,304.40
R/O-1   David W. Bergquist                                     Preva Advanced Surgicare - The Woodlands LLC          25336      9/18/2020      $        2,812.35   $         3,374.82   $   12,783.41
R/O-1   R. James Amaro                                         Preva Advanced Surgicare - The Woodlands LLC          25337      9/18/2020      $        6,371.38   $         7,645.65   $   28,960.80
R/O-1   David R. Feldman                                       Preva Advanced Surgicare - The Woodlands LLC          25338      9/18/2020      $        2,396.28   $         2,875.54   $   10,892.20
R/O-1   Ronald Braswell                                        Preva Advanced Surgicare - The Woodlands LLC          25355      9/18/2020      $        3,852.85   $         4,623.42   $   17,512.96
R/O-1   Kyle M. Wilkins                                        Preva Advanced Surgicare - The Woodlands LLC          25356      9/18/2020      $        4,077.57   $         4,893.08   $   18,534.40
R/O-1   Stewart J. Guss                                        Preva Advanced Surgicare - The Woodlands LLC          25357      9/18/2020      $        2,396.28   $         2,875.54   $   10,892.20
R/O-1   Stewart J. Guss                                        Preva Advanced Surgicare - The Woodlands LLC          25358      9/18/2020      $        2,396.28   $         2,875.54   $   10,892.20
R/O-1   Stewart J. Guss                                        Preva Advanced Surgicare - The Woodlands LLC          25359      9/18/2020      $        2,396.28   $         2,875.54   $   10,892.20
R/O-1   Abraham Watkins Nichols Sorrels Agosto & Aziz          Preva Advanced Surgicare - The Woodlands LLC          25360      9/18/2020      $        6,668.73   $         8,002.47   $   30,312.40
R/O-1   Samuel Johnson                                         BENCHMARK PHYSICAL THERAPY                            25347                     $          210.35   $           252.42   $      601.00
R/O-1   Samuel Johnson                                         Perimeter Outpatient Surgical Assoc                   24853                     $        3,906.20   $         4,687.44   $   20,332.90

                                                                                                                                               $       46,291.50 $          55,549.80   $ 212,638.27


****    This List of Receivables supporting Series 1-Roll Over G in the amount of US$212,638.27 is in good order as Forget-the-Market Ltd has performed the following:

        a. Review of the invoice supporting each line item on List of Receivables confirming list accuracy including the invoice amount.

        b. Collected and reviewed (via Sharing Link) the lien for each line item on the List of Receivables. Any missing liens are noted on the List of Receivables with
        an explanation as to why.

        c. Confirmed that the value of purchased receivables respecting the listed invoices equals 382.79% of the purchased total of $55,549.80.


        William B Dalzell
        CFO, Forget-the-Market Limited
        Co-Manager for Tecumseh-Infinity MR Fund
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                         EXHIBIT D-8
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                                                                        RECEIVABLES
                                                                      PURCHASE ORDER

                                                                     PO #: 1-H-10-17



 TECUMSEH – Infinity Medical Receivables Fund, LP
 DATE: 4 October 2020


To: Infinity Capital Management


Reference: Series #1 – Intake H

        Qty. - USD                                           Description
                              Medical receivables to be purchased:

         102,995.66           Batch 10

          21,840.02           Batch 11



          24,967.13           Acquisition/ fees Service




         $149,802.81          TOTAL




 Signature
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake H (Batch 10)
                                                                                                                       Receivables                              Funding
Fund     ClaimId Lawyer                     Provider                                       BillId   Date Paid Purchase Price            Cost    GFB Amount        Type
TIF-01   19777   Jennifer Gore-Cuthbert     Polaris Spine & Neurosurgery Center            25452                $      354.00   $      424.80   $      885.00
TIF-01   19279   Nathan Fitzpatrick         Perimeter Orthopaedics PC                      25476                $      116.40   $      139.68   $      291.00
TIF-01   12133   Peter Ross                 Peachtree Orthopaedic Clinic                   25340    9/25/2020   $      207.90   $      249.48   $      462.00
TIF-01   12133   Peter Ross                 Peachtree Orthopaedic Clinic                   25341    9/25/2020   $      135.90   $      163.08   $      302.00
TIF-01   19528   Amy Daugherty              South Atlanta MUA Center                       25365    9/24/2020   $    8,430.00   $   10,116.00   $   33,720.00             Total Invoice balance is for $64,740 with total charges $33,720
TIF-01   19528   Amy Daugherty              South Atlanta MUA Center                       25389                $    1,001.01   $    1,201.21   $    2,860.02
TIF-01   19528   Amy Daugherty              South Atlanta MUA Center                       25390                $    1,004.00   $    1,204.80   $    2,868.57
TIF-01   19437   Charles E (Ted) Lake Jr.   Orthopaedic Solutions                          25447                $       46.40   $       55.68   $      116.00
TIF-01   19437   Charles E (Ted) Lake Jr.   Orthopaedic Solutions                          25448                $    1,480.00   $    1,776.00   $    3,700.00
TIF-01   19503   Trisha Starks              BENCHMARK PHYSICAL THERAPY                     25391                $      126.52   $      151.82   $      361.50
TIF-01   19503   Trisha Starks              BENCHMARK PHYSICAL THERAPY                     25392                $       86.98   $      104.38   $      248.50
TIF-01    9519   Peter Ross                 Pain Consultants of Atlanta                    25343                $      397.10   $      476.52   $    1,045.00
TIF-01   19765   Michael Moran              Athens Orthopedic Clinic                       25399                $      308.80   $      370.56   $      772.00
TIF-01   19277   Fariba Bayani              (AHI) American Health Imaging                  25472                $      650.00   $      780.00   $    2,225.00
TIF-01   19281   Ronald Chalker             Legacy Brain & Spine                           25349    9/25/2020   $      382.00   $      458.40   $      955.00
TIF-01   19281   Ronald Chalker             Legacy Brain & Spine                           25350    9/25/2020   $      180.00   $      216.00   $      450.00
TIF-01    9321   Samuel Johnson             BENCHMARK PHYSICAL THERAPY                     25347                $      210.35   $      252.42   $      601.00
TIF-01    9321   Samuel Johnson             BENCHMARK PHYSICAL THERAPY                     25348                $      140.52   $      168.62   $      401.50
TIF-01    9321   Samuel Johnson             BENCHMARK PHYSICAL THERAPY                     25467                $      116.38   $      139.66   $      332.50
TIF-01    9321   Samuel Johnson             BENCHMARK PHYSICAL THERAPY                     25468                $      141.05   $      169.26   $      403.00
TIF-01    9321   Samuel Johnson             BENCHMARK PHYSICAL THERAPY                     25469                $      116.38   $      139.66   $      332.50
TIF-01    9321   Samuel Johnson             BENCHMARK PHYSICAL THERAPY                     25470                $      141.05   $      169.26   $      403.00
TIF-01    9321   Samuel Johnson             BENCHMARK PHYSICAL THERAPY                     25471                $      140.52   $      168.62   $      401.50
TIF-01    9321   Samuel Johnson             Perimeter Anesthesia LLC                       25282                $    2,880.00   $    3,456.00   $    7,200.00
TIF-01    9321   Samuel Johnson             Perimeter Outpatient Surgical Assoc            24853                $    3,906.20   $    4,687.44   $   20,332.90
TIF-01   19313   Theodore Berman            South Atlanta MUA Center                       25366    9/24/2020   $   16,281.25   $   19,537.50   $   65,125.00             Total Invoice balance is for $106,045 with total charges $65,125
TIF-01   19771   Caroline Owings            Orthopaedic Solutions                          25445                $      265.60   $      318.72   $      664.00
TIF-01    3611   Jonathan Wade              Perimeter Anesthesia LLC                       25339                $    2,490.40   $    2,988.48   $    6,226.00
TIF-01   19489   Ronald Chalker             Athens Orthopedic Clinic                       25344                $       68.50   $       82.20   $      171.25
TIF-01   19489   Ronald Chalker             Athens Orthopedic Clinic                       25345                $       68.50   $       82.20   $      171.25
TIF-01   19489   Ronald Chalker             Athens Orthopedic Clinic                       25351                $       68.50   $       82.20   $      171.25
TIF-01   19449   David W. Bergquist         Preva Advanced Surgicare - The Woodlands LLC   25334    9/18/2020   $    3,019.98   $    3,623.98   $   13,727.20
TIF-01   19730   David W. Bergquist         Preva Advanced Surgicare - The Woodlands LLC   25335    9/18/2020   $    5,786.97   $    6,944.36   $   26,304.40
TIF-01   19451   David W. Bergquist         Preva Advanced Surgicare - The Woodlands LLC   25336    9/18/2020   $    2,812.35   $    3,374.82   $   12,783.41
TIF-01   19732   R. James Amaro             Preva Advanced Surgicare - The Woodlands LLC   25337    9/18/2020   $    6,371.38   $    7,645.66   $   28,960.80
TIF-01   19773   Jonathan Wade              (AHI) American Health Imaging                  25450                $      650.00   $      780.00   $    2,370.00
TIF-01   19769   Alexander Hoffspiegel      Peachtree Orthopaedic Clinic                   25444                $    1,059.75   $    1,271.70   $    2,355.00
TIF-01   19746   K Douglas Cook             Perimeter Orthopaedics PC                      25364                $      401.72   $      482.06   $    1,004.30
TIF-01   19734   David R. Feldman           Preva Advanced Surgicare - The Woodlands LLC   25338    9/18/2020   $    2,396.28   $    2,875.54   $   10,892.20
TIF-01   19757   Holly Salimi               Safeway Psychological Services                 25388                $      844.00   $    1,012.80   $    2,110.00
TIF-01   19775   Reginald A Greene          (AHI) American Health Imaging                  25451                $      650.00   $      780.00   $    2,225.00
TIF-01   19255   Reginald A Greene          Non-Surgical Orthopaedics PC                   25443                $      208.00   $      249.60   $      520.00
TIF-01   19195   William L. Swank II        BENCHMARK PHYSICAL THERAPY                     25395                $      150.15   $      180.18   $      429.00
TIF-01   19195   William L. Swank II        BENCHMARK PHYSICAL THERAPY                     25462                $      150.15   $      180.18   $      429.00
TIF-01   19195   William L. Swank II        BENCHMARK PHYSICAL THERAPY                     25463                $      150.68   $      180.82   $      430.50
TIF-01   19195   William L. Swank II        BENCHMARK PHYSICAL THERAPY                     25464                $      150.68   $      180.82   $      430.50
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake H (Batch 10)
                                                                                                                             Receivables                                    Funding
Fund     ClaimId   Lawyer                 Provider                                              BillId    Date Paid Purchase Price           Cost         GFB Amount          Type
TIF-01    19195    William L. Swank II    BENCHMARK PHYSICAL THERAPY                            25465                $     150.15 $        180.18         $    429.00
TIF-01    19195    William L. Swank II    Perimeter Orthopaedics PC                             25396                $     113.48 $        136.18         $    283.71
TIF-01    19750    Gordon Remmen          Non-Surgical Orthopaedics PC                          25369                $     628.00 $        753.60         $ 1,570.00
TIF-01    19787    K Douglas Cook         Non-Surgical Orthopaedics PC                          25466                $     284.00 $        340.80         $    710.00
TIF-01    19241    Ronald Chalker         BENCHMARK PHYSICAL THERAPY                            25441                $      97.12 $        116.54         $    277.50
TIF-01    19744    Steven Leibel          (AHI) American Health Imaging                         25361                $     650.00 $        780.00         $ 2,370.00
TIF-01    19748    Reginald A Greene      (AHI) American Health Imaging                         25368                $     650.00 $        780.00         $ 2,370.00
TIF-01    19748    Reginald A Greene      Polaris Spine & Neurosurgery Center                   25367                $     396.00 $        475.20         $    990.00
TIF-01    19761    Ronald Chalker         Specialty Orthopaedics PC                             25394                $     207.20 $        248.64         $    567.00
TIF-01     4771    Bruce Hagen            Georgia Eye Physicians & Surgeons                     25370                $     635.60 $        762.72         $ 1,589.00                  Total is made up of 2 seperate invoices
TIF-01     8930    Craig LaChanse         Kevin Hicks DO                                        25362     9/8/2020 $       240.00 $        288.00         $    240.00
TIF-01    19767    Jarrod Burch           Perimeter Orthopaedics PC                             25400                $     401.72 $        482.06         $ 1,004.30
TIF-01    19763    Bryan Sutlive          Safeway Psychological Services                        25397                $     844.00 $      1,012.80         $ 2,110.00
TIF-01    19763    Bryan Sutlive          Safeway Psychological Services                        25398                $     436.00 $        523.20         $ 1,090.00
TIF-01    19736    Ronald Braswell        Preva Advanced Surgicare - The Woodlands LLC          25355     9/18/2020 $    3,852.85 $      4,623.42         $ 17,512.96
TIF-01    19753    Alfred Evans III       (AHI) American Health Imaging                         25386                $     650.00 $        780.00         $ 2,225.00
TIF-01    18533    Zachary Nelson         Peachtree Orthopaedic Clinic                          25401                $     346.05 $        415.26         $    769.00
TIF-01    18533    Zachary Nelson         Peachtree Orthopaedic Surgery Center                  25342                $   4,813.65 $      5,776.38         $ 10,697.00
TIF-01     9415    Katie Hingerty Barodin Polaris Spine & Neurosurgery Center                   25449                $     154.00 $        184.80         $    385.00
TIF-01    19738    Kyle M. Wilkins        Preva Advanced Surgicare - The Woodlands LLC          25356     9/18/2020 $    4,077.57 $      4,893.08         $ 18,534.40
TIF-01    19740    Stewart J. Guss        Preva Advanced Surgicare - The Woodlands LLC          25357     9/18/2020 $    2,396.28 $      2,875.54         $ 10,892.20
TIF-01    19740    Stewart J. Guss        Preva Advanced Surgicare - The Woodlands LLC          25358     9/18/2020 $    2,396.28 $      2,875.54         $ 10,892.20
TIF-01    19566    Michael Lonati         BENCHMARK PHYSICAL THERAPY                            25352                $     131.25 $        157.50         $    375.00
TIF-01    19566    Michael Lonati         BENCHMARK PHYSICAL THERAPY                            25353                $     131.25 $        157.50         $    375.00
TIF-01    19566    Michael Lonati         Non-Surgical Orthopaedics PC                          25354                $     208.00 $        249.60         $    520.00
TIF-01    19759    Paul Mazur             Family Dental Solutions                               25393                $     166.40 $        199.68         $    416.00
TIF-01     6478    Russell Boston         Legacy Brain & Spine                                  25346     9/25/2020 $      220.00 $        264.00         $    550.00
TIF-01    19501    Zachary Nelson         Family Dental Solutions                               25453                $     140.00 $        168.00         $    350.00
TIF-01    19789    Kendrick McWilliams    Safeway Psychological Services                        25475                $     844.00 $      1,012.80         $ 2,110.00
TIF-01    19546    Richard Kopelman       Georgia Neuroscience                                  25473                $     560.00 $        672.00         $ 1,400.00
TIF-01    19546    Richard Kopelman       Non-Surgical Orthopaedics PC                          25474                $     208.00 $        249.60         $    520.00
TIF-01    19755    Reginald A Greene      Pain Management Specialists of Atlanta PC             25387                $     157.50 $        189.00         $    350.00
TIF-01    19742    Stewart J. Guss        Preva Advanced Surgicare - The Woodlands LLC          25359     9/18/2020 $    2,396.28 $      2,875.54         $ 10,892.20
TIF-01    19479    Abraham Watkins NicholsPreva
                                           Sorrels
                                                Advanced
                                                    Agosto Surgicare
                                                           & Aziz - The Woodlands LLC           25360     9/18/2020 $    6,668.73 $      8,002.48         $ 30,312.40

                                                                                                                       $ 102,995.66 $ 123,594.79          $ 394,848.42


****     This List of Receivables supporting Series 1-Intake H (Batch 10) in the amount of US$394,848.42 is in good order as Forget-the-Market Ltd has performed the following:

         a. Review of the invoice supporting each line item on List of Receivables confirming list accuracy including the invoice amount.

         b. Collected and reviewed (via Sharing Link) the lien for each line item on the List of Receivables. Any missing liens are noted on the List of Receivables with
         an explanation as to why.

         c. Confirmed that the value of purchased receivables respecting the listed invoices equals 319.47% of the purchased total of $123,594.79.
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake H (Batch 11)

                                                                                                        Receivables                             Funding
Fund     ClaimId Lawyer               Provider                       BillId    Date Paid       Purchase Price            Cost    GFB Amount       Type

TIF-01     7090   Hamed Yazdanpanah   Buena Vista Medical Services   24536     8/5/2020    $           22.71   $         27.25   $      75.70
TIF-01     7090   Hamed Yazdanpanah   Buena Vista Medical Services   24537     8/5/2020    $           24.12   $         28.94   $      80.41
TIF-01     7090   Hamed Yazdanpanah   Buena Vista Medical Services   24538     8/5/2020    $           38.49   $         46.19   $     128.29
TIF-01    19522   Michael Shemtoub    Buena Vista Medical Services   25077                 $           20.56   $         24.67   $      68.55
TIF-01    19522   Michael Shemtoub    Buena Vista Medical Services   25078                 $           32.97   $         39.56   $     109.90
TIF-01    19530   Andrew Kumar        Stat Diagnostics               25104    8/18/2020    $        1,200.00   $      1,440.00   $   9,000.00
TIF-01    19706   Farid Yaghoubtil    Buena Vista Medical Services   25249                 $           30.55   $         36.66   $     101.84
TIF-01     8739   Reginald A Greene   Buena Vista Medical Services   25062                 $           31.48   $         37.78   $     104.92
TIF-01     8739   Reginald A Greene   Buena Vista Medical Services   25063                 $           23.06   $         27.67   $      76.87
TIF-01     7298   Hamed Yazdanpanah   Buena Vista Medical Services   24681     9/3/2020    $           15.47   $         18.56   $      51.57
TIF-01     7298   Hamed Yazdanpanah   Buena Vista Medical Services   25070                 $           15.47   $         18.56   $      51.57
TIF-01     8659   Nicholas Lasso      Buena Vista Medical Services   24598     8/5/2020    $           24.54   $         29.45   $      81.81
TIF-01     8659   Nicholas Lasso      Buena Vista Medical Services   24599     8/5/2020    $           32.12   $         38.54   $     107.05
TIF-01     8659   Nicholas Lasso      Buena Vista Medical Services   24688     9/3/2020    $           32.12   $         38.54   $     107.05
TIF-01     8659   Nicholas Lasso      Buena Vista Medical Services   24689     9/3/2020    $           24.54   $         29.45   $      81.81
TIF-01     8659   Nicholas Lasso      Buena Vista Medical Services   25319                 $           22.88   $         27.46   $      76.27
TIF-01     8659   Nicholas Lasso      Buena Vista Medical Services   25320                 $           16.44   $         19.73   $      54.79
TIF-01    19271   Omid Khorshidi      Buena Vista Medical Services   24548     8/5/2020    $           53.69   $         64.43   $     178.98
TIF-01    19271   Omid Khorshidi      Buena Vista Medical Services   24606     8/5/2020    $           25.22   $         30.26   $      84.06
TIF-01    19271   Omid Khorshidi      Buena Vista Medical Services   24607     8/5/2020    $           23.02   $         27.62   $      76.72
TIF-01    19271   Omid Khorshidi      Buena Vista Medical Services   24669     9/3/2020    $           55.34   $         66.41   $     184.45
TIF-01    19271   Omid Khorshidi      Buena Vista Medical Services   24912     9/3/2020    $           36.71   $         44.05   $     122.36
TIF-01    19271   Omid Khorshidi      Buena Vista Medical Services   24913     9/3/2020    $           29.88   $         35.86   $      99.60
TIF-01    19271   Omid Khorshidi      Buena Vista Medical Services   24991     9/3/2020    $           20.87   $         25.04   $      69.58
TIF-01    19271   Omid Khorshidi      Buena Vista Medical Services   24992     9/3/2020    $           26.40   $         31.68   $      88.01
TIF-01    19271   Omid Khorshidi      Buena Vista Medical Services   25301                 $           63.95   $         76.74   $     213.18
TIF-01    19271   Omid Khorshidi      Buena Vista Medical Services   25302                 $           33.74   $         40.49   $     112.48
TIF-01    19271   Omid Khorshidi      Buena Vista Medical Services   25303                 $           41.37   $         49.64   $     137.90
TIF-01    19271   Omid Khorshidi      Buena Vista Medical Services   25304                 $           29.88   $         35.86   $      99.60
TIF-01    19271   Omid Khorshidi      Buena Vista Medical Services   25305                 $           25.50   $         30.60   $      85.01
TIF-01    19285   Mathew Babadjouni   Buena Vista Medical Services   24601     8/5/2020    $           24.61   $         29.53   $      82.04
TIF-01     7116   Nicholas Lasso      Buena Vista Medical Services   24684     9/3/2020    $           35.68   $         42.82   $     118.92
TIF-01     7116   Nicholas Lasso      Buena Vista Medical Services   24827     9/3/2020    $           38.86   $         46.63   $     129.54
TIF-01    19708   Farid Yaghoubtil    Buena Vista Medical Services   25251                 $           25.16   $         30.19   $      83.87
TIF-01    19708   Farid Yaghoubtil    Buena Vista Medical Services   25252                 $           21.73   $         26.08   $      72.43
TIF-01    19708   Farid Yaghoubtil    Buena Vista Medical Services   25420                 $           21.73   $         26.08   $      72.43
TIF-01     7471   Mauro Fiore Jr      Buena Vista Medical Services   24821     9/3/2020    $           47.92   $         57.50   $     159.74
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake H (Batch 11)

                                                                                                        Receivables                            Funding
Fund     ClaimId   Lawyer             Provider                       BillId    Date Paid       Purchase Price             Cost   GFB Amount      Type
TIF-01      7471   Mauro Fiore Jr     Buena Vista Medical Services   24920     9/3/2020    $           51.30 $           61.56   $    171.00
TIF-01      9074   Michael Shemtoub   Buena Vista Medical Services   24529     8/5/2020    $          194.55 $          233.46   $    648.51
TIF-01      9074   Michael Shemtoub   Buena Vista Medical Services   24530     8/5/2020    $           31.99 $           38.39   $    106.63
TIF-01      7404   Matthew Hoffman    Buena Vista Medical Services   24595     8/5/2020    $           36.73 $           44.08   $    122.44
TIF-01      7404   Matthew Hoffman    Buena Vista Medical Services   24596     8/5/2020    $           27.05 $           32.46   $     90.17
TIF-01      7404   Matthew Hoffman    Buena Vista Medical Services   24597     8/5/2020    $           46.37 $           55.64   $    154.58
TIF-01      7404   Matthew Hoffman    Buena Vista Medical Services   24685     9/3/2020    $           33.01 $           39.61   $    110.03
TIF-01      7404   Matthew Hoffman    Buena Vista Medical Services   25071                 $           36.73 $           44.08   $    122.44
TIF-01      7404   Matthew Hoffman    Buena Vista Medical Services   25072                 $           46.37 $           55.64   $    154.58
TIF-01      7404   Matthew Hoffman    Buena Vista Medical Services   25073                 $           33.01 $           39.61   $    110.03
TIF-01      7404   Matthew Hoffman    Buena Vista Medical Services   25074                 $           27.05 $           32.46   $     90.17
TIF-01      7404   Matthew Hoffman    Buena Vista Medical Services   25434                 $           60.10 $           72.12   $    200.34
TIF-01      7404   Matthew Hoffman    Buena Vista Medical Services   25435                 $           62.78 $           75.34   $    209.27
TIF-01     19295   Omid Khorshidi     Buena Vista Medical Services   24916     9/3/2020    $           51.36 $           61.63   $    171.19
TIF-01      9341   Jacob Emrani       Buena Vista Medical Services   24910     9/3/2020    $           25.19 $           30.23   $     83.98
TIF-01      9341   Jacob Emrani       Buena Vista Medical Services   25427                 $           29.60 $           35.52   $     98.67
TIF-01      9341   Jacob Emrani       Buena Vista Medical Services   25428                 $           30.96 $           37.15   $    103.21
TIF-01      7088   Kevin Danesh       Buena Vista Medical Services   24925     9/3/2020    $           33.65 $           40.38   $    112.18
TIF-01      7088   Kevin Danesh       Buena Vista Medical Services   25007     9/3/2020    $           28.58 $           34.30   $     95.27
TIF-01     19495   Nancy Bernstein    Buena Vista Medical Services   24934     9/3/2020    $           27.28 $           32.74   $     90.93
TIF-01     19495   Nancy Bernstein    Buena Vista Medical Services   25230                 $           27.28 $           32.74   $     90.93
TIF-01     19495   Nancy Bernstein    Buena Vista Medical Services   25231                 $           24.66 $           29.59   $     82.19
TIF-01      9345   Nancy Bernstein    Buena Vista Medical Services   24542     8/5/2020    $           45.03 $           54.04   $    150.10
TIF-01      9345   Nancy Bernstein    Buena Vista Medical Services   24543     8/5/2020    $           47.95 $           57.54   $    159.84
TIF-01      9345   Nancy Bernstein    Buena Vista Medical Services   24927     9/3/2020    $           47.95 $           57.54   $    159.84
TIF-01     19781   Mauro Fiore Jr     Buena Vista Medical Services   25457                 $          108.70 $          130.44   $    362.33
TIF-01     19538   Peter A. Ruman     Stat Diagnostics               25108    8/18/2020    $        1,800.00 $        2,160.00   $ 14,900.00
TIF-01      7082   John Beals         Buena Vista Medical Services   24531     8/5/2020    $           39.35 $           47.22   $    131.18
TIF-01      7082   John Beals         Buena Vista Medical Services   24532     8/5/2020    $           38.28 $           45.94   $    127.60
TIF-01      7082   John Beals         Buena Vista Medical Services   24917     9/3/2020    $           38.28 $           45.94   $    127.60
TIF-01      7082   John Beals         Buena Vista Medical Services   24918     9/3/2020    $           39.35 $           47.22   $    131.18
TIF-01      7082   John Beals         Buena Vista Medical Services   24919     9/3/2020    $           35.84 $           43.01   $    119.48
TIF-01     19513   Daniel Rafii       Buena Vista Medical Services   25012     9/3/2020    $           40.60 $           48.72   $    135.32
TIF-01     19513   Daniel Rafii       Buena Vista Medical Services   25013     9/3/2020    $           28.70 $           34.44   $     95.68
TIF-01     19297   Farid Yaghoubtil   Buena Vista Medical Services   24997     9/3/2020    $           24.46 $           29.35   $     81.55
TIF-01     19297   Farid Yaghoubtil   Buena Vista Medical Services   24998     9/3/2020    $           45.32 $           54.38   $    151.05
TIF-01     19297   Farid Yaghoubtil   Buena Vista Medical Services   24999     9/3/2020    $           27.35 $           32.82   $     91.16
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake H (Batch 11)

                                                                                                        Receivables                            Funding
Fund     ClaimId   Lawyer             Provider                       BillId    Date Paid       Purchase Price             Cost   GFB Amount      Type
TIF-01     19297   Farid Yaghoubtil   Buena Vista Medical Services   25000     9/3/2020    $           26.32 $           31.58   $     87.74
TIF-01     19520   Farid Yaghoubtil   Buena Vista Medical Services   25039     9/3/2020    $          249.00 $          298.80   $    830.00
TIF-01     19520   Farid Yaghoubtil   Buena Vista Medical Services   25041     9/3/2020    $           33.79 $           40.55   $    112.63
TIF-01     19520   Farid Yaghoubtil   Buena Vista Medical Services   25057                 $           25.42 $           30.50   $     84.74
TIF-01     19520   Farid Yaghoubtil   Buena Vista Medical Services   25058                 $           52.51 $           63.01   $    175.03
TIF-01     19520   Farid Yaghoubtil   Buena Vista Medical Services   25059                 $           14.30 $           17.16   $     47.66
TIF-01     19520   Farid Yaghoubtil   Buena Vista Medical Services   25060                 $           41.86 $           50.23   $    139.54
TIF-01     19520   Farid Yaghoubtil   Buena Vista Medical Services   25418                 $           33.79 $           40.55   $    112.63
TIF-01     19520   Farid Yaghoubtil   Buena Vista Medical Services   25419                 $           64.82 $           77.78   $    216.07
TIF-01      7300   Omid Khorshidi     Buena Vista Medical Services   25239                 $           23.11 $           27.73   $     77.03
TIF-01     19540   Dennis Spurling    Stat Diagnostics               25109    8/18/2020    $        1,200.00 $        1,440.00   $ 10,061.90
TIF-01     18529   Lawrence Ruiz      Buena Vista Medical Services   25001     9/3/2020    $           23.62 $           28.34   $     78.74
TIF-01     18529   Lawrence Ruiz      Buena Vista Medical Services   25002     9/3/2020    $           23.36 $           28.03   $     77.86
TIF-01     18529   Lawrence Ruiz      Buena Vista Medical Services   25003     9/3/2020    $           37.53 $           45.04   $    125.10
TIF-01      7084   Justin Weinrich    Buena Vista Medical Services   24678     9/3/2020    $           40.76 $           48.91   $    135.85
TIF-01      7084   Justin Weinrich    Buena Vista Medical Services   24679     9/3/2020    $           34.03 $           40.84   $    113.43
TIF-01      7084   Justin Weinrich    Buena Vista Medical Services   24680     9/3/2020    $           27.84 $           33.41   $     92.80
TIF-01      7084   Justin Weinrich    Buena Vista Medical Services   24822     9/3/2020    $           30.23 $           36.28   $    100.78
TIF-01      7084   Justin Weinrich    Buena Vista Medical Services   24823     9/3/2020    $           50.41 $           60.49   $    168.04
TIF-01      7084   Justin Weinrich    Buena Vista Medical Services   24921     9/3/2020    $           43.89 $           52.67   $    146.30
TIF-01      7084   Justin Weinrich    Buena Vista Medical Services   24922     9/3/2020    $           46.03 $           55.24   $    153.43
TIF-01      7084   Justin Weinrich    Buena Vista Medical Services   24923     9/3/2020    $          120.42 $          144.50   $    401.39
TIF-01      7084   Justin Weinrich    Buena Vista Medical Services   24924     9/3/2020    $          150.98 $          181.18   $    503.27
TIF-01      7084   Justin Weinrich    Buena Vista Medical Services   25004     9/3/2020    $           50.41 $           60.49   $    168.04
TIF-01      7084   Justin Weinrich    Buena Vista Medical Services   25005     9/3/2020    $           24.88 $           29.86   $     82.95
TIF-01      7084   Justin Weinrich    Buena Vista Medical Services   25006     9/3/2020    $           50.41 $           60.49   $    168.04
TIF-01      7084   Justin Weinrich    Buena Vista Medical Services   25067                 $           28.59 $           34.31   $     95.30
TIF-01      7084   Justin Weinrich    Buena Vista Medical Services   25068                 $           50.41 $           60.49   $    168.04
TIF-01      7084   Justin Weinrich    Buena Vista Medical Services   25069                 $           43.89 $           52.67   $    146.30
TIF-01      7084   Justin Weinrich    Buena Vista Medical Services   25237                 $           50.41 $           60.49   $    168.04
TIF-01      7084   Justin Weinrich    Buena Vista Medical Services   25238                 $          136.31 $          163.57   $    454.37
TIF-01      7084   Justin Weinrich    Buena Vista Medical Services   25315                 $           24.88 $           29.86   $     82.95
TIF-01      7084   Justin Weinrich    Buena Vista Medical Services   25316                 $          120.42 $          144.50   $    401.39
TIF-01      7084   Justin Weinrich    Buena Vista Medical Services   25431                 $           43.89 $           52.67   $    146.30
TIF-01      7084   Justin Weinrich    Buena Vista Medical Services   25432                 $           26.90 $           32.28   $     89.68
TIF-01      7869   Mauro Fiore Jr     Buena Vista Medical Services   24832     9/3/2020    $           37.70 $           45.24   $    125.67
TIF-01      7869   Mauro Fiore Jr     Buena Vista Medical Services   25312                 $           45.79 $           54.95   $    152.63
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake H (Batch 11)

                                                                                                         Receivables                            Funding
Fund     ClaimId   Lawyer              Provider                       BillId    Date Paid       Purchase Price             Cost   GFB Amount      Type
TIF-01      7869   Mauro Fiore Jr      Buena Vista Medical Services   25313                 $           63.24 $           75.89   $    210.79
TIF-01      7869   Mauro Fiore Jr      Buena Vista Medical Services   25314                 $           23.79 $           28.55   $     79.29
TIF-01     19275   Michael Madadi      Buena Vista Medical Services   24552     8/5/2020    $           27.47 $           32.96   $     91.58
TIF-01     19275   Michael Madadi      Buena Vista Medical Services   24553     8/5/2020    $           37.44 $           44.93   $    124.79
TIF-01     19275   Michael Madadi      Buena Vista Medical Services   24996     9/3/2020    $           37.44 $           44.93   $    124.79
TIF-01     19542   Buzbee Law Firm     Stat Diagnostics               25110    8/18/2020    $        1,800.00 $        2,160.00   $ 11,950.00
TIF-01     19544   Salazar Velazquez   Stat Diagnostics               25111    8/18/2020    $        1,200.00 $        1,440.00   $ 7,450.00
TIF-01      9767   Cory Hilton         Buena Vista Medical Services   24686     9/3/2020    $           93.39 $          112.07   $    311.30
TIF-01      9767   Cory Hilton         Buena Vista Medical Services   24687     9/3/2020    $          103.06 $          123.67   $    343.52
TIF-01      9767   Cory Hilton         Buena Vista Medical Services   25243                 $           26.25 $           31.50   $     87.51
TIF-01      9767   Cory Hilton         Buena Vista Medical Services   25244                 $           60.73 $           72.88   $    202.43
TIF-01      9767   Cory Hilton         Buena Vista Medical Services   25436                 $           63.56 $           76.27   $    211.85
TIF-01      9767   Cory Hilton         Buena Vista Medical Services   25437                 $           93.39 $          112.07   $    311.30
TIF-01      9767   Cory Hilton         Buena Vista Medical Services   25438                 $           29.98 $           35.98   $     99.94
TIF-01      9343   Cory Hilton         Buena Vista Medical Services   24539     8/5/2020    $           59.48 $           71.38   $    198.25
TIF-01      9343   Cory Hilton         Buena Vista Medical Services   24540     8/5/2020    $           42.82 $           51.38   $    142.73
TIF-01      9343   Cory Hilton         Buena Vista Medical Services   24541     8/5/2020    $           44.50 $           53.40   $    148.35
TIF-01      9343   Cory Hilton         Buena Vista Medical Services   25008     9/3/2020    $           59.48 $           71.38   $    198.25
TIF-01      9343   Cory Hilton         Buena Vista Medical Services   25009     9/3/2020    $           42.82 $           51.38   $    142.73
TIF-01      9343   Cory Hilton         Buena Vista Medical Services   25010     9/3/2020    $           44.50 $           53.40   $    148.35
TIF-01      9343   Cory Hilton         Buena Vista Medical Services   25075                 $          345.28 $          414.34   $ 1,150.94
TIF-01      8895   Michael Shemtoub    Buena Vista Medical Services   24911     9/3/2020    $           21.73 $           26.08   $     72.43
TIF-01      8895   Michael Shemtoub    Buena Vista Medical Services   25429                 $           21.73 $           26.08   $     72.43
TIF-01     19548   Mokaram Law Firm    Stat Diagnostics               25113     8/8/2020    $        1,800.00 $        2,160.00   $ 14,900.00
TIF-01     19493   Daniel Rafii        Buena Vista Medical Services   24932     9/3/2020    $           26.19 $           31.43   $     87.29
TIF-01     19493   Daniel Rafii        Buena Vista Medical Services   25299                 $           58.49 $           70.19   $    194.98
TIF-01      9220   Janice Strong       ChartSquad                     24574                 $           99.98 $          119.98   $    120.00
TIF-01      9220   Janice Strong       ChartSquad                     24577                 $           45.00 $           54.00   $    120.00
TIF-01      9220   Janice Strong       ChartSquad                     24578                 $           45.00 $           54.00   $    120.00
TIF-01      9220   Janice Strong       ChartSquad                     24579                 $           45.00 $           54.00   $    120.00
TIF-01      9220   Janice Strong       ChartSquad                     24580                 $           45.00 $           54.00   $    120.00
TIF-01      9220   Janice Strong       ChartSquad                     25207                 $           51.50 $           61.80   $    120.00
TIF-01     19550   Salazar Velazquez   Stat Diagnostics               25115    8/18/2020    $        1,200.00 $        1,440.00   $ 7,450.00
TIF-01     19552   L. Lee Thweatt      Stat Diagnostics               25117    8/18/2020    $          600.00 $          720.00   $ 4,500.00
TIF-01     19237   Farid Yaghoubtil    Buena Vista Medical Services   24815     9/3/2020    $           64.96 $           77.95   $    216.52
TIF-01     19237   Farid Yaghoubtil    Buena Vista Medical Services   24816     9/3/2020    $           27.46 $           32.95   $     91.54
TIF-01     19237   Farid Yaghoubtil    Buena Vista Medical Services   25234                 $           27.46 $           32.95   $     91.54
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake H (Batch 11)

                                                                                                        Receivables                          Funding
Fund     ClaimId   Lawyer             Provider                       BillId    Date Paid       Purchase Price           Cost   GFB Amount      Type
TIF-01     19237   Farid Yaghoubtil   Buena Vista Medical Services   25235                 $           64.96 $         77.95   $    216.52
TIF-01     19722   Michael Madadi     Buena Vista Medical Services   25322                 $           30.41 $         36.49   $    101.38
TIF-01     19722   Michael Madadi     Buena Vista Medical Services   25323                 $           22.28 $         26.74   $     74.25
TIF-01     19704   Mauro Fiore Jr     Buena Vista Medical Services   25247                 $           28.30 $         33.96   $     94.32
TIF-01     19273   Lawrence Ruiz      Buena Vista Medical Services   24550     8/5/2020    $          111.09 $        133.31   $    370.31
TIF-01      8932   Lawrence Ruiz      Buena Vista Medical Services   24527     8/5/2020    $           41.78 $         50.14   $    139.27
TIF-01      8932   Lawrence Ruiz      Buena Vista Medical Services   24528     8/5/2020    $           21.67 $         26.00   $     72.24
TIF-01      8932   Lawrence Ruiz      Buena Vista Medical Services   24915     9/3/2020    $           21.67 $         26.00   $     72.24
TIF-01      8932   Lawrence Ruiz      Buena Vista Medical Services   24993     9/3/2020    $           41.78 $         50.14   $    139.27
TIF-01      8932   Lawrence Ruiz      Buena Vista Medical Services   24994     9/3/2020    $           38.08 $         45.70   $    126.92
TIF-01      8932   Lawrence Ruiz      Buena Vista Medical Services   24995     9/3/2020    $           31.27 $         37.52   $    104.23
TIF-01     19301   Jacob Emrani       Buena Vista Medical Services   24670     9/3/2020    $           21.49 $         25.79   $     71.63
TIF-01     19301   Jacob Emrani       Buena Vista Medical Services   24671     9/3/2020    $           19.71 $         23.65   $     65.70
TIF-01     19301   Jacob Emrani       Buena Vista Medical Services   24672     9/3/2020    $           23.08 $         27.70   $     76.95
TIF-01     19301   Jacob Emrani       Buena Vista Medical Services   24673     9/3/2020    $           32.88 $         39.46   $    109.59
TIF-01     19301   Jacob Emrani       Buena Vista Medical Services   24674     9/3/2020    $           21.51 $         25.81   $     71.71
TIF-01     19301   Jacob Emrani       Buena Vista Medical Services   24675     9/3/2020    $           28.19 $         33.83   $     93.97
TIF-01     19301   Jacob Emrani       Buena Vista Medical Services   24676     9/3/2020    $           27.13 $         32.56   $     90.44
TIF-01     19301   Jacob Emrani       Buena Vista Medical Services   24677     9/3/2020    $           19.73 $         23.68   $     65.78
TIF-01     19301   Jacob Emrani       Buena Vista Medical Services   24818     9/3/2020    $           53.82 $         64.58   $    179.40
TIF-01     19301   Jacob Emrani       Buena Vista Medical Services   24819     9/3/2020    $           19.95 $         23.94   $     66.50
TIF-01     19301   Jacob Emrani       Buena Vista Medical Services   24820     9/3/2020    $           25.97 $         31.16   $     86.56
TIF-01     19301   Jacob Emrani       Buena Vista Medical Services   25065                 $           19.95 $         23.94   $     66.50
TIF-01     19301   Jacob Emrani       Buena Vista Medical Services   25066                 $           25.97 $         31.16   $     86.56
TIF-01     19301   Jacob Emrani       Buena Vista Medical Services   25236                 $           21.65 $         25.98   $     72.16
TIF-01     19301   Jacob Emrani       Buena Vista Medical Services   25307                 $           25.97 $         31.16   $     86.56
TIF-01     19301   Jacob Emrani       Buena Vista Medical Services   25308                 $           21.52 $         25.82   $     71.74
TIF-01     19301   Jacob Emrani       Buena Vista Medical Services   25430                 $           19.95 $         23.94   $     66.50
TIF-01     19257   Michael Madadi     Buena Vista Medical Services   24814     9/3/2020    $           57.39 $         68.87   $    191.29
TIF-01     19257   Michael Madadi     Buena Vista Medical Services   25232                 $           24.76 $         29.71   $     82.54
TIF-01     19257   Michael Madadi     Buena Vista Medical Services   25233                 $           26.19 $         31.43   $     87.29
TIF-01      8270   Nicholas Lasso     Buena Vista Medical Services   25245                 $           23.96 $         28.75   $     79.88
TIF-01      8270   Nicholas Lasso     Buena Vista Medical Services   25439                 $           21.20 $         25.44   $     70.68
TIF-01      8270   Nicholas Lasso     Buena Vista Medical Services   25440                 $           24.50 $         29.40   $     81.66
TIF-01      7310   Timothy Revero     Buena Vista Medical Services   24926     9/3/2020    $           44.66 $         53.59   $    148.86
TIF-01      7310   Timothy Revero     Buena Vista Medical Services   25318                 $           33.32 $         39.98   $    111.07
TIF-01      6740   Kevin Danesh       Buena Vista Medical Services   24533     8/5/2020    $           56.30 $         67.56   $    187.66
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List of Receivables for Series-1/Intake H (Batch 11)

                                                                                                        Receivables                          Funding
Fund     ClaimId   Lawyer             Provider                       BillId    Date Paid       Purchase Price           Cost   GFB Amount      Type
TIF-01      6740   Kevin Danesh       Buena Vista Medical Services   25309                 $           57.74 $         69.29   $    192.46
TIF-01      6740   Kevin Danesh       Buena Vista Medical Services   25310                 $           14.28 $         17.14   $     47.60
TIF-01      6740   Kevin Danesh       Buena Vista Medical Services   25311                 $           63.24 $         75.89   $    210.79
TIF-01      9305   Michael Shemtoub   Buena Vista Medical Services   24817     9/3/2020    $           78.65 $         94.38   $    262.18
TIF-01      7218   Nicholas Lasso     Buena Vista Medical Services   25423                 $           39.17 $         47.00   $    130.56
TIF-01     19779   Daniel Rafii       Buena Vista Medical Services   25455                 $           21.68 $         26.02   $     72.28
TIF-01     19483   Nicholas Lasso     Buena Vista Medical Services   24829     9/3/2020    $           25.16 $         30.19   $     83.87
TIF-01     19483   Nicholas Lasso     Buena Vista Medical Services   24830     9/3/2020    $           31.42 $         37.70   $    104.73
TIF-01      7064   Farid Yaghoubtil   Buena Vista Medical Services   24682     9/3/2020    $          215.79 $        258.95   $    719.30
TIF-01      7064   Farid Yaghoubtil   Buena Vista Medical Services   24683     9/3/2020    $           37.72 $         45.26   $    125.74
TIF-01      7064   Farid Yaghoubtil   Buena Vista Medical Services   24825     9/3/2020    $           37.55 $         45.06   $    125.17
TIF-01      7064   Farid Yaghoubtil   Buena Vista Medical Services   24826     9/3/2020    $           48.56 $         58.27   $    161.85
TIF-01      7064   Farid Yaghoubtil   Buena Vista Medical Services   25241                 $           25.33 $         30.40   $     84.44
TIF-01      7064   Farid Yaghoubtil   Buena Vista Medical Services   25242                 $           37.55 $         45.06   $    125.17
TIF-01      7064   Farid Yaghoubtil   Buena Vista Medical Services   25317                 $           48.56 $         58.27   $    161.85
TIF-01      7064   Farid Yaghoubtil   Buena Vista Medical Services   25433                 $           37.72 $         45.26   $    125.74
TIF-01      6800   Arash Khorsandi    Buena Vista Medical Services   24534     8/5/2020    $           27.61 $         33.13   $     92.04
TIF-01      6800   Arash Khorsandi    Buena Vista Medical Services   24535     8/5/2020    $           35.09 $         42.11   $    116.96
TIF-01      6800   Arash Khorsandi    Buena Vista Medical Services   24824     9/3/2020    $           35.09 $         42.11   $    116.96
TIF-01      8705   Farid Yaghoubtil   Buena Vista Medical Services   25306                 $           40.10 $         48.12   $    133.68
TIF-01     19265   Omid Khorshidi     Buena Vista Medical Services   24914     9/3/2020    $           40.77 $         48.92   $    135.89
TIF-01     19265   Omid Khorshidi     Buena Vista Medical Services   25064                 $           24.22 $         29.06   $     80.75
TIF-01     18523   Jared Richards     Buena Vista Medical Services   24604     8/5/2020    $          115.26 $        138.31   $    384.21
TIF-01     18523   Jared Richards     Buena Vista Medical Services   24904     9/3/2020    $           22.72 $         27.26   $     75.73
TIF-01     18523   Jared Richards     Buena Vista Medical Services   24905     9/3/2020    $           48.55 $         58.26   $    161.84
TIF-01      8607   Farid Yaghoubtil   Buena Vista Medical Services   24666     9/3/2020    $           48.56 $         58.27   $    161.85
TIF-01      8607   Farid Yaghoubtil   Buena Vista Medical Services   24667     9/3/2020    $           37.72 $         45.26   $    125.74
TIF-01      8607   Farid Yaghoubtil   Buena Vista Medical Services   24668     9/3/2020    $           30.77 $         36.92   $    102.56
TIF-01     19515   Michael Shemtoub   Buena Vista Medical Services   25015     9/3/2020    $           33.68 $         40.42   $    112.25
TIF-01     19515   Michael Shemtoub   Buena Vista Medical Services   25016     9/3/2020    $           26.22 $         31.46   $     87.40
TIF-01     19515   Michael Shemtoub   Buena Vista Medical Services   25017     9/3/2020    $           40.53 $         48.64   $    135.09
TIF-01     19515   Michael Shemtoub   Buena Vista Medical Services   25018     9/3/2020    $           21.46 $         25.75   $     71.52
TIF-01     19269   Nancy Bernstein    Buena Vista Medical Services   24545     8/5/2020    $           27.70 $         33.24   $     92.34
TIF-01     19269   Nancy Bernstein    Buena Vista Medical Services   24546     8/5/2020    $           22.31 $         26.77   $     74.37
TIF-01     19269   Nancy Bernstein    Buena Vista Medical Services   24906     9/3/2020    $           21.76 $         26.11   $     72.54
TIF-01     19269   Nancy Bernstein    Buena Vista Medical Services   24907     9/3/2020    $           65.63 $         78.76   $    218.77
TIF-01     19269   Nancy Bernstein    Buena Vista Medical Services   24908     9/3/2020    $          142.90 $        171.48   $    476.33
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List of Receivables for Series-1/Intake H (Batch 11)

                                                                                                                   Receivables                                    Funding
Fund     ClaimId   Lawyer                 Provider                          BillId      Date Paid         Purchase Price               Cost     GFB Amount          Type
TIF-01     19269   Nancy Bernstein        Buena Vista Medical Services      25061                     $           20.53 $             24.64     $     68.44
TIF-01     19269   Nancy Bernstein        Buena Vista Medical Services      25424                     $           22.31 $             26.77     $     74.37
TIF-01     19269   Nancy Bernstein        Buena Vista Medical Services      25425                     $           27.70 $             33.24     $     92.34
TIF-01     19269   Nancy Bernstein        Buena Vista Medical Services      25426                     $           65.63 $             78.76     $    218.77
TIF-01      5067   Natanya Brooks         Buena Vista Medical Services      24909       9/3/2020      $          239.85 $            287.82     $ 1,199.23
TIF-01     19558   Martin Law Firm        Stat Diagnostics                  25121      8/18/2020      $        1,200.00 $          1,440.00     $ 9,075.00
TIF-01     19785   Peter Angulo           Buena Vista Medical Services      25461                     $           29.29 $             35.15     $     97.62
TIF-01     19783   Salar Hendizadeh       Buena Vista Medical Services      25459                     $           22.96 $             27.55     $     76.53
TIF-01      7094   Frank Fasel            Buena Vista Medical Services      25240                     $           20.37 $             24.44     $     67.91

                                                                                                      $       21,840.02 $        26,208.02      $ 122,101.92


****     This List of Receivables supporting Series 1-Intake H (Batch 11) in the amount of US$122,101.92 is in good order as Forget-the-Market Ltd has performed the following:

         a. Review of the invoice supporting each line item on List of Receivables confirming list accuracy including the invoice amount.

         b. Collected and reviewed (via Sharing Link) the lien for each line item on the List of Receivables. Any missing liens are noted on the List of Receivables with
         an explanation as to why.

         c. Confirmed that the value of purchased receivables respecting the listed invoices equals 465.90% of the purchased total of $26,208.02.
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                         EXHIBIT D-9
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                                                                            RECEIVABLES
                                                                          PURCHASE ORDER

                                                                         PO #: 1-I-10-18



 TECUMSEH – Infinity Medical Receivables Fund, LP
 DATE: 12 October 2020


To: Infinity Capital Management


Reference: Series #1 – Intake I

        Qty. - USD                                               Description
                                  Medical receivables to be purchased:

          130,800.00              Batch 12

          43,634.16               Batch 13



          34,886.83               Acquisition/ fees Service




         $209,320.99              TOTAL




 Signature
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake I (Batch 12 A&B)

                                                                                     Receivables                              Funding
Fund     Lawyer                   Provider           BillID   Date Paid    Purchase Price               Cost   GFB Amount      Type     # of MRI

TIF-01   Christopher J. Leavitt   Stat Diagnostics            10/12/2020   $       600.00   $         720.00   $   2,950.00    MRI                 1
TIF-01   Herman & Herman          Stat Diagnostics            10/12/2020   $     1,200.00   $       1,440.00   $   9,075.00    MRI                 2
TIF-01   David Aziel Garcia       Stat Diagnostics            10/12/2020   $       600.00   $         720.00   $   2,950.00    MRI                 1
TIF-01   George K. Farah          Stat Diagnostics            10/12/2020   $       600.00   $         720.00   $   4,500.00    MRI                 1
TIF-01   Nefi Lopez               Stat Diagnostics            10/12/2020   $     1,200.00   $       1,440.00   $   9,000.00    MRI                 2
TIF-01   Peter A Ruman            Stat Diagnostics            10/12/2020   $       600.00   $         720.00   $   4,500.00    MRI                 1
TIF-01   Beverly R. Caruthers     Stat Diagnostics            10/12/2020   $       600.00   $         720.00   $   4,500.00    MRI                 1
TIF-01   Pegah Rahgozar           Stat Diagnostics            10/12/2020   $       600.00   $         720.00   $   2,950.00    MRI                 1
TIF-01   Stewart J Guss           Stat Diagnostics            10/12/2020   $       600.00   $         720.00   $   2,950.00    MRI                 1
TIF-01   Sam K. Mukerji           Stat Diagnostics            10/12/2020   $     1,200.00   $       1,440.00   $   9,000.00    MRI                 2
TIF-01   John K. Zaid             Stat Diagnostics            10/12/2020   $     1,200.00   $       1,440.00   $   9,000.00    MRI                 2
TIF-01   Ryan S. Pigg             Stat Diagnostics            10/12/2020   $       600.00   $         720.00   $   4,500.00    MRI                 1
TIF-01   Mokaram Law Firm         Stat Diagnostics            10/12/2020   $     1,200.00   $       1,440.00   $   9,000.00    MRI                 2
TIF-01   Mokaram Law Firm         Stat Diagnostics            10/12/2020   $       600.00   $         720.00   $   4,500.00    MRI                 1
TIF-01   Christopher J. Leavitt   Stat Diagnostics            10/12/2020   $     1,200.00   $       1,440.00   $   5,900.00    MRI                 2
TIF-01   Smith & Hassler          Stat Diagnostics            10/12/2020   $       600.00   $         720.00   $   4,500.00    MRI                 1
TIF-01   Christopher J. Leavitt   Stat Diagnostics            10/12/2020   $     1,200.00   $       1,440.00   $   5,900.00    MRI                 2
TIF-01   Joe Ray Rodriguez        Stat Diagnostics            10/12/2020   $       600.00   $         720.00   $   4,650.00    MRI                 1
TIF-01   Adame Garza              Stat Diagnostics            10/12/2020   $       600.00   $         720.00   $   2,950.00    MRI                 1
TIF-01   David Aziel Garcia       Stat Diagnostics            10/12/2020   $       600.00   $         720.00   $   4,500.00    MRI                 1
TIF-01   Salazar Velazquez        Stat Diagnostics            10/12/2020   $     1,200.00   $       1,440.00   $   9,000.00    MRI                 2
TIF-01   Manuel Gonzales          Stat Diagnostics            10/12/2020   $     1,200.00   $       1,440.00   $   9,000.00    MRI                 2
TIF-01   Keivan S Romero          Stat Diagnostics            10/12/2020   $     1,200.00   $       1,440.00   $   9,000.00    MRI                 2
TIF-01   Peter A Ruman            Stat Diagnostics            10/12/2020   $     1,200.00   $       1,440.00   $   7,450.00    MRI                 2
TIF-01   Robert Davis Jr.         Stat Diagnostics            10/12/2020   $       600.00   $         720.00   $   4,500.00    MRI                 1
TIF-01   Pegah Rahgozar           Stat Diagnostics            10/12/2020   $       600.00   $         720.00   $   2,950.00    MRI                 1
TIF-01   Andrew Kumar             Stat Diagnostics            10/12/2020   $     1,200.00   $       1,440.00   $   7,450.00    MRI                 2
TIF-01   Jonathan B. Zumwalt      Stat Diagnostics            10/12/2020   $       600.00   $         720.00   $   3,100.00    MRI                 1
TIF-01   Smith & Hassler          Stat Diagnostics            10/12/2020   $       600.00   $         720.00   $   4,500.00    MRI                 1

                                                                           $   24,600.00    $      29,520.00   $ 164,725.00                    41

TIF-01   Mokaram Law Firm         Stat Diagnostics            10/12/2020   $     1,200.00 $         1,440.00   $   9,000.00    MRI                 2
TIF-01   McDonald Worley          Stat Diagnostics            10/12/2020   $       600.00 $           720.00   $   2,950.00    MRI                 1
TIF-01   Kumar Law Firm           Stat Diagnostics            10/12/2020   $       600.00 $           720.00   $   4,500.00    MRI                 1
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake I (Batch 12 A&B)

                                                                                       Receivables                            Funding
Fund     Lawyer                     Provider           BillID   Date Paid    Purchase Price              Cost   GFB Amount     Type     # of MRI
TIF-01   Kumar Law Firm             Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,500.00      MRI                1
TIF-01   Kumar Law Firm             Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,500.00      MRI                1
TIF-01   Caroline Adams             Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 9,000.00      MRI                2
TIF-01   Benjamin Roberts           Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 9,000.00      MRI                2
TIF-01   Smith & Hassler            Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 7,450.00      MRI                2
TIF-01   Kenny Perez Law            Stat Diagnostics            10/12/2020   $    2,400.00 $         2,880.00   $ 16,450.00     MRI                4
TIF-01   Latif Perez                Stat Diagnostics            10/12/2020   $    1,800.00 $         2,160.00   $ 11,950.00     MRI                3
TIF-01   Kumar Law Firm             Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,500.00      MRI                1
TIF-01   Shane Pellerin             Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 2,950.00      MRI                1
TIF-01   Kumar Law Firm             Stat Diagnostics            10/12/2020   $    1,800.00 $         2,160.00   $ 11,950.00     MRI                3
TIF-01   Ali Law Group              Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 9,000.00      MRI                2
TIF-01   Mokaram Law Firm           Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,650.00      MRI                1
TIF-01   Adame Garza                Stat Diagnostics            10/12/2020   $    1,800.00 $         2,160.00   $ 11,950.00     MRI                3
TIF-01   Kumar Law Firm             Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,650.00      MRI                1
TIF-01   Kumar Law Firm             Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,500.00      MRI                1
TIF-01   Adame Garza                Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 7,450.00      MRI                2
TIF-01   Salazar & Velazquez        Stat Diagnostics            10/12/2020   $    2,400.00 $         2,880.00   $ 14,900.00     MRI                4
TIF-01   Kenny Perez Law            Stat Diagnostics            10/12/2020   $    2,400.00 $         2,880.00   $ 14,900.00     MRI                4
TIF-01   Salazar & Velazquez        Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,500.00      MRI                1
TIF-01   Leo Oginni Trail Lawyers PLLC
                                    Stat Diagnostics            10/12/2020   $    1,800.00 $         2,160.00   $ 10,400.00     MRI                3
TIF-01   Kumar Law Firm             Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 9,000.00      MRI                2
TIF-01   Sam K. Mukerji             Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,500.00      MRI                1
TIF-01   Shane R Kadlec             Stat Diagnostics            10/12/2020   $    2,400.00 $         2,880.00   $ 14,900.00     MRI                4
TIF-01   Shane R Kadlec             Stat Diagnostics            10/12/2020   $    2,400.00 $         2,880.00   $ 14,900.00     MRI                4
TIF-01   Lori L Brown               Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 9,150.00      MRI                2
TIF-01   Richard J Presutti         Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 2,950.00      MRI                1
TIF-01   Manuel Gonzales            Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 9,000.00      MRI                2
TIF-01   Cesar Escalante            Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,500.00      MRI                1
TIF-01   Salazar & Velazquez        Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,500.00      MRI                1
TIF-01   Salazar & Velazquez        Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 2,950.00      MRI                1
TIF-01   Adam P Crisco              Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 2,950.00      MRI                1
TIF-01   Kumar Law Firm             Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 9,000.00      MRI                2
TIF-01   Kumar Law Firm             Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 9,000.00      MRI                2
TIF-01   Hector L Sandoval          Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 7,450.00      MRI                2
TIF-01   Leo Oginni Trail Lawyers PLLC
                                    Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,500.00      MRI                1
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake I (Batch 12 A&B)

                                                                                  Receivables                            Funding
Fund     Lawyer                Provider           BillID   Date Paid    Purchase Price              Cost   GFB Amount     Type     # of MRI
TIF-01   Christopher J Leavitt Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 5,900.00      MRI                2
TIF-01   Kumar Law Firm        Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,500.00      MRI                1
TIF-01   Kumar Law Firm        Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,500.00      MRI                1
TIF-01   Gustavo H Villalpando Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 5,900.00      MRI                2
TIF-01   Kumar Law Firm        Stat Diagnostics            10/12/2020   $    2,400.00 $         2,880.00   $ 14,900.00     MRI                4
TIF-01   Kumar Law Firm        Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 9,150.00      MRI                2
TIF-01   Jonathan S Harris     Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 9,000.00      MRI                2
TIF-01   W Clark Martin IV     Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,500.00      MRI                1
TIF-01   Pulkit Moudgil        Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,500.00      MRI                1
TIF-01   Adame Garza           Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 9,000.00      MRI                2
TIF-01   Kumar Law Firm        Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,500.00      MRI                1
TIF-01   Kumar Law Firm        Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 9,000.00      MRI                2
TIF-01   Stephen Akinnibosun   Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 2,950.00      MRI                1
TIF-01   Kumar Law Firm        Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 9,000.00      MRI                2
TIF-01   Adame Garza           Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 7,450.00      MRI                2
TIF-01   Bret Griffin          Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 9,000.00      MRI                2
TIF-01   Kumar Law Firm        Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,500.00      MRI                1
TIF-01   Kumar Law Firm        Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 7,450.00      MRI                2
TIF-01   Brian White           Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,500.00      MRI                1
TIF-01   Adame Garza           Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 5,900.00      MRI                2
TIF-01   Kumar Law Firm        Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 7,450.00      MRI                2
TIF-01   Lawrence F Labanowski Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 9,000.00      MRI                2
TIF-01   Hector L Sandoval     Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 5,900.00      MRI                2
TIF-01   Lori L Brown          Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 9,000.00      MRI                2
TIF-01   Brandon P. Ramsey     Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,650.00      MRI                1
TIF-01   Lawrence F Labanowski Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,500.00      MRI                1
TIF-01   Adame Garza           Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 9,000.00      MRI                2
TIF-01   Adame Garza           Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 2,950.00      MRI                1
TIF-01   Kumar Law Firm        Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 9,150.00      MRI                2
TIF-01   George K Farah        Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 9,000.00      MRI                2
TIF-01   Sydney Meriwether Womack
                               Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,500.00      MRI                1
TIF-01   Eric D Nielsen        Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,500.00      MRI                1
TIF-01   Jonathan S Harris     Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,500.00      MRI                1
TIF-01   Kumar Law Firm        Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 9,150.00      MRI                2
TIF-01   Adame Garza           Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 9,000.00      MRI                2
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake I (Batch 12 A&B)

                                                                                                 Receivables                                       Funding
Fund     Lawyer                     Provider                BillID    Date Paid        Purchase Price                  Cost      GFB Amount         Type       # of MRI
TIF-01   Kumar Law Firm             Stat Diagnostics                  10/12/2020       $    1,200.00 $             1,440.00      $ 9,000.00          MRI                    2
TIF-01   Kumar Law Firm             Stat Diagnostics                  10/12/2020       $    2,400.00 $             2,880.00      $ 14,900.00         MRI                    4
TIF-01   Christopher J Leavitt      Stat Diagnostics                  10/12/2020       $    3,000.00 $             3,600.00      $ 17,850.00         MRI                    5
TIF-01   Kumar Law Firm             Stat Diagnostics                  10/12/2020       $    1,800.00 $             2,160.00      $ 11,950.00         MRI                    3
TIF-01   Kumar Law Firm             Stat Diagnostics                  10/12/2020       $    1,800.00 $             2,160.00      $ 11,950.00         MRI                    3
TIF-01   Schechter Mcelwee ShafferStat
                                     Harris
                                         Diagnostics
                                            LLP                       10/12/2020       $      600.00 $               720.00      $ 4,500.00          MRI                    1
TIF-01   Adame Garza                Stat Diagnostics                  10/12/2020       $      600.00 $               720.00      $ 2,950.00          MRI                    1
TIF-01   Rusty Harrison             Stat Diagnostics                  10/12/2020       $    1,200.00 $             1,440.00      $ 9,000.00          MRI                    2
TIF-01   David J Romagosa           Stat Diagnostics                  10/12/2020       $      600.00 $               720.00      $ 4,500.00          MRI                    1
TIF-01   Kumar Law Firm             Stat Diagnostics                  10/12/2020       $    1,800.00 $             2,160.00      $ 11,950.00         MRI                    3
TIF-01   Hector L Sandoval          Stat Diagnostics                  10/12/2020       $    1,200.00 $             1,440.00      $ 9,000.00          MRI                    2
TIF-01   Adame Garza                Stat Diagnostics                  10/12/2020       $    1,200.00 $             1,440.00      $ 6,050.00          MRI                    2
TIF-01   Salazar & Velazquez        Stat Diagnostics                  10/12/2020       $    1,200.00 $             1,440.00      $ 9,000.00          MRI                    2
TIF-01   Manuel Gonzales            Stat Diagnostics                  10/12/2020       $      600.00 $               720.00      $ 4,500.00          MRI                    1
TIF-01   Sydney Meriwether Womack   Stat Diagnostics                  10/12/2020       $    1,200.00 $             1,440.00      $ 7,450.00          MRI                    2
TIF-01   Paul Valiviesco            Stat Diagnostics                  10/12/2020       $    1,200.00 $             1,440.00      $ 9,000.00          MRI                    2
TIF-01   Christopher J Leavitt      Stat Diagnostics                  10/12/2020       $      600.00 $               720.00      $ 4,500.00          MRI                    1
TIF-01   Leo Oginni trail Lawyers PLLC
                                    Stat Diagnostics                  10/12/2020       $    1,800.00 $             2,160.00      $ 11,950.00         MRI                    3
TIF-01   Joseph K Plumbar           Stat Diagnostics                  10/12/2020       $    1,200.00 $             1,440.00      $ 5,900.00          MRI                    2
TIF-01   Spagnoletti Associates     Stat Diagnostics                  10/12/2020       $      600.00 $               720.00      $ 4,500.00          MRI                    1
TIF-01   Adame Garza                Stat Diagnostics                  10/12/2020       $      600.00 $               720.00      $ 2,950.00          MRI                    1
TIF-01   Adame Garza                Stat Diagnostics                  10/12/2020       $      600.00 $               720.00      $ 2,950.00          MRI                    1
TIF-01   Adame Garza                Stat Diagnostics                  10/12/2020       $      600.00 $               720.00      $ 4,500.00          MRI                    1

                                                                                       $   106,200.00     $     127,440.00       $ 714,000.00                         177

                                    COMBINED TOTALS                                    $    130,800.00 $        156,960.00       $ 878,725.00


****     This List of Receivables supporting Series 1-Intake I (Batch 12) in the amount of US$878,725.00 is in good order as Forget-the-Market Ltd has performed the following:

         a. Review of the invoice supporting each line item on List of Receivables confirming list accuracy including the invoice amount.

         b. Collected and reviewed (via Sharing Link) the lien for each line item on the List of Receivables. Any missing liens are noted on the List of Receivables with
         an explanation as to why.
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake I (Batch 12 A&B)

                                                                                             Receivables                                    Funding
Fund   Lawyer                    Provider               BillID    Date Paid        Purchase Price                 Cost     GFB Amount        Type     # of MRI

       c. Confirmed that the value of purchased receivables respecting the listed invoices equals 559.84% of the purchased total of $156,960.00.


       William B Dalzell
       CFO, Forget-the-Market Limited
       Co-Manager for Tecumseh-Infinity MR Fund
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake I (Batch 13)

                                                                                                       Receivables                          Funding
Fund     ClaimId Lawyer                Provider                       BillId    Date Paid     Purchase Price           Cost   GFB Amount     Type

TIF-01   19969   Joseph Nazarian       Buena Vista Medical Services     26303    10/12/2020   $       71.89   $       86.27   $    239.62     Rx
TIF-01   19969   Joseph Nazarian       Buena Vista Medical Services     26304    10/12/2020   $       34.71   $       41.65   $    115.71     Rx
TIF-01   19969   Joseph Nazarian       Buena Vista Medical Services     26305    10/12/2020   $       86.61   $      103.93   $    288.69     Rx
TIF-01   19969   Joseph Nazarian       Buena Vista Medical Services     26307    10/12/2020   $      127.39   $      152.87   $    424.62     Rx
TIF-01   19969   Joseph Nazarian       Buena Vista Medical Services     26309    10/12/2020   $       94.85   $      113.82   $    316.18     Rx
TIF-01   19965   Jubin Sharifi         Buena Vista Medical Services     26280    10/12/2020   $       71.89   $       86.27   $    239.62     Rx
TIF-01   19965   Jubin Sharifi         Buena Vista Medical Services     26281    10/12/2020   $       66.31   $       79.57   $    221.02     Rx
TIF-01   19965   Jubin Sharifi         Buena Vista Medical Services     26282    10/12/2020   $      194.28   $      233.14   $    647.60     Rx
TIF-01   19965   Jubin Sharifi         Buena Vista Medical Services     26284    10/12/2020   $       89.72   $      107.66   $    299.06     Rx
TIF-01   19965   Jubin Sharifi         Buena Vista Medical Services     26285    10/12/2020   $      194.28   $      233.14   $    647.60     Rx
TIF-01   19965   Jubin Sharifi         Buena Vista Medical Services     26287    10/12/2020   $       55.76   $       66.91   $    185.85     Rx
TIF-01   19965   Jubin Sharifi         Buena Vista Medical Services     26289    10/12/2020   $       55.76   $       66.91   $    185.85     Rx
TIF-01   19965   Jubin Sharifi         Buena Vista Medical Services     26290    10/12/2020   $      194.28   $      233.14   $    647.60     Rx
TIF-01   19965   Jubin Sharifi         Buena Vista Medical Services     26292    10/12/2020   $      194.28   $      233.14   $    647.60     Rx
TIF-01   19965   Jubin Sharifi         Buena Vista Medical Services     26294    10/12/2020   $       71.89   $       86.27   $    239.62     Rx
TIF-01   19965   Jubin Sharifi         Buena Vista Medical Services     26295    10/12/2020   $       45.66   $       54.79   $    152.19     Rx
TIF-01   19965   Jubin Sharifi         Buena Vista Medical Services     26297    10/12/2020   $      192.50   $      231.00   $    641.66     Rx
TIF-01   19965   Jubin Sharifi         Buena Vista Medical Services     26299    10/12/2020   $       95.23   $      114.28   $    317.43     Rx
TIF-01   19522   Michael Shemtoub      Buena Vista Medical Services     25077    10/12/2020   $       20.56   $       24.67   $     68.55     Rx
TIF-01   19522   Michael Shemtoub      Buena Vista Medical Services     25078    10/12/2020   $       32.97   $       39.56   $    109.90     Rx
TIF-01   20081   Bob Amirian           Buena Vista Medical Services     26558    10/12/2020   $       32.60   $       39.12   $    108.65     Rx
TIF-01   20089   Ramin Soofer          Buena Vista Medical Services     26579    10/12/2020   $       38.41   $       46.09   $    128.02     Rx
TIF-01   19985   JeffreyRay Billings   Buena Vista Medical Services     26335    10/12/2020   $       85.49   $      102.59   $    284.97     Rx
TIF-01   19985   JeffreyRay Billings   Buena Vista Medical Services     26336    10/12/2020   $       86.61   $      103.93   $    288.69     Rx
TIF-01   19985   JeffreyRay Billings   Buena Vista Medical Services     26337    10/12/2020   $       44.68   $       53.62   $    148.95     Rx
TIF-01   19985   JeffreyRay Billings   Buena Vista Medical Services     26339    10/12/2020   $       40.96   $       49.15   $    136.52     Rx
TIF-01   19985   JeffreyRay Billings   Buena Vista Medical Services     26340    10/12/2020   $       78.64   $       94.37   $    262.14     Rx
TIF-01   19985   JeffreyRay Billings   Buena Vista Medical Services     26342    10/12/2020   $      212.02   $      254.42   $    706.74     Rx
TIF-01   20019   Joseph Nazarian       Buena Vista Medical Services     26406    10/12/2020   $       33.19   $       39.83   $    110.64     Rx
TIF-01   20019   Joseph Nazarian       Buena Vista Medical Services     26408    10/12/2020   $       62.72   $       75.26   $    209.07     Rx
TIF-01   20019   Joseph Nazarian       Buena Vista Medical Services     26409    10/12/2020   $       78.64   $       94.37   $    262.14     Rx
TIF-01   20019   Joseph Nazarian       Buena Vista Medical Services     26411    10/12/2020   $       33.19   $       39.83   $    110.64     Rx
TIF-01   20019   Joseph Nazarian       Buena Vista Medical Services     26413    10/12/2020   $       33.19   $       39.83   $    110.64     Rx
TIF-01   19957   Ross Hoonanian        Buena Vista Medical Services     26260    10/12/2020   $       57.60   $       69.12   $    192.00     Rx
TIF-01   20027   Robin Saghian         Buena Vista Medical Services     26444    10/12/2020   $       37.31   $       44.77   $    124.38     Rx
TIF-01   20027   Robin Saghian         Buena Vista Medical Services     26445    10/12/2020   $       33.14   $       39.77   $    110.46     Rx
TIF-01   19706   Farid Yaghoubtil      Buena Vista Medical Services     25249    10/12/2020   $       30.55   $       36.66   $    101.84     Rx
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                                                                                                        Receivables                          Funding
Fund     ClaimId   Lawyer              Provider                       BillId     Date Paid     Purchase Price           Cost   GFB Amount     Type
TIF-01    19827    Robin Saghian       Buena Vista Medical Services      25713    10/12/2020   $       42.64 $         51.17   $    142.12     Rx
TIF-01    19827    Robin Saghian       Buena Vista Medical Services      25714    10/12/2020   $       32.72 $         39.26   $    109.06     Rx
TIF-01    8739     Reginald A Greene   Buena Vista Medical Services      25062    10/12/2020   $       31.48 $         37.78   $    104.92     Rx
TIF-01    8739     Reginald A Greene   Buena Vista Medical Services      25063    10/12/2020   $       23.06 $         27.67   $     76.87     Rx
TIF-01    20057    Arash Khorsandi     Buena Vista Medical Services      26507    10/12/2020   $       38.53 $         46.24   $    128.42     Rx
TIF-01    20057    Arash Khorsandi     Buena Vista Medical Services      26508    10/12/2020   $       43.07 $         51.68   $    143.58     Rx
TIF-01    19909    Robin Saghian       Buena Vista Medical Services      26055    10/12/2020   $       56.28 $         67.54   $    187.59     Rx
TIF-01    19909    Robin Saghian       Buena Vista Medical Services      26057    10/12/2020   $       56.28 $         67.54   $    187.59     Rx
TIF-01    19909    Robin Saghian       Buena Vista Medical Services      26059    10/12/2020   $       55.83 $         67.00   $    186.10     Rx
TIF-01    19909    Robin Saghian       Buena Vista Medical Services      26061    10/12/2020   $       55.83 $         67.00   $    186.10     Rx
TIF-01    20001    Joseph Nazarian     Buena Vista Medical Services      26369    10/12/2020   $       59.05 $         70.86   $    196.84     Rx
TIF-01    20001    Joseph Nazarian     Buena Vista Medical Services      26370    10/12/2020   $       80.31 $         96.37   $    267.69     Rx
TIF-01    19927    Arash Khorsandi     Buena Vista Medical Services      26103    10/12/2020   $       38.43 $         46.12   $    128.10     Rx
TIF-01    19927    Arash Khorsandi     Buena Vista Medical Services      26104    10/12/2020   $       56.64 $         67.97   $    188.79     Rx
TIF-01    19927    Arash Khorsandi     Buena Vista Medical Services      26106    10/12/2020   $       85.28 $        102.34   $    284.26     Rx
TIF-01    19927    Arash Khorsandi     Buena Vista Medical Services      26108    10/12/2020   $      452.38 $        542.86   $ 1,507.95      Rx
TIF-01    19927    Arash Khorsandi     Buena Vista Medical Services      26110    10/12/2020   $      114.40 $        137.28   $    381.34     Rx
TIF-01    19927    Arash Khorsandi     Buena Vista Medical Services      26112    10/12/2020   $      509.08 $        610.90   $ 1,696.95      Rx
TIF-01    19927    Arash Khorsandi     Buena Vista Medical Services      26113    10/12/2020   $      242.74 $        291.29   $    809.12     Rx
TIF-01    19927    Arash Khorsandi     Buena Vista Medical Services      26115    10/12/2020   $       56.64 $         67.97   $    188.79     Rx
TIF-01    19927    Arash Khorsandi     Buena Vista Medical Services      26117    10/12/2020   $       85.28 $        102.34   $    284.26     Rx
TIF-01    19927    Arash Khorsandi     Buena Vista Medical Services      26119    10/12/2020   $       85.28 $        102.34   $    284.26     Rx
TIF-01    19927    Arash Khorsandi     Buena Vista Medical Services      26121    10/12/2020   $       56.64 $         67.97   $    188.79     Rx
TIF-01    19927    Arash Khorsandi     Buena Vista Medical Services      26123    10/12/2020   $       85.28 $        102.34   $    284.26     Rx
TIF-01    19927    Arash Khorsandi     Buena Vista Medical Services      26125    10/12/2020   $       36.61 $         43.93   $    122.04     Rx
TIF-01    19927    Arash Khorsandi     Buena Vista Medical Services      26127    10/12/2020   $       85.28 $        102.34   $    284.26     Rx
TIF-01    19927    Arash Khorsandi     Buena Vista Medical Services      26129    10/12/2020   $       36.22 $         43.46   $    120.72     Rx
TIF-01    19927    Arash Khorsandi     Buena Vista Medical Services      26130    10/12/2020   $       37.86 $         45.43   $    126.20     Rx
TIF-01    19927    Arash Khorsandi     Buena Vista Medical Services      26132    10/12/2020   $       36.61 $         43.93   $    122.04     Rx
TIF-01    19927    Arash Khorsandi     Buena Vista Medical Services      26134    10/12/2020   $       85.28 $        102.34   $    284.26     Rx
TIF-01    19927    Arash Khorsandi     Buena Vista Medical Services      26136    10/12/2020   $      114.40 $        137.28   $    381.34     Rx
TIF-01    19927    Arash Khorsandi     Buena Vista Medical Services      26138    10/12/2020   $       44.20 $         53.04   $    147.34     Rx
TIF-01    19927    Arash Khorsandi     Buena Vista Medical Services      26140    10/12/2020   $       56.64 $         67.97   $    188.79     Rx
TIF-01    19831    Arash Khorsandi     Buena Vista Medical Services      25742    10/12/2020   $       29.38 $         35.26   $     97.92     Rx
TIF-01    19831    Arash Khorsandi     Buena Vista Medical Services      25743    10/12/2020   $       56.85 $         68.22   $    189.51     Rx
TIF-01    19831    Arash Khorsandi     Buena Vista Medical Services      25745    10/12/2020   $       29.38 $         35.26   $     97.92     Rx
TIF-01    19831    Arash Khorsandi     Buena Vista Medical Services      25747    10/12/2020   $       56.85 $         68.22   $    189.51     Rx
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                                                                                                        Receivables                          Funding
Fund     ClaimId   Lawyer              Provider                       BillId     Date Paid     Purchase Price           Cost   GFB Amount     Type
TIF-01    19831    Arash Khorsandi     Buena Vista Medical Services      25749    10/12/2020   $       29.38 $         35.26   $     97.92     Rx
TIF-01    19831    Arash Khorsandi     Buena Vista Medical Services      25751    10/12/2020   $       56.85 $         68.22   $    189.51     Rx
TIF-01    19831    Arash Khorsandi     Buena Vista Medical Services      25753    10/12/2020   $       56.85 $         68.22   $    189.51     Rx
TIF-01    19831    Arash Khorsandi     Buena Vista Medical Services      25755    10/12/2020   $       56.85 $         68.22   $    189.51     Rx
TIF-01    19831    Arash Khorsandi     Buena Vista Medical Services      25757    10/12/2020   $       56.85 $         68.22   $    189.51     Rx
TIF-01    19831    Arash Khorsandi     Buena Vista Medical Services      25759    10/12/2020   $       56.85 $         68.22   $    189.51     Rx
TIF-01    19831    Arash Khorsandi     Buena Vista Medical Services      25761    10/12/2020   $       56.85 $         68.22   $    189.51     Rx
TIF-01    19831    Arash Khorsandi     Buena Vista Medical Services      25763    10/12/2020   $       56.85 $         68.22   $    189.51     Rx
TIF-01    19831    Arash Khorsandi     Buena Vista Medical Services      25765    10/12/2020   $       56.85 $         68.22   $    189.51     Rx
TIF-01    20015    Michael Drell       Buena Vista Medical Services      26391    10/12/2020   $       42.08 $         50.50   $    140.28     Rx
TIF-01    20015    Michael Drell       Buena Vista Medical Services      26392    10/12/2020   $       72.49 $         86.99   $    241.62     Rx
TIF-01    20015    Michael Drell       Buena Vista Medical Services      26394    10/12/2020   $       83.60 $        100.32   $    278.67     Rx
TIF-01    20015    Michael Drell       Buena Vista Medical Services      26396    10/12/2020   $       48.52 $         58.22   $    161.72     Rx
TIF-01    20015    Michael Drell       Buena Vista Medical Services      26398    10/12/2020   $       50.62 $         60.74   $    168.72     Rx
TIF-01    19977    Richard Sadeddin    Buena Vista Medical Services      26325    10/12/2020   $      141.08 $        169.30   $    470.25     Rx
TIF-01    19887    Joseph Nazarian     Buena Vista Medical Services      25978    10/12/2020   $       26.21 $         31.45   $     87.36     Rx
TIF-01    19887    Joseph Nazarian     Buena Vista Medical Services      25979    10/12/2020   $       26.21 $         31.45   $     87.36     Rx
TIF-01    19887    Joseph Nazarian     Buena Vista Medical Services      25980    10/12/2020   $       23.62 $         28.34   $     78.74     Rx
TIF-01    19847    Robin Saghian       Buena Vista Medical Services      25845    10/12/2020   $       30.10 $         36.12   $    100.32     Rx
TIF-01    19997    Michael Drell       Buena Vista Medical Services      26363    10/12/2020   $       64.23 $         77.08   $    214.09     Rx
TIF-01    19837    David Kashani       Buena Vista Medical Services      25812    10/12/2020   $       56.86 $         68.23   $    189.52     Rx
TIF-01    19837    David Kashani       Buena Vista Medical Services      25813    10/12/2020   $       55.52 $         66.62   $    185.08     Rx
TIF-01    19817    Robin Saghian       Buena Vista Medical Services      25677    10/12/2020   $       67.49 $         80.99   $    224.96     Rx
TIF-01    19817    Robin Saghian       Buena Vista Medical Services      25679    10/12/2020   $       26.31 $         31.57   $     87.70     Rx
TIF-01    19817    Robin Saghian       Buena Vista Medical Services      25681    10/12/2020   $       26.31 $         31.57   $     87.70     Rx
TIF-01    20047    Omid Razi           Buena Vista Medical Services      26494    10/12/2020   $       39.28 $         47.14   $    130.94     Rx
TIF-01    20047    Omid Razi           Buena Vista Medical Services      26495    10/12/2020   $       35.99 $         43.19   $    119.98     Rx
TIF-01    20047    Omid Razi           Buena Vista Medical Services      26496    10/12/2020   $       87.74 $        105.29   $    292.47     Rx
TIF-01    19823    Michael Drell       Buena Vista Medical Services      25700    10/12/2020   $       30.89 $         37.07   $    102.98     Rx
TIF-01    19823    Michael Drell       Buena Vista Medical Services      25701    10/12/2020   $       44.46 $         53.35   $    148.20     Rx
TIF-01    7298     Hamed Yazdanpanah   Buena Vista Medical Services      25070    10/12/2020   $       15.47 $         18.56   $     51.57     Rx
TIF-01    19949    Joseph Nazarian     Buena Vista Medical Services      26234    10/12/2020   $       59.05 $         70.86   $    196.84     Rx
TIF-01    19949    Joseph Nazarian     Buena Vista Medical Services      26236    10/12/2020   $       92.92 $        111.50   $    309.75     Rx
TIF-01    19949    Joseph Nazarian     Buena Vista Medical Services      26237    10/12/2020   $       98.91 $        118.69   $    329.70     Rx
TIF-01    19949    Joseph Nazarian     Buena Vista Medical Services      26238    10/12/2020   $       70.88 $         85.06   $    236.25     Rx
TIF-01    19949    Joseph Nazarian     Buena Vista Medical Services      26240    10/12/2020   $       59.05 $         70.86   $    196.84     Rx
TIF-01    19949    Joseph Nazarian     Buena Vista Medical Services      26242    10/12/2020   $       92.92 $        111.50   $    309.75     Rx
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                                                                                                          Receivables                          Funding
Fund     ClaimId   Lawyer                Provider                       BillId     Date Paid     Purchase Price           Cost   GFB Amount     Type
TIF-01    19949    Joseph Nazarian       Buena Vista Medical Services      26243    10/12/2020   $       42.75 $         51.30   $    142.50     Rx
TIF-01    19949    Joseph Nazarian       Buena Vista Medical Services      26244    10/12/2020   $       70.88 $         85.06   $    236.25     Rx
TIF-01    19949    Joseph Nazarian       Buena Vista Medical Services      26246    10/12/2020   $       98.91 $        118.69   $    329.70     Rx
TIF-01    8659     Nicholas Lasso        Buena Vista Medical Services      25319    10/12/2020   $       22.88 $         27.46   $     76.27     Rx
TIF-01    8659     Nicholas Lasso        Buena Vista Medical Services      25320    10/12/2020   $       16.44 $         19.73   $     54.79     Rx
TIF-01    19271    Omid Khorshidi        Buena Vista Medical Services      25301    10/12/2020   $       63.95 $         76.74   $    213.18     Rx
TIF-01    19271    Omid Khorshidi        Buena Vista Medical Services      25302    10/12/2020   $       33.74 $         40.49   $    112.48     Rx
TIF-01    19271    Omid Khorshidi        Buena Vista Medical Services      25303    10/12/2020   $       41.37 $         49.64   $    137.90     Rx
TIF-01    19271    Omid Khorshidi        Buena Vista Medical Services      25304    10/12/2020   $       29.88 $         35.86   $     99.60     Rx
TIF-01    19271    Omid Khorshidi        Buena Vista Medical Services      25305    10/12/2020   $       25.50 $         30.60   $     85.01     Rx
TIF-01    20063    Robin Saghian         Buena Vista Medical Services      26515    10/12/2020   $       32.60 $         39.12   $    108.65     Rx
TIF-01    20063    Robin Saghian         Buena Vista Medical Services      26516    10/12/2020   $       32.54 $         39.05   $    108.46     Rx
TIF-01    20077    RobertT. Simon        Buena Vista Medical Services      26551    10/12/2020   $       54.64 $         65.57   $    182.12     Rx
TIF-01    20077    RobertT. Simon        Buena Vista Medical Services      26553    10/12/2020   $       35.99 $         43.19   $    119.98     Rx
TIF-01    19811    Farid Yaghoubtil      Buena Vista Medical Services      25642    10/12/2020   $       34.19 $         41.03   $    113.96     Rx
TIF-01    19811    Farid Yaghoubtil      Buena Vista Medical Services      25643    10/12/2020   $       33.20 $         39.84   $    110.68     Rx
TIF-01    19811    Farid Yaghoubtil      Buena Vista Medical Services      25645    10/12/2020   $       41.95 $         50.34   $    139.82     Rx
TIF-01    19811    Farid Yaghoubtil      Buena Vista Medical Services      25647    10/12/2020   $       33.65 $         40.38   $    112.16     Rx
TIF-01    19811    Farid Yaghoubtil      Buena Vista Medical Services      25649    10/12/2020   $       32.84 $         39.41   $    109.47     Rx
TIF-01    19811    Farid Yaghoubtil      Buena Vista Medical Services      25651    10/12/2020   $       31.28 $         37.54   $    104.25     Rx
TIF-01    19811    Farid Yaghoubtil      Buena Vista Medical Services      25652    10/12/2020   $       32.72 $         39.26   $    109.08     Rx
TIF-01    19811    Farid Yaghoubtil      Buena Vista Medical Services      25653    10/12/2020   $       33.46 $         40.15   $    111.54     Rx
TIF-01    19811    Farid Yaghoubtil      Buena Vista Medical Services      25655    10/12/2020   $       38.79 $         46.55   $    129.31     Rx
TIF-01    19857    RaminRay Kohanarieh   Buena Vista Medical Services      25861    10/12/2020   $       31.81 $         38.17   $    106.02     Rx
TIF-01    19857    RaminRay Kohanarieh   Buena Vista Medical Services      25862    10/12/2020   $       33.74 $         40.49   $    112.48     Rx
TIF-01    19833    Jubin Sharifi         Buena Vista Medical Services      25767    10/12/2020   $       56.00 $         67.20   $    186.68     Rx
TIF-01    19833    Jubin Sharifi         Buena Vista Medical Services      25769    10/12/2020   $       59.45 $         71.34   $    198.16     Rx
TIF-01    19833    Jubin Sharifi         Buena Vista Medical Services      25771    10/12/2020   $       59.45 $         71.34   $    198.16     Rx
TIF-01    19833    Jubin Sharifi         Buena Vista Medical Services      25773    10/12/2020   $       59.45 $         71.34   $    198.16     Rx
TIF-01    19833    Jubin Sharifi         Buena Vista Medical Services      25775    10/12/2020   $       69.86 $         83.83   $    232.86     Rx
TIF-01    19833    Jubin Sharifi         Buena Vista Medical Services      25777    10/12/2020   $       59.45 $         71.34   $    198.16     Rx
TIF-01    19833    Jubin Sharifi         Buena Vista Medical Services      25779    10/12/2020   $       59.45 $         71.34   $    198.16     Rx
TIF-01    19833    Jubin Sharifi         Buena Vista Medical Services      25781    10/12/2020   $      124.39 $        149.27   $    414.62     Rx
TIF-01    19833    Jubin Sharifi         Buena Vista Medical Services      25783    10/12/2020   $       92.48 $        110.98   $    308.25     Rx
TIF-01    20045    Mark Ruszecki         Buena Vista Medical Services      26490    10/12/2020   $       36.95 $         44.34   $    123.18     Rx
TIF-01    20045    Mark Ruszecki         Buena Vista Medical Services      26492    10/12/2020   $       36.95 $         44.34   $    123.18     Rx
TIF-01    19708    Farid Yaghoubtil      Buena Vista Medical Services      25251    10/12/2020   $       25.16 $         30.19   $     83.87     Rx
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                                                                                                        Receivables                          Funding
Fund     ClaimId   Lawyer              Provider                       BillId     Date Paid     Purchase Price           Cost   GFB Amount     Type
TIF-01    19708    Farid Yaghoubtil    Buena Vista Medical Services      25252    10/12/2020   $       21.73 $         26.08   $     72.43     Rx
TIF-01    19708    Farid Yaghoubtil    Buena Vista Medical Services      25420    10/12/2020   $       21.73 $         26.08   $     72.43     Rx
TIF-01    19726    Omid Khorshidi      Buena Vista Medical Services      25329    10/12/2020   $       25.51 $         30.61   $     85.04     Rx
TIF-01    19726    Omid Khorshidi      Buena Vista Medical Services      25330    10/12/2020   $       23.34 $         28.01   $     77.79     Rx
TIF-01    19945    Joseph Nazarian     Buena Vista Medical Services      26228    10/12/2020   $       86.61 $        103.93   $    288.69     Rx
TIF-01    20029    Ryan B. Bormaster   Buena Vista Medical Services      26447    10/12/2020   $       27.92 $         33.50   $     93.07     Rx
TIF-01    20029    Ryan B. Bormaster   Buena Vista Medical Services      26448    10/12/2020   $       26.09 $         31.31   $     86.96     Rx
TIF-01    20029    Ryan B. Bormaster   Buena Vista Medical Services      26450    10/12/2020   $       33.86 $         40.63   $    112.86     Rx
TIF-01    20031    Ryan B. Bormaster   Buena Vista Medical Services      26452    10/12/2020   $       29.52 $         35.42   $     98.40     Rx
TIF-01    20031    Ryan B. Bormaster   Buena Vista Medical Services      26454    10/12/2020   $      289.99 $        347.99   $    966.62     Rx
TIF-01    20031    Ryan B. Bormaster   Buena Vista Medical Services      26456    10/12/2020   $       36.32 $         43.58   $    121.07     Rx
TIF-01    20023    Robert Walch        Buena Vista Medical Services      26423    10/12/2020   $       55.34 $         66.41   $    184.46     Rx
TIF-01    20023    Robert Walch        Buena Vista Medical Services      26425    10/12/2020   $       55.34 $         66.41   $    184.46     Rx
TIF-01    20023    Robert Walch        Buena Vista Medical Services      26427    10/12/2020   $       40.61 $         48.73   $    135.38     Rx
TIF-01    19913    Robin Saghian       Buena Vista Medical Services      26065    10/12/2020   $       24.76 $         29.71   $     82.53     Rx
TIF-01    19913    Robin Saghian       Buena Vista Medical Services      26066    10/12/2020   $       25.69 $         30.83   $     85.64     Rx
TIF-01    19913    Robin Saghian       Buena Vista Medical Services      26067    10/12/2020   $       25.79 $         30.95   $     85.98     Rx
TIF-01    19815    Michael Geoola      Buena Vista Medical Services      25670    10/12/2020   $       63.36 $         76.03   $    211.21     Rx
TIF-01    19815    Michael Geoola      Buena Vista Medical Services      25671    10/12/2020   $       60.71 $         72.85   $    202.37     Rx
TIF-01    19815    Michael Geoola      Buena Vista Medical Services      25672    10/12/2020   $       59.30 $         71.16   $    197.68     Rx
TIF-01    19815    Michael Geoola      Buena Vista Medical Services      25673    10/12/2020   $       60.10 $         72.12   $    200.33     Rx
TIF-01    19815    Michael Geoola      Buena Vista Medical Services      25675    10/12/2020   $       24.52 $         29.42   $     81.74     Rx
TIF-01    19815    Michael Geoola      Buena Vista Medical Services      26631    10/12/2020   $       12.74 $         15.29   $     42.45     Rx
TIF-01    19815    Michael Geoola      Buena Vista Medical Services      26632    10/12/2020   $       34.26 $         41.11   $    114.21     Rx
TIF-01    19815    Michael Geoola      Buena Vista Medical Services      26633    10/12/2020   $       16.96 $         20.35   $     56.52     Rx
TIF-01    19867    Joseph Nazarian     Buena Vista Medical Services      25900    10/12/2020   $       55.34 $         66.41   $    184.46     Rx
TIF-01    19867    Joseph Nazarian     Buena Vista Medical Services      25902    10/12/2020   $       25.69 $         30.83   $     85.64     Rx
TIF-01    19867    Joseph Nazarian     Buena Vista Medical Services      25904    10/12/2020   $      137.07 $        164.48   $    456.90     Rx
TIF-01    19867    Joseph Nazarian     Buena Vista Medical Services      25906    10/12/2020   $       44.49 $         53.39   $    148.30     Rx
TIF-01    19819    Mathew Babadjouni   Buena Vista Medical Services      25683    10/12/2020   $       31.58 $         37.90   $    105.26     Rx
TIF-01    19819    Mathew Babadjouni   Buena Vista Medical Services      25684    10/12/2020   $       28.73 $         34.48   $     95.76     Rx
TIF-01    19819    Mathew Babadjouni   Buena Vista Medical Services      25686    10/12/2020   $       31.30 $         37.56   $    104.32     Rx
TIF-01    19819    Mathew Babadjouni   Buena Vista Medical Services      25688    10/12/2020   $       22.48 $         26.98   $     74.94     Rx
TIF-01    19819    Mathew Babadjouni   Buena Vista Medical Services      25689    10/12/2020   $       31.30 $         37.56   $    104.32     Rx
TIF-01    19819    Mathew Babadjouni   Buena Vista Medical Services      25690    10/12/2020   $       31.58 $         37.90   $    105.26     Rx
TIF-01    19819    Mathew Babadjouni   Buena Vista Medical Services      25692    10/12/2020   $       31.30 $         37.56   $    104.32     Rx
TIF-01    20071    Robin Saghian       Buena Vista Medical Services      26538    10/12/2020   $       43.69 $         52.43   $    145.64     Rx
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                                                                                                          Receivables                          Funding
Fund     ClaimId   Lawyer                Provider                       BillId     Date Paid     Purchase Price           Cost   GFB Amount     Type
TIF-01    20071    Robin Saghian         Buena Vista Medical Services      26540    10/12/2020   $       43.69 $         52.43   $    145.64     Rx
TIF-01    20073    Arash Khorsandi       Buena Vista Medical Services      26542    10/12/2020   $       29.98 $         35.98   $     99.92     Rx
TIF-01    20073    Arash Khorsandi       Buena Vista Medical Services      26544    10/12/2020   $       31.02 $         37.22   $    103.40     Rx
TIF-01    20073    Arash Khorsandi       Buena Vista Medical Services      26545    10/12/2020   $       40.44 $         48.53   $    134.80     Rx
TIF-01    19849    Mathew Babadjouni     Buena Vista Medical Services      25847    10/12/2020   $       64.94 $         77.93   $    216.45     Rx
TIF-01    19889    Robin Saghian         Buena Vista Medical Services      25982    10/12/2020   $       54.87 $         65.84   $    182.91     Rx
TIF-01    19889    Robin Saghian         Buena Vista Medical Services      25983    10/12/2020   $       56.86 $         68.23   $    189.52     Rx
TIF-01    19871    HagopJ. Bazerkanian   Buena Vista Medical Services      25911    10/12/2020   $       24.97 $         29.96   $     83.22     Rx
TIF-01    19871    HagopJ. Bazerkanian   Buena Vista Medical Services      25912    10/12/2020   $       56.09 $         67.31   $    186.96     Rx
TIF-01    19871    HagopJ. Bazerkanian   Buena Vista Medical Services      25914    10/12/2020   $       24.97 $         29.96   $     83.22     Rx
TIF-01    19871    HagopJ. Bazerkanian   Buena Vista Medical Services      25915    10/12/2020   $       56.09 $         67.31   $    186.96     Rx
TIF-01    19724    Daniel Rafii          Buena Vista Medical Services      25326    10/12/2020   $       58.49 $         70.19   $    194.98     Rx
TIF-01    19724    Daniel Rafii          Buena Vista Medical Services      25327    10/12/2020   $       26.19 $         31.43   $     87.29     Rx
TIF-01    19724    Daniel Rafii          Buena Vista Medical Services      25325    10/12/2020   $       24.00 $         28.80   $     79.99     Rx
TIF-01    19875    Robin Saghian         Buena Vista Medical Services      25918    10/12/2020   $       55.39 $         66.47   $    184.62     Rx
TIF-01    19875    Robin Saghian         Buena Vista Medical Services      25919    10/12/2020   $       25.79 $         30.95   $     85.98     Rx
TIF-01    19875    Robin Saghian         Buena Vista Medical Services      25921    10/12/2020   $       66.72 $         80.06   $    222.39     Rx
TIF-01    19875    Robin Saghian         Buena Vista Medical Services      25923    10/12/2020   $       66.72 $         80.06   $    222.39     Rx
TIF-01    19883    Joseph Nazarian       Buena Vista Medical Services      25943    10/12/2020   $       61.49 $         73.79   $    204.98     Rx
TIF-01    19883    Joseph Nazarian       Buena Vista Medical Services      25944    10/12/2020   $       26.72 $         32.06   $     89.08     Rx
TIF-01    19883    Joseph Nazarian       Buena Vista Medical Services      25946    10/12/2020   $       58.09 $         69.71   $    193.64     Rx
TIF-01    19883    Joseph Nazarian       Buena Vista Medical Services      25948    10/12/2020   $       72.51 $         87.01   $    241.70     Rx
TIF-01    19883    Joseph Nazarian       Buena Vista Medical Services      25949    10/12/2020   $       58.09 $         69.71   $    193.64     Rx
TIF-01    19883    Joseph Nazarian       Buena Vista Medical Services      25951    10/12/2020   $      335.12 $        402.14   $ 1,117.05      Rx
TIF-01    19883    Joseph Nazarian       Buena Vista Medical Services      25953    10/12/2020   $       58.09 $         69.71   $    193.64     Rx
TIF-01    19883    Joseph Nazarian       Buena Vista Medical Services      25955    10/12/2020   $      335.12 $        402.14   $ 1,117.05      Rx
TIF-01    19883    Joseph Nazarian       Buena Vista Medical Services      25957    10/12/2020   $       58.09 $         69.71   $    193.64     Rx
TIF-01    19883    Joseph Nazarian       Buena Vista Medical Services      25959    10/12/2020   $      335.12 $        402.14   $ 1,117.05      Rx
TIF-01    19883    Joseph Nazarian       Buena Vista Medical Services      25961    10/12/2020   $      335.12 $        402.14   $ 1,117.05      Rx
TIF-01    19883    Joseph Nazarian       Buena Vista Medical Services      25962    10/12/2020   $       58.09 $         69.71   $    193.64     Rx
TIF-01    19883    Joseph Nazarian       Buena Vista Medical Services      25963    10/12/2020   $       39.02 $         46.82   $    130.05     Rx
TIF-01    19883    Joseph Nazarian       Buena Vista Medical Services      25964    10/12/2020   $       42.05 $         50.46   $    140.16     Rx
TIF-01    19883    Joseph Nazarian       Buena Vista Medical Services      25966    10/12/2020   $      335.12 $        402.14   $ 1,117.05      Rx
TIF-01    19883    Joseph Nazarian       Buena Vista Medical Services      25967    10/12/2020   $       49.33 $         59.20   $    164.43     Rx
TIF-01    19883    Joseph Nazarian       Buena Vista Medical Services      25969    10/12/2020   $       49.33 $         59.20   $    164.43     Rx
TIF-01    19883    Joseph Nazarian       Buena Vista Medical Services      25970    10/12/2020   $      335.12 $        402.14   $ 1,117.05      Rx
TIF-01    19883    Joseph Nazarian       Buena Vista Medical Services      25972    10/12/2020   $      335.12 $        402.14   $ 1,117.05      Rx
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                                                                                                      Receivables                          Funding
Fund     ClaimId   Lawyer            Provider                       BillId     Date Paid     Purchase Price           Cost   GFB Amount     Type
TIF-01    19883    Joseph Nazarian   Buena Vista Medical Services      25973    10/12/2020   $       49.33 $         59.20   $    164.43     Rx
TIF-01    7404     Matthew Hoffman   Buena Vista Medical Services      25071    10/12/2020   $       36.73 $         44.08   $    122.44     Rx
TIF-01    7404     Matthew Hoffman   Buena Vista Medical Services      25072    10/12/2020   $       46.37 $         55.64   $    154.58     Rx
TIF-01    7404     Matthew Hoffman   Buena Vista Medical Services      25073    10/12/2020   $       33.01 $         39.61   $    110.03     Rx
TIF-01    7404     Matthew Hoffman   Buena Vista Medical Services      25074    10/12/2020   $       27.05 $         32.46   $     90.17     Rx
TIF-01    7404     Matthew Hoffman   Buena Vista Medical Services      25434    10/12/2020   $       60.10 $         72.12   $    200.34     Rx
TIF-01    7404     Matthew Hoffman   Buena Vista Medical Services      25435    10/12/2020   $       62.78 $         75.34   $    209.27     Rx
TIF-01    9341     Jacob Emrani      Buena Vista Medical Services      25427    10/12/2020   $       29.60 $         35.52   $     98.67     Rx
TIF-01    9341     Jacob Emrani      Buena Vista Medical Services      25428    10/12/2020   $       30.96 $         37.15   $    103.21     Rx
TIF-01    19821    Payam Shayani     Buena Vista Medical Services      25694    10/12/2020   $       59.63 $         71.56   $    198.76     Rx
TIF-01    19821    Payam Shayani     Buena Vista Medical Services      25695    10/12/2020   $       59.32 $         71.18   $    197.74     Rx
TIF-01    19821    Payam Shayani     Buena Vista Medical Services      25697    10/12/2020   $      146.02 $        175.22   $    486.72     Rx
TIF-01    19821    Payam Shayani     Buena Vista Medical Services      25698    10/12/2020   $       74.57 $         89.48   $    248.58     Rx
TIF-01    19987    Jubin Sharifi     Buena Vista Medical Services      26344    10/12/2020   $       48.51 $         58.21   $    161.70     Rx
TIF-01    19987    Jubin Sharifi     Buena Vista Medical Services      26345    10/12/2020   $       89.78 $        107.74   $    299.25     Rx
TIF-01    19987    Jubin Sharifi     Buena Vista Medical Services      26347    10/12/2020   $       41.55 $         49.86   $    138.51     Rx
TIF-01    20011    Arash Khorsandi   Buena Vista Medical Services      26385    10/12/2020   $       46.06 $         55.27   $    153.54     Rx
TIF-01    20011    Arash Khorsandi   Buena Vista Medical Services      26386    10/12/2020   $       56.66 $         67.99   $    188.85     Rx
TIF-01    19809    Robin Saghian     Buena Vista Medical Services      25598    10/12/2020   $       44.86 $         53.83   $    149.53     Rx
TIF-01    19809    Robin Saghian     Buena Vista Medical Services      25599    10/12/2020   $       29.41 $         35.29   $     98.04     Rx
TIF-01    19809    Robin Saghian     Buena Vista Medical Services      25600    10/12/2020   $       44.46 $         53.35   $    148.20     Rx
TIF-01    19809    Robin Saghian     Buena Vista Medical Services      25602    10/12/2020   $       36.82 $         44.18   $    122.74     Rx
TIF-01    19809    Robin Saghian     Buena Vista Medical Services      25604    10/12/2020   $       33.74 $         40.49   $    112.48     Rx
TIF-01    19809    Robin Saghian     Buena Vista Medical Services      25606    10/12/2020   $       55.63 $         66.76   $    185.42     Rx
TIF-01    19809    Robin Saghian     Buena Vista Medical Services      25608    10/12/2020   $       26.11 $         31.33   $     87.02     Rx
TIF-01    19809    Robin Saghian     Buena Vista Medical Services      25610    10/12/2020   $       56.84 $         68.21   $    189.46     Rx
TIF-01    19809    Robin Saghian     Buena Vista Medical Services      25612    10/12/2020   $       56.84 $         68.21   $    189.46     Rx
TIF-01    19809    Robin Saghian     Buena Vista Medical Services      25614    10/12/2020   $       26.11 $         31.33   $     87.02     Rx
TIF-01    19809    Robin Saghian     Buena Vista Medical Services      25616    10/12/2020   $       62.11 $         74.53   $    207.03     Rx
TIF-01    19809    Robin Saghian     Buena Vista Medical Services      25618    10/12/2020   $       58.59 $         70.31   $    195.29     Rx
TIF-01    19809    Robin Saghian     Buena Vista Medical Services      25620    10/12/2020   $       56.84 $         68.21   $    189.46     Rx
TIF-01    19809    Robin Saghian     Buena Vista Medical Services      25622    10/12/2020   $      128.96 $        154.75   $    429.87     Rx
TIF-01    19809    Robin Saghian     Buena Vista Medical Services      25624    10/12/2020   $       58.59 $         70.31   $    195.29     Rx
TIF-01    19809    Robin Saghian     Buena Vista Medical Services      25626    10/12/2020   $      179.17 $        215.00   $    597.23     Rx
TIF-01    19809    Robin Saghian     Buena Vista Medical Services      25628    10/12/2020   $       33.74 $         40.49   $    112.48     Rx
TIF-01    19809    Robin Saghian     Buena Vista Medical Services      25630    10/12/2020   $       33.74 $         40.49   $    112.48     Rx
TIF-01    19809    Robin Saghian     Buena Vista Medical Services      25632    10/12/2020   $       33.74 $         40.49   $    112.48     Rx
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                                                                                                       Receivables                          Funding
Fund     ClaimId   Lawyer             Provider                       BillId     Date Paid     Purchase Price           Cost   GFB Amount     Type
TIF-01    19809    Robin Saghian      Buena Vista Medical Services      25634    10/12/2020   $      128.96 $        154.75   $    429.87     Rx
TIF-01    19809    Robin Saghian      Buena Vista Medical Services      25636    10/12/2020   $       33.74 $         40.49   $    112.48     Rx
TIF-01    19809    Robin Saghian      Buena Vista Medical Services      25638    10/12/2020   $      128.96 $        154.75   $    429.87     Rx
TIF-01    19809    Robin Saghian      Buena Vista Medical Services      25640    10/12/2020   $       33.74 $         40.49   $    112.48     Rx
TIF-01    19981    Michael Drell      Buena Vista Medical Services      26330    10/12/2020   $       79.51 $         95.41   $    265.03     Rx
TIF-01    19981    Michael Drell      Buena Vista Medical Services      26331    10/12/2020   $       82.81 $         99.37   $    276.03     Rx
TIF-01    19979    Michael Drell      Buena Vista Medical Services      26327    10/12/2020   $       82.81 $         99.37   $    276.03     Rx
TIF-01    19979    Michael Drell      Buena Vista Medical Services      26328    10/12/2020   $       79.51 $         95.41   $    265.03     Rx
TIF-01    20053    Robin Saghian      Buena Vista Medical Services      26502    10/12/2020   $       32.54 $         39.05   $    108.46     Rx
TIF-01    20053    Robin Saghian      Buena Vista Medical Services      26503    10/12/2020   $       32.60 $         39.12   $    108.65     Rx
TIF-01    20079    KellyF. Ryan       Buena Vista Medical Services      26555    10/12/2020   $       39.28 $         47.14   $    130.94     Rx
TIF-01    20079    KellyF. Ryan       Buena Vista Medical Services      26556    10/12/2020   $       75.62 $         90.74   $    252.06     Rx
TIF-01    19495    Nancy Bernstein    Buena Vista Medical Services      25230    10/12/2020   $       27.28 $         32.74   $     90.93     Rx
TIF-01    19495    Nancy Bernstein    Buena Vista Medical Services      25231    10/12/2020   $       24.66 $         29.59   $     82.19     Rx
TIF-01    19710    Farid Yaghoubtil   Buena Vista Medical Services      25254    10/12/2020   $       25.63 $         30.76   $     85.42     Rx
TIF-01    19710    Farid Yaghoubtil   Buena Vista Medical Services      25256    10/12/2020   $       31.86 $         38.23   $    106.21     Rx
TIF-01    19710    Farid Yaghoubtil   Buena Vista Medical Services      25300    10/12/2020   $       21.50 $         25.80   $     71.67     Rx
TIF-01    19710    Farid Yaghoubtil   Buena Vista Medical Services      25421    10/12/2020   $       30.70 $         36.84   $    102.33     Rx
TIF-01    19710    Farid Yaghoubtil   Buena Vista Medical Services      25422    10/12/2020   $       39.41 $         47.29   $    131.37     Rx
TIF-01    19869    Robin Saghian      Buena Vista Medical Services      25908    10/12/2020   $       55.88 $         67.06   $    186.27     Rx
TIF-01    19869    Robin Saghian      Buena Vista Medical Services      25909    10/12/2020   $       25.69 $         30.83   $     85.64     Rx
TIF-01    19947    Brett Deacon       Buena Vista Medical Services      26230    10/12/2020   $       81.54 $         97.85   $    271.80     Rx
TIF-01    19947    Brett Deacon       Buena Vista Medical Services      26232    10/12/2020   $      146.34 $        175.61   $    487.80     Rx
TIF-01    20013    Robin Saghian      Buena Vista Medical Services      26388    10/12/2020   $       48.56 $         58.27   $    161.85     Rx
TIF-01    20013    Robin Saghian      Buena Vista Medical Services      26389    10/12/2020   $       43.40 $         52.08   $    144.65     Rx
TIF-01    19803    D.Hess Panah       Buena Vista Medical Services      25518    10/12/2020   $       48.15 $         57.78   $    160.49     Rx
TIF-01    19803    D.Hess Panah       Buena Vista Medical Services      25519    10/12/2020   $       48.11 $         57.73   $    160.36     Rx
TIF-01    19803    D.Hess Panah       Buena Vista Medical Services      25521    10/12/2020   $       45.99 $         55.19   $    153.31     Rx
TIF-01    19803    D.Hess Panah       Buena Vista Medical Services      25523    10/12/2020   $       45.99 $         55.19   $    153.31     Rx
TIF-01    19781    Mauro Fiore Jr     Buena Vista Medical Services      25457    10/12/2020   $      108.70 $        130.44   $    362.33     Rx
TIF-01    19943    Bruce Rasner       Buena Vista Medical Services      26220    10/12/2020   $       56.30 $         67.56   $    187.65     Rx
TIF-01    19943    Bruce Rasner       Buena Vista Medical Services      26221    10/12/2020   $      139.20 $        167.04   $    464.00     Rx
TIF-01    19943    Bruce Rasner       Buena Vista Medical Services      26222    10/12/2020   $       94.07 $        112.88   $    313.56     Rx
TIF-01    19943    Bruce Rasner       Buena Vista Medical Services      26224    10/12/2020   $       94.07 $        112.88   $    313.56     Rx
TIF-01    19943    Bruce Rasner       Buena Vista Medical Services      26225    10/12/2020   $      139.20 $        167.04   $    464.00     Rx
TIF-01    19943    Bruce Rasner       Buena Vista Medical Services      26226    10/12/2020   $       56.30 $         67.56   $    187.65     Rx
TIF-01    20075    Robin Saghian      Buena Vista Medical Services      26547    10/12/2020   $       30.85 $         37.02   $    102.82     Rx
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                                                                                                              Receivables                          Funding
Fund     ClaimId   Lawyer                    Provider                       BillId     Date Paid     Purchase Price           Cost   GFB Amount     Type
TIF-01    20075    Robin Saghian             Buena Vista Medical Services      26548    10/12/2020   $       37.74 $         45.29   $    125.80     Rx
TIF-01    20075    Robin Saghian             Buena Vista Medical Services      26549    10/12/2020   $       59.72 $         71.66   $    199.05     Rx
TIF-01    19520    Farid Yaghoubtil          Buena Vista Medical Services      25057    10/12/2020   $       25.42 $         30.50   $     84.74     Rx
TIF-01    19520    Farid Yaghoubtil          Buena Vista Medical Services      25058    10/12/2020   $       52.51 $         63.01   $    175.03     Rx
TIF-01    19520    Farid Yaghoubtil          Buena Vista Medical Services      25059    10/12/2020   $       14.30 $         17.16   $     47.66     Rx
TIF-01    19520    Farid Yaghoubtil          Buena Vista Medical Services      25060    10/12/2020   $       41.86 $         50.23   $    139.54     Rx
TIF-01    19520    Farid Yaghoubtil          Buena Vista Medical Services      25418    10/12/2020   $       33.79 $         40.55   $    112.63     Rx
TIF-01    19520    Farid Yaghoubtil          Buena Vista Medical Services      25419    10/12/2020   $       64.82 $         77.78   $    216.07     Rx
TIF-01    19841    Colin Cameron             Buena Vista Medical Services      25823    10/12/2020   $       19.58 $         23.50   $     65.28     Rx
TIF-01    19841    Colin Cameron             Buena Vista Medical Services      25825    10/12/2020   $       20.66 $         24.79   $     68.88     Rx
TIF-01    19841    Colin Cameron             Buena Vista Medical Services      25826    10/12/2020   $       28.72 $         34.46   $     95.75     Rx
TIF-01    19905    Robin Saghian             Buena Vista Medical Services      26044    10/12/2020   $       55.32 $         66.38   $    184.40     Rx
TIF-01    19905    Robin Saghian             Buena Vista Medical Services      26046    10/12/2020   $       46.58 $         55.90   $    155.25     Rx
TIF-01    19905    Robin Saghian             Buena Vista Medical Services      26048    10/12/2020   $       55.01 $         66.01   $    183.38     Rx
TIF-01    19905    Robin Saghian             Buena Vista Medical Services      26050    10/12/2020   $       60.08 $         72.10   $    200.25     Rx
TIF-01    7300     Omid Khorshidi            Buena Vista Medical Services      25239    10/12/2020   $       23.11 $         27.73   $     77.03     Rx
TIF-01    19891    Robin Saghian             Buena Vista Medical Services      25985    10/12/2020   $       25.07 $         30.08   $     83.56     Rx
TIF-01    19891    Robin Saghian             Buena Vista Medical Services      25986    10/12/2020   $       54.86 $         65.83   $    182.85     Rx
TIF-01    19891    Robin Saghian             Buena Vista Medical Services      25988    10/12/2020   $       56.41 $         67.69   $    188.04     Rx
TIF-01    19891    Robin Saghian             Buena Vista Medical Services      25990    10/12/2020   $       26.21 $         31.45   $     87.36     Rx
TIF-01    19891    Robin Saghian             Buena Vista Medical Services      25992    10/12/2020   $       26.21 $         31.45   $     87.36     Rx
TIF-01    19925    Robin Saghian             Buena Vista Medical Services      26099    10/12/2020   $       38.26 $         45.91   $    127.53     Rx
TIF-01    19925    Robin Saghian             Buena Vista Medical Services      26100    10/12/2020   $       38.30 $         45.96   $    127.68     Rx
TIF-01    19925    Robin Saghian             Buena Vista Medical Services      26101    10/12/2020   $       52.95 $         63.54   $    176.50     Rx
TIF-01    7084     Justin Weinrich           Buena Vista Medical Services      25067    10/12/2020   $       28.59 $         34.31   $     95.30     Rx
TIF-01    7084     Justin Weinrich           Buena Vista Medical Services      25068    10/12/2020   $       50.41 $         60.49   $    168.04     Rx
TIF-01    7084     Justin Weinrich           Buena Vista Medical Services      25069    10/12/2020   $       43.89 $         52.67   $    146.30     Rx
TIF-01    7084     Justin Weinrich           Buena Vista Medical Services      25237    10/12/2020   $       50.41 $         60.49   $    168.04     Rx
TIF-01    7084     Justin Weinrich           Buena Vista Medical Services      25238    10/12/2020   $      136.31 $        163.57   $    454.37     Rx
TIF-01    7084     Justin Weinrich           Buena Vista Medical Services      25315    10/12/2020   $       24.88 $         29.86   $     82.95     Rx
TIF-01    7084     Justin Weinrich           Buena Vista Medical Services      25316    10/12/2020   $      120.42 $        144.50   $    401.39     Rx
TIF-01    7084     Justin Weinrich           Buena Vista Medical Services      25431    10/12/2020   $       43.89 $         52.67   $    146.30     Rx
TIF-01    7084     Justin Weinrich           Buena Vista Medical Services      25432    10/12/2020   $       26.90 $         32.28   $     89.68     Rx
TIF-01    7869     Mauro Fiore Jr            Buena Vista Medical Services      25312    10/12/2020   $       45.79 $         54.95   $    152.63     Rx
TIF-01    7869     Mauro Fiore Jr            Buena Vista Medical Services      25313    10/12/2020   $       63.24 $         75.89   $    210.79     Rx
TIF-01    7869     Mauro Fiore Jr            Buena Vista Medical Services      25314    10/12/2020   $       23.79 $         28.55   $     79.29     Rx
TIF-01    20085    MarselinSeda Koshkaryan   Buena Vista Medical Services      26562    10/12/2020   $      381.28 $        457.54   $ 1,270.94      Rx
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                                                                                                              Receivables                          Funding
Fund     ClaimId   Lawyer                    Provider                       BillId     Date Paid     Purchase Price           Cost   GFB Amount     Type
TIF-01    20085    MarselinSeda Koshkaryan   Buena Vista Medical Services      26563    10/12/2020   $       77.03 $         92.44   $    256.78     Rx
TIF-01    20085    MarselinSeda Koshkaryan   Buena Vista Medical Services      26565    10/12/2020   $       77.03 $         92.44   $    256.78     Rx
TIF-01    20025    HagopJ. Bazerkanian       Buena Vista Medical Services      26433    10/12/2020   $       50.68 $         60.82   $    168.94     Rx
TIF-01    20025    HagopJ. Bazerkanian       Buena Vista Medical Services      26435    10/12/2020   $       37.28 $         44.74   $    124.26     Rx
TIF-01    20025    HagopJ. Bazerkanian       Buena Vista Medical Services      26437    10/12/2020   $       37.28 $         44.74   $    124.26     Rx
TIF-01    20025    HagopJ. Bazerkanian       Buena Vista Medical Services      26439    10/12/2020   $       50.68 $         60.82   $    168.94     Rx
TIF-01    20025    HagopJ. Bazerkanian       Buena Vista Medical Services      26441    10/12/2020   $       47.13 $         56.56   $    157.10     Rx
TIF-01    20025    HagopJ. Bazerkanian       Buena Vista Medical Services      26442    10/12/2020   $       37.04 $         44.45   $    123.46     Rx
TIF-01    19855    Michael Drell             Buena Vista Medical Services      25859    10/12/2020   $       29.41 $         35.29   $     98.04     Rx
TIF-01    20017    Michael Drell             Buena Vista Medical Services      26400    10/12/2020   $       42.08 $         50.50   $    140.28     Rx
TIF-01    20017    Michael Drell             Buena Vista Medical Services      26401    10/12/2020   $       72.49 $         86.99   $    241.62     Rx
TIF-01    20017    Michael Drell             Buena Vista Medical Services      26403    10/12/2020   $       78.64 $         94.37   $    262.14     Rx
TIF-01    20017    Michael Drell             Buena Vista Medical Services      26404    10/12/2020   $       83.60 $        100.32   $    278.67     Rx
TIF-01    20051    David Kashani             Buena Vista Medical Services      26500    10/12/2020   $       55.92 $         67.10   $    186.39     Rx
TIF-01    20049    Arash Khorsandi           Buena Vista Medical Services      26498    10/12/2020   $       55.64 $         66.77   $    185.48     Rx
TIF-01    19935    Arash Khorsandi           Buena Vista Medical Services      26185    10/12/2020   $       84.88 $        101.86   $    282.92     Rx
TIF-01    20061    Maryam Parman             Buena Vista Medical Services      26513    10/12/2020   $       43.16 $         51.79   $    143.86     Rx
TIF-01    19955    Robin Saghian             Buena Vista Medical Services      26254    10/12/2020   $       44.62 $         53.54   $    148.74     Rx
TIF-01    19955    Robin Saghian             Buena Vista Medical Services      26255    10/12/2020   $       38.75 $         46.50   $    129.18     Rx
TIF-01    19955    Robin Saghian             Buena Vista Medical Services      26257    10/12/2020   $       48.56 $         58.27   $    161.85     Rx
TIF-01    19955    Robin Saghian             Buena Vista Medical Services      26258    10/12/2020   $       43.40 $         52.08   $    144.65     Rx
TIF-01    19921    Robin Saghian             Buena Vista Medical Services      26085    10/12/2020   $       22.69 $         27.23   $     75.63     Rx
TIF-01    19921    Robin Saghian             Buena Vista Medical Services      26086    10/12/2020   $       23.72 $         28.46   $     79.08     Rx
TIF-01    19921    Robin Saghian             Buena Vista Medical Services      26087    10/12/2020   $       23.62 $         28.34   $     78.74     Rx
TIF-01    19921    Robin Saghian             Buena Vista Medical Services      26089    10/12/2020   $       88.41 $        106.09   $    294.70     Rx
TIF-01    19879    LarryM.Aisola Jr.         Buena Vista Medical Services      25939    10/12/2020   $       44.61 $         53.53   $    148.70     Rx
TIF-01    19879    LarryM.Aisola Jr.         Buena Vista Medical Services      25938    10/12/2020   $       67.16 $         80.59   $    223.85     Rx
TIF-01    20087    Joseph Nazarian           Buena Vista Medical Services      26567    10/12/2020   $       43.69 $         52.43   $    145.64     Rx
TIF-01    20087    Joseph Nazarian           Buena Vista Medical Services      26569    10/12/2020   $       77.03 $         92.44   $    256.78     Rx
TIF-01    20087    Joseph Nazarian           Buena Vista Medical Services      26571    10/12/2020   $       39.43 $         47.32   $    131.44     Rx
TIF-01    20087    Joseph Nazarian           Buena Vista Medical Services      26573    10/12/2020   $       61.56 $         73.87   $    205.20     Rx
TIF-01    20087    Joseph Nazarian           Buena Vista Medical Services      26574    10/12/2020   $       37.86 $         45.43   $    126.20     Rx
TIF-01    20087    Joseph Nazarian           Buena Vista Medical Services      26575    10/12/2020   $       58.87 $         70.64   $    196.24     Rx
TIF-01    20087    Joseph Nazarian           Buena Vista Medical Services      26577    10/12/2020   $       40.61 $         48.73   $    135.38     Rx
TIF-01    19728    Omid Khorshidi            Buena Vista Medical Services      25332    10/12/2020   $       23.40 $         28.08   $     78.01     Rx
TIF-01    19728    Omid Khorshidi            Buena Vista Medical Services      25333    10/12/2020   $       23.47 $         28.16   $     78.24     Rx
TIF-01    19937    FernandoD. Vargas         Buena Vista Medical Services      26187    10/12/2020   $       50.02 $         60.02   $    166.73     Rx
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                                                                                                               Receivables                          Funding
Fund     ClaimId   Lawyer                     Provider                       BillId     Date Paid     Purchase Price           Cost   GFB Amount     Type
TIF-01    19937    FernandoD. Vargas          Buena Vista Medical Services      26189    10/12/2020   $      109.60 $        131.52   $    365.35     Rx
TIF-01    19937    FernandoD. Vargas          Buena Vista Medical Services      26191    10/12/2020   $      109.60 $        131.52   $    365.35     Rx
TIF-01    19937    FernandoD. Vargas          Buena Vista Medical Services      26193    10/12/2020   $       47.04 $         56.45   $    156.81     Rx
TIF-01    19937    FernandoD. Vargas          Buena Vista Medical Services      26195    10/12/2020   $      109.60 $        131.52   $    365.35     Rx
TIF-01    20069    Arash Khorsandi            Buena Vista Medical Services      26533    10/12/2020   $       21.86 $         26.23   $     72.87     Rx
TIF-01    20069    Arash Khorsandi            Buena Vista Medical Services      26535    10/12/2020   $       33.04 $         39.65   $    110.13     Rx
TIF-01    20069    Arash Khorsandi            Buena Vista Medical Services      26536    10/12/2020   $      122.86 $        147.43   $    409.54     Rx
TIF-01    19973    Arash Khorsandi            Buena Vista Medical Services      26311    10/12/2020   $       52.70 $         63.24   $    175.65     Rx
TIF-01    19973    Arash Khorsandi            Buena Vista Medical Services      26313    10/12/2020   $       49.69 $         59.63   $    165.64     Rx
TIF-01    19973    Arash Khorsandi            Buena Vista Medical Services      26315    10/12/2020   $       23.83 $         28.60   $     79.43     Rx
TIF-01    19973    Arash Khorsandi            Buena Vista Medical Services      26316    10/12/2020   $       53.74 $         64.49   $    179.12     Rx
TIF-01    19973    Arash Khorsandi            Buena Vista Medical Services      26318    10/12/2020   $       53.74 $         64.49   $    179.12     Rx
TIF-01    19973    Arash Khorsandi            Buena Vista Medical Services      26319    10/12/2020   $       25.48 $         30.58   $     84.94     Rx
TIF-01    9767     Cory Hilton                Buena Vista Medical Services      25243    10/12/2020   $       26.25 $         31.50   $     87.51     Rx
TIF-01    9767     Cory Hilton                Buena Vista Medical Services      25244    10/12/2020   $       60.73 $         72.88   $    202.43     Rx
TIF-01    9767     Cory Hilton                Buena Vista Medical Services      25436    10/12/2020   $       63.56 $         76.27   $    211.85     Rx
TIF-01    9767     Cory Hilton                Buena Vista Medical Services      25437    10/12/2020   $       93.39 $        112.07   $    311.30     Rx
TIF-01    9767     Cory Hilton                Buena Vista Medical Services      25438    10/12/2020   $       29.98 $         35.98   $     99.94     Rx
TIF-01    9343     Cory Hilton                Buena Vista Medical Services      25075    10/12/2020   $      345.28 $        414.34   $ 1,150.94      Rx
TIF-01    8895     Michael Shemtoub           Buena Vista Medical Services      25429    10/12/2020   $       21.73 $         26.08   $     72.43     Rx
TIF-01    20039    Robin Saghian              Buena Vista Medical Services      26480    10/12/2020   $       33.81 $         40.57   $    112.70     Rx
TIF-01    20039    Robin Saghian              Buena Vista Medical Services      26481    10/12/2020   $       30.85 $         37.02   $    102.82     Rx
TIF-01    20007    Christopher Bulone         Buena Vista Medical Services      26379    10/12/2020   $       82.81 $         99.37   $    276.03     Rx
TIF-01    20007    Christopher Bulone         Buena Vista Medical Services      26380    10/12/2020   $       41.38 $         49.66   $    137.94     Rx
TIF-01    20007    Christopher Bulone         Buena Vista Medical Services      26381    10/12/2020   $       69.96 $         83.95   $    233.20     Rx
TIF-01    19493    Daniel Rafii               Buena Vista Medical Services      25299    10/12/2020   $       58.49 $         70.19   $    194.98     Rx
TIF-01    20021    Justin Farahi              Buena Vista Medical Services      26415    10/12/2020   $       53.09 $         63.71   $    176.98     Rx
TIF-01    20021    Justin Farahi              Buena Vista Medical Services      26417    10/12/2020   $       59.60 $         71.52   $    198.65     Rx
TIF-01    20021    Justin Farahi              Buena Vista Medical Services      26419    10/12/2020   $       59.60 $         71.52   $    198.65     Rx
TIF-01    20021    Justin Farahi              Buena Vista Medical Services      26421    10/12/2020   $       53.09 $         63.71   $    176.98     Rx
TIF-01    20043    Justin Farahi              Buena Vista Medical Services      26485    10/12/2020   $       32.20 $         38.64   $    107.34     Rx
TIF-01    20043    Justin Farahi              Buena Vista Medical Services      26486    10/12/2020   $       44.51 $         53.41   $    148.38     Rx
TIF-01    20043    Justin Farahi              Buena Vista Medical Services      26488    10/12/2020   $       44.51 $         53.41   $    148.38     Rx
TIF-01    20033    RobertW.Chambers     III   Buena Vista Medical Services      26458    10/12/2020   $       25.79 $         30.95   $     85.96     Rx
TIF-01    20033    RobertW.Chambers     III   Buena Vista Medical Services      26459    10/12/2020   $       35.98 $         43.18   $    119.93     Rx
TIF-01    20033    RobertW.Chambers     III   Buena Vista Medical Services      26460    10/12/2020   $       51.55 $         61.86   $    171.82     Rx
TIF-01    20033    RobertW.Chambers     III   Buena Vista Medical Services      26461    10/12/2020   $       30.26 $         36.31   $    100.87     Rx
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                                                                                                           Receivables                          Funding
Fund     ClaimId   Lawyer                 Provider                       BillId     Date Paid     Purchase Price           Cost   GFB Amount     Type
TIF-01    20033    RobertW.Chambers III   Buena Vista Medical Services      26463    10/12/2020   $       23.80 $         28.56   $     79.34     Rx
TIF-01    20033    RobertW.Chambers III   Buena Vista Medical Services      26464    10/12/2020   $       20.14 $         24.17   $     67.13     Rx
TIF-01    19953    Maryam Parman          Buena Vista Medical Services      26251    10/12/2020   $       85.03 $        102.04   $    283.44     Rx
TIF-01    19953    Maryam Parman          Buena Vista Medical Services      26252    10/12/2020   $      108.53 $        130.24   $    361.77     Rx
TIF-01    19991    Joseph Nazarian        Buena Vista Medical Services      26353    10/12/2020   $       56.30 $         67.56   $    187.65     Rx
TIF-01    19991    Joseph Nazarian        Buena Vista Medical Services      26354    10/12/2020   $       71.93 $         86.32   $    239.76     Rx
TIF-01    19989    Arash Khorsandi        Buena Vista Medical Services      26349    10/12/2020   $       53.84 $         64.61   $    179.48     Rx
TIF-01    19989    Arash Khorsandi        Buena Vista Medical Services      26351    10/12/2020   $       61.44 $         73.73   $    204.80     Rx
TIF-01    19839    Mathew Babadjouni      Buena Vista Medical Services      25815    10/12/2020   $       75.80 $         90.96   $    252.68     Rx
TIF-01    19839    Mathew Babadjouni      Buena Vista Medical Services      25816    10/12/2020   $       77.02 $         92.42   $    256.73     Rx
TIF-01    19839    Mathew Babadjouni      Buena Vista Medical Services      25818    10/12/2020   $       75.80 $         90.96   $    252.68     Rx
TIF-01    19839    Mathew Babadjouni      Buena Vista Medical Services      25820    10/12/2020   $       77.02 $         92.42   $    256.73     Rx
TIF-01    19839    Mathew Babadjouni      Buena Vista Medical Services      25821    10/12/2020   $       75.80 $         90.96   $    252.68     Rx
TIF-01    19931    Jacob Emrani           Buena Vista Medical Services      26148    10/12/2020   $       73.74 $         88.49   $    245.79     Rx
TIF-01    19931    Jacob Emrani           Buena Vista Medical Services      26149    10/12/2020   $       57.63 $         69.16   $    192.10     Rx
TIF-01    19931    Jacob Emrani           Buena Vista Medical Services      26151    10/12/2020   $       42.56 $         51.07   $    141.87     Rx
TIF-01    19931    Jacob Emrani           Buena Vista Medical Services      26152    10/12/2020   $       57.63 $         69.16   $    192.10     Rx
TIF-01    19931    Jacob Emrani           Buena Vista Medical Services      26154    10/12/2020   $       41.26 $         49.51   $    137.54     Rx
TIF-01    19931    Jacob Emrani           Buena Vista Medical Services      26156    10/12/2020   $       39.37 $         47.24   $    131.22     Rx
TIF-01    19931    Jacob Emrani           Buena Vista Medical Services      26158    10/12/2020   $       79.54 $         95.45   $    265.14     Rx
TIF-01    19931    Jacob Emrani           Buena Vista Medical Services      26160    10/12/2020   $       47.95 $         57.54   $    159.82     Rx
TIF-01    19931    Jacob Emrani           Buena Vista Medical Services      26162    10/12/2020   $      241.71 $        290.05   $    805.70     Rx
TIF-01    19907    Robin Saghian          Buena Vista Medical Services      26052    10/12/2020   $       55.08 $         66.10   $    183.60     Rx
TIF-01    19907    Robin Saghian          Buena Vista Medical Services      26053    10/12/2020   $       54.76 $         65.71   $    182.52     Rx
TIF-01    19899    Robin Saghian          Buena Vista Medical Services      26037    10/12/2020   $       54.86 $         65.83   $    182.85     Rx
TIF-01    19899    Robin Saghian          Buena Vista Medical Services      26038    10/12/2020   $       55.08 $         66.10   $    183.60     Rx
TIF-01    19999    Joseph Nazarian        Buena Vista Medical Services      26365    10/12/2020   $       65.87 $         79.04   $    219.58     Rx
TIF-01    19999    Joseph Nazarian        Buena Vista Medical Services      26367    10/12/2020   $       65.87 $         79.04   $    219.58     Rx
TIF-01    19919    Arash Khorsandi        Buena Vista Medical Services      26077    10/12/2020   $       56.92 $         68.30   $    189.75     Rx
TIF-01    19919    Arash Khorsandi        Buena Vista Medical Services      26079    10/12/2020   $      111.01 $        133.21   $    370.04     Rx
TIF-01    19919    Arash Khorsandi        Buena Vista Medical Services      26081    10/12/2020   $      111.01 $        133.21   $    370.04     Rx
TIF-01    19919    Arash Khorsandi        Buena Vista Medical Services      26083    10/12/2020   $      111.01 $        133.21   $    370.04     Rx
TIF-01    19941    Arash Khorsandi        Buena Vista Medical Services      26199    10/12/2020   $       48.85 $         58.62   $    162.84     Rx
TIF-01    19941    Arash Khorsandi        Buena Vista Medical Services      26201    10/12/2020   $       48.85 $         58.62   $    162.84     Rx
TIF-01    19941    Arash Khorsandi        Buena Vista Medical Services      26203    10/12/2020   $       48.85 $         58.62   $    162.84     Rx
TIF-01    19941    Arash Khorsandi        Buena Vista Medical Services      26205    10/12/2020   $       48.85 $         58.62   $    162.84     Rx
TIF-01    19941    Arash Khorsandi        Buena Vista Medical Services      26207    10/12/2020   $      118.04 $        141.65   $    393.46     Rx
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                                                                                                         Receivables                          Funding
Fund     ClaimId   Lawyer               Provider                       BillId     Date Paid     Purchase Price           Cost   GFB Amount     Type
TIF-01    19941    Arash Khorsandi      Buena Vista Medical Services      26209    10/12/2020   $       34.24 $         41.09   $    114.12     Rx
TIF-01    19941    Arash Khorsandi      Buena Vista Medical Services      26210    10/12/2020   $       47.56 $         57.07   $    158.52     Rx
TIF-01    19941    Arash Khorsandi      Buena Vista Medical Services      26211    10/12/2020   $      118.04 $        141.65   $    393.46     Rx
TIF-01    19941    Arash Khorsandi      Buena Vista Medical Services      26212    10/12/2020   $       37.83 $         45.40   $    126.09     Rx
TIF-01    19941    Arash Khorsandi      Buena Vista Medical Services      26213    10/12/2020   $       44.97 $         53.96   $    149.91     Rx
TIF-01    19941    Arash Khorsandi      Buena Vista Medical Services      26214    10/12/2020   $       33.13 $         39.76   $    110.42     Rx
TIF-01    19941    Arash Khorsandi      Buena Vista Medical Services      26215    10/12/2020   $       35.09 $         42.11   $    116.97     Rx
TIF-01    19941    Arash Khorsandi      Buena Vista Medical Services      26217    10/12/2020   $       29.56 $         35.47   $     98.55     Rx
TIF-01    19941    Arash Khorsandi      Buena Vista Medical Services      26218    10/12/2020   $       48.85 $         58.62   $    162.84     Rx
TIF-01    19897    Robin Saghian        Buena Vista Medical Services      26033    10/12/2020   $       25.79 $         30.95   $     85.98     Rx
TIF-01    19897    Robin Saghian        Buena Vista Medical Services      26035    10/12/2020   $       48.53 $         58.24   $    161.77     Rx
TIF-01    19911    Mark Ruszecki        Buena Vista Medical Services      26063    10/12/2020   $       55.42 $         66.50   $    184.74     Rx
TIF-01    19863    Joseph Nazarian      Buena Vista Medical Services      25884    10/12/2020   $       56.02 $         67.22   $    186.74     Rx
TIF-01    19863    Joseph Nazarian      Buena Vista Medical Services      25885    10/12/2020   $      117.20 $        140.64   $    390.67     Rx
TIF-01    19863    Joseph Nazarian      Buena Vista Medical Services      25887    10/12/2020   $       55.37 $         66.44   $    184.56     Rx
TIF-01    19863    Joseph Nazarian      Buena Vista Medical Services      25889    10/12/2020   $       55.22 $         66.26   $    184.05     Rx
TIF-01    19863    Joseph Nazarian      Buena Vista Medical Services      25891    10/12/2020   $       55.22 $         66.26   $    184.05     Rx
TIF-01    19863    Joseph Nazarian      Buena Vista Medical Services      25893    10/12/2020   $      117.20 $        140.64   $    390.67     Rx
TIF-01    19851    Yehonatan Weinberg   Buena Vista Medical Services      25849    10/12/2020   $       60.52 $         72.62   $    201.72     Rx
TIF-01    19851    Yehonatan Weinberg   Buena Vista Medical Services      25850    10/12/2020   $       55.71 $         66.85   $    185.70     Rx
TIF-01    19851    Yehonatan Weinberg   Buena Vista Medical Services      25852    10/12/2020   $       55.10 $         66.12   $    183.66     Rx
TIF-01    19851    Yehonatan Weinberg   Buena Vista Medical Services      25854    10/12/2020   $       56.98 $         68.38   $    189.93     Rx
TIF-01    19851    Yehonatan Weinberg   Buena Vista Medical Services      25855    10/12/2020   $       55.58 $         66.70   $    185.25     Rx
TIF-01    19237    Farid Yaghoubtil     Buena Vista Medical Services      25234    10/12/2020   $       27.46 $         32.95   $     91.54     Rx
TIF-01    19237    Farid Yaghoubtil     Buena Vista Medical Services      25235    10/12/2020   $       64.96 $         77.95   $    216.52     Rx
TIF-01    19722    Michael Madadi       Buena Vista Medical Services      25322    10/12/2020   $       30.41 $         36.49   $    101.38     Rx
TIF-01    19722    Michael Madadi       Buena Vista Medical Services      25323    10/12/2020   $       22.28 $         26.74   $     74.25     Rx
TIF-01    19895    Cesar Ornelas        Buena Vista Medical Services      26024    10/12/2020   $       44.53 $         53.44   $    148.43     Rx
TIF-01    19895    Cesar Ornelas        Buena Vista Medical Services      26025    10/12/2020   $       49.22 $         59.06   $    164.06     Rx
TIF-01    19895    Cesar Ornelas        Buena Vista Medical Services      26026    10/12/2020   $       44.39 $         53.27   $    147.97     Rx
TIF-01    19895    Cesar Ornelas        Buena Vista Medical Services      26028    10/12/2020   $       63.84 $         76.61   $    212.81     Rx
TIF-01    19895    Cesar Ornelas        Buena Vista Medical Services      26029    10/12/2020   $       46.62 $         55.94   $    155.40     Rx
TIF-01    19895    Cesar Ornelas        Buena Vista Medical Services      26031    10/12/2020   $       45.98 $         55.18   $    153.26     Rx
TIF-01    19704    Mauro Fiore Jr       Buena Vista Medical Services      25247    10/12/2020   $       28.30 $         33.96   $     94.32     Rx
TIF-01    19805    Yehonatan Weinberg   Buena Vista Medical Services      25525    10/12/2020   $       34.77 $         41.72   $    115.90     Rx
TIF-01    19805    Yehonatan Weinberg   Buena Vista Medical Services      25527    10/12/2020   $       34.77 $         41.72   $    115.90     Rx
TIF-01    19805    Yehonatan Weinberg   Buena Vista Medical Services      25529    10/12/2020   $       34.77 $         41.72   $    115.90     Rx
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                                                                                                         Receivables                          Funding
Fund     ClaimId   Lawyer               Provider                       BillId     Date Paid     Purchase Price           Cost   GFB Amount     Type
TIF-01    19805    Yehonatan Weinberg   Buena Vista Medical Services      25535    10/12/2020   $       34.77 $         41.72   $    115.90     Rx
TIF-01    19805    Yehonatan Weinberg   Buena Vista Medical Services      25536    10/12/2020   $       25.28 $         30.34   $     84.26     Rx
TIF-01    19805    Yehonatan Weinberg   Buena Vista Medical Services      25538    10/12/2020   $       66.67 $         80.00   $    222.24     Rx
TIF-01    19805    Yehonatan Weinberg   Buena Vista Medical Services      25539    10/12/2020   $       34.77 $         41.72   $    115.90     Rx
TIF-01    19805    Yehonatan Weinberg   Buena Vista Medical Services      25541    10/12/2020   $       52.77 $         63.32   $    175.90     Rx
TIF-01    19805    Yehonatan Weinberg   Buena Vista Medical Services      25543    10/12/2020   $       52.77 $         63.32   $    175.90     Rx
TIF-01    19805    Yehonatan Weinberg   Buena Vista Medical Services      25545    10/12/2020   $       66.67 $         80.00   $    222.24     Rx
TIF-01    19805    Yehonatan Weinberg   Buena Vista Medical Services      25547    10/12/2020   $       88.57 $        106.28   $    295.23     Rx
TIF-01    19805    Yehonatan Weinberg   Buena Vista Medical Services      25549    10/12/2020   $       88.57 $        106.28   $    295.23     Rx
TIF-01    19805    Yehonatan Weinberg   Buena Vista Medical Services      25551    10/12/2020   $       66.67 $         80.00   $    222.24     Rx
TIF-01    19805    Yehonatan Weinberg   Buena Vista Medical Services      25552    10/12/2020   $       36.70 $         44.04   $    122.32     Rx
TIF-01    19805    Yehonatan Weinberg   Buena Vista Medical Services      25554    10/12/2020   $       66.67 $         80.00   $    222.24     Rx
TIF-01    19805    Yehonatan Weinberg   Buena Vista Medical Services      25555    10/12/2020   $       36.70 $         44.04   $    122.32     Rx
TIF-01    19835    Arash Khorsandi      Buena Vista Medical Services      25785    10/12/2020   $       56.48 $         67.78   $    188.26     Rx
TIF-01    19835    Arash Khorsandi      Buena Vista Medical Services      25786    10/12/2020   $       54.86 $         65.83   $    182.85     Rx
TIF-01    19835    Arash Khorsandi      Buena Vista Medical Services      25788    10/12/2020   $       55.54 $         66.65   $    185.13     Rx
TIF-01    19835    Arash Khorsandi      Buena Vista Medical Services      25790    10/12/2020   $       65.78 $         78.94   $    219.27     Rx
TIF-01    19835    Arash Khorsandi      Buena Vista Medical Services      25792    10/12/2020   $       65.78 $         78.94   $    219.27     Rx
TIF-01    19835    Arash Khorsandi      Buena Vista Medical Services      25794    10/12/2020   $       65.78 $         78.94   $    219.27     Rx
TIF-01    19835    Arash Khorsandi      Buena Vista Medical Services      25796    10/12/2020   $       65.78 $         78.94   $    219.27     Rx
TIF-01    19835    Arash Khorsandi      Buena Vista Medical Services      25798    10/12/2020   $       65.78 $         78.94   $    219.27     Rx
TIF-01    19835    Arash Khorsandi      Buena Vista Medical Services      25800    10/12/2020   $       54.86 $         65.83   $    182.85     Rx
TIF-01    19835    Arash Khorsandi      Buena Vista Medical Services      25802    10/12/2020   $       57.44 $         68.93   $    191.46     Rx
TIF-01    19835    Arash Khorsandi      Buena Vista Medical Services      25803    10/12/2020   $       43.00 $         51.60   $    143.32     Rx
TIF-01    19835    Arash Khorsandi      Buena Vista Medical Services      25805    10/12/2020   $       65.78 $         78.94   $    219.27     Rx
TIF-01    19835    Arash Khorsandi      Buena Vista Medical Services      25807    10/12/2020   $       65.78 $         78.94   $    219.27     Rx
TIF-01    19835    Arash Khorsandi      Buena Vista Medical Services      25808    10/12/2020   $       54.86 $         65.83   $    182.85     Rx
TIF-01    19835    Arash Khorsandi      Buena Vista Medical Services      25810    10/12/2020   $       65.78 $         78.94   $    219.27     Rx
TIF-01    20009    Arash Khorsandi      Buena Vista Medical Services      26383    10/12/2020   $       87.55 $        105.06   $    291.84     Rx
TIF-01    19993    Jubin Sharifi        Buena Vista Medical Services      26356    10/12/2020   $       60.20 $         72.24   $    200.66     Rx
TIF-01    19993    Jubin Sharifi        Buena Vista Medical Services      26358    10/12/2020   $       55.92 $         67.10   $    186.39     Rx
TIF-01    19993    Jubin Sharifi        Buena Vista Medical Services      26359    10/12/2020   $       60.49 $         72.59   $    201.62     Rx
TIF-01    19825    Neama Rahmani        Buena Vista Medical Services      25703    10/12/2020   $       27.59 $         33.11   $     91.96     Rx
TIF-01    19825    Neama Rahmani        Buena Vista Medical Services      25705    10/12/2020   $       23.21 $         27.85   $     77.36     Rx
TIF-01    19825    Neama Rahmani        Buena Vista Medical Services      25707    10/12/2020   $       33.79 $         40.55   $    112.62     Rx
TIF-01    19825    Neama Rahmani        Buena Vista Medical Services      25708    10/12/2020   $       61.71 $         74.05   $    205.71     Rx
TIF-01    19825    Neama Rahmani        Buena Vista Medical Services      25710    10/12/2020   $       41.76 $         50.11   $    139.20     Rx
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                                                                                                          Receivables                          Funding
Fund     ClaimId   Lawyer                Provider                       BillId     Date Paid     Purchase Price           Cost   GFB Amount     Type
TIF-01    19825    Neama Rahmani         Buena Vista Medical Services      25711    10/12/2020   $       27.59 $         33.11   $     91.96     Rx
TIF-01    19917    Robin Saghian         Buena Vista Medical Services      26073    10/12/2020   $       54.94 $         65.93   $    183.14     Rx
TIF-01    19917    Robin Saghian         Buena Vista Medical Services      26074    10/12/2020   $       55.79 $         66.95   $    185.98     Rx
TIF-01    19917    Robin Saghian         Buena Vista Medical Services      26075    10/12/2020   $       56.64 $         67.97   $    188.79     Rx
TIF-01    19301    Jacob Emrani          Buena Vista Medical Services      25065    10/12/2020   $       19.95 $         23.94   $     66.50     Rx
TIF-01    19301    Jacob Emrani          Buena Vista Medical Services      25066    10/12/2020   $       25.97 $         31.16   $     86.56     Rx
TIF-01    19301    Jacob Emrani          Buena Vista Medical Services      25236    10/12/2020   $       21.65 $         25.98   $     72.16     Rx
TIF-01    19301    Jacob Emrani          Buena Vista Medical Services      25307    10/12/2020   $       25.97 $         31.16   $     86.56     Rx
TIF-01    19301    Jacob Emrani          Buena Vista Medical Services      25308    10/12/2020   $       21.52 $         25.82   $     71.74     Rx
TIF-01    19301    Jacob Emrani          Buena Vista Medical Services      25430    10/12/2020   $       19.95 $         23.94   $     66.50     Rx
TIF-01    19257    Michael Madadi        Buena Vista Medical Services      25232    10/12/2020   $       24.76 $         29.71   $     82.54     Rx
TIF-01    19257    Michael Madadi        Buena Vista Medical Services      25233    10/12/2020   $       26.19 $         31.43   $     87.29     Rx
TIF-01    20035    HagopJ. Bazerkanian   Buena Vista Medical Services      26466    10/12/2020   $       36.42 $         43.70   $    121.41     Rx
TIF-01    19939    David Kashani         Buena Vista Medical Services      26197    10/12/2020   $      114.79 $        137.75   $    382.64     Rx
TIF-01    19923    Robert Beckerman      Buena Vista Medical Services      26091    10/12/2020   $       65.34 $         78.41   $    217.80     Rx
TIF-01    19923    Robert Beckerman      Buena Vista Medical Services      26093    10/12/2020   $       65.34 $         78.41   $    217.80     Rx
TIF-01    19923    Robert Beckerman      Buena Vista Medical Services      26095    10/12/2020   $       65.34 $         78.41   $    217.80     Rx
TIF-01    19923    Robert Beckerman      Buena Vista Medical Services      26097    10/12/2020   $       38.21 $         45.85   $    127.36     Rx
TIF-01    8270     Nicholas Lasso        Buena Vista Medical Services      25245    10/12/2020   $       23.96 $         28.75   $     79.88     Rx
TIF-01    8270     Nicholas Lasso        Buena Vista Medical Services      25439    10/12/2020   $       21.20 $         25.44   $     70.68     Rx
TIF-01    8270     Nicholas Lasso        Buena Vista Medical Services      25440    10/12/2020   $       24.50 $         29.40   $     81.66     Rx
TIF-01    7310     Timothy Revero        Buena Vista Medical Services      25318    10/12/2020   $       33.32 $         39.98   $    111.07     Rx
TIF-01    19929    Mathew Babadjouni     Buena Vista Medical Services      26142    10/12/2020   $       67.06 $         80.47   $    223.52     Rx
TIF-01    19929    Mathew Babadjouni     Buena Vista Medical Services      26143    10/12/2020   $      114.48 $        137.38   $    381.60     Rx
TIF-01    19929    Mathew Babadjouni     Buena Vista Medical Services      26144    10/12/2020   $       51.14 $         61.37   $    170.46     Rx
TIF-01    19929    Mathew Babadjouni     Buena Vista Medical Services      26146    10/12/2020   $       51.14 $         61.37   $    170.46     Rx
TIF-01    20003    Robin Saghian         Buena Vista Medical Services      26372    10/12/2020   $       63.82 $         76.58   $    212.72     Rx
TIF-01    20003    Robin Saghian         Buena Vista Medical Services      26373    10/12/2020   $       66.73 $         80.08   $    222.42     Rx
TIF-01    6740     Kevin Danesh          Buena Vista Medical Services      25309    10/12/2020   $       57.74 $         69.29   $    192.46     Rx
TIF-01    6740     Kevin Danesh          Buena Vista Medical Services      25310    10/12/2020   $       14.28 $         17.14   $     47.60     Rx
TIF-01    6740     Kevin Danesh          Buena Vista Medical Services      25311    10/12/2020   $       63.24 $         75.89   $    210.79     Rx
TIF-01    7218     Nicholas Lasso        Buena Vista Medical Services      25423    10/12/2020   $       39.17 $         47.00   $    130.56     Rx
TIF-01    20067    Arash Khorsandi       Buena Vista Medical Services      26526    10/12/2020   $       62.72 $         75.26   $    209.07     Rx
TIF-01    20067    Arash Khorsandi       Buena Vista Medical Services      26527    10/12/2020   $       50.72 $         60.86   $    169.06     Rx
TIF-01    20067    Arash Khorsandi       Buena Vista Medical Services      26528    10/12/2020   $       32.08 $         38.50   $    106.94     Rx
TIF-01    20067    Arash Khorsandi       Buena Vista Medical Services      26530    10/12/2020   $       31.94 $         38.33   $    106.47     Rx
TIF-01    20067    Arash Khorsandi       Buena Vista Medical Services      26531    10/12/2020   $       86.56 $        103.87   $    288.54     Rx
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                                                                                                          Receivables                          Funding
Fund     ClaimId   Lawyer                Provider                       BillId     Date Paid     Purchase Price           Cost   GFB Amount     Type
TIF-01    19779    Daniel Rafii          Buena Vista Medical Services      25455    10/12/2020   $       21.68 $         26.02   $     72.28     Rx
TIF-01    19901    HagopJ. Bazerkanian   Buena Vista Medical Services      26040    10/12/2020   $       27.24 $         32.69   $     90.81     Rx
TIF-01    20065    Robin Saghian         Buena Vista Medical Services      26518    10/12/2020   $       33.89 $         40.67   $    112.98     Rx
TIF-01    20065    Robin Saghian         Buena Vista Medical Services      26520    10/12/2020   $       37.74 $         45.29   $    125.80     Rx
TIF-01    20065    Robin Saghian         Buena Vista Medical Services      26522    10/12/2020   $       37.74 $         45.29   $    125.80     Rx
TIF-01    20065    Robin Saghian         Buena Vista Medical Services      26524    10/12/2020   $       63.56 $         76.27   $    211.88     Rx
TIF-01    19885    Robin Saghian         Buena Vista Medical Services      25975    10/12/2020   $       56.86 $         68.23   $    189.52     Rx
TIF-01    19885    Robin Saghian         Buena Vista Medical Services      25976    10/12/2020   $       54.87 $         65.84   $    182.91     Rx
TIF-01    19843    Shawn Lalezary        Buena Vista Medical Services      25828    10/12/2020   $       49.66 $         59.59   $    165.55     Rx
TIF-01    19843    Shawn Lalezary        Buena Vista Medical Services      25829    10/12/2020   $       42.52 $         51.02   $    141.74     Rx
TIF-01    19843    Shawn Lalezary        Buena Vista Medical Services      25831    10/12/2020   $       53.64 $         64.37   $    178.80     Rx
TIF-01    19843    Shawn Lalezary        Buena Vista Medical Services      25832    10/12/2020   $       38.98 $         46.78   $    129.92     Rx
TIF-01    19843    Shawn Lalezary        Buena Vista Medical Services      25834    10/12/2020   $       42.52 $         51.02   $    141.75     Rx
TIF-01    7064     Farid Yaghoubtil      Buena Vista Medical Services      25241    10/12/2020   $       25.33 $         30.40   $     84.44     Rx
TIF-01    7064     Farid Yaghoubtil      Buena Vista Medical Services      25242    10/12/2020   $       37.55 $         45.06   $    125.17     Rx
TIF-01    7064     Farid Yaghoubtil      Buena Vista Medical Services      25317    10/12/2020   $       48.56 $         58.27   $    161.85     Rx
TIF-01    7064     Farid Yaghoubtil      Buena Vista Medical Services      25433    10/12/2020   $       37.72 $         45.26   $    125.74     Rx
TIF-01    19865    Joseph Nazarian       Buena Vista Medical Services      25895    10/12/2020   $       55.73 $         66.88   $    185.76     Rx
TIF-01    19865    Joseph Nazarian       Buena Vista Medical Services      25896    10/12/2020   $       27.04 $         32.45   $     90.12     Rx
TIF-01    19865    Joseph Nazarian       Buena Vista Medical Services      25898    10/12/2020   $       84.45 $        101.34   $    281.49     Rx
TIF-01    19963    Robin Saghian         Buena Vista Medical Services      26278    10/12/2020   $       34.80 $         41.76   $    116.00     Rx
TIF-01    20041    JoshuaE. Goldblatt    Buena Vista Medical Services      26483    10/12/2020   $       64.91 $         77.89   $    216.37     Rx
TIF-01    19799    Michael Shemtoub      Buena Vista Medical Services      25503    10/12/2020   $       50.63 $         60.76   $    168.78     Rx
TIF-01    19799    Michael Shemtoub      Buena Vista Medical Services      25504    10/12/2020   $       75.44 $         90.53   $    251.46     Rx
TIF-01    19799    Michael Shemtoub      Buena Vista Medical Services      25506    10/12/2020   $       53.05 $         63.66   $    176.82     Rx
TIF-01    19799    Michael Shemtoub      Buena Vista Medical Services      25508    10/12/2020   $       75.44 $         90.53   $    251.46     Rx
TIF-01    19799    Michael Shemtoub      Buena Vista Medical Services      25510    10/12/2020   $       41.69 $         50.03   $    138.96     Rx
TIF-01    19829    Neama Rahmani         Buena Vista Medical Services      25716    10/12/2020   $       35.80 $         42.96   $    119.32     Rx
TIF-01    19829    Neama Rahmani         Buena Vista Medical Services      25718    10/12/2020   $       32.26 $         38.71   $    107.54     Rx
TIF-01    19829    Neama Rahmani         Buena Vista Medical Services      25720    10/12/2020   $       37.39 $         44.87   $    124.64     Rx
TIF-01    19829    Neama Rahmani         Buena Vista Medical Services      25722    10/12/2020   $       39.79 $         47.75   $    132.62     Rx
TIF-01    19829    Neama Rahmani         Buena Vista Medical Services      25723    10/12/2020   $       44.46 $         53.35   $    148.20     Rx
TIF-01    19829    Neama Rahmani         Buena Vista Medical Services      25725    10/12/2020   $       35.80 $         42.96   $    119.32     Rx
TIF-01    19829    Neama Rahmani         Buena Vista Medical Services      25727    10/12/2020   $       32.26 $         38.71   $    107.54     Rx
TIF-01    19829    Neama Rahmani         Buena Vista Medical Services      25729    10/12/2020   $       39.79 $         47.75   $    132.62     Rx
TIF-01    19829    Neama Rahmani         Buena Vista Medical Services      25730    10/12/2020   $       44.46 $         53.35   $    148.20     Rx
TIF-01    19829    Neama Rahmani         Buena Vista Medical Services      25731    10/12/2020   $       57.90 $         69.48   $    193.00     Rx
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                                                                                                        Receivables                          Funding
Fund     ClaimId   Lawyer              Provider                       BillId     Date Paid     Purchase Price           Cost   GFB Amount     Type
TIF-01    19829    Neama Rahmani       Buena Vista Medical Services      25733    10/12/2020   $       48.49 $         58.19   $    161.64     Rx
TIF-01    19829    Neama Rahmani       Buena Vista Medical Services      25735    10/12/2020   $       57.80 $         69.36   $    192.68     Rx
TIF-01    19829    Neama Rahmani       Buena Vista Medical Services      25736    10/12/2020   $       56.46 $         67.75   $    188.20     Rx
TIF-01    19829    Neama Rahmani       Buena Vista Medical Services      25738    10/12/2020   $       48.82 $         58.58   $    162.73     Rx
TIF-01    19829    Neama Rahmani       Buena Vista Medical Services      25740    10/12/2020   $       90.01 $        108.01   $    300.04     Rx
TIF-01    19903    Vahagn Koshkaryan   Buena Vista Medical Services      26042    10/12/2020   $       25.28 $         30.34   $     84.26     Rx
TIF-01    19915    Arash Khorsandi     Buena Vista Medical Services      26069    10/12/2020   $       55.54 $         66.65   $    185.13     Rx
TIF-01    19915    Arash Khorsandi     Buena Vista Medical Services      26071    10/12/2020   $       61.85 $         74.22   $    206.18     Rx
TIF-01    19801    Mathew Babadjouni   Buena Vista Medical Services      25512    10/12/2020   $       55.34 $         66.41   $    184.46     Rx
TIF-01    19801    Mathew Babadjouni   Buena Vista Medical Services      25514    10/12/2020   $       34.37 $         41.24   $    114.56     Rx
TIF-01    19801    Mathew Babadjouni   Buena Vista Medical Services      25516    10/12/2020   $       60.18 $         72.22   $    200.61     Rx
TIF-01    19967    JoshuaE. Kohanim    Buena Vista Medical Services      26301    10/12/2020   $      108.53 $        130.24   $    361.77     Rx
TIF-01    20059    Robin Saghian       Buena Vista Medical Services      26510    10/12/2020   $       38.69 $         46.43   $    128.98     Rx
TIF-01    20059    Robin Saghian       Buena Vista Medical Services      26511    10/12/2020   $       37.74 $         45.29   $    125.80     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      25994    10/12/2020   $       77.02 $         92.42   $    256.73     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      25995    10/12/2020   $       65.20 $         78.24   $    217.33     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      25996    10/12/2020   $       64.12 $         76.94   $    213.75     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      25998    10/12/2020   $       41.11 $         49.33   $    137.02     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      26000    10/12/2020   $       65.20 $         78.24   $    217.33     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      26001    10/12/2020   $       64.12 $         76.94   $    213.75     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      26002    10/12/2020   $       69.90 $         83.88   $    233.01     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      26004    10/12/2020   $       41.11 $         49.33   $    137.02     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      26005    10/12/2020   $       64.12 $         76.94   $    213.75     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      26006    10/12/2020   $       65.20 $         78.24   $    217.33     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      26007    10/12/2020   $       62.50 $         75.00   $    208.33     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      26009    10/12/2020   $       64.12 $         76.94   $    213.75     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      26010    10/12/2020   $       77.21 $         92.65   $    257.38     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      26011    10/12/2020   $       65.20 $         78.24   $    217.33     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      26012    10/12/2020   $      127.67 $        153.20   $    425.58     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      26014    10/12/2020   $       65.20 $         78.24   $    217.33     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      26015    10/12/2020   $       64.12 $         76.94   $    213.75     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      26016    10/12/2020   $       82.28 $         98.74   $    274.26     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      26017    10/12/2020   $       41.11 $         49.33   $    137.02     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      26019    10/12/2020   $       82.28 $         98.74   $    274.26     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      26020    10/12/2020   $       65.20 $         78.24   $    217.33     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      26021    10/12/2020   $       67.13 $         80.56   $    223.78     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      26022    10/12/2020   $       41.11 $         49.33   $    137.02     Rx
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                                                                                                          Receivables                          Funding
Fund     ClaimId   Lawyer                Provider                       BillId     Date Paid     Purchase Price           Cost   GFB Amount     Type
TIF-01    20037    Arash Khorsandi       Buena Vista Medical Services      26468    10/12/2020   $      127.67 $        153.20   $    425.58     Rx
TIF-01    20037    Arash Khorsandi       Buena Vista Medical Services      26469    10/12/2020   $       67.13 $         80.56   $    223.78     Rx
TIF-01    20037    Arash Khorsandi       Buena Vista Medical Services      26470    10/12/2020   $       65.20 $         78.24   $    217.33     Rx
TIF-01    20037    Arash Khorsandi       Buena Vista Medical Services      26472    10/12/2020   $       82.28 $         98.74   $    274.26     Rx
TIF-01    20037    Arash Khorsandi       Buena Vista Medical Services      26474    10/12/2020   $       89.17 $        107.00   $    297.23     Rx
TIF-01    20037    Arash Khorsandi       Buena Vista Medical Services      26476    10/12/2020   $       65.20 $         78.24   $    217.33     Rx
TIF-01    20037    Arash Khorsandi       Buena Vista Medical Services      26477    10/12/2020   $       67.13 $         80.56   $    223.78     Rx
TIF-01    20037    Arash Khorsandi       Buena Vista Medical Services      26478    10/12/2020   $      127.67 $        153.20   $    425.58     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25557    10/12/2020   $       61.57 $         73.88   $    205.22     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25559    10/12/2020   $       29.41 $         35.29   $     98.04     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25561    10/12/2020   $       38.30 $         45.96   $    127.68     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25563    10/12/2020   $       29.41 $         35.29   $     98.04     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25564    10/12/2020   $       38.30 $         45.96   $    127.68     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25566    10/12/2020   $       58.90 $         70.68   $    196.32     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25568    10/12/2020   $       38.30 $         45.96   $    127.68     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25570    10/12/2020   $       58.90 $         70.68   $    196.32     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25572    10/12/2020   $       59.61 $         71.53   $    198.70     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25573    10/12/2020   $       61.20 $         73.44   $    204.00     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25574    10/12/2020   $       59.08 $         70.90   $    196.93     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25576    10/12/2020   $       58.83 $         70.60   $    196.11     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25578    10/12/2020   $       26.11 $         31.33   $     87.02     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25580    10/12/2020   $       29.41 $         35.29   $     98.04     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25582    10/12/2020   $       38.30 $         45.96   $    127.68     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25584    10/12/2020   $       26.11 $         31.33   $     87.02     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25586    10/12/2020   $       29.41 $         35.29   $     98.04     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25588    10/12/2020   $       26.11 $         31.33   $     87.02     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25589    10/12/2020   $       29.41 $         35.29   $     98.04     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25591    10/12/2020   $       38.30 $         45.96   $    127.68     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25592    10/12/2020   $       37.40 $         44.88   $    124.68     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25594    10/12/2020   $       34.66 $         41.59   $    115.54     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25595    10/12/2020   $       38.30 $         45.96   $    127.68     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25596    10/12/2020   $       29.41 $         35.29   $     98.04     Rx
TIF-01    19845    HagopJ. Bazerkanian   Buena Vista Medical Services      25836    10/12/2020   $       33.97 $         40.76   $    113.24     Rx
TIF-01    19845    HagopJ. Bazerkanian   Buena Vista Medical Services      25837    10/12/2020   $       28.61 $         34.33   $     95.38     Rx
TIF-01    19845    HagopJ. Bazerkanian   Buena Vista Medical Services      25839    10/12/2020   $       27.35 $         32.82   $     91.16     Rx
TIF-01    19845    HagopJ. Bazerkanian   Buena Vista Medical Services      25841    10/12/2020   $       24.03 $         28.84   $     80.11     Rx
TIF-01    19845    HagopJ. Bazerkanian   Buena Vista Medical Services      25843    10/12/2020   $       86.61 $        103.93   $    288.69     Rx
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake I (Batch 13)

                                                                                                         Receivables                          Funding
Fund     ClaimId   Lawyer               Provider                       BillId     Date Paid     Purchase Price           Cost   GFB Amount     Type
TIF-01    20055    Ashwin Ladva         Buena Vista Medical Services      26505    10/12/2020   $      389.76 $        467.71   $ 1,299.20      Rx
TIF-01    19853    Neama Rahmani        Buena Vista Medical Services      25857    10/12/2020   $       57.16 $         68.59   $    190.54     Rx
TIF-01    19995    Michael Drell        Buena Vista Medical Services      26361    10/12/2020   $      149.64 $        179.57   $    498.81     Rx
TIF-01    19933    Jared Salter         Buena Vista Medical Services      26164    10/12/2020   $       60.08 $         72.10   $    200.25     Rx
TIF-01    19933    Jared Salter         Buena Vista Medical Services      26166    10/12/2020   $       47.79 $         57.35   $    159.30     Rx
TIF-01    19933    Jared Salter         Buena Vista Medical Services      26167    10/12/2020   $      108.53 $        130.24   $    361.77     Rx
TIF-01    19933    Jared Salter         Buena Vista Medical Services      26169    10/12/2020   $      108.53 $        130.24   $    361.77     Rx
TIF-01    19933    Jared Salter         Buena Vista Medical Services      26170    10/12/2020   $       44.42 $         53.30   $    148.05     Rx
TIF-01    19933    Jared Salter         Buena Vista Medical Services      26171    10/12/2020   $       69.96 $         83.95   $    233.20     Rx
TIF-01    19933    Jared Salter         Buena Vista Medical Services      26172    10/12/2020   $       47.79 $         57.35   $    159.30     Rx
TIF-01    19933    Jared Salter         Buena Vista Medical Services      26174    10/12/2020   $       69.96 $         83.95   $    233.20     Rx
TIF-01    19933    Jared Salter         Buena Vista Medical Services      26175    10/12/2020   $       44.42 $         53.30   $    148.05     Rx
TIF-01    19933    Jared Salter         Buena Vista Medical Services      26177    10/12/2020   $      108.53 $        130.24   $    361.77     Rx
TIF-01    19933    Jared Salter         Buena Vista Medical Services      26178    10/12/2020   $       47.79 $         57.35   $    159.30     Rx
TIF-01    19933    Jared Salter         Buena Vista Medical Services      26180    10/12/2020   $       44.42 $         53.30   $    148.05     Rx
TIF-01    19933    Jared Salter         Buena Vista Medical Services      26181    10/12/2020   $       69.96 $         83.95   $    233.20     Rx
TIF-01    19933    Jared Salter         Buena Vista Medical Services      26183    10/12/2020   $      108.53 $        130.24   $    361.77     Rx
TIF-01    19983    Joseph Nazarian      Buena Vista Medical Services      26333    10/12/2020   $       86.61 $        103.93   $    288.69     Rx
TIF-01    8705     Farid Yaghoubtil     Buena Vista Medical Services      25306    10/12/2020   $       40.10 $         48.12   $    133.68     Rx
TIF-01    20005    Christopher Bulone   Buena Vista Medical Services      26375    10/12/2020   $       82.81 $         99.37   $    276.03     Rx
TIF-01    20005    Christopher Bulone   Buena Vista Medical Services      26376    10/12/2020   $       41.38 $         49.66   $    137.94     Rx
TIF-01    20005    Christopher Bulone   Buena Vista Medical Services      26377    10/12/2020   $       69.96 $         83.95   $    233.20     Rx
TIF-01    19961    Arash Khorsandi      Buena Vista Medical Services      26272    10/12/2020   $       68.68 $         82.42   $    228.94     Rx
TIF-01    19961    Arash Khorsandi      Buena Vista Medical Services      26274    10/12/2020   $       64.23 $         77.08   $    214.09     Rx
TIF-01    19961    Arash Khorsandi      Buena Vista Medical Services      26276    10/12/2020   $       68.68 $         82.42   $    228.94     Rx
TIF-01    19951    Joseph Nazarian      Buena Vista Medical Services      26248    10/12/2020   $       59.05 $         70.86   $    196.84     Rx
TIF-01    19951    Joseph Nazarian      Buena Vista Medical Services      26249    10/12/2020   $       80.23 $         96.28   $    267.44     Rx
TIF-01    19265    Omid Khorshidi       Buena Vista Medical Services      25064    10/12/2020   $       24.22 $         29.06   $     80.75     Rx
TIF-01    19877    Robin Saghian        Buena Vista Medical Services      25925    10/12/2020   $       55.99 $         67.19   $    186.62     Rx
TIF-01    19877    Robin Saghian        Buena Vista Medical Services      25927    10/12/2020   $       55.11 $         66.13   $    183.70     Rx
TIF-01    19877    Robin Saghian        Buena Vista Medical Services      25928    10/12/2020   $       27.24 $         32.69   $     90.81     Rx
TIF-01    19877    Robin Saghian        Buena Vista Medical Services      25930    10/12/2020   $       53.41 $         64.09   $    178.02     Rx
TIF-01    19877    Robin Saghian        Buena Vista Medical Services      25932    10/12/2020   $       53.41 $         64.09   $    178.02     Rx
TIF-01    19877    Robin Saghian        Buena Vista Medical Services      25934    10/12/2020   $       53.41 $         64.09   $    178.02     Rx
TIF-01    19877    Robin Saghian        Buena Vista Medical Services      25936    10/12/2020   $       53.41 $         64.09   $    178.02     Rx
TIF-01    19813    Salar Hendizadeh     Buena Vista Medical Services      25657    10/12/2020   $       61.22 $         73.46   $    204.07     Rx
TIF-01    19813    Salar Hendizadeh     Buena Vista Medical Services      25659    10/12/2020   $       60.13 $         72.16   $    200.43     Rx
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake I (Batch 13)

                                                                                                                          Receivables                                   Funding
Fund     ClaimId   Lawyer                      Provider                            BillId      Date Paid         Purchase Price               Cost    GFB Amount         Type
TIF-01    19813    Salar Hendizadeh            Buena Vista Medical Services           25661     10/12/2020       $       59.53 $             71.44    $    198.44         Rx
TIF-01    19813    Salar Hendizadeh            Buena Vista Medical Services           25663     10/12/2020       $       54.30 $             65.16    $    181.00         Rx
TIF-01    19813    Salar Hendizadeh            Buena Vista Medical Services           25664     10/12/2020       $       53.60 $             64.32    $    178.67         Rx
TIF-01    19813    Salar Hendizadeh            Buena Vista Medical Services           25666     10/12/2020       $       63.79 $             76.55    $    212.64         Rx
TIF-01    19813    Salar Hendizadeh            Buena Vista Medical Services           25668     10/12/2020       $       61.78 $             74.14    $    205.93         Rx
TIF-01    19975    R.Thomas Wire               Buena Vista Medical Services           26321     10/12/2020       $      155.65 $            186.78    $    518.82         Rx
TIF-01    19975    R.Thomas Wire               Buena Vista Medical Services           26322     10/12/2020       $       77.21 $             92.65    $    257.38         Rx
TIF-01    19975    R.Thomas Wire               Buena Vista Medical Services           26323     10/12/2020       $      131.78 $            158.14    $    439.26         Rx
TIF-01    19269    Nancy Bernstein             Buena Vista Medical Services           25061     10/12/2020       $       20.53 $             24.64    $     68.44         Rx
TIF-01    19269    Nancy Bernstein             Buena Vista Medical Services           25424     10/12/2020       $       22.31 $             26.77    $     74.37         Rx
TIF-01    19269    Nancy Bernstein             Buena Vista Medical Services           25425     10/12/2020       $       27.70 $             33.24    $     92.34         Rx
TIF-01    19269    Nancy Bernstein             Buena Vista Medical Services           25426     10/12/2020       $       65.63 $             78.76    $    218.77         Rx
TIF-01    19785    Peter Angulo                Buena Vista Medical Services           25461     10/12/2020       $       29.29 $             35.15    $     97.62         Rx
TIF-01    19783    Salar Hendizadeh            Buena Vista Medical Services           25459     10/12/2020       $       22.96 $             27.55    $     76.53         Rx
TIF-01    7094     Frank Fasel                 Buena Vista Medical Services           25240     10/12/2020       $       20.37 $             24.44    $     67.91         Rx

                                                                                                                 $    43,634.16 $       52,360.99      $ 145,446.82


 ****    This List of Receivables supporting Series 1-Intake I (Batch 13) in the amount of US$145,446.82 is in good order as Forget-the-Market Ltd has performed the following:

         a. Review of the invoice supporting each line item on List of Receivables confirming list accuracy including the invoice amount.

         b. Collected and reviewed (via Sharing Link) the lien for each line item on the List of Receivables. Any missing liens are noted on the List of Receivables with
         an explanation as to why.

         c. Confirmed that the value of purchased receivables respecting the listed invoices equals 277.78% of the purchased total of $52,360.99.


         William B Dalzell
         CFO, Forget-the-Market Limited
         Co-Manager for Tecumseh-Infinity MR Fund
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake J (Batch 14-A)

                                                                                       Receivables                                          Funding
Fund     Lawyer                 Provider         BillId        Date Paid      Purchase Price               Cost                   GFB        Type
TIF-01   David W. Bergquist     Preva                                        $      3,234.00    $     3,880.80      $       14,700.00         PM
TIF-01   David A. Spradlin      Preva                                        $      6,371.38    $     7,645.65      $       28,960.80         PM
TIF-01   Abraham Garcia         Preva                                        $      2,812.35    $     3,374.82      $       12,783.41         PM
TIF-01   Andrew Kumar           Preva                                        $      2,812.35    $     3,374.82      $       12,783.41         PM
TIF-01   David W. Bergquist     Preva                                        $      2,109.80    $     2,531.76      $        9,590.00         PM
TIF-01   J. Ryan Fowler         Preva                                        $      2,812.35    $     3,374.82      $       12,783.41         PM
TIF-01   Abraham Garcia         Preva                                        $      3,234.00    $     3,880.80      $       14,700.00         PM
TIF-01   David W. Bergquist     Preva                                        $      4,899.40    $     5,879.28      $       22,270.00         PM

                                                                             $     28,285.63 $       33,942.75      $      128,571.03


****     This List of Receivables supporting Series 1-Intake J (Batch 14-A) in the amount of US$128,571.03 is in good order as Forget-the-Market Ltd has performed the following:

         a. Review of the invoice supporting each line item on List of Receivables confirming list accuracy including the invoice amount.

         b. Collected and reviewed (via Sharing Link) the lien for each line item on the List of Receivables. Any missing liens are noted on the List of Receivables with
         an explanation as to why.

         c. Confirmed that the value of purchased receivables respecting the listed invoices equals 378.79% of the purchased total of $33,942.75.


         William B Dalzell
         CFO, Forget-the-Market Limited
         Co-Manager for Tecumseh-Infinity MR Fund
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake J (Batch 14-B)

                                                                                                          Receivables                        Funding
Fund     ClaimId Lawyer                 Provider                              BillId   Date Paid    Purchase Price    Cost            GFB     Type
TIF-01   19279   Nathan Fitzpatrick       Perimeter Orthopaedics PC            26687                $   102.96   $   123.55   $     257.40     PI
TIF-01   19279   Nathan Fitzpatrick       Perimeter Orthopaedics PC            26688                $   289.66   $   347.59   $     724.15     PI
TIF-01   20329   Casey Geiger             Legacy Brain & Spine                 26948                $   306.00   $   367.20   $     765.00     PI
TIF-01   20329   Casey Geiger             Legacy Brain & Spine                 26949                $   790.00   $   948.00   $   1,975.00    MRI
TIF-01   19795   Peter Ross               Peachtree Orthopaedic Clinic         25493                $   236.20   $   283.44   $     508.00    PM
TIF-01   19793   W. Winston Briggs        Non-Surgical Orthopaedics PC         25490                $   284.00   $   340.80   $     710.00    PM
TIF-01   19793   W. Winston Briggs        Non-Surgical Orthopaedics PC         25491                $   152.00   $   182.40   $     380.00    PM
TIF-01   19793   W. Winston Briggs        Non-Surgical Orthopaedics PC         25492                $   208.00   $   249.60   $     520.00    PM
TIF-01   12133   Peter Ross               Peachtree Orthopaedic Clinic         25489                $   135.90   $   163.08   $     302.00    PM
TIF-01   19702   Steven Leibel            BENCHMARK PHYSICAL THERAPY           25477                $    98.18   $   117.82   $     280.50     PI
TIF-01   19702   Steven Leibel            BENCHMARK PHYSICAL THERAPY           25478                $    98.18   $   117.82   $     280.50     PI
TIF-01   19702   Steven Leibel            BENCHMARK PHYSICAL THERAPY           25479                $    98.18   $   117.82   $     280.50     PI
TIF-01   19702   Steven Leibel            BENCHMARK PHYSICAL THERAPY           26947                $    98.18   $   117.82   $     280.50     PI
TIF-01   19702   Steven Leibel            Center for Spine and Pain Medicine   26946                $   150.80   $   180.96   $     377.00    PM
TIF-01   19702   Steven Leibel            Center for Spine and Pain Medicine   26953                $   130.00   $   156.00   $     325.00    PM
TIF-01   19528   Amy Daugherty            Phenix City Spine & Joint Center LLC 26889   10/13/2020   $   450.45   $   540.54   $   1,287.01    MRI      One bill is split between two providers blue goes together
TIF-01   19528   Amy Daugherty            Phenix City Spine & Joint Center LLC 26902   10/13/2020   $   451.80   $   542.16   $   1,290.86    MRI      Phenix issues the total bill that covers both Phenix and Topple
TIF-01   19528   Amy Daugherty            Topple Diagnostics                   26890   10/13/2020   $   550.56   $   660.67   $   1,573.01    MRI
TIF-01   19528   Amy Daugherty            Topple Diagnostics                   26903   10/13/2020   $   552.20   $   662.64   $   1,577.71    MRI      One bill is split between two providers yellow goes together
TIF-01   19437   Charles E (Ted) Lake Jr. Orthopaedic Solutions                25483                $   227.50   $   273.00   $     650.00     PI
TIF-01   19281   Ronald Chalker           BENCHMARK PHYSICAL THERAPY           26734                $   126.00   $   151.20   $     360.00     PI
TIF-01   19281   Ronald Chalker           BENCHMARK PHYSICAL THERAPY           26735                $   140.00   $   168.00   $     400.00     PI
TIF-01   9321    Samuel Johnson           BENCHMARK PHYSICAL THERAPY           26951                $   116.38   $   139.66   $     332.50     PI
TIF-01   19499   Ronald Chalker           Atlas Orthopaedics;Duncan Wells MD 25446                  $   343.06   $   411.67   $     857.64     PI
TIF-01   19489   Ronald Chalker           Athens Orthopedic Clinic             26679                $    70.80   $    84.96   $     177.00     PI
TIF-01   19489   Ronald Chalker           Athens Orthopedic Clinic             26680                $    68.50   $    82.20   $     171.25     PI
TIF-01   20327   Reginald A Greene        Polaris Spine & Neurosurgery Center 26944                 $   354.00   $   424.80   $     885.00    PM
TIF-01   19797   Candace Malone           BENCHMARK PHYSICAL THERAPY           25494                $   201.08   $   241.30   $     574.50     PI
TIF-01   19797   Candace Malone           BENCHMARK PHYSICAL THERAPY           25495                $   131.25   $   157.50   $     375.00     PI
TIF-01   19797   Candace Malone           BENCHMARK PHYSICAL THERAPY           25496                $   131.25   $   157.50   $     375.00     PI
TIF-01   19797   Candace Malone           BENCHMARK PHYSICAL THERAPY           25497                $   131.25   $   157.50   $     375.00     PI
TIF-01   19797   Candace Malone           BENCHMARK PHYSICAL THERAPY           25498                $   131.25   $   157.50   $     375.00     PI
TIF-01   19797   Candace Malone           BENCHMARK PHYSICAL THERAPY           25499                $   131.25   $   157.50   $     375.00     PI
TIF-01   18535   Reginald A Greene        Colorado Injury Treatment Center PC 26927                 $    77.40   $    92.88   $     180.00     PI
TIF-01   18535   Reginald A Greene        Colorado Injury Treatment Center PC 26928                 $    77.40   $    92.88   $     180.00     PI
TIF-01   18535   Reginald A Greene        Colorado Injury Treatment Center PC 26929                 $    77.40   $    92.88   $     180.00     PI
TIF-01   18535   Reginald A Greene        Colorado Injury Treatment Center PC 26930                 $    94.60   $   113.52   $     220.00     PI
TIF-01   18535   Reginald A Greene        Colorado Injury Treatment Center PC 26931                 $    77.40   $    92.88   $     180.00     PI
TIF-01   18535   Reginald A Greene        Colorado Injury Treatment Center PC 26932                 $    77.40   $    92.88   $     180.00     PI
TIF-01   18535   Reginald A Greene        Peak Orthopedics & Spine PLLC        26933                $    86.86   $   104.23   $     202.00     PI
TIF-01   18535   Reginald A Greene        Peak Orthopedics & Spine PLLC        26969                $    86.86   $   104.23   $     202.00     PI
TIF-01   19473   Joel Roth                Non-Surgical Orthopaedics PC         25487                $   208.00   $   249.60   $     520.00    PM
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake J (Batch 14-B)

                                                                                                             Receivables                        Funding
Fund     ClaimId   Lawyer                  Provider                              BillId   Date Paid    Purchase Price     Cost           GFB     Type
TIF-01    19475    Joel Roth               Non-Surgical Orthopaedics PC          25488                 $   208.00 $ 249.60       $     520.00     PM
TIF-01    19769    Alexander Hoffspiegel   Peachtree Orthopaedic Clinic          25444                 $ 1,059.75 $ 1,271.70     $   2,355.00     MRI
TIF-01    19769    Alexander Hoffspiegel   Peachtree Orthopaedic Clinic          26945                 $   226.80 $ 272.16       $     504.00      PI
TIF-01    20125    David Bence             Phenix City Spine & Joint Center LLC 26875     10/13/2020   $   451.80 $ 542.16       $   1,290.86     MRI     One bill is split between two providers blue goes together
TIF-01    20125    David Bence             Phenix City Spine & Joint Center LLC 26881     10/13/2020   $   450.45 $ 540.54       $   1,287.01     MRI
TIF-01    20125    David Bence             Topple Diagnostics                    26876    10/13/2020   $   552.20 $ 662.64       $   1,577.71     MRI
TIF-01    20125    David Bence             Topple Diagnostics                    26882    10/13/2020   $   550.56 $ 660.67       $   1,573.01     MRI     One bill is split between two providers yellow goes together
TIF-01    19757    Holly Salimi            Polaris Spine & Neurosurgery Center 26950                   $   396.00 $ 475.20       $     990.00     PM
TIF-01    19255    Reginald A Greene       Non-Surgical Orthopaedics PC          26685                 $ 1,012.00 $ 1,214.40     $   2,530.00     PM
TIF-01    19255    Reginald A Greene       Non-Surgical Orthopaedics PC          26966                 $ 1,012.00 $ 1,214.40     $   2,530.00     PM
TIF-01    19255    Reginald A Greene       The Center for Spine Procedures       26686                 $ 1,512.00 $ 1,814.40     $   3,780.00     PM
TIF-01    19255    Reginald A Greene       The Center for Spine Procedures       26965                 $ 1,512.00 $ 1,814.40     $   3,780.00     PM
TIF-01    19195    William L. Swank II     BENCHMARK PHYSICAL THERAPY            26957                 $   126.00 $ 151.20       $     360.00      PI
TIF-01    19195    William L. Swank II     BENCHMARK PHYSICAL THERAPY            26958                 $   154.88 $ 185.86       $     442.50      PI
TIF-01    19750    Gordon Remmen           Non-Surgical Orthopaedics PC          25480                 $   208.00 $ 249.60       $     520.00     PM
TIF-01    19750    Gordon Remmen           Non-Surgical Orthopaedics PC          26848                 $   208.00 $ 249.60       $     520.00     PM
TIF-01    19750    Gordon Remmen           Non-Surgical Orthopaedics PC          26964                 $ 1,012.00 $ 1,214.40     $   2,530.00     PM
TIF-01    19750    Gordon Remmen           The Center for Spine Procedures       26963                 $ 1,512.00 $ 1,814.40     $   3,780.00     PM
TIF-01    19787    K Douglas Cook          Non-Surgical Orthopaedics PC          26690                 $ 1,012.00 $ 1,214.40     $   2,530.00     PM
TIF-01    19787    K Douglas Cook          Non-Surgical Orthopaedics PC          26691                 $ 1,012.00 $ 1,214.40     $   2,530.00     PM
TIF-01    19787    K Douglas Cook          The Center for Spine Procedures       26692                 $ 1,570.00 $ 1,884.00     $   3,925.00     PM
TIF-01    19787    K Douglas Cook          The Center for Spine Procedures       26693                 $ 1,570.00 $ 1,884.00     $   3,925.00     PM
TIF-01    19241    Ronald Chalker          BENCHMARK PHYSICAL THERAPY            25442                 $    97.12 $ 116.54       $     277.50      PI
TIF-01    19241    Ronald Chalker          BENCHMARK PHYSICAL THERAPY            25481                 $   118.12 $ 141.74       $     337.50      PI
TIF-01    19241    Ronald Chalker          BENCHMARK PHYSICAL THERAPY            25482                 $   118.12 $ 141.74       $     337.50      PI
TIF-01    19241    Ronald Chalker          BENCHMARK PHYSICAL THERAPY            26970                 $    97.12 $ 116.54       $     277.50      PI
TIF-01    19241    Ronald Chalker          BENCHMARK PHYSICAL THERAPY            26971                 $   126.00 $ 151.20       $     360.00      PI
TIF-01    19241    Ronald Chalker          BENCHMARK PHYSICAL THERAPY            26972                 $   130.72 $ 156.86       $     373.50      PI
TIF-01    19698    Gordon Remmen           (AHI) American Health Imaging         25206    10/6/2020    $ 1,950.00 $ 2,340.00     $   6,820.00     MRI
TIF-01    19698    Gordon Remmen           Non-Surgical Orthopaedics PC          25205    10/6/2020    $   720.00 $ 864.00       $   1,800.00     PM
TIF-01    19698    Gordon Remmen           Non-Surgical Orthopaedics PC          26678                 $   208.00 $ 249.60       $     520.00     PM
TIF-01    19698    Gordon Remmen           Non-Surgical Orthopaedics PC          26959                 $ 1,012.00 $ 1,214.40     $   2,530.00     PM
TIF-01    19698    Gordon Remmen           Non-Surgical Orthopaedics PC          26960                 $ 1,012.00 $ 1,214.40     $   2,530.00     PM
TIF-01    19698    Gordon Remmen           The Center for Spine Procedures       26961                 $ 1,512.00 $ 1,814.40     $   3,780.00     PM
TIF-01    19698    Gordon Remmen           The Center for Spine Procedures       26962                 $ 1,512.00 $ 1,814.40     $   3,780.00     PM
TIF-01    19744    Steven Leibel           Polaris Spine & Neurosurgery Center 26676                   $   354.00 $ 424.80       $     885.00     PM
TIF-01    19744    Steven Leibel           Polaris Spine & Neurosurgery Center 26677                   $   354.00 $ 424.80       $     885.00     PM
TIF-01    8430     Peter Ross              Pain Management Specialists of Atlanta26726
                                                                                  PC                   $    87.75 $ 105.30       $     195.00     PM
TIF-01    19873    Zachary Taft            Safeway Psychological Services        25916                 $   844.00 $ 1,012.80     $   2,110.00      PI
TIF-01    19718    Jonathan Wade           Family Dental Solutions               25275    10/6/2020    $   140.00 $ 168.00       $     350.00      PI
TIF-01    19718    Jonathan Wade           Family Dental Solutions               26675                 $   250.00 $ 300.00       $     625.00      PI
TIF-01    19718    Jonathan Wade           Peachtree Orthopaedic Clinic          25276    10/6/2020    $    36.00 $      43.20   $      72.00      PI
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake J (Batch 14-B)

                                                                                                            Receivables                         Funding
Fund     ClaimId   Lawyer                  Provider                              BillId   Date Paid   Purchase Price     Cost            GFB     Type
TIF-01    19718    Jonathan Wade           Peachtree Orthopaedic Clinic          25277    10/6/2020   $    657.05 $ 788.46      $    1,447.00      PI
TIF-01    19718    Jonathan Wade           Peachtree Orthopaedic Clinic          26656                $    201.60 $ 241.92      $      448.00      PI
TIF-01    19718    Jonathan Wade           Peachtree Orthopaedic Clinic          26934                $    132.30 $ 158.76      $      294.00      PI
TIF-01    19718    Jonathan Wade           Peachtree Orthopaedic Clinic          26935                $    226.80 $ 272.16      $      504.00      PI
TIF-01    19718    Jonathan Wade           Peachtree Orthopaedic Clinic          26936                $    132.30 $ 158.76      $      294.00      PI
TIF-01    19718    Jonathan Wade           Peachtree Orthopaedic Clinic          26937                $    154.80 $ 185.76      $      344.00      PI
TIF-01    19718    Jonathan Wade           Peachtree Orthopaedic Clinic          26938                $    165.00 $ 198.00      $      330.00      PI
TIF-01    19718    Jonathan Wade           Peachtree Orthopaedic Clinic          26939                $    471.50 $ 565.80      $    1,016.00      PI
TIF-01    19763    Bryan Sutlive           Safeway Psychological Services        26941                $    436.00 $ 523.20      $    1,090.00      PI
TIF-01    20195    Alyssa Martins          Georgia Spine & Orthopedics           26835                $    208.00 $ 249.60      $      520.00      PI
TIF-01    19753    Alfred Evans III        Polaris Spine & Neurosurgery Center   25385    10/6/2020   $    396.00 $ 475.20      $      990.00     PM
TIF-01    19791    Alexander Hoffspiegel   Peachtree Orthopaedic Clinic          25484                $    143.10 $ 171.72      $      318.00      PI
TIF-01    19791    Alexander Hoffspiegel   Peachtree Orthopaedic Clinic          25485                $    136.80 $ 164.16      $      304.00      PI
TIF-01    19791    Alexander Hoffspiegel   Peachtree Orthopaedic Clinic          25486                $    215.10 $ 258.12      $      478.00      PI
TIF-01    19791    Alexander Hoffspiegel   Peachtree Orthopaedic Clinic          26952                $    136.80 $ 164.16      $      304.00      PI
TIF-01    18533    Zachary Nelson          Peachtree Orthopaedic Clinic          26842                $    215.10 $ 258.12      $      470.00      PI
TIF-01    19526    Michael Lonati          (AHI) American Health Imaging         25501                $    650.00 $ 780.00      $    2,225.00     MRI
TIF-01    19526    Michael Lonati          Non-Surgical Orthopaedics PC          25500                $    208.00 $ 249.60      $      520.00     PM
TIF-01    20091    Joel Roth               BENCHMARK PHYSICAL THERAPY            26664                $    123.38 $ 148.06      $      352.50      PI
TIF-01    20091    Joel Roth               BENCHMARK PHYSICAL THERAPY            26665                $    155.40 $ 186.48      $      444.00      PI
TIF-01    20091    Joel Roth               Perimeter Orthopaedics PC             26661                $    306.42 $ 367.70      $      766.05      PI
TIF-01    20091    Joel Roth               Perimeter Orthopaedics PC             26662                $    400.00 $ 480.00      $    1,000.00      PI
TIF-01    20091    Joel Roth               Perimeter Orthopaedics PC             26663                $    116.40 $ 139.68      $      291.00      PI
TIF-01    20091    Joel Roth               Perimeter Orthopaedics PC             26694                $    283.29 $ 339.95      $      708.22      PI
TIF-01    11357    Shannon Rolen           Pain Care LLC                         26733                $    400.00 $ 480.00      $    1,000.00     PM
TIF-01    17179    John Morrison           Surgery Center of Roswell             26682                $ 19,858.30 $ 23,829.96   $   49,645.75      PI
TIF-01    7881     Peter Ross              Non-Surgical Orthopaedics PC          26728                $    208.00 $ 249.60      $      520.00     PM
TIF-01    7881     Peter Ross              Non-Surgical Orthopaedics PC          26968                $ 1,012.00 $ 1,214.40     $    2,530.00     PM
TIF-01    7881     Peter Ross              The Center for Spine Procedures       26967                $ 1,512.00 $ 1,814.40     $    3,780.00     PM
TIF-01    19971    Nathan Fitzpatrick      Non-Surgical Orthopaedics PC          26655                $    628.00 $ 753.60      $    1,570.00     PM
TIF-01    19566    Michael Lonati          BENCHMARK PHYSICAL THERAPY            26657                $    131.25 $ 157.50      $      375.00      PI
TIF-01    19566    Michael Lonati          BENCHMARK PHYSICAL THERAPY            26658                $    131.25 $ 157.50      $      375.00      PI
TIF-01    19566    Michael Lonati          BENCHMARK PHYSICAL THERAPY            26659                $    131.25 $ 157.50      $      375.00      PI
TIF-01    19566    Michael Lonati          BENCHMARK PHYSICAL THERAPY            26660                $    102.38 $ 122.86      $      292.50      PI
TIF-01    20093    Nathan Fitzpatrick      BENCHMARK PHYSICAL THERAPY            26669                $    196.35 $ 235.62      $      561.00      PI
TIF-01    20093    Nathan Fitzpatrick      BENCHMARK PHYSICAL THERAPY            26670                $    155.40 $ 186.48      $      444.00      PI
TIF-01    20093    Nathan Fitzpatrick      BENCHMARK PHYSICAL THERAPY            26671                $    155.40 $ 186.48      $      444.00      PI
TIF-01    20093    Nathan Fitzpatrick      BENCHMARK PHYSICAL THERAPY            26672                $    155.40 $ 186.48      $      444.00      PI
TIF-01    20093    Nathan Fitzpatrick      BENCHMARK PHYSICAL THERAPY            26673                $    155.40 $ 186.48      $      444.00      PI
TIF-01    20093    Nathan Fitzpatrick      BENCHMARK PHYSICAL THERAPY            26674                $    155.40 $ 186.48      $      444.00      PI
TIF-01    20093    Nathan Fitzpatrick      Specialty Orthopaedics PC             26666                $    375.60 $ 450.72      $    1,003.00      PI
TIF-01    20093    Nathan Fitzpatrick      Specialty Orthopaedics PC             26667                $    500.00 $ 600.00      $    1,946.00      PI
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake J (Batch 14-B)

                                                                                                                 Receivables                               Funding
Fund     ClaimId   Lawyer                 Provider                                BillId     Date Paid     Purchase Price     Cost                GFB       Type
TIF-01    20093    Nathan Fitzpatrick     Specialty Orthopaedics PC               26668                    $    70.00 $      84.00       $      175.00        PI
TIF-01    19560    Ronald Chalker         Family Dental Solutions                 26955                    $ 1,248.40 $ 1,498.08         $    3,121.00        PI
TIF-01    19560    Ronald Chalker         Family Dental Solutions                 26956                    $   237.60 $ 285.12           $      594.00        PI
TIF-01    20197    Reginald A Greene      Polaris Spine & Neurosurgery Center     26836                    $   326.56 $ 391.87           $      816.41       PM
TIF-01    19546    Richard Kopelman       (AHI) American Health Imaging           25119      10/6/2020     $   381.60 $ 457.92           $      954.00       MRI
TIF-01    19546    Richard Kopelman       Non-Surgical Orthopaedics PC            25112      10/6/2020     $   740.00 $ 888.00           $    1,850.00       PM
TIF-01    19546    Richard Kopelman       Non-Surgical Orthopaedics PC            26940                    $   168.00 $ 201.60           $      420.00       PM
TIF-01    20199    Tiffany Adams          Pain Care LLC                           26838                    $   480.00 $ 576.00           $    1,200.01       PM
TIF-01    20331    Matthew Broun          Legacy Brain & Spine                    26954                    $   240.00 $ 288.00           $      600.00        PI
TIF-01    20095    Jonathan Wade          (AHI) American Health Imaging           26681                    $ 1,300.00 $ 1,560.00         $    4,595.00       MRI
TIF-01    20223    Todd Shugart           Georgia Neuroscience                    26854                    $   560.00 $ 672.00           $    1,400.00        PI
TIF-01    5067     Natanya Brooks         Non-Surgical Orthopaedics PC            26851                    $   208.00 $ 249.60           $      520.00       PM

                                                                                                           $ 74,552.21 $89,462.65        $ 192,543.06


****     This List of Receivables supporting Series 1-Intake J (Batch 14-B) in the amount of US$192,543.06 is in good order as Forget-the-Market Ltd has performed the following:

         a. Review of the invoice supporting each line item on List of Receivables confirming list accuracy including the invoice amount.

         b. Collected and reviewed (via Sharing Link) the lien for each line item on the List of Receivables. Any missing liens are noted on the List of Receivables with
         an explanation as to why.

         c. Confirmed that the value of purchased receivables respecting the listed invoices equals 215.22% of the purchased total of $89,462.65.


         William B Dalzell
         CFO, Forget-the-Market Limited
         Co-Manager for Tecumseh-Infinity MR Fund
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake J (Batch 14-C)
                                                                                                                Receivables                             Funding
Fund     ClaimId   Lawyer               Provider                            BillId     Date Paid       Purchase Price             Cost           GFB     Type
TIF-01   19965     Jubin Sharifi        Buena Vista Medical Services       26783                   $          194.28   $        233.14   $     647.60     RX
TIF-01   19965     Jubin Sharifi        Buena Vista Medical Services       26784                   $           95.23   $        114.28   $     317.43     RX
TIF-01   18525     Michael Shemtoub     Buena Vista Medical Services       26793                   $           34.20   $         41.04   $     114.00     RX
TIF-01   20015     Michael Drell        Buena Vista Medical Services       26782                   $          106.02   $        127.22   $     353.40     RX
TIF-01   20169     Robin Saghian        Buena Vista Medical Services       26819                   $           33.06   $         39.67   $     110.20     RX
TIF-01    7116     Nicholas Lasso       Buena Vista Medical Services       26628                   $           38.86   $         46.63   $     129.54     RX
TIF-01   19708     Farid Yaghoubtil     Buena Vista Medical Services       26605                   $           25.16   $         30.19   $      83.87     RX
TIF-01   19708     Farid Yaghoubtil     Buena Vista Medical Services       26773                   $           25.16   $         30.19   $      83.87     RX
TIF-01   20023     Robert Walch         Buena Vista Medical Services       26610                   $           55.34   $         66.41   $     184.46     RX
TIF-01   20167     Michael Madadi       Buena Vista Medical Services       26817                   $           11.40   $         13.68   $      38.00     RX
TIF-01   19883     Joseph Nazarian      Buena Vista Medical Services       26780                   $           49.33   $         59.20   $     164.43     RX
TIF-01   19883     Joseph Nazarian      Buena Vista Medical Services       26781                   $          335.12   $        402.14   $   1,117.05     RX
TIF-01    7404     Matthew Hoffman      Buena Vista Medical Services       26804                   $           27.05   $         32.46   $      90.17     RX
TIF-01    9341     Jacob Emrani         Buena Vista Medical Services       26612                   $           25.19   $         30.23   $      83.98     RX
TIF-01    9341     Jacob Emrani         Buena Vista Medical Services       26613                   $           28.99   $         34.79   $      96.63     RX
TIF-01    9341     Jacob Emrani         Buena Vista Medical Services       26614                   $           25.19   $         30.23   $      83.98     RX
TIF-01   20083     Arash Khorsandi      Buena Vista Medical Services       26560      10/5/2020    $           50.86   $         61.03   $     169.52     RX
TIF-01   20079     KellyF. Ryan         Buena Vista Medical Services       26604                   $           39.28   $         47.14   $     130.94     RX
TIF-01   19495     Nancy Bernstein      Buena Vista Medical Services       26791                   $           24.66   $         29.59   $      82.19     RX
TIF-01   19495     Nancy Bernstein      Buena Vista Medical Services       26792                   $           36.48   $         43.78   $     121.60     RX
TIF-01   19710     Farid Yaghoubtil     Buena Vista Medical Services       26774                   $           25.63   $         30.76   $      85.42     RX
TIF-01   19710     Farid Yaghoubtil     Buena Vista Medical Services       26775                   $           31.86   $         38.23   $     106.21     RX
TIF-01   19297     Farid Yaghoubtil     Buena Vista Medical Services       26796                   $           25.08   $         30.10   $      83.60     RX
TIF-01   19297     Farid Yaghoubtil     Buena Vista Medical Services       26797                   $           52.44   $         62.93   $     174.80     RX
TIF-01   19297     Farid Yaghoubtil     Buena Vista Medical Services       26798                   $          119.70   $        143.64   $     399.00     RX
TIF-01   19520     Farid Yaghoubtil     Buena Vista Medical Services       26600                   $          204.58   $        245.50   $     681.95     RX
TIF-01   18529     Lawrence Ruiz        Buena Vista Medical Services       26619                   $           23.62   $         28.34   $      78.74     RX
TIF-01   18529     Lawrence Ruiz        Buena Vista Medical Services       26620                   $           23.36   $         28.03   $      77.86     RX
TIF-01   18529     Lawrence Ruiz        Buena Vista Medical Services       26621                   $           37.53   $         45.04   $     125.10     RX
TIF-01   18529     Lawrence Ruiz        Buena Vista Medical Services       26622                   $           23.63   $         28.36   $      78.77     RX
TIF-01    7084     Justin Weinrich      Buena Vista Medical Services       26623                   $           50.41   $         60.49   $     168.04     RX
TIF-01    8685     Michael Shemtoub     Buena Vista Medical Services       26616                   $           55.91   $         67.09   $     186.37     RX
TIF-01    8685     Michael Shemtoub     Buena Vista Medical Services       26617                   $          118.59   $        142.31   $     395.31     RX
TIF-01    8685     Michael Shemtoub     Buena Vista Medical Services       26618                   $           21.50   $         25.80   $      71.67     RX
TIF-01   19275     Michael Madadi       Buena Vista Medical Services       26795                   $           30.78   $         36.94   $     102.60     RX
TIF-01   19937     FernandoD. Vargas    Buena Vista Medical Services       26776                   $          160.74   $        192.89   $     535.80     RX
TIF-01   19937     FernandoD. Vargas    Buena Vista Medical Services       26777                   $          119.22   $        143.06   $     397.40     RX
TIF-01   19937     FernandoD. Vargas    Buena Vista Medical Services       26778                   $           31.92   $         38.30   $     106.40     RX
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake J (Batch 14-C)
                                                                                                               Receivables                               Funding
Fund     ClaimId   Lawyer               Provider                           BillId     Date Paid       Purchase Price              Cost            GFB     Type
TIF-01    19937    FernandoD. Vargas    Buena Vista Medical Services       26779                  $          243.96 $           292.75   $      813.20     RX
TIF-01    20171    BobB. Khakshooy      Buena Vista Medical Services       26821                  $           30.78 $            36.94   $      102.60     RX
TIF-01     9343    Cory Hilton          Buena Vista Medical Services       26629                  $           35.32 $            42.38   $      117.72     RX
TIF-01     9343    Cory Hilton          Buena Vista Medical Services       26630                  $           44.50 $            53.40   $      148.35     RX
TIF-01    19941    Arash Khorsandi      Buena Vista Medical Services       26606                  $           25.16 $            30.19   $       83.87     RX
TIF-01    19941    Arash Khorsandi      Buena Vista Medical Services       26607                  $           48.85 $            58.62   $      162.84     RX
TIF-01    19237    Farid Yaghoubtil     Buena Vista Medical Services       26794                  $           27.46 $            32.95   $       91.54     RX
TIF-01    19704    Mauro Fiore Jr       Buena Vista Medical Services       26771                  $           23.94 $            28.73   $       79.80     RX
TIF-01    19704    Mauro Fiore Jr       Buena Vista Medical Services       26772                  $           28.30 $            33.96   $       94.32     RX
TIF-01    19301    Jacob Emrani         Buena Vista Medical Services       26799                  $           53.82 $            64.58   $      179.40     RX
TIF-01    19257    Michael Madadi       Buena Vista Medical Services       26615                  $           57.39 $            68.87   $      191.29     RX
TIF-01    19554    Manuel Gonzales      Stat Diagnostics                   25118     8/18/2020    $        1,200.00 $         1,440.00   $   10,400.00     MRI
TIF-01     8270    Nicholas Lasso       Buena Vista Medical Services       26805                  $           23.96 $            28.75   $       79.88     RX
TIF-01     7310    Timothy Revero       Buena Vista Medical Services       26803                  $           44.66 $            53.59   $      148.86     RX
TIF-01     6740    Kevin Danesh         Buena Vista Medical Services       26800                  $           14.28 $            17.14   $       47.60     RX
TIF-01     6740    Kevin Danesh         Buena Vista Medical Services       26801                  $           63.24 $            75.89   $      210.79     RX
TIF-01    20161    Michael Shemtoub     Buena Vista Medical Services       26811                  $           21.66 $            25.99   $       72.20     RX
TIF-01    20161    Michael Shemtoub     Buena Vista Medical Services       26812                  $           22.80 $            27.36   $       76.00     RX
TIF-01    19861    Farid Yaghoubtil     Buena Vista Medical Services       25878     10/5/2020    $           32.37 $            38.84   $      107.91     RX
TIF-01    19861    Farid Yaghoubtil     Buena Vista Medical Services       25879     10/5/2020    $           37.69 $            45.23   $      125.62     RX
TIF-01    19861    Farid Yaghoubtil     Buena Vista Medical Services       25880     10/5/2020    $           39.89 $            47.87   $      132.95     RX
TIF-01    19861    Farid Yaghoubtil     Buena Vista Medical Services       25882     10/5/2020    $           36.48 $            43.78   $      121.59     RX
TIF-01    19861    Farid Yaghoubtil     Buena Vista Medical Services       26634     10/5/2020    $           17.36 $            20.83   $       57.87     RX
TIF-01    19861    Farid Yaghoubtil     Buena Vista Medical Services       26635     10/5/2020    $           29.16 $            34.99   $       97.20     RX
TIF-01    19861    Farid Yaghoubtil     Buena Vista Medical Services       26636     10/5/2020    $          142.29 $           170.75   $      474.30     RX
TIF-01    19861    Farid Yaghoubtil     Buena Vista Medical Services       26637     10/5/2020    $           12.74 $            15.29   $       42.45     RX
TIF-01    19861    Farid Yaghoubtil     Buena Vista Medical Services       26638     10/5/2020    $           48.74 $            58.49   $      162.45     RX
TIF-01    19861    Farid Yaghoubtil     Buena Vista Medical Services       26639     10/5/2020    $          161.09 $           193.31   $      536.98     RX
TIF-01    19861    Farid Yaghoubtil     Buena Vista Medical Services       26640     10/5/2020    $           60.56 $            72.67   $      201.87     RX
TIF-01    19861    Farid Yaghoubtil     Buena Vista Medical Services       26641     10/5/2020    $          138.48 $           166.18   $      461.61     RX
TIF-01    19861    Farid Yaghoubtil     Buena Vista Medical Services       26642     10/5/2020    $           10.31 $            12.37   $       34.38     RX
TIF-01    19861    Farid Yaghoubtil     Buena Vista Medical Services       26643     10/5/2020    $          178.58 $           214.30   $      595.28     RX
TIF-01    19861    Farid Yaghoubtil     Buena Vista Medical Services       26644     10/5/2020    $          167.16 $           200.59   $      557.20     RX
TIF-01    19861    Farid Yaghoubtil     Buena Vista Medical Services       26645     10/5/2020    $          165.10 $           198.12   $      550.33     RX
TIF-01    19861    Farid Yaghoubtil     Buena Vista Medical Services       26646     10/5/2020    $          178.58 $           214.30   $      595.28     RX
TIF-01    19861    Farid Yaghoubtil     Buena Vista Medical Services       26647     10/5/2020    $          138.48 $           166.18   $      461.61     RX
TIF-01    19861    Farid Yaghoubtil     Buena Vista Medical Services       26648     10/5/2020    $          165.10 $           198.12   $      550.33     RX
TIF-01    19861    Farid Yaghoubtil     Buena Vista Medical Services       26649     10/5/2020    $          167.16 $           200.59   $      557.20     RX
TIF-01    19861    Farid Yaghoubtil     Buena Vista Medical Services       26650     10/5/2020    $           96.35 $           115.62   $      321.18     RX
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake J (Batch 14-C)
                                                                                                              Receivables                             Funding
Fund     ClaimId   Lawyer               Provider                           BillId    Date Paid       Purchase Price             Cost           GFB     Type
TIF-01    19861    Farid Yaghoubtil     Buena Vista Medical Services       26651     10/5/2020   $          165.10 $          198.12   $     550.33     RX
TIF-01    19861    Farid Yaghoubtil     Buena Vista Medical Services       26652     10/5/2020   $           39.12 $           46.94   $     130.40     RX
TIF-01    19861    Farid Yaghoubtil     Buena Vista Medical Services       26653     10/5/2020   $          101.37 $          121.64   $     337.91     RX
TIF-01    20159    BobB. Khakshooy      Buena Vista Medical Services       26808                 $           20.52 $           24.62   $      68.40     RX
TIF-01    20159    BobB. Khakshooy      Buena Vista Medical Services       26809                 $           33.06 $           39.67   $     110.20     RX
TIF-01     6800    Arash Khorsandi      Buena Vista Medical Services       26624                 $           36.11 $           43.33   $     120.38     RX
TIF-01     6800    Arash Khorsandi      Buena Vista Medical Services       26625                 $           21.86 $           26.23   $      72.88     RX
TIF-01     6800    Arash Khorsandi      Buena Vista Medical Services       26626                 $           26.35 $           31.62   $      87.82     RX
TIF-01     6800    Arash Khorsandi      Buena Vista Medical Services       26627                 $           21.29 $           25.55   $      70.98     RX
TIF-01    19903    Vahagn Koshkaryan    Buena Vista Medical Services       26608                 $           38.39 $           46.07   $     127.98     RX
TIF-01    19903    Vahagn Koshkaryan    Buena Vista Medical Services       26609                 $           34.26 $           41.11   $     114.19     RX
TIF-01    19967    JoshuaE. Kohanim     Buena Vista Medical Services       26785                 $           25.08 $           30.10   $      83.60     RX
TIF-01    19893    Arash Khorsandi      Buena Vista Medical Services       26786                 $           65.20 $           78.24   $     217.33     RX
TIF-01    19893    Arash Khorsandi      Buena Vista Medical Services       26787                 $           67.13 $           80.56   $     223.78     RX
TIF-01    19893    Arash Khorsandi      Buena Vista Medical Services       26788                 $           82.28 $           98.74   $     274.26     RX
TIF-01    20037    Arash Khorsandi      Buena Vista Medical Services       26602                 $           65.20 $           78.24   $     217.33     RX
TIF-01    20037    Arash Khorsandi      Buena Vista Medical Services       26603                 $           67.13 $           80.56   $     223.78     RX
TIF-01    19807    Michael Drell        Buena Vista Medical Services       26789                 $           38.30 $           45.96   $     127.68     RX
TIF-01    19807    Michael Drell        Buena Vista Medical Services       26790                 $           29.41 $           35.29   $      98.04     RX
TIF-01    19959    Douglas Kottler      Buena Vista Medical Services       26262     10/5/2020   $           71.93 $           86.32   $     239.76     RX
TIF-01    19959    Douglas Kottler      Buena Vista Medical Services       26263     10/5/2020   $           73.74 $           88.49   $     245.79     RX
TIF-01    19959    Douglas Kottler      Buena Vista Medical Services       26265     10/5/2020   $           73.74 $           88.49   $     245.79     RX
TIF-01    19959    Douglas Kottler      Buena Vista Medical Services       26267     10/5/2020   $           51.98 $           62.38   $     173.28     RX
TIF-01    19959    Douglas Kottler      Buena Vista Medical Services       26268     10/5/2020   $           73.74 $           88.49   $     245.79     RX
TIF-01    19959    Douglas Kottler      Buena Vista Medical Services       26270     10/5/2020   $           73.74 $           88.49   $     245.79     RX
TIF-01    19269    Nancy Bernstein      Buena Vista Medical Services       26611                 $          246.27 $          295.52   $     820.91     RX
TIF-01    19783    Salar Hendizadeh     Buena Vista Medical Services       26601                 $           35.18 $           42.22   $     117.27     RX
TIF-01    19859    Farid Yaghoubtil     Buena Vista Medical Services       25864     10/5/2020   $           33.52 $           40.22   $     111.75     RX
TIF-01    19859    Farid Yaghoubtil     Buena Vista Medical Services       25865     10/5/2020   $          291.24 $          349.49   $     970.80     RX
TIF-01    19859    Farid Yaghoubtil     Buena Vista Medical Services       25867     10/5/2020   $          436.95 $          524.34   $   1,456.49     RX
TIF-01    19859    Farid Yaghoubtil     Buena Vista Medical Services       25868     10/5/2020   $          659.24 $          791.09   $   2,197.46     RX
TIF-01    19859    Farid Yaghoubtil     Buena Vista Medical Services       25869     10/5/2020   $           40.13 $           48.16   $     133.77     RX
TIF-01    19859    Farid Yaghoubtil     Buena Vista Medical Services       25871     10/5/2020   $          291.24 $          349.49   $     970.80     RX
TIF-01    19859    Farid Yaghoubtil     Buena Vista Medical Services       25873     10/5/2020   $          291.24 $          349.49   $     970.80     RX
TIF-01    19859    Farid Yaghoubtil     Buena Vista Medical Services       25874     10/5/2020   $           33.52 $           40.22   $     111.75     RX
TIF-01    19859    Farid Yaghoubtil     Buena Vista Medical Services       25876     10/5/2020   $          161.09 $          193.31   $     536.98     RX
TIF-01    19859    Farid Yaghoubtil     Buena Vista Medical Services       26654     10/5/2020   $          161.09 $          193.31   $     536.98     RX
TIF-01     7094    Frank Fasel          Buena Vista Medical Services       26802                 $           20.37 $           24.44   $      67.91     RX
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake J (Batch 14-C)
                                                                                                                                      Receivables                                      Funding
Fund     ClaimId    Lawyer                         Provider                                  BillId       Date Paid          Purchase Price                 Cost                GFB     Type
                                                                                                                           $     10,548.22 $           12,657.86      $    41,560.89


 ****   This List of Receivables supporting Series 1-Intake J (Batch 14-C) in the amount of US$41,560.89 is in good order as Forget-the-Market Ltd has performed the following:

        a. Review of the invoice supporting each line item on List of Receivables confirming list accuracy including the invoice amount.

        b. Collected and reviewed (via Sharing Link) the lien for each line item on the List of Receivables. Any missing liens are noted on the List of Receivables with
        an explanation as to why.

        c. Confirmed that the value of purchased receivables respecting the listed invoices equals 328.34% of the purchased total of $12,657.86.


        William B Dalzell
        CFO, Forget-the-Market Limited
        Co-Manager for Tecumseh-Infinity MR Fund
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                        EXHIBIT D-11
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake K (Batch DP-1)

                                                                                             Receivables                                     Funding
Fund     Lawyer                        Provider               BillId    Date Paid   Purchase Price            Cost    Invoice          MRI    Type
TIF-01   Kumar Law Firm                Stat Diagnostics                             $     1,200.00   $     1,440.00   $     9,000.00    2     MRI
TIF-01   Kumar Law Firm                Stat Diagnostics                             $     2,400.00   $     2,880.00   $    13,350.00    4     MRI
TIF-01   Kumar Law Firm                Stat Diagnostics                             $       600.00   $       720.00   $     4,500.00    1     MRI
TIF-01   Abraham Garcia                Stat Diagnostics                             $       600.00   $       720.00   $     2,950.00    1     MRI
TIF-01   Kumar Law Firm                Stat Diagnostics                             $       600.00   $       720.00   $     4,500.00    1     MRI
TIF-01   Adame Garza                   Stat Diagnostics                             $     1,200.00   $     1,440.00   $     7,525.00    2     MRI
TIF-01   Adame Garza                   Stat Diagnostics                             $     1,800.00   $     2,160.00   $    11,950.00    3     MRI
TIF-01   Salazar Velazquez             Stat Diagnostics                             $     1,200.00   $     1,440.00   $     9,000.00    2     MRI
TIF-01   Ryan Zehl                     Stat Diagnostics                             $       600.00   $       720.00   $     4,500.00    1     MRI
TIF-01   Kumar Law Firm                Stat Diagnostics                             $     1,800.00   $     2,160.00   $    11,950.00    3     MRI
TIF-01   Peter A Ruman                 Stat Diagnostics                             $     1,800.00   $     2,160.00   $    14,575.00    3     MRI
TIF-01   Adame Garza                   Stat Diagnostics                             $     1,200.00   $     1,440.00   $     9,000.00    2     MRI
TIF-01   Owsley Associates             Stat Diagnostics                             $     1,800.00   $     2,160.00   $    11,950.00    3     MRI
TIF-01   Marcus R. Spagnoletti         Stat Diagnostics                             $       600.00   $       720.00   $     4,650.00    1     MRI
TIF-01   Kumar Law Firm                Stat Diagnostics                             $       600.00   $       720.00   $     2,950.00    1     MRI
TIF-01   Kumar Law Firm                Stat Diagnostics                             $     1,800.00   $     2,160.00   $    11,950.00    3     MRI
TIF-01   Manuel Gonzales               Stat Diagnostics                             $     1,200.00   $     1,440.00   $     7,450.00    2     MRI
TIF-01   W Clark Martin IV             Stat Diagnostics                             $       600.00   $       720.00   $     2,950.00    1     MRI
TIF-01   W Clark Martin IV             Stat Diagnostics                             $     1,200.00   $     1,440.00   $     7,450.00    2     MRI
TIF-01   Adame Garza                   Stat Diagnostics                             $       600.00   $       720.00   $     4,785.85    1     MRI
TIF-01   Manuel Gonzales               Stat Diagnostics                             $       600.00   $       720.00   $     2,950.00    1     MRI
TIF-01   Manuel Gonzales               Stat Diagnostics                             $       600.00   $       720.00   $     4,500.00    1     MRI
TIF-01   Buzbee Law Firm               Stat Diagnostics                             $       600.00   $       720.00   $     4,500.00    1     MRI
TIF-01   Leo Oginni Trail Lawyers PLLC Stat Diagnostics                             $     1,200.00   $     1,440.00   $     9,000.00    2     MRI
TIF-01   Kumar Law Firm                Stat Diagnostics                             $     2,400.00   $     2,880.00   $    15,050.00    4     MRI
TIF-01   Kumar Law Firm                Stat Diagnostics                             $     1,200.00   $     1,440.00   $     9,000.00    2     MRI
TIF-01   Jonathan S. Harris            Stat Diagnostics                             $     1,200.00   $     1,440.00   $     9,000.00    2     MRI
TIF-01   Manuel Gonzales               Stat Diagnostics                             $       600.00   $       720.00   $     2,950.00    1     MRI
TIF-01   Nathalie Galindo              Stat Diagnostics                             $     1,200.00   $     1,440.00   $     9,000.00    2     MRI
TIF-01   Nathalie Galindo              Stat Diagnostics                             $       600.00   $       720.00   $     2,950.00    1     MRI
TIF-01   Nathalie Galindo              Stat Diagnostics                             $       600.00   $       720.00   $     2,950.00    1     MRI
TIF-01   Kumar Law Firm                Stat Diagnostics                             $       600.00   $       720.00   $     4,500.00    1     MRI
TIF-01   Kumar Law Firm                Stat Diagnostics                             $       600.00   $       720.00   $     4,500.00    1     MRI
TIF-01   Kumar Law Firm                Stat Diagnostics                             $     1,200.00   $     1,440.00   $     7,450.00    2     MRI
TIF-01   Adame Garza                   Stat Diagnostics                             $     1,200.00   $     1,440.00   $     9,000.00    2     MRI
TIF-01   Salazar Velazquez             Stat Diagnostics                             $       600.00   $       720.00   $     4,500.00    1     MRI
TIF-01   Ryan Zehl                     Stat Diagnostics                             $     1,200.00   $     1,440.00   $     9,000.00    2     MRI
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake K (Batch DP-1)

                                                                                       Receivables                                      Funding
Fund     Lawyer                  Provider               BillId    Date Paid   Purchase Price            Cost    Invoice           MRI    Type
TIF-01   Owsley Associates       Stat Diagnostics                             $     1,200.00   $     1,440.00   $      9,000.00    2      MRI
TIF-01   Owsley Associates       Stat Diagnostics                             $       600.00   $       720.00   $      2,950.00    1      MRI
TIF-01   Marcus R. Spagnoletti   Stat Diagnostics                             $     1,200.00   $     1,440.00   $      9,000.00    2      MRI
TIF-01   William J Hodge         Stat Diagnostics                             $     1,800.00   $     2,160.00   $     11,950.00    3      MRI
TIF-01   Joseph K Plumbar        Stat Diagnostics                             $       600.00   $       720.00   $      4,500.00    1      MRI
TIF-01   Kumar Law Firm          Stat Diagnostics                             $     1,800.00   $     2,160.00   $     11,950.00    3      MRI
TIF-01   Lozano Law Office       Stat Diagnostics                             $     1,200.00   $     1,440.00   $      9,000.00    2      MRI
TIF-01   Stewart J Guss          Stat Diagnostics                             $       600.00   $       720.00   $      4,500.00    1      MRI
TIF-01   Kumar Law Firm          Stat Diagnostics                             $     2,400.00   $     2,880.00   $     14,900.00    4      MRI
TIF-01   Cynthia Huerta          Stat Diagnostics                             $       600.00   $       720.00   $      4,500.00    1      MRI
TIF-01   Domingo Garcia          Stat Diagnostics                             $       600.00   $       720.00   $      4,500.00    1      MRI
TIF-01   Adame Garza             Stat Diagnostics                             $       600.00   $       720.00   $      2,950.00    1      MRI
TIF-01   Kumar Law Firm          Stat Diagnostics                             $     1,200.00   $     1,440.00   $      9,000.00    2      MRI
TIF-01   Mukerji Law Firm PC     Stat Diagnostics                             $     1,200.00   $     1,440.00   $      9,000.00    2      MRI
TIF-01   Mukerji Law Firm PC     Stat Diagnostics                             $       600.00   $       720.00   $      4,500.00    1      MRI
TIF-01   Kumar Law Firm          Stat Diagnostics                             $     1,200.00   $     1,440.00   $      7,450.00    2      MRI
TIF-01   Kumar Law Firm          Stat Diagnostics                             $       600.00   $       720.00   $      2,950.00    1      MRI
TIF-01   Kumar Law Firm          Stat Diagnostics                             $     1,800.00   $     2,160.00   $     11,950.00    3      MRI
TIF-01   Kumar Law Firm          Stat Diagnostics                             $     1,200.00   $     1,440.00   $      9,000.00    2      MRI
TIF-01   Carmen Elizalde         Stat Diagnostics                             $       600.00   $       720.00   $      4,500.00    1      MRI
TIF-01   J S Lopez               Stat Diagnostics                             $     1,800.00   $     2,160.00   $     11,950.00    3      MRI
TIF-01   Adame Garza             Stat Diagnostics                             $       600.00   $       720.00   $      2,950.00    1      MRI
TIF-01   Kumar Law Firm          Stat Diagnostics                             $     1,200.00   $     1,440.00   $      9,000.00    2      MRI
TIF-01   Manuel Gonzales         Stat Diagnostics                             $       600.00   $       720.00   $      4,500.00    1      MRI
TIF-01   Beverly R. Caruthers    Stat Diagnostics                             $     1,200.00   $     1,440.00   $      9,000.00    2      MRI
TIF-01   Adame Garza             Stat Diagnostics                             $       600.00   $       720.00   $      4,500.00    1      MRI
TIF-01   Shelley B. Ross II      Stat Diagnostics                             $       600.00   $       720.00   $      4,500.00    1      MRI
TIF-01   Owsley Associates       Stat Diagnostics                             $     1,800.00   $     2,160.00   $     11,950.00    3      MRI
TIF-01   Adame Garza             Stat Diagnostics                             $       600.00   $       720.00   $      4,650.00    1      MRI
TIF-01   Kumar Law Firm          Stat Diagnostics                             $     1,200.00   $     1,440.00   $      9,000.00    2      MRI
TIF-01   Kumar Law Firm          Stat Diagnostics                             $       600.00   $       720.00   $      4,500.00    1      MRI
TIF-01   Kumar Law Firm          Stat Diagnostics                             $     2,400.00   $     2,880.00   $     16,450.00    4      MRI
TIF-01   Arnold Itkin LLP        Stat Diagnostics                             $       600.00   $       720.00   $      2,950.00    1      MRI
TIF-01   Benjamin H. Ruemke      Stat Diagnostics                             $     1,200.00   $     1,440.00   $      9,000.00    2      MRI
TIF-01   Ryan Zehl               Stat Diagnostics                             $       600.00   $       720.00   $      2,950.00    1      MRI
TIF-01   Adame Garza             Stat Diagnostics                             $     1,200.00   $     1,440.00   $      9,000.00    2      MRI
TIF-01   Kumar Law Firm          Stat Diagnostics                             $       600.00   $       720.00   $      4,500.00    1      MRI
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Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake K (Batch DP-1)

                                                                                                                Receivables                                                 Funding
Fund     Lawyer                      Provider                        BillId           Date Paid        Purchase Price               Cost     Invoice              MRI        Type
TIF-01   Cassandra Evans Jones       Stat Diagnostics                                                  $        600.00   $        720.00     $      2,950.00       1          MRI
TIF-01   Ryan Zehl                   Stat Diagnostics                                                  $      1,200.00   $      1,440.00     $      7,450.00       2          MRI
TIF-01   Bret Griffin                Stat Diagnostics                                                  $      2,400.00   $      2,880.00     $     16,450.00       4          MRI
TIF-01   Joseph K Plumbar            Stat Diagnostics                                                  $      1,200.00   $      1,440.00     $      9,000.00       2          MRI
TIF-01   Adame Garza                 Stat Diagnostics                                                  $      1,200.00   $      1,440.00     $      7,450.00       2          MRI
TIF-01   Adame Garza                 Stat Diagnostics                                                  $        600.00   $        720.00     $      4,500.00       1          MRI

                                                                                                       $    85,800.00 $ 102,960.00           $    584,935.85      143


 ****    This List of Receivables supporting Series 1-Intake K (Batch DP-1) in the amount of US$584,935.85 is in good order as Forget-the-Market Ltd has performed the following:

         a. Review of the invoice supporting each line item on List of Receivables confirming list accuracy including the invoice amount.

         b. Collected and reviewed (via Sharing Link) the lien for each line item on the List of Receivables. Any missing liens are noted on the List of Receivables with
         an explanation as to why.

         c. Confirmed that the value of purchased receivables respecting the listed invoices equals 568.12% of the purchased total of $102,960.00.


         William B Dalzell
         CFO, Forget-the-Market Limited
         Co-Manager for Tecumseh-Infinity MR Fund
